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               EXHIBIT 4
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                 united states copyright office


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section 1201 rulemaking:
Seventh Triennial Proceeding to Determine
Exemptions to the Prohibition on Circumvention
recommendation of the acting register of copyrights            october 2018




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                c-      The Register of Copyrights of the United States of America
                        United States Copyright Office • ioi Independence Avenue SE • Washington,DC 20559-6000 • (202)707-8350
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                                                                           October 5,2018




       Carla Hayden
       Librarian of Congress
       Library of Congress
       101 Independence Ave.SE
       Washington,DC 20540


           Dear Dr.Hayden:

                  Pursuant to my statutory obligation under 17 U.S.C.§ 1201(a)(1)(C),please find the
           attached recommendation relating to the rulemaking on exemptions from the prohibition on
           circumvention of technological measures that control access to copyrighted works.


                                                                            Sincerely,




                                                                            Karyn A.Temple
                                                                            Acting Register and Director
                                                                            U.S.Copyright Office




           cc: Elizabeth A.Pugh,General Counsel,Library of Congress
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∗
 Because the issues in this class are relevant to the analysis in Proposed Class 8, the Acting
Register addresses this class first.
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    I.     Introduction
Enacted in 1998 as part of the Digital Millennium Copyright Act (“DMCA”), section 1201
of Title 17 plays a critical role in fostering the dissemination and enjoyment of creative
works online. In adopting section 1201, Congress recognized that the development of
the online marketplace for copyrighted works required a legal framework that
adequately addressed the harm of internet piracy and encouraged copyright owners to
make their works available to the public in emerging digital formats. 1 Section 1201
accordingly affords copyright owners important legal protections against those who
circumvent technological measures used to prevent unauthorized access to their works.
Many have credited section 1201 as a key factor in the growth of the vast array of
content delivery platforms available to consumers today, which offer more lawful
options to access expressive material than ever existed previously. 2

In adopting these new protections, however, Congress also recognized the need to
ensure that legitimate uses of copyrighted works not be inhibited unnecessarily. The
triennial section 1201 rulemaking is a key part of the statutory scheme, striking a balance
between copyright and digital technologies. Every three years, the Librarian of
Congress, upon the recommendation of the Register of Copyrights, determines whether
the prohibition on circumvention is having, or is likely to have, an adverse effect on
users’ ability to make noninfringing uses of a particular class of copyrighted works. 3
Upon such a determination, the Librarian may adopt a temporary exemption waiving
the prohibition for such users for the ensuing three-year period. 4

The rulemaking occurs through a formal public process administered by the Register of
Copyrights, who consults with the National Telecommunications and Information
Administration of the Department of Commerce (“NTIA”). The first rulemaking was
completed in 2000, and subsequent rulemakings have taken place every three years since
then.


1See U.S. COPYRIGHT OFFICE, SECTION 1201 OF TITLE 17 9–10 (2017), https://www.copyright.gov/
policy/1201/section-1201-full-report.pdf (“Section 1201 Report”).
2See, e.g., Chapter 12 of Title 17: Hearing Before the Subcomm. on Courts, Intellectual Prop. & the
Internet of the H. Comm. on the Judiciary, 113th Cong. 2 (2014) (statement of Rep. Tom Marino, Vice-
Chairman, Subcomm. on Courts, Intellectual Prop. & the Internet) (“The digital economy has
enabled wide distribution of movies, music, eBooks and other digital content. Chapter 12 seems
to have a lot to do with [that] economic growth . . . .”); id. at 3 (statement of Rep. Jerrold Nadler,
Ranking Member, Subcomm. on Courts, Intellectual Prop. & the Internet) (“Section 1201 has
proven to be extremely helpful to creators because it has helped creators to have the confidence
to provide video content over the internet despite the risk of piracy.”).
3   17 U.S.C. § 1201(a)(1)(C).
4   Id. § 1201(a)(1)(D).

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Revised Rulemaking Procedures

For this seventh triennial proceeding, following a comprehensive policy study, 5 the
Copyright Office implemented new streamlining procedures to facilitate the renewal of
previously adopted exemptions to which there is no meaningful opposition. This
process proved successful, allowing stakeholders to seek renewal of noncontroversial
exemptions—some of which had been repeatedly granted over multiple rulemakings—
without the need to provide wholly new evidentiary showings in support. For example,
in 2015, the American Foundation for the Blind participated in three rounds of
comments and sent two affiliates to a hearing regarding an unopposed exemption to
facilitate assistive technology for e-books. This time, the same exemption was renewed
through a brief four-paragraph statement.

In fact, the Office did not receive meaningful opposition to renewal of any of the
exemptions granted in the 2015 rulemaking, which enabled the Acting Register to
announce her intention to recommend readoption of those exemptions at the early
stages of this proceeding. This in turn allowed participants to concentrate their energies
on new proposals, including requested expansions of existing exemptions. Indeed, the
significant number of petitions received in this cycle indicates that stakeholders now are
able to devote resources to a broad range of additional issues.

The Acting Register expects that the streamlining process likewise will benefit the
records in future proceedings. In this regard, the new procedures underscore the
importance of ensuring that exemption proposals are supported by sufficient evidence,
as the same record can now be relied upon in multiple subsequent proceedings. At the
same time, the process gives opponents the opportunity to demonstrate that the factual
or legal grounds supporting an exemption in a prior cycle have changed to the point that
the renewal petition should be considered as part of the full rulemaking process. The
Acting Register continues to believe that a legislative change providing for presumptive
renewal of existing exemptions would introduce even greater efficiencies by eliminating
the need for parties to petition for, and the Office to consider, readoption of uncontested
exemptions. 6 Nevertheless, the streamlining procedures appear to have accomplished
their goal of reducing unnecessary burdens on both participants and the Office.

Policy Considerations

This proceeding involves many of the same proposed uses of copyrighted works that the
Office has frequently considered in prior rulemakings. Several exemption petitions seek


5   See Section 1201 Report at 141.
6See id. at 141; The Register’s Perspective on Copyright Review: Hearing Before the H. Comm. on the
Judiciary, 114th Cong. 27 (2015) (statement of Maria A. Pallante, Register of Copyrights and Dir.,
U.S. Copyright Office).

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to access traditional forms of expressive content for purposes such as teaching and
facilitating use by persons with disabilities—activities that Congress undoubtedly had in
mind when it created the triennial review process and that have long been a focus of the
rulemaking. This cycle also saw an increased focus on ensuring that preservation
activities undertaken by libraries, archives, and museums can reach a wide and
increasing range of digital works, including computer software and video games.

At the same time, the landscape for the seventh section 1201 rulemaking differs in
important ways from that of its inception in 1998, and even from 2008. A significant
portion of the exemption proposals received in this cycle reflect a new consumer reality
resulting from the growing pervasiveness of the Internet of Things. Like the 2015
rulemaking, this proceeding saw numerous requests to access copyrighted software
contained in consumer products and other devices and systems. Proponents of these
exemptions do not wish to access such software for its creative content, but instead are
seeking to study, repair, or modify the functionality of the device or system itself. In the
written comments and public hearings, many of these stakeholders expressed frustration
at the notion that copyright should prevent owners of devices from repairing, tinkering
with, or otherwise exercising control over their own property. In the words of one
individual, “[i]t’s my own damn car, I paid for it, I should be able to repair it or have the
person of my choice do it for me.” 7

Several of these proposals seek to extend exemptions granted in the last rulemaking to a
broader range of products. For example, security researchers currently authorized to
circumvent technological measures in consumer devices, vehicles, and medical devices
petition to apply that exemption to software-enabled devices generally. Similarly, other
petitioners seek to broaden the current exemption for repair and modification of motor
vehicles to encompass other devices ranging from smartphones to home appliances to
consumables. In considering these proposals, the Office again notes that many of these
activities seem to “have little to do with the consumption of creative content or the core
concerns of copyright.” 8 It should be emphasized, however, that section 1201 does not
permit the Acting Register to recommend, or the Librarian to grant, exemptions on that
basis alone. They may do so only where specific evidence demonstrates that the statute

7DeVolve Class 7 Reply. Comments received in this rulemaking are available at
http://copyright.gov/1201/2018. References to these comments in this Recommendation are by
party name (abbreviated where appropriate), followed by class number and “Initial,” “Opp’n,” or
“Reply” for comments submitted in the first, second, or third round, respectively.
8REGISTER OF COPYRIGHTS, SECTION 1201 RULEMAKING: SIXTH TRIENNIAL PROCEEDING TO
DETERMINE EXEMPTIONS TO THE PROHIBITION ON CIRCUMVENTION, RECOMMENDATION OF THE
REGISTER OF COPYRIGHTS 2 (2015). References to the Register’s Recommendations in prior
rulemakings are cited by the year of publication followed by “Recommendation” (e.g., “2015
Recommendation”). Prior Recommendations are available on the Copyright Office website at
https://www.copyright.gov/1201/.

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is causing, or is likely to cause, an adverse impact on noninfringing uses of copyrighted
works. Moreover, the Acting Register’s ability to consider broad exemptions in these
categories, encompassing wide and varied assortments of devices, is limited by the
statutory rulemaking standard, which restricts the inquiry to “particular class[es] of
copyrighted works” for which there is evidence of adverse effects. 9

It is also important to acknowledge the significant countervailing interests that could be
implicated by overbroad exemptions. Copyright owners participating in this
proceeding emphasized the substantial investments they have made in distributing their
creative works through subscription streaming services and other protected ways to
lawfully access music, movies, games, books, and more. These platforms provide a
critical revenue source for modern artists and authors, and are supplanting more
traditional avenues for users to access a wide variety of cultural works. And they all
rely on ensuring that the devices and formats used to access this content remain secure
and are not used to facilitate infringement. Confronting a very real history of massive
piracy of music, movies, and other creative works, rightsholders have concerns over
what they characterize as a perfunctory dismissal of serious infringement risks and the
blurring of important nuances in the copyright law.

Given these competing policy interests, as well as the inherent constraints of the
rulemaking process, the Acting Register recently has advised Congress that many of
these issues would be appropriate subjects for legislation. Specifically, in its 2017
Section 1201 Report, the Office recommended that Congress consider expanding the
permanent exemption under section 1201(j) permitting circumvention for purposes of
security testing. 10 Additionally, the Office recommended congressional consideration of
new permanent exemptions for diagnosis, repair, and maintenance of software-enabled
devices, 11 and for unlocking of wireless devices. 12 While the Acting Register has
attempted to appropriately balance stakeholder interests to the extent permitted under
the regulatory framework, legislative review would enable Congress and interested
parties to address these issues in a more comprehensive manner.

This rulemaking also echoes the 2015 proceeding in that some proposed exemptions
potentially involve activities subject to legal or regulatory regimes outside of copyright.
In 2015, the Environmental Protection Agency, the Department of Transportation, and
the Food and Drug Administration expressed concerns over the impact that the
proposed exemptions for security research and vehicle modification could have on
health and safety matters within their jurisdictions. While recognizing that such

9   17 U.S.C. § 1201(a)(1)(C).
10   Section 1201 Report at 71–80.
11   Id. at 88–95.
12   Id. at 97–99.

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concerns did not directly implicate copyright, the Register concluded that they were
sufficiently serious that other agencies should have the opportunity to prepare for any
potential impacts. Therefore, the Register recommended, and the Librarian
implemented, a one-year delay in the effective date of those exemptions. 13
Subsequently, however, the Office noted that it did not anticipate the need for future
delays now that those agencies have had time to respond, and that going forward it
“will generally decline to consider health, safety, and environmental concerns” as part of
the rulemaking. 14 Consistent with those statements, the Acting Register in this
proceeding did not accord significant weight to such considerations, despite the urging
of some participants. While the Acting Register certainly appreciates the seriousness of
these issues, they generally are best addressed through other legal frameworks and by
agencies with expertise in those areas. Indeed, in contrast to 2015, only one additional
federal agency submitted comments in this proceeding, and that agency—the U.S.
Department of Justice’s Computer Crime and Intellectual Property Section (“CCIPS”)—
agrees with this view.

Finally, this proceeding again raises the question of whether, or to what extent, third
parties, such as independent automobile repair shops, may provide assistance to persons
entitled to exercise an exemption. In 2015 the Register declined requests to recommend
an exemption for circumvention “on behalf of the owner” of a motor vehicle, finding
that such assistance could run afoul of the prohibition on trafficking in circumvention
“service[s]” under section 1201(a)(2) and (b). The anti-trafficking provisions provide
vital protections to copyright owners, and Congress did not authorize the Librarian to
grant exemptions from them. In this proceeding, proponents of the vehicle repair
exemption again request provision for third-party assistance, arguing that limiting the
exemption to individual owners threatens to render it effectively meaningless for those
who lack the technical knowledge to access and manipulate increasingly complex
embedded computer systems. The Acting Register is sympathetic to these concerns and
has attempted to draft the exemption language in a manner that accommodates such
assistance to the extent it does not implicate the anti-trafficking provisions. As the Office
has recently noted, however, the scope of those provisions is uncertain, 15 and it is
beyond the scope of the rulemaking for the Acting Register to opine on that issue. The
Office continues to believe that legislation permitting third-party assistance in
appropriate circumstances would benefit stakeholders and provide valuable clarity to
the overall statutory scheme. 16



13   See 2015 Recommendation at 3.
14   Section 1201 Report at 125–26.
15   See id. at 56–59.
16   See id. at 59–61.

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Summary of Recommendations

The Librarian has previously adopted six sets of exemptions under section 1201 based
upon prior Recommendations of the Register. 17 In this seventh triennial proceeding, as
discussed more fully below, the Acting Register recommends that the Librarian adopt
another set of exemptions covering the following types of uses:

           •   Excerpts of motion pictures (including television programs and videos)
               for criticism and comment:

                      For educational uses,

                              By college and university or K-12 faculty and students

                              By faculty of massive open online courses (“MOOCs”)

                              By educators and participants in digital and literacy
                               programs offered by libraries, museums and other
                               nonprofits

                      For nonfiction multimedia e-books

                      For uses in documentary films and other films where the use is in
                       parody or for a biographical or historically significant nature

                      For uses in noncommercial videos

           •   Motion pictures (including television programs and videos), for the
               provision of captioning and/or audio description by disability services
               offices or similar units at educational institutions for students with
               disabilities

           •   Literary works distributed electronically (i.e., e-books), for use with
               assistive technologies for persons who are blind, visually impaired or
               have print disabilities

           •   Literary works consisting of compilations of data generated by implanted
               medical devices and corresponding personal monitoring systems

           •   Computer programs that operate the following types of devices, to allow
               connection of a new or used device to an alternative wireless network
               (“unlocking”):



17Each of these Final Rules and the Register’s Recommendations can be found at
http://www.copyright.gov/1201.

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                    Cellphones

                    Tablets

                    Mobile hotspots

                    Wearable devices (e.g., smartwatches)

          •   Computer programs that operate the following types of devices, to allow
              the device to interoperate with or to remove software applications
              (“jailbreaking”):

                    Smartphones

                    Tablets and other all-purpose mobile computing devices

                    Smart TVs

                    Voice assistant devices

          •   Computer programs that control motorized land vehicles, including farm
              equipment, for purposes of diagnosis, repair, or modification of the
              vehicle, including to access diagnostic data

          •   Computer programs that control smartphones, home appliances, or home
              systems, for diagnosis, maintenance, or repair of the device or system

          •   Computer programs for purposes of good-faith security research

          •   Computer programs other than video games, for the preservation of
              computer programs and computer program-dependent materials by
              libraries, archives, and museums

          •   Video games for which outside server support has been discontinued, to
              allow individual play by gamers and preservation of games by libraries,
              archives, and museums (as well as necessary jailbreaking of console
              computer code for preservation uses only), and preservation of
              discontinued video games that never required server support

          •   Computer programs that operate 3D printers, to allow use of alternative
              feedstock

The Register declines to recommend the following requested exemptions:

          •   Audiovisual works, for broad-based space-shifting and format-shifting
              (declined due to lack of legal and factual support for exemption)



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          •   Audiovisual works protected by HDCP/HDMI, for non-infringing uses
              (declined due to lack of legal and factual support for exemption)

          •   Access to avionics data (declined due to lack of factual support that
              access controls were protecting copyrighted works)




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II.        Legal Background
           A. Section 1201(a)(1)

In 1998, Congress enacted the DMCA to implement provisions of the World Intellectual
Property Organization (“WIPO”) Copyright Treaty and WIPO Performances and
Phonograms Treaty. Title I of the DMCA added a new chapter 12 to title 17 of the
United States Code, which prohibits circumvention of technological measures employed
by or on behalf of copyright owners to protect access to their works. In enacting section
1201, Congress recognized that the same features making digital technology a valuable
delivery mechanism—the ability to quickly create and distribute near-perfect copies of
works on a vast scale—also carry the potential to enable piracy to a degree unimaginable
in the analog context. As a result, Congress sought to support copyright owners’ use of
mechanisms known as “technological protection measures,” or “TPMs,” when offering
works in digital form.

Specifically, section 1201(a)(1) states, in pertinent part, that “[n]o person shall
circumvent a technological measure that effectively controls access to a work protected
under [title 17].” The phrase “circumvent a technological measure” means “to
descramble a scrambled work, to decrypt an encrypted work, or otherwise to avoid,
bypass, remove, deactivate, or impair a technological measure, without the authority of
the copyright owner.” 18 A technological measure that “effectively controls access to a
work” is one that “in the ordinary course of its operation, requires the application of
information, or a process or a treatment, with the authority of the copyright owner, to
gain access to the work.” 19

In addition to the blanket prohibition on circumvention, Congress created permanent
exemptions to preserve access to works for certain legitimate purposes (e.g., library
browsing, reverse engineering) and to allow users to legally circumvent TPMs in limited
circumstances. As originally drafted, however, section 1201 did not provide a process to
create additional exemptions from the blanket anti-circumvention prohibition. The
House of Representatives Committee on Commerce (“Commerce Committee” or
“Committee”) was concerned that the lack of an ability to waive the circumvention
prohibition might undermine the fair use of copyrighted works. 20 The Committee
concluded that it would be appropriate to “modify the flat prohibition against the
circumvention of effective technological measures that control access to copyrighted
materials, in order to ensure that access for lawful purposes is not unjustifiably



18   17 U.S.C. § 1201(a)(3)(A).
19   Id. § 1201(a)(3)(B).
20   H.R. REP. NO. 105-551, pt. 2, at 36 (1998) (“Commerce Comm. Report”).

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diminished.” 21 Congress thus created this rulemaking proceeding to address lawful
uses of copyrighted works not addressed by the permanent exemptions.

The Commerce Committee characterized the rulemaking proceeding as a “‘fail-safe’
mechanism,” stating that “[t]his mechanism would monitor developments in the
marketplace for copyrighted materials, and allow the enforceability of the prohibition
against the act of circumvention to be selectively waived, for limited time periods, if
necessary to prevent a diminution in the availability to individual users of a particular
category of copyrighted materials.” 22

As ultimately enacted, the “fail-safe” mechanism in section 1201(a)(1) requires the
Librarian of Congress, following a rulemaking proceeding conducted by the Copyright
Office, to publish any class of copyrighted works as to which the Librarian has
determined that noninfringing uses by persons who are users of a copyrighted work are,
or are likely to be, adversely affected by the prohibition against circumvention in the
succeeding three-year period, thereby exempting that class from the prohibition for that
period. 23 The relatively quick three-year turnover of the exemptions was put in place by
Congress to allow the rulemaking to be “fully considered and fairly decided on the basis
of real marketplace developments,” 24 and flexible enough to accommodate these market
developments. The Librarian’s determination must be based upon the Register of
Copyrights’ recommendation. 25 In making her recommendation, the Register consults
with the Assistant Secretary for Communications and Information of the Department of
Commerce, who oversees NTIA. 26

As explained by the Commerce Committee, “[t]he goal of the proceeding is to assess
whether the implementation of technological protection measures that effectively
control access to copyrighted works is adversely affecting the ability of individual users
to make lawful uses of copyrighted works.” 27 To do this, the Register develops a
comprehensive administrative record using information submitted by interested parties,
and makes a recommendation to the Librarian on the basis of that record. 28 Based on the

21   Id.
22   Id.
23   See 17 U.S.C. § 1201(a)(1).
24   Commerce Comm. Report at 36.
25   17 U.S.C. § 1201(a)(1)(C); H.R. REP. NO. 105-796, at 64 (1998) (“Conference Report”).
26   17 U.S.C. § 1201(a)(1)(C).
27   See Commerce Comm. Report at 37.
28See Conference Report at 64 (“[A]s is typical with other rulemaking under title 17, and in
recognition of the expertise of the Copyright Office, the Register of Copyrights will conduct the
rulemaking, including providing notice of the rulemaking, seeking comments from the public,
consulting with the Assistant Secretary for Communications and Information of the Department

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Recommendation, the Librarian promulgates the final rule setting forth any exempted
classes of works.

           B. Relationship to Other Provisions of Section 1201 and Other Laws

Temporary exemptions promulgated under section 1201(a)(1) apply only to
circumventing technological measures that control “access” to copyrighted works.
Section 1201 also contains provisions prohibiting the manufacturing of or trafficking in
technologies, products, services, or devices that are primarily designed or produced for
purposes of circumventing TPMs. Section 1201(a)(2) restricts trafficking in
circumvention devices or services used to circumvent technological measures that
control access to copyrighted works (referred to as “access controls”). 29 Similarly,
section 1201(b) restricts trafficking in products and services used to circumvent
technological measures that protect the exclusive rights of the copyright owners in their
works, including the right to reproduce these works (referred to as “copy controls”). 30
The Register does not have authority to recommend—nor does the Librarian of
Congress have authority to adopt—exemptions for these anti-trafficking prohibitions as
part of the triennial rulemaking process. 31

Section 1201’s permanent exemptions permit specific activities, some of which authorize
both circumvention and trafficking, including:

                •     Section 1201(d), which exempts certain activities of nonprofit libraries,
                      archives, and educational institutions from the circumvention ban in
                      section 1201(a)(1), so that they can “make a good faith determination of
                      whether to acquire a copy of [a] work for the sole purpose of engaging in
                      conduct permitted under this title.”

                •     Section 1201(e), which exempts “any lawfully authorized investigative,
                      protective, information security, or intelligence activity” of the federal or
                      a state government from the anticircumvention and anti-trafficking
                      provisions in section 1201(a)(1), (a)(2), and (b).




of Commerce and any other agencies that are deemed appropriate, and recommending final
regulations in the report to the Librarian.”).
29   17 U.S.C. § 1201(a)(2).
30   Id. § 1201(b).
31See id. § 1201(a)(1)(E) (“Neither the exception under subparagraph (B) from the applicability of
the prohibition contained in subparagraph (A), nor any determination made in a rulemaking
conducted under subparagraph (C), may be used as a defense in any action to enforce any
provision of this title other than this paragraph.”).

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               •   Section 1201(f), which exempts certain “reverse engineering” activities
                   from section 1201(a)(1), (a)(2), and (b), “for the sole purpose of identifying
                   and analyzing those elements of [a computer] program that are necessary
                   to achieve interoperability of an independently created computer
                   program with other programs.”

               •   Section 1201(g), which exempts certain “encryption research” from
                   section 1201(a)(1) and (2) (but not 1201(b)).

               •   Section 1201(h), which permits courts, in applying section 1201(a)(1) and
                   (2) to a “component or part,” to consider whether the component or part
                   is needed to “prevent the access of minors to material on the Internet.”

               •   Section 1201(i), which exempts from section 1201(a)(1) circumvention
                   carried out “solely for the purpose of preventing the collection or
                   dissemination of personally identifying information about a natural
                   person who seeks to gain access to the work protected.”

               •   Section 1201(j), which exempts certain acts of “security testing” from
                   section 1201(a)(1) and (2).

The Librarian cannot exempt any parties from their duty to comply with other laws,
including non-copyright statutes or regulations.

           C. Rulemaking Standards

In adopting the DMCA, Congress imposed legal and evidentiary requirements for the
section 1201 rulemaking proceeding, as discussed below. The Office recently analyzed
the legal and evidentiary standards in its 2017 Section 1201 Report. 32

               1. Burden of Proof

Historically, the Office has stated that “[t]hose who seek an exemption from the
prohibition on circumvention bear the burden of establishing that the requirements for
granting an exemption have been satisfied.” 33 In the Section 1201 Report, the Office
clarified that there are “‘two distinct burdens: the ‘burden of persuasion,’ i.e., which
party loses if the evidence is closely balanced, and the ‘burden of production,’ i.e., which
party bears the obligation to come forward with evidence at different points in the
proceeding.’” 34 The Office noted that practically speaking,


32   See Section 1201 Report at 105–27.
33   See 2015 Recommendation at 13.
34Section 1201 Report at 110 (quoting Shaffer v. Weast, 546 U.S. 49, 56 (2005) (quotation marks and
alterations omitted)).

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           the burden of production will effectively be on exemption proponents,
           simply because they have greater knowledge of and access to evidence
           demonstrating adverse effects on noninfringing uses. Although the
           Office has discretion to engage in independent fact-finding and take
           administrative notice of evidence, the primary way that most evidence
           supporting an exemption will get into the record will continue to be
           through the submissions of proponents, who are usually in the best
           position to provide it. 35

As for the burden of persuasion, the Register will recommend granting an exemption
only “when the preponderance of the evidence in the record shows that the conditions
for granting an exemption have been met.” 36

Thus, “[i]n sum, it is the totality of the rulemaking record (i.e., the evidence provided by
commenters or administratively noticed by the Office) that must, on balance, reflect the
need for an exemption by a preponderance of the evidence. Such evidence must, on the
whole, show that it is more likely than not that users of a copyrighted work will, in the
succeeding three-year period, be adversely affected by the prohibition on circumvention
in their ability to make noninfringing uses of a particular class of copyrighted works.” 37

               2. Defining an Exemption Class

Section 1201(a)(1) specifies that an exemption adopted as part of this rulemaking must
be based on “a particular class of works.” 38 The starting point for any definition of a
“particular class” is the list of categories appearing in section 102 of title 17, such as
literary works, musical works, and sound recordings. 39 But, as Congress made clear,
“the ‘particular class of copyrighted works’ [is intended to] be a narrow and focused subset
of the broad categories of works . . . identified in section 102 of the Copyright Act.” 40 For
example, while the category of “literary works” under section 102(a)(1) “embraces both
prose creations such as journals, periodicals or books, and computer programs of all
kinds,” Congress explained that “[i]t is exceedingly unlikely that the impact of the
prohibition on circumvention of access control technologies will be the same for



35   Id.
36   Id. at 111–12; see 2015 Recommendation at 13–14 (accord).
37   Section 1201 Report at 112.
38   17 U.S.C. § 1201(a)(1)(B).
39STAFF OF H. COMM. ON THE JUDICIARY, 105TH CONG., SECTION-BY-SECTION ANALYSIS OF H.R. 2281
AS PASSED BY THE UNITED STATES HOUSE OF REPRESENTATIVES ON AUGUST 4, 1998, at 7 (Comm. Print
1998) (“House Manager’s Report”).
40   Commerce Comm. Report at 38 (emphasis added).

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scientific journals as it is for computer operating systems.” 41 Thus, “these two categories
of works, while both ‘literary works,’ do not constitute a single ‘particular class’ for
purposes of” section 1201(a)(1). 42

At the same time, Congress emphasized that the Librarian “should not draw the
boundaries of ‘particular classes’ too narrowly.” 43 Thus, while the category of “motion
pictures and other audiovisual works” in section 102 “may appropriately be subdivided,
for purposes of the rulemaking, into classes such as ‘motion pictures,’ [or] ‘television
programs,’” it would be inappropriate “to subdivide overly narrowly into particular
genres of motion pictures, such as Westerns, comedies, or live action dramas.” 44

Determining the appropriate scope of a “class of works” for an exemption may also
consider the adverse effects an exemption may have on the market for or value of
copyrighted works. For example, the class might be defined in part by reference to the
medium on which the works are distributed, or even to the access control measures
applied to them. In particular, classes may be refined by reference to the particular type
of use and/or user to which the exemption will apply. 45 In some cases, “the Office’s
ability to narrowly define the class is what enable[s] it to recommend the exemption at
all.” 46

In sum, “[d]eciding the scope or boundaries of a ‘particular class’ of copyrighted works
as to which the prohibition contained in section 1201(a)(1) has been shown to have had
an adverse impact is an important issue” to be determined based upon the law and facts
developed in the proceeding. 47 Accordingly, the Register will look to the specific record
before her to assess the proper scope of the class for a proposed exemption.

               3. Evidentiary Standards

In considering whether to recommend an exemption, the Register inquires: “Are users of
a copyrighted work adversely affected by the prohibition on circumvention in their ability to make
noninfringing uses of a class of copyrighted works, or are users likely to be so adversely affected
in the next three years?” 48 This test breaks down into several elements.



41   House Manager’s Report at 7.
42   Id.
43   Id.
44   Id.
45   2015 Recommendation at 17–18; Section 1201 Report at 26.
46   See Section 1201 Report at 109.
47   House Manager’s Report at 7.
48   Section 1201 Report at 114–15; see 17 U.S.C. § 1201(a)(1)(C).

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                    a. Copyrightable Works at Issue

The first requirement for an exemption is that the class includes at least some works
protected by copyright. 49 This requirement comes directly from the statute, which refers
to a “class of copyrighted works” and provides that the circumvention ban applies only
to a TPM that controls access to “a work protected under this title.” 50

                    b. Noninfringing Use

The second requirement is that the proposed uses are noninfringing under title 17. 51
Past proceedings have considered a variety of noninfringing bases when evaluating
proposed uses, including fair use (section 107), the exceptions for libraries and archives
(section 108), and certain adaptations of computer programs (section 117). As the Office
has explained:

           The Register will look to the Copyright Act and relevant judicial
           precedents when analyzing whether a proposed use is likely to be
           noninfringing. The statutory language requires that the use is or is likely
           to be noninfringing, not merely that the use might plausibly be
           considered noninfringing. As the Register has indicated previously, there
           is no “rule of doubt” favoring an exemption when it is unclear that a
           particular use is a fair or otherwise noninfringing use. Thus, [the record]
           must show more than that a particular use could be noninfringing.
           Rather, the [record] must establish that the proposed use is likely to
           qualify as noninfringing under relevant law. 52

While “this standard does not require ‘controlling precedent directly on point,’” “the
rulemaking is not an appropriate venue for breaking new ground in fair use
jurisprudence.” 53 Proponents must therefore provide sufficient detail so that the
proposed uses are cognizable for the Register to evaluate them and determine whether
they are likely to be noninfringing under relevant statutory and case law.

                    c. Causation

The third requirement is that the statutory prohibition on circumventing access controls
is the cause of the adverse effects. 54 “Adverse impacts that flow from other sources, or

49   Section 1201 Report at 115; see 17 U.S.C. § 1201(a)(1)(A), (a)(1)(C).
50   17 U.S.C. § 1201(a)(1)(A).
51   Section 1201 Report at 115–17; see 17 U.S.C. § 1201(a)(1)(C).
52   2015 Recommendation at 15; see Section 1201 Report at 115–16.
53   Section 1201 Report at 116–17 (quoting 2010 Recommendation at 12).
54   Id. at 115, 117; see 17 U.S.C. § 1201(a)(1)(C).

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that are not clearly attributable to implementation of a technological protection measure,
are outside the scope of the rulemaking.” 55 For example, adverse effects stemming from
“marketplace trends, other technological developments, or changes in the roles of
libraries, distributors or other intermediaries” are not cognizable harms under the
statute. 56

                    d. Adverse Effects and the Statutory Factors

The final requirement is that users are either adversely affected, or are likely to be
adversely affected, in their ability to make noninfringing uses during the next three
years. 57 Proponents must show a need for circumvention to avoid any alleged adverse
effects. This element is analyzed in reference to section 1201(a)(1)(C)’s statutory factors:
         (i)   the availability for use of copyrighted works;
        (ii)   the availability for use of works for nonprofit archival, preservation, and
               educational purposes;
       (iii)   the impact that the prohibition on the circumvention of technological
               measures applied to copyrighted works has on criticism, comment, news
               reporting, teaching, scholarship, or research;
       (iv)    the effect of circumvention of technological measures on the market for or
               value of copyrighted works; and
        (v)    such other factors as the Librarian considers appropriate. 58
In applying these factors, the Register “balances ‘[t]he harm identified by a proponent of
an exemption . . . with the harm that would result from an exemption.’” 59 Weighing
these factors may also require consideration of the benefits that the technological
measure brings with respect to the overall creation and dissemination of works in the
marketplace, in addition to any negative impact. As Congress explained, “the
rulemaking proceedings should consider the positive as well as the adverse effects of
these technologies on the availability of copyrighted materials.” 60

Congress stressed that the “main focus of the rulemaking proceeding” should be on
whether a “substantial diminution” of the availability of works for noninfringing uses is

55   Commerce Comm. Report at 37; House Manager’s Report at 6 (similar).
56   House Manager’s Report at 6.
57   Section 1201 Report at 115; see 17 U.S.C. § 1201(a)(1)(C).
58   17 U.S.C. § 1201(a)(1)(C); see Section 1201 Report at 115, 118.
59Section 1201 Report at 118 (alteration and omission in original) (quoting Exemption to
Prohibition on Circumvention of Copyright Protection Systems for Access Control Technologies,
76 Fed. Reg. 60,398, 60,403 (Sept. 29, 2011)).
60   House Manager’s Report at 6.

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“actually occurring” in the marketplace. 61 To prove the existence of adverse effects, it is
necessary to demonstrate “distinct, verifiable and measurable impacts” occurring in the
marketplace, as exemptions “should not be based upon de minimis impacts.” 62 Thus,
“mere inconveniences” or “individual cases” do not satisfy the rulemaking standard. 63

To the extent a proponent relies on claimed future impacts rather than existing impacts,
such future adverse impacts must be “likely.” 64 An exemption may be based upon
anticipated, rather than actual, adverse impacts “only in extraordinary circumstances in
which the evidence of likelihood of future adverse impact during that time period is
highly specific, strong and persuasive.” 65

In sum, for a finding of adverse effects, the evidence in the record “cannot be
hypothetical, theoretical, or speculative, but must be real, tangible, and concrete.
Ultimately, the evidence must show that adverse effects are not merely possible, but
probable (i.e., more likely than not to be occurring or likely to occur in the next three
years).” 66

           D. Streamlined Renewal Process

Following a comprehensive policy study, and in response to stakeholder feedback, for
this seventh triennial proceeding, the Copyright Office introduced a streamlined process
to renew section 1201 exemptions adopted during the 2015 rulemaking. 67 Previously, in
recognition of legislative history stating that the basis of an exemption should be
established de novo in each triennial proceeding, 68 the Office had required the factual
record be developed anew in each rulemaking. 69 In its Section 1201 Report, the Office
evaluated the possibility of a renewal process, noting a “broad consensus in favor of
streamlining the process for renewing exemptions to which there is no meaningful
opposition.” 70 As described in further detail in that report, the Office ultimately


61   Id.
62   Commerce Comm. Report at 37.
63   House Manager’s Report at 6.
64   17 U.S.C. § 1201(a)(1)(B), (C).
65   House Manager’s Report at 6.
66   Section 1201 Report at 120–21.
67   Id. at 127–28.
68See Commerce Comm. Report at 37 (explaining that for every rulemaking, “the assessment of
adverse impacts on particular categories of works is to be determined de novo”).
69Exemptions to Permit Circumvention of Access Controls on Copyrighted Works, 82 Fed. Reg.
29,804, 29,805 (June 30, 2017) (“NOI”).
70   Section 1201 Report at vi.

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concluded that “the statutory language appears to be broad enough to permit
determinations to be based upon evidence drawn from prior proceedings, but only upon
a conclusion that this evidence remains reliable to support granting an exemption in the
current proceeding.” 71 The Office further concluded that renewal may be sought only
for exemptions in their current form, without modification, and that the Register “must
apply the same evidentiary standards in recommending the renewal of exemptions as
for first-time exemption requests.” 72

The Office detailed the renewal process in its notices for this proceeding. 73 Streamlined
renewal is based upon a determination that, due to a lack of legal, marketplace, or
technological changes, the factors that led the Register to recommend adoption of the
exemption in the prior rulemaking are expected to continue into the forthcoming
triennial period. 74 That is, the same material facts and circumstances underlying the
previously-adopted regulatory exemption may be relied on to renew the exemption. 75
Because the statute itself requires that exemptions must be adopted upon a fresh
determination concerning the next three-year period, the fact that the Librarian
previously adopted an exemption creates no presumption that readoption is
appropriate. Instead, the Office first solicited petitions summarizing the basis for
claiming a continuing need and justification for the exemption, and petitioners signed a
declaration stating that, to the best of their personal knowledge, there had not been any
material change in the facts, law, or other circumstances set forth in the prior rulemaking
record such that renewal of the exemption would not be justified. 76

Next, the Office solicited comments from participants opposing the readoption of the
exemption. Opponents were required to provide evidence that would allow the Acting
Register to reasonably conclude that the prior rulemaking record and any further
information provided in the petitions are insufficient for her to recommend renewal
without the benefit of a further developed record. For example, a change in case law
might affect whether a particular use is noninfringing, new technological developments
might affect the availability for use of copyrighted works, or new business models might




71   Id. at 143.
72   Id. at 142, 145.
 NOI at 29,805–07; Exemptions to Permit Circumvention of Access Controls on Copyrighted
73

Works, 82 Fed. Reg. 49,550, 49,552 (Oct. 26, 2017) (“NPRM”).
74   NOI at 29,806; NPRM at 49,552.
75   Section 1201 Report at 143–44; NOI at 29,806; NPRM at 49,552.
76   NPRM at 49,552.

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affect the market for or value of copyrighted works. 77 If the appropriateness of renewing
an exemption was meaningfully contested by requiring a material change in the relevant
law or facts—as detailed below, none were—that exemption would have been
automatically treated as a petition for a new exemption instead. That is, it would be
fully noticed for written comment and public hearing to generate an updated
administrative record for the Register to evaluate whether to recommend readoption,
modification, or elimination of that exemption to the Librarian. 78

Separately, as in prior rulemakings, the Office solicited petitions proposing that the
Acting Register recommend new exemptions for activities not included in the 2015 final
rule. Petitions seeking to expand upon a current exemption to include activities that
were not included in the 2015 rulemaking were considered as petitions for new
exemptions, since a sufficient administrative record had not yet been created to consider
such additional activities. 79 In considering requests to expand exemptions, however, the
Acting Register will consider the relevance, if any, of the prior administrative record
where it has been established that there have been no material changes in the facts or
law. For example, the enduring presence of TPMs on some models of 3D printers was
established through the streamlined renewal process for the 2015 3D printing
exemption, and need not be independently demonstrated when considering whether to
modify that regulatory language to permit a broader range of activities, in connection
with Class 12 below.

The streamlined process elicited favorable responses during the 2018 rulemaking
hearings. 80 As detailed below, as a result of this new process, the Acting Register was
able to recommend renewal of all exemptions adopted in the 2015 rulemaking, and
subsequently consider whether some of them should be modified to accommodate
additional new uses through the development of an expanded administrative record.




77See Tr. at 200:19–201:10 (May 19, 2016) (Sheffner, MPAA). Transcripts of the hearings are
available at https://www.copyright.gov/1201/2018/hearing-transcripts/. Exhibits introduced at
the hearings are available at https://www.copyright.gov/1201/2018/exhibits-043018/.
78See NPRM at 49,554 (stating that if a renewal petition is meaningfully opposed, “the exemption
would be considered pursuant to the more comprehensive rulemaking process (i.e., three rounds
of written comment, followed by public hearings)”).
79   NOI at 29,806.
80See, e.g., Tr. at 7:08–13 (Apr. 13, 2018) (Weinberg) (“I really appreciate the structure of this
process this time around.”); Tr. at 5:24–6:05 (Apr. 12, 2018) (Reid, ATSP) (“The work that you did
to do the streamline process that avoided us having to rebuild the record from scratch. That was
a major reduction in burden on some organizations that needed it.”).

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III.       History of Seventh Triennial Proceeding
In this rulemaking, the Copyright Office used the phased comment structure introduced
in the last proceeding, to best facilitate a clear and thorough record. As promised in its
Section 1201 Report, 81 the Office also created video tutorials explaining the rulemaking
process, issued the NPRM earlier to give parties more time to participate, and offered
increased opportunities for participant input, including through an established
procedure for transparent ex parte meetings.

The Office initiated the seventh triennial rulemaking proceeding through a NOI on June
30, 2017, 82 two and a half months earlier than in the sixth rulemaking to better
accommodate participation by student legal clinics. The NOI requested petitions for
renewals, petitions in opposition to renewal, and any petitions for new exemptions. In
response, the Office received thirty-nine renewal petitions, five comments regarding the
scope of the renewal petitions, and one comment in opposition to renewal of a current
exemption. 83 The Office also received twenty-three petitions for new exemptions,
including seventeen seeking to expand certain current exemptions, and six petitions for
new exemptions.

On October 26, 2017, the Office issued its NPRM identifying the existing exemptions for
which the Acting Register intended to recommend renewal, and outlined the proposed
classes for new exemptions (including proposed expansions of previously-adopted
exemptions), for which three rounds of public comments were initiated. 84 Those classes
were organized into twelve classes of works. Seven of the twelve proposed exemptions
seek expansions of existing exemptions, while five propose new exemptions. The Office
received 181 total submissions in response to the NPRM, substantially fewer than the
approximately 40,000 submissions received in the last rulemaking.

After analyzing the written comments, the Office included seven days of hearings in
Washington, D.C. (April 10–13) and Los Angeles, California (April 23–25). For the first
time, the roundtables at both locations held audience participation panels and were live
streamed online. Video recordings for these roundtables are available through the
Office’s website and YouTube pages. 85 In total, the Office heard testimony from seventy-

81   Section 1201 Report at 149–51.
82   NOI at 29,804.
83The submissions received in response to the NOI are available at https://www.copyright.gov/
1201/2018/. References to these submissions are by party name (abbreviated where appropriate)
followed by either “Renewal Pet.,” class number and “Pet.,” or “Renewal Comment,” as
applicable.
84   NPRM at 49,550.
85   See https://www.copyright.gov/1201/2018/ and https://www.youtube.com/uscopyrightoffice/.

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seven individuals. After the hearings, the Office issued questions to hearing participants
in four proposed classes and received eighteen responses. 86 Subsequently, the Office
received an unsolicited letter from CCIPS regarding proposed Class 10, and the Office
solicited comments from Class 10 participants in response. 87

As noted in its NPRM, the Office determined that further informal communications with
non-governmental participants might be beneficial in limited circumstances. 88 The
Office thus established guidelines for ex parte meetings, noting that the Office will not
consider or accept any new documentary materials at these meetings, and requiring
participants to provide a letter summarizing the meeting for the Office to include in the
rulemaking record. 89 The Office held nine ex parte meetings with participants
concerning five proposed classes. 90

As required by section 1201(a)(1), the Acting Register consulted with NTIA during this
rulemaking. NTIA provided input at various stages and participated in the public
hearings held in Washington, D.C. and Los Angeles. NTIA formally communicated its
views on each of the proposed exemptions to the Acting Register on September 25, 2018.
The Office addresses NTIA’s substantive views on the proposed classes below.




86Participants’ post-hearing letter responses are available at https://www.copyright.gov/1201/
2018/post-hearing/answers/.
87Letter from John T. Lynch, Jr., Chief, Computer Crime & Intellectual Property Section, Criminal
Division, U.S. Department of Justice, to Regan A. Smith, General Counsel & Associate Register of
Copyrights, U.S. Copyright Office (June 28, 2018), https://www.copyright.gov/1201/2018/USCO-
letters/USDOJ_Letter_to_USCO.pdf (“CCIPS Letter”).
88NPRM at 49,563; see Section 1201 Report at 150–51 (documenting stakeholder desire for such a
process).
89   NPRM at 49,563.
90See U.S. Copyright Office, Ex Parte Communications (last visited Sept. 27, 2018),
https://www.copyright.gov/1201/2018/ex-parte-communications.html.

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IV.        Renewal Recommendations
As set forth in the NPRM, the Acting Register received petitions to renew every one of
the exemptions adopted pursuant to the sixth triennial rulemaking. To the extent any
renewal petition proposed uses beyond the current exemption, the Office disregarded
those portions of the petition for purposes of considering the renewal of the exemption,
and instead focused on whether it provided sufficient information to warrant readoption
of the exemption in its current form. 91 While a single party filed an opposition to
renewal of one existing exemption, the Acting Register concluded that its opposition was
not sufficiently meaningful to undermine the conclusion that the record and legal
reasoning from the prior rulemaking supported renewal. 92

The Acting Register now finalizes the NPRM’s proposal to recommend renewal of these
exemptions based on the information provided in the renewal petitions and the lack of
opposition, which demonstrated that the conditions that led to adoption of the
exemptions are likely to continue during the next triennial period. The existing
exemptions, and the bases for the recommendation to readopt each exemption in
accordance with the streamlined renewal process, are briefly summarized below. Where
noted, these exemptions serve as a baseline in considering subsequent requests for
expansion. The recommended regulatory language for all exemptions in this
rulemaking (including “straight renewals,” expanded exemptions, and wholly new
exemptions, is set forth in the Appendix.

Literary works distributed electronically – assistive technologies. Multiple organizations
petitioned to renew the exemption for literary works distributed electronically (i.e., e-
books), for use with assistive technologies for persons who are blind, visually impaired,
or have print disabilities. 93 No oppositions were filed against readoption of this
exemption. The petitions demonstrated the continuing need and justification for the
exemption, stating that individuals who are blind, visually impaired, or print disabled
are significantly disadvantaged with respect to obtaining accessible e-book content
because TPMs interfere with the use of assistive technologies such as screen readers and
refreshable Braille displays. 94 In addition, the petitioners demonstrated personal



91   See, e.g., NPRM at 49,554.
92   Id. at 49,554; see also NOI at 29,807 (describing “meaningful opposition” standard).
93Am. Found. for the Blind (“AFB”), Am. Council of the Blind (“ACB”), Samuelson-Glushko Tech.
Law & Policy Clinic at Colo. Law (“Samuelson-Glushko TLPC”) & Lib. Copyright Alliance
(“LCA”) Renewal Pet.; Univ. of Mich. Lib. Copyright Office (“UMLCO”) eBooks Renewal Pet.; see
37 C.F.R. § 201.40(b)(2) (2016).
 AFB, ACB, Samuelson-Glushko TLPC & LCA eBooks Renewal Pet. at 3; UMLCO eBooks
94

Renewal Pet. at 3.

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knowledge and experience with regard to the assistive technology exemption; they are
all organizations that advocate for the blind, visually impaired, and print disabled. 95

Literary works – compilations of data generated by implanted medical devices – to access personal
data. Hugo Campos, a member of the Coalition of Medical Device Patients and
Researchers, petitioned to renew the exemption covering access to patient data on
networked medical devices. 96 No oppositions were filed against the petition to renew
this exemption. Mr. Campos’s petition demonstrated the continuing need and
justification for the exemption, stating that patients continue to need access to data
output from their medical devices to manage their health. 97 Mr. Campos demonstrated
personal knowledge and experience with regard to this exemption, as he is a patient
needing access to the data output from his medical device, and is a member of the
Coalition of Medical Device Patients and Researchers, a coalition whose members
research, comment on, and examine the effectiveness of networked medical devices. 98

Computer programs – “unlocking” of cellphones, tablets, mobile hotspots, or wearable devices.
Multiple organizations petitioned to renew the exemption for computer programs that
operate cellphones, tablets, mobile hotspots, or wearable devices (e.g., smartwatches), to
allow connection of a used device to an alternative wireless network (“unlocking”). 99
No oppositions were filed against renewal of this exemption. The petitions demonstrate
the continuing need and justification for the exemption, stating that consumers of the
enumerated products continue to need to be able to unlock the devices so they can
switch network providers. For example, the Institute of Scrap Recycling Industries, Inc.
(“ISRI”) stated that its members continue to purchase or acquire donated cell phones
and tablets, and try to reuse them, but that wireless carriers still lock devices to prevent
them from being used on other carriers. 100 In addition, the petitioners demonstrated
personal knowledge and experience with regard to this exemption: CCA, Owners’
Rights Initiative (“ORI”), and ISRI represent companies that rely on the ability to unlock
cellphones. A number of the petitioners also participated in past section 1201 triennial
rulemakings relating to unlocking lawfully-acquired wireless devices.

This existing exemption serves as the baseline in assessing whether to recommend any
expansions in Class 5.

 See AFB, ACB, Samuelson-Glushko TLPC & LCA eBooks Renewal Pet. at 1; UMLCO eBooks
95

Renewal Pet. at 3.
96   Campos Compilations of Data Renewal Pet.; see 37 C.F.R. § 201.40(b)(10) (2016).
97   Campos Compilations of Data Renewal Pet. at 3.
98   Id. at 3.
99See Competitive Carriers Ass’n Unlocking Renewal Pet.; Consumers Union Unlocking Renewal
Pet.; ISRI Unlocking Renewal Pet.; ORI Unlocking Renewal Pet.; see 37 C.F.R. § 201.40(b)(3) (2016).
100   ISRI Unlocking Renewal Pet. at 3.

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Computer programs – “jailbreaking” of smartphones, smart TVs, tablets, or other all-purpose
mobile computing devices. Multiple organizations petitioned to renew the exemptions for
computer programs that operate smartphones, smart TVs, tablets, or other all-purpose
mobile computing devices, to allow the device to interoperate with or to remove
software applications (“jailbreaking”). 101 The petitions demonstrate the continuing need
and justification for the exemption, and that petitioners had personal knowledge and
experience with regard to this exemption. Specifically, the petitions state that, absent an
exemption, TPMs applied to the enumerated products would have an adverse effect on
noninfringing uses, such as being able to install third-party applications on a
smartphone or download third-party software on a smart TV to enable
interoperability. 102 For example, the Electronic Frontier Foundation’s (“EFF’s”) petition
outlined its declarant’s experience searching current mobile computing device markets
and technologies, working as a software engineer, and participating in four prior section
1201 rulemakings. 103 Similarly, the Libiquity petition was submitted by a person who
“work[s] with the operating system and many of the system libraries that lie at the core
of the firmware systems of a large majority of smartphones, portable all-purpose mobile
computing devices, and smart televisions.” 104 In a brief two-page comment, BSA | The
Software Alliance (“BSA”) opposed the readoption of this exemption, stating that
“alternatives to circumvention exist,” and that “jailbreaking can undermine the integrity
and security of a platform’s operating system in a manner than facilitates copyright
infringement and exposes users to heightened risks of privacy violations.” 105

In the NPRM, the Office concluded that BSA’s opposition was not sufficient to draw the
conclusion that the past rulemaking record is no longer reliable, or that the reasoning
adopted in the Register’s 2015 Recommendation cannot be relied upon for the next
three-year period. 106 Specifically, the Office stated that BSA’s comment largely re-
articulated a general opposition to a jailbreaking exemption, and noted that the past
three rulemakings have adopted some form of an exemption for jailbreaking certain
types of mobile computing devices. 107 The Office also found that BSA had failed to


  EFF Jailbreaking Renewal Pet.; Libiquity Jailbreaking Renewal Pet.; New Media Rights
101

(“NMR”) Jailbreaking Renewal Pet.; Software Freedom Conservancy (“SFC”) Jailbreaking
Renewal Pet.; see 37 C.F.R. § 201.40(b)(4)–(5) (2016).
102EFF Jailbreaking Renewal Pet. at 3–4; Libiquity Jailbreaking Renewal Pet. at 3, 5; NMR
Jailbreaking Renewal Pet. at 3, 5; SFC Jailbreaking Renewal Pet. at 3, 5.
103   EFF Jailbreaking Renewal Pet. at 3.
104   Libiquity Jailbreaking Renewal Pet. at 3.
105   BSA Jailbreaking Renewal Comment at 1–2.
106   NPRM at 49,554 (citing NOI at 29,807).
  Id. (citing Exemption to Prohibition on Circumvention of Copyright Protection Systems for
107

Access Control Technologies, 80 Fed. Reg. 65,944, 65,952–53 (Oct. 28, 2015) (“2015 Final Rule”);

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identify any specific circumvention alternatives, changes in case law, new technological
developments, or new issues that had not already been considered and evaluated in
granting the exemption previously. 108

This existing exemption 109 serves as the baseline in assessing whether to recommend an
expansion in Class 6.

Computer programs – diagnosis, repair, and lawful modification of motorized land vehicles.
Multiple organizations petitioned to renew the exemption for computer programs that
control motorized land vehicles, including farm equipment, for purposes of diagnosis,
repair, and modification of the vehicle. 110 The petitions demonstrated the continuing
need and justification for the exemption to prevent owners of motorized land vehicles
from being adversely impacted in their ability to diagnose, repair, and modify their
vehicles as a result of TPMs that protect the copyrighted computer programs on the
electronic control units (“ECUs”) that control the functioning of the vehicles. For
example, the Auto Care Association (“Auto Care”), Consumer Technology Association
(“CTA”), iFixit, and ORI stated that “approximately 20 percent of American consumers
buy automotive parts and products to maintain and repair their own vehicles.” 111
American Farm Bureau Federation similarly remarked that many agricultural vehicles
are now “equipped with computers that monitor and control vehicle function,” and
many agricultural equipment manufacturers have adopted TPMs that restrict access to
such computer software. 112 Indeed, the Motor & Equipment Manufacturers Association
(“MEMA”), which during the sixth triennial rulemaking initially opposed any
exemption that would impact the software and TPMs in vehicles, now supports the
exemption as striking “an appropriate balance between encouraging marketplace
competition and innovation while mitigating the impact on safety, regulatory, and



Exemption to Prohibition on Circumvention of Copyright Protection Systems for Access Control
Technologies, 77 Fed. Reg. 65,260, 65,263–64 (Oct. 26, 2012) (“2012 Final Rule”); Exemption to
Prohibition on Circumvention of Copyright Protection Systems for Access Control Technologies,
75 Fed. Reg. 43,825, 43,828–30 (July 27, 2010)).
108   NPRM at 49,554.
109After the Acting Register delivered her Recommendation to the Librarian on October 5, 2018,
the Federal Register provided the Office with non-substantive corrections to the regulatory text to
ensure compliance with the Code of Federal Regulations’ formatting requirements. The
regulatory text provided in this Recommendation has been updated to reflect those edits.
  Auto Care, CTA, iFixit & ORI Repair Renewal Pet.; Am. Farm Bureau Fed’n (“AFBF”) Repair
110

Renewal Pet.; EFF Repair Renewal Pet.; MEMA Repair Renewal Pet.; Intellectual Prop. & Tech.
Law Clinic, Univ. of S. Cal. Repair Renewal Pet.; see 37 C.F.R. § 201.40(b)(6) (2016).
111   Auto Care, CTA, iFixit & ORI Repair Renewal Pet. at 3.
112   AFBF Renewal Pet. at 3.

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environmental compliance.” 113 The petitioners demonstrated personal knowledge and
experience with regard to this exemption; each either represents or gathered information
from individuals conducting repairs or businesses that manufacture, distribute, and sell
motor vehicle parts, and perform vehicle service and repair.

This existing exemption serves as the baseline in assessing whether to recommend any
expansions in Class 7.

Computer programs – security research. Multiple organizations and security researchers
petitioned to renew the exemption for purposes of good-faith security research. 114 The
petitioners demonstrated the continuing need and justification for the exemption, and
personal knowledge and experience with regard to this exemption. For example,
Professors Bellovin, Blaze, and Heninger stated that they have conducted their own
security research in reliance on the existing exemption, and that they “regularly engage”
with other security researchers who have similarly relied on the exemption. 115 They
provided an example of a recent computer security conference in which thousands of
participants relied on the existing exemption to examine and test electronic voting
devices—the results of which were reported to election officials to improve the security
of their voting systems. 116

This existing exemption serves as the baseline in assessing whether to recommend any
expansions in Class 10.

Computer programs – 3D printers. Michael Weinberg and ORI jointly petitioned to renew
the exemption for computer programs that operate 3D printers to allow use of
alternative feedstock. 117 No oppositions were filed against readoption of this exemption.
The petition demonstrated the continuing need and justification for the exemption, and
the petitioner demonstrated personal knowledge and experience. Specifically, Mr.
Weinberg petitioned for the existing exemption and “continued to participate in the
review of that exemption . . . in his personal capacity.” 118 In addition, the petition states




113   MEMA Repair Renewal Pet. at 3.
  Bellovin, Blaze & Heninger (collectively, “Joint Security Researchers”) Security Research
114

Renewal Pet.; Campos Security Research Renewal Pet.; Ctr. for Democracy & Tech. (“CDT”)
Security Research Renewal Pet.; Felten, Halderman & ORI Security Research Renewal Pet.;
Libiquity Security Research Renewal Pet.; see 37 C.F.R. § 201.40(b)(7) (2016).
115   Joint Security Researchers Security Research Renewal Pet. at 3.
116   Id.
117   Weinberg & ORI 3D Printers Renewal Pet.; see 37 C.F.R. § 201.40(b)(9).
118   Weinberg & ORI 3D Printers Renewal Pet. at 3.

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that printers continue to restrict the use of third-party feedstock, thereby requiring
renewal of the exemption. 119

This existing exemption serves as the baseline in assessing whether to recommend any
expansions in Class 12.

Video games requiring server communication – for continued individual play and preservation of
games by libraries, archives, and museums. Multiple organizations petitioned to renew the
exemption for video games for which outside server support has been discontinued. 120
The petitions stated that libraries and museums continue to need the exemption to
preserve and curate video games in playable form. 121 In addition, the petitioners
demonstrated personal knowledge and experience with regard to this exemption
through past participation in the section 1201 triennial rulemaking relating to access
controls on video games and consoles, and/or representing major library associations
with members that have relied on this exemption.

This existing exemption serves as the baseline in assessing whether to recommend any
expansions in Class 8.

Audiovisual works – educational and derivative uses. Multiple individuals and organizations
petitioned to renew an exemption containing multiple subparts covering use of short
portions of motion pictures for various educational and derivative uses. 122 No
oppositions were filed. Petitions to renew the various subparts of the exemption are
discussed below. The existing exemption and its various subparts collectively serve as
the baseline in assessing whether to recommend any expansions in Class 1.

Audiovisual uses – educational uses – colleges and universities. Multiple individuals and
organizations petitioned to renew the exemption’s subpart covering use of motion
pictures for educational uses by college and university instructors and students. 123 No
oppositions were filed against readoption. The petitions demonstrated the continuing


119   Id.
  EFF Video Game Renewal Pet.; LCA Video Game Renewal Pet.; UMLCO Video Game Renewal
120

Pet.; see 37 C.F.R. § 201.40(b)(8).
121   See UMLCO Video Game Renewal Pet. at 3.
  See 37 C.F.R. § 201.40(b)(1). In the 2015 rulemaking, this recommended regulatory language
122

was the result of consideration of seven proposed classes of works. See 2015 Recommendation at
24–28.
123Decherney, Sender, Carpini, ICA, Dep’t of Commc’n Studies at the Univ. of Mich. (“DCSUM”),
Soc’y for Cinema & Media Studies (“SCMS”) (collectively, “Joint Educators”) AV Univ. Renewal
Pet.; AAUP & LCA AV Univ. Renewal Pet.; Hobbs & Nat’l Ass’n for Media Literary Educ.
(“NAMLE”) AV Univ. Renewal Pet.; UMLCO AV Univ. Renewal Pet.; see 37 C.F.R.
§ 201.40(b)(1)(iv).

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need and justification for the exemption, and personal knowledge and experience with
regard to the exempted use. For example, Joint Educators, the American Association of
University Professors (“AAUP”), and LCA stated that courses on video essays (or
multimedia or videographer criticism), now taught at many universities, would not be
able to exist without relying on this exemption. 124 Without this exemption, Joint
Educators, AAUP, and LCA assert that educators would be “unable to provide an
enriching and accurate description and analysis of cinematic or other audiovisual works
when prevented from accessing such works due to TPM[s]” 125—and their declarant,
Professor Decherney, has personally relied upon this exemption to teach a course on
multimedia criticism. 126 Similarly, Professor Hobbs, who represents more than 17,000
digital and media literacy educators, and NAMLE, an organization devoted to media
literacy with more than 3,500 members, stated that “sometimes teachers must
circumvent a DVD protected by the Content Scramble System when screen-capture
software or other non-circumventing alternatives are unable to produce the required
level of high-quality content.” 127

Audiovisual works – educational uses – primary and secondary schools (K-12). Multiple
organizations petitioned to renew the exemption’s subparts covering use of motion
picture clips for educational uses by K-12 instructors and students. 128 No oppositions
were filed against readoption. The petitions demonstrated the continuing need and
justification for the exemption, stating that K-12 instructors and students continue to
rely on excerpts from digital media for class presentations and coursework, and must
sometimes use screen-capture technology. 129 In addition, the petitioners demonstrated
personal knowledge and experience with regard to the exempted use through
representation of thousands of digital and literacy educators and/or members
supporting K-12 instructors and students, combined with past participation in the
section 1201 rulemaking. 130

Audiovisual works – educational uses – massive open online courses (“MOOCs”). Joint
Educators, SCMS, and LCA petitioned to renew the exemption’s subpart covering use of
motion picture clips for educational uses in MOOCs. 131 No oppositions were filed

124   Joint Educators, AAUP & LCA AV Univ. Renewal Pet. at 3.
125   Id.
126   Id.
127   Hobbs & NAMLE AV Univ. Renewal Pet. at 3.
128LCA AV K-12 Renewal Pet.; Hobbs & NAMLE AV K-12 Renewal Pet.; see 37 C.F.R.
§ 201.40(b)(1)(vi).
129   LCA AV K-12 Renewal Pet. at 3; Hobbs & NAMLE AV K-12 Renewal Pet. at 3.
130   LCA AV K-12 Renewal Pet. at 3; Hobbs & NAMLE AV K-12 Renewal Pet. at 3.
131   Joint Educators & LCA MOOCs Renewal Pet.; see 37 C.F.R. § 201.40(b)(1)(v).

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against readoption. The petition demonstrated the continuing need and justification for
the exemption, stating that instructors continue to rely on the exemption to develop,
provide, and improve MOOCs, as well as increase the number of (and therefore access
to) MOOCs in the field of film and media studies. 132 In addition, declarant Professor
Decherney, demonstrated personal knowledge by describing his reliance on the
exemption to teach MOOCs on film and media studies, as well as his past participation
in the section 1201 rulemaking, along with other petitioners. 133

Audiovisual works – educational uses – educational programs operated by libraries, museums,
and other nonprofits. Multiple organizations petitioned to renew the exemption’s subpart
covering use of motion picture clips for educational uses in digital and literacy programs
offered by libraries, museums, and other nonprofits. 134 No oppositions were filed
against readoption. The petitions demonstrated the continuing need and justification for
the exemption, and demonstrated personal knowledge and experience with regard to
the exempted use. For example, LCA stated that librarians across the country have
relied on the current exemption and will continue to do so for their digital and literacy
programs. 135 In addition, Professor Hobbs and NAMLE stated that librarians will
continue to rely on this exemption for their digital and literacy programs and to advance
the digital media knowledge of their patrons. 136

Audiovisual works – derivative uses – multimedia e-books offering film analysis. A professor
and two organizations collectively petitioned to renew the subpart of the exemption
covering the use of motion picture clips for multimedia e-books offering film analysis. 137
No oppositions were filed against readoption. The petition demonstrated the continuing
need and justification for the exemption, attesting that the availability of video necessary
for authors to undertake film analysis in e-books continues to be “limited to formats
encumbered by technological protection measures.” 138 In addition, the petitioners
demonstrated personal knowledge through Professor Buster’s continued work on an e-
book series based on her lecture series, “Deconstructing Master Filmmakers: The Uses of
Cinematic Enchantment,” and Authors Alliance’s feedback that its members continue to
desire authoring e-books that incorporate film for the purpose of analysis. 139

132   Joint Educators & LCA AV MOOCs Renewal Pet. at 3.
133   Id.
134LCA AV Nonprofit Renewal Pet.; Hobbs & NAMLE AV Nonprofit Renewal Pet.; see 37 C.F.R.
§ 201.40(b)(1)(viii).
135   LCA AV Nonprofit Renewal Pet. at 3.
136   Hobbs & NAMLE AV Nonprofit Renewal Pet. at 3.
137   Buster, Authors All. & AAUP AV eBooks Renewal Pet.; see 37 C.F.R. § 201.40(b)(1)(iii).
138   Buster, Authors All. & AAUP AV eBooks Renewal Pet. at 3.
139   See id.

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Audiovisual works – derivative uses – documentary filmmaking. Multiple organizations
petitioned to renew the subpart of the exemption covering the use of motion picture
clips for uses in documentary films. 140 No oppositions were filed against readoption.
The petitions summarized the continuing need and justification for the exemption, and
the petitioners demonstrated personal knowledge and experience with regard to the
exempted use. For example, Film Independent (“FI”), the International Documentary
Association (“IDA”), Kartemquin Educational Films, Inc. (“KEF”), Center for
Independent Documentary (“CID”), and Women in Film and Video (“WIFV”)—which
represent thousands of independent filmmakers across the nation—stated that TPMs
such as encryption continue to prevent filmmakers from accessing needed material, and
that this is “especially true for the kind of high definition motion picture material
filmmakers need to satisfy both distributors and viewers.” 141 In addition, FI, IDA, and
KEF have participated in multiple triennial rulemakings. Petitioners state that they
personally know many filmmakers who have found it necessary to rely on this
exemption, and will continue to do so. 142

Audiovisual works – derivative uses – noncommercial remix videos. Two organizations
petitioned to renew the subpart of the exemption covering the use of motion picture
clips for uses in noncommercial videos. 143 No oppositions were filed against readoption.
The petitions demonstrated the continuing need and justification for the exemption and
personal knowledge and experience with regard to the exempted use. For example, the
Organization for Transformative Works (“OTW”) has advocated for the noncommercial
video exemption in past triennial rulemakings, and has heard from “a number of
noncommercial remix artists” who have used the exemption and anticipate needing to
use it in the future. 144 Similarly, NMR stated that it has spoken to a number of
noncommercial video creators who have relied on this exemption, and intend to do so in
the future. 145




  FI, IDA, KEF, CID & WIFV AV Documentary Renewal Pet.; NMR AV Documentary Renewal
140

Pet.; see 37 C.F.R. § 201.40(b)(1)(i).
141   FI, IDA, KEF, CID & WIFV AV Documentary Renewal Pet. at 3.
142   Id.; NMR AV Documentary Renewal Pet. at 3.
143NMR AV Noncommercial Videos Renewal Pet.; OTW AV Noncommercial Videos Renewal Pet.;
see 37 C.F.R. § 201.40(b)(1)(ii).
144   OTW Renewal Pet. at 3.
145   NMR AV Noncommercial Videos Renewal Pet. at 3.

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V.         Discussion of New Proposed Classes
           A. Proposed Class 1: Audiovisual Works—Criticism and Comment

               1. Background

                   a. Summary of Proposed Exemption

Five petitions seek expansion of an existing exemption allowing circumvention of access
controls protecting excerpts of motion pictures on DVDs, Blu-Ray discs, and digitally
transmitted video. The current exemption, codified at 37 C.F.R. § 201.40(b)(1) (2016),
permits circumvention for purposes of comment and criticism by various users,
including college and university faculty and students, kindergarten through twelfth
grade educators, faculty of MOOCs, filmmakers, and multimedia e-book authors.
Because the new proposals raise some shared concerns, including the impact of TPMs on
the alleged noninfringing uses of motion pictures and whether alternative methods of
accessing the content could alleviate potential adverse impacts, the Office grouped these
petitions into one class. This approach also accounts for a joint petition, which proposes
an “overarching exemption that would embrace multiple audiovisual classes” 146 and
collapse (essentially) all of the subparts for the existing exemption to eliminate
limitations on the types of user or use—and instead allow circumvention so long as the
purpose is for criticism and comment.

                     i.   Single Overarching Exemption for Purposes of Comment and
                          Criticism

EFF, NMR, and OTW propose permitting circumvention to make use of motion picture
excerpts so long as the purpose is for criticism and comment. The petition includes the
following suggested language:

           Motion Pictures (including television shows and videos), as defined in 17
           U.S.C. 101, where circumvention is undertaken solely in order to make
           use of short portions of the works for the purpose of criticism or
           comment, where the motion picture is lawfully made and acquired on a
           DVD protected by the Content Scrambling System, on a BluRay disc
           protected by the Advanced Access Content System, via a digital
           transmission protected by a technological measure, or a similar
           technological protection measure intended to control access to a work,
           where the person engaging in circumvention reasonably believes that




146   EFF, NMR & OTW Class 1 Initial at 3.

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            non-circumventing alternatives are unable to produce the required level
            of high-quality source material. 147

The National Association of Criminal Defense Lawyers (“NACDL”), BYU, FI, IDA and
KEF filed comments supporting EFF, NMR, and OTW’s proposal. 148 This petition was
opposed by Joint Creators II, DVD Copy Control Association (“DVD CCA”), and the
Advanced Access Content System Licensing Administrator (“AACS LA”), who also
opposed the remaining proposals to expand this exemption. 149

                       ii.    Universities and K-12 Educational Institutions

As noted above, the 2015 rulemaking resulted in the adoption of exceptions in the
existing exemption to permit the circumvention of access controls protecting excerpts of
motion pictures on DVDs, Blu-Ray discs, and digitally transmitted video by educators
and students for purposes of comment and criticism under varying conditions. 150 BYU
filed a petition to consolidate and expand this language and create a single exemption
that would permit circumvention for nonprofit educational purposes in accordance with
sections 110(1) and 110(2), and eliminate distinctions based on the user, the “criticism
and comment” limitation, and references to screen-capture technology. 151 BYU proposes
the following language:

            Motion Pictures (including television shows and videos), as defined in 17
            U.S.C. § 101, where circumvention is undertaken solely in order to
            facilitate noninfringing performances of the works for nonprofit
            educational purposes, in accordance with 17 U.S.C. § 110(1) or § 110(2). 152

                      iii.    Massively Open Online Courses (“MOOCs”)

Professors Decherney, Sender, and Carpini, the Department of Communications at the
University of Michigan, the International Communication Association, and the Society
for Cinema and Media Studies (collectively, “Joint Educators”) request an expansion to
allow faculty of MOOCs 153 to circumvent for “all online educational offerings” by
removing certain TEACH Act restrictions referenced in the existing exemption. 154


147   Id. at 2.
148   BYU Class 1 Initial at 2; FI, IDA & KEF Class 1 Initial at 3; NACDL Class 1 Initial at 2.
149   See AACS LA Class 1 Opp’n; DVD CCA Class 1 Opp’n; Joint Creators II Class 1 Opp’n.
150   37 C.F.R. § 201.40(b)(1)(iv), (vi)–(viii) (2016).
151   BYU Class 1 Initial at 2.
152   Id.
153   37 C.F.R. § 201.40(b)(1)(v) (2016).
154   Joint Educators Class 1 Initial at 3.

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Although Joint Educators’ written comments request elimination of all references to the
TEACH Act, their representative made clear during the hearing that they primarily are
seeking expansion to MOOCs offered by unaccredited and for-profit educational
institutions. 155 Accordingly, the proposed expansion would retain other existing
references to section 110(2) limitations, such as the obligation to limit transmissions to
officially enrolled students and to institute copyright policies and apply TPMs that
reasonably prevent unauthorized further dissemination of a work to others.

                      iv.     Filmmaking

FI, IDA, KEF, the Independent Filmmaker Project, the University of Film and Video
Association, and the Alliance for Media Arts + Culture (collectively, “Joint Filmmakers”)
seek expansion of the current exemption to permit circumvention for use of motion
picture clips in all types of films (i.e., remove the “documentary” limitation). 156 Joint
Filmmakers also propose removing the requirement that “the person engaging in
circumvention reasonably believes that screen-capture software or other non-
circumventing alternatives are unable to produce the required level of high-qualify
content.” 157 They propose the following language:

            Motion pictures (including television shows and videos), as defined in 17
            U.S.C. 101, where circumvention is undertaken solely in order to make
            use of short portions of the motion pictures for the purpose of criticism or
            comment for use in filmmaking, where the motion picture is lawfully
            made and acquired on a DVD protected by the Content Scramble System,
            on a Blu-ray disc protected by the Advanced Access Content System, or
            via a digital transmission protected by a technological measure. 158

                       v.     Multimedia E-Books

Authors Alliance, AAUP, the Organization for Transformative Works, the Interactive
Fiction Technology Foundation, and Professor Buster (collectively, “Authors Alliance et
al.”) seek expansion of the current exemption to permit circumvention for use of motion
picture clips in fiction multimedia e-books and nonfiction multimedia e-books beyond
those offering film analysis. 159 Specifically, they propose removing the nonfiction

155Tr. at 283:15–21 (Apr. 11, 2018) (Decherney, Joint Educators) (“[W]e haven’t asked to remove
all section 110(2) limitations. We would like to expand the exemption so that it includes for-profit
institutions and unaccredited institutions . . . [b]ut we are still okay with limiting access to
registered students and to reasonable prevention of downstream misuse.”).
156   37 C.F.R. § 201.40(b)(1)(i) (2016).
157   Id. § 201.40(b)(1)(i)(B); see Joint Filmmakers Class 1 Initial at 8–9, 21.
158   Joint Filmmakers Class 1 Initial at 4.
159   37 C.F.R. § 201.40(b)(1)(iii) (2016).

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limitation, and deleting the “offering film analysis” limitation and references to screen-
capture technology. 160 They propose the following language:

            Motion pictures (including television shows and videos), as defined in 17
            U.S.C. § 101, where circumvention is undertaken solely to make use of
            short portions of the motion pictures for the purpose of criticism or
            comment in multimedia e-books where the motion picture is lawfully
            made and acquired on a DVD protected by the Content Scramble System,
            on a Blu-ray disc protected by the Advanced Access Content System, or
            via a digital transmission protected by a technological measure. 161

                     b. Overview of Issues

The petitions share the desire to circumvent TPMs employed on DVDs and Blu-ray
discs, and by various online streaming services, to protect motion pictures. The current
proposals describe an array of uses of motion pictures that proponents contend are
noninfringing and are likely to be adversely affected in the next three years by section
1201(a)(1)’s prohibition on circumvention of TPMs. While the proposed uses are more
specifically discussed below, the record reveals certain commonalities.

With the exception of BYU’s proposal (which, as discussed below, seeks use of full-
length works), the proposed expansions are limited to uses of short portions of “motion
pictures,” including television shows and videos. 162 Under section 101 of the Copyright
Act, “motion pictures” are a broad subset of “audiovisual works” that includes
television shows, online videos, news, commercials, and other works “consisting of a
series of related images which, when shown in succession, impart an impression of
motion, together with accompanying sounds, if any.” Participants did not request a
need to circumvent TPMs on audiovisual works that are not “motion pictures.”

In addition, the proposed expansions implicate the same types of TPMs regardless of
proposed noninfringing use, namely CSS-protected DVDs, AACS-protected Blu-ray
discs, and various TPMs applicable to online distribution services. 163



160   Authors All. et al. Class 1 Initial at 1.
161   Id.
162   ATSP et al. Class 2 Pet. at 1.
163Authors All. et al. Class 1 Initial at 5–6; BYU Class 1 Initial at 2; EFF, NMR & OTW Class 1
Initial at 3; Joint Educators Class 1 Initial at 4; Joint Filmmakers Class 1 Initial at 9–10. The record
in the 2015 proceeding confirmed “that CSS is a technological measure that controls access to
motion pictures on DVDs, and that AACS is a measure that controls access to motion pictures on
Blu-ray discs.” 2015 Recommendation at 69. In addition, in 2015 the Register concluded that “a
significant number of platforms that offer digitally transmitted motion pictures, both for digital

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                         i.     Screen-Capture Technology

In the 2015 rulemaking, the Register concluded that certain uses of motion picture clips
for criticism and comment do not require access to higher-quality content, and that
screen-capture technology may be an alternative to circumvention—but that it can be
unclear to users as to whether screen-capture technology may in fact involve
circumvention. 164 Accordingly, the existing exemption includes a screen-capture
provision to address the possibility of circumvention when using this technology. 165 In
addition, where the Register determined that screen capture was not an adequate
alternative because higher-quality content was required, the exemption allows
circumvention for certain uses “where the person engaging in circumvention reasonably
believes that screen-capture software or other non-circumventing alternatives are unable
to produce the required level of high-quality content.” 166

Proponents now seek to remove all references to screen-capture technology, arguing that
it is not a viable alternative because it does not permit the proposed use, 167 or else results
in degraded-quality (and thus unusable) content. 168 They contend that the dual
references to screen-capture technology are confusing. 169 In response, opponents argue
that screen-capture technology remains an adequate alternative to circumvention. 170




downloads and for streaming, constitute technological measures controlling access to those
works under section 1201(a)(1).” Id.
164   2015 Recommendation at 99.
165   37 C.F.R. § 201.40(b)(1)(i)(A), (ii)(A), (iii)(A), (iv)(A), (v)(A), (vi)(A), (vii)–(viii) (2016).
166   Id. § 201.40(b)(1)(i)(B), (ii)(B), (iii)(B), (iv)(B), (v)(B), (vi)(B).
  Tr. at 253:03–06 (Apr. 11, 2018) (Band, LCA) (stating that screen capture does not reasonably
167

permit teachers to add subtitles and/or commentary to assist with their teaching).
168Authors All. et al. Class 1 Initial at 28 (stating that screen capture results in “dropped frames,
frame rate issues, insufficient resolution, and artifacting,” rendering “the resulting images
unusable to use for criticism and commentary”); EFF, NMR & OTW Class 1 Reply at 7 (stating
that “screen capture generally doesn’t work for the classes of uses”); Joint Filmmakers Class 1
Initial at 21 (“[A]ll screen capture software programs of which we are aware create dropped
frames and loss of audio sync, among other defects.”); Tr. at 18:15–19 (Apr. 24, 2018) (Rosenblatt,
OTW) (stating that some users who try to use screen capture with Netflix end up with just a black
screen rather than any visual); Tr. at 26:23–24 (Apr. 24, 2018) (Neill, NMR) (stating filmmakers
may be asked to go back and obtain the source material if the clips are not of sufficient quality).
169   BYU Class 1 Initial at 5; Tr. at 42:16–18 (Apr. 24, 2018) (Rosenblatt, OTW).
170DVD CCA & AACS LA Class 1 Opp’n at 37–38 (stating that screen capture is an alternative to
circumvention); Joint Creators II Class 1 Opp’n at 26 (stating that proponents have “not
submitted any evidence to demonstrate that screen-capture is no longer a viable alternative”).

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                      ii.    Universities and K-12 Educational Institutions

In the 2015 rulemaking, parties submitted multiple petitions seeking exemptions relating
to uses by college and university faculty and students, and by kindergarten through
twelfth-grade educators. 171 The Register found it appropriate, based on that record, to
distinguish between educational purposes requiring close analysis of film and media
excerpts (where circumvention would be necessary) and more general educational uses
(where screen capture would be a sufficient alternative). 172 Specifically, the Register
found that the “record for proposed uses in connection with K-12 students and media
literacy after-school or adult education programs was not well developed” and did not
demonstrate that screen capture could not meet those needs. 173 The Register thus
recommended a screen-capture exemption for those categories. 174 Regarding K-12
educators, the record was more robust and included examples where high school
educators relied upon DVD excerpts to facilitate classroom analysis of films. 175 The
Register accordingly recommended the current exemption to allow access by K-12
instructors to DVDs or digitally distributed material for purposes of close analysis. 176
Finally, for college and university educators and students, the Register found that the
record demonstrated that access to Blu-ray discs may occasionally be required to engage
in close analysis in cinema studies or similar courses if DVD or other standard-definition
materials are insufficient to accomplish the desired analysis of visual or sonic details. 177

Now, BYU proposes to eliminate distinctions based on education level and type of
educational course because “[i]nstructors and pupils regularly make noninfringing
performances of motion pictures in a wide range of educational settings,” 178 and they
should be able to make these uses “as long as they satisfy the statutory conditions set
forth in Section 110(1) or 110(2).” 179 In addition, BYU maintains the existing exemption
should not continue to “lump[] in” educational uses with uses for multimedia e-books
and filmmaking, as the statute gives special preference to non-profit educational users. 180


  Exemption to Prohibition on Circumvention of Copyright Protection Systems for Access
171

Control Technologies, 79 Fed. Reg. 73,856, 73,859 (Dec. 12, 2014).
172   The history of the MOOCs exemption is discussed in the next section.
173   2015 Recommendation at 101.
174   Id.
175   Id. at 102.
176   Id.
177   Id.
178   BYU Class 1 Initial at 4.
179   Id. at 5.
180   Tr. at 224:15–225:07 (Apr. 11, 2018) (Midgley, BYU); see also 17 U.S.C. § 1201(a)(1)(C)(ii)–(iii).

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                      iii.   Massively Open Online Courses (“MOOCs”)

As described during the 2015 rulemaking, MOOCs “typically consist of pre-recorded
lectures that may be illustrated, as appropriate, with short clips and still images from
audiovisual works.” 181 In 2015, the record consisted of examples showing MOOCs
provided by accredited nonprofit educational institutions (though sometimes through
third-party platforms). 182

In the 2015 rulemaking, the Register determined that section 110(2)—which provides an
exception in copyright law for certain uses of copyrighted works by nonprofit educators
in distance education 183—offers meaningful guidance on balancing “pedagogical needs
in distance learning with copyright owners’ concerns of harmful impact.” 184 The
Register thus recommended the incorporation of section 110(2)’s requirements “that
uses be limited to nonprofit educational institutions, that transmissions be limited to
enrolled students, and that the transmitting body institute policies regarding copyright
protection.” 185 The Register also recommended requiring MOOCs making use of the
exemption “to employ TPMs that reasonably prevent the retention and unauthorized
dissemination of copyrighted content, as provided in section 110(2).” 186

Now, Joint Educators assert that the Acting Register should broaden the exemption to
include “all online courses,” including courses offered by for-profit and unaccredited
educational institutions, so that “all online learners and teachers have the same access to
effective educational methods.” 187 Proponents assert that “the development of new and
innovative educational opportunities is currently and will continue to be constrained if
learners cannot access a full range of online education settings that can access the same
audiovisual content that is now available in the conventional classroom and in
qualifying MOOCs.” 188 Further, proponents argue that the TEACH Act “clings to the
outmoded notion” that for-profit and non-profit educational institutions should be
treated differently. 189



181   2015 Recommendation at 31 (citation omitted).
182   Id. at 74–75.
  17 U.S.C. § 110(2); see also U.S. COPYRIGHT OFFICE, REPORT ON COPYRIGHT AND DIGITAL
183

DISTANCE EDUCATION 77–84 (1999), http://www.copyright.gov/reports/de_rprt.pdf.
184   2015 Recommendation at 102.
185   Id.
186   Id.
187   Joint Educators Class 1 Initial at 3, 5.
188   Id. at 12.
189   Id. at 9–10.

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                       iv.   Filmmaking

Joint Filmmakers request to broaden the exemption by covering all types of films,
including narrative (or fictional) films, 190 a request which the Register rejected in 2015. 191
At that time, proponents asserted that there was “no clear dividing line between
documentary and narrative filmmaking for purposes of determining whether the uses
are likely to be fair and that the categories should therefore be treated the same with
respect to the question of noninfringing use.” 192 But the Register noted that with
narrative films, there was “no presumption that their primary purpose is to offer
criticism or commentary,” as opposed to entertainment, and found a “significant
countervailing concern” that uses might supplant the robust market for motion picture
clips. 193 The Register considered whether there might be an appropriate way to limit the
types of narrative films to which the exemption might conceivably apply, but was
unable to draw sound distinctions based on the then-existing record. 194 In the end, the
Register recommended that the then-existing exemption for documentary films be
continued, but determined that the record did not support a finding that the use of
motion picture clips in narrative films was, as a general matter, likely to be
noninfringing. 195

Proponents now argue that the exemption should be expanded because defining a
“documentary” film is difficult, as many films that are not traditionally classified as a
“documentary” contribute to educational and social commentary. 196 Proponents assert
that many filmmakers do not know whether they are permitted to use the exemption. 197
In support, Joint Filmmakers’ submission discusses a number of films that they say
reflects an increasingly “hybrid” approach to fictional/documentary filmmaking. 198

                       v.    Multimedia E-Books

In the 2015 rulemaking, the Register found that proponents had sufficiently
demonstrated that some meaningful portion of the proffered uses for multimedia e-


190   Joint Filmmakers Class 1 Initial at 8.
191   2015 Recommendation at 102–03.
192   Id. at 41.
193   Id. at 79.
194Id. at 80 (discussing lack of consensus around meaning of terms like “biopic,” “based on a true
story,” docudrama,” “inspired by” and “films that portray real events”).
195   Id. at 102–03.
196   Joint Filmmakers II Class 1 Initial at 7.
197   FI, IDA & KEF Class 1 Reply at 12.
198   Joint Filmmakers Class 1 Initial at 7.

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books were likely to be fair, such as seeking to incorporate motion picture excerpts in e-
books analyzing techniques in motion picture sound editing or cinematography. 199 The
Register found, however, that the record lacked evidence demonstrating a need to
include uses in fictional e-books or for purposes beyond close analysis of the underlying
work. 200 Because the record contained no evidence of proposed uses in e-books that
were not offering “film analysis,” the Register retained language from the 2012
rulemaking limiting uses of motion picture excerpts to nonfiction multimedia e-books
offering film analysis. 201

Currently, Authors Alliance et al. argue that the Register’s previous fair use analysis
should not change based on whether the content is fictional and/or not directed to film
analysis. 202 Proponents assert that fictional multimedia e-books and nonfiction
multimedia e-books beyond film analysis are often noninfringing, and suggest that
fanfiction would benefit from the proposed exemption. 203 Proponents suggest that
expanding the existing exemption to include fiction would be consistent with the
existing exemption for noncommercial videos, and that multimedia e-book authors
would merely be using a different medium (i.e., e-books) to engage in criticism and
comment. 204

                    2. Discussion

                        a. AACS2 and Ultra HD Content

Before considering the specific proposals in this class, the Acting Register first addresses
an argument by opponents that the exemption should not be expanded to include
AACS2 technology, which is employed to protect ultra-high-definition or “4K” content
distributed on Ultra HD Blu-ray discs. 205 Opponents maintain that none of the petitions
expressly sought extension to AACS2, 206 and AACS LA notes that the current exemption
does not extend to AACS2, as that technology did not exist at the time of the 2015

199   2015 Recommendation at 77.
200   Id. at 77, 100.
201   Id. at 100.
202   Authors All. et al. Class 1 Initial at 3.
203   Id. at 7–15.
204Authors All. et al. Class 1 Reply at 14. In the context of discussing multimedia e-books, OTW
raised the issue of podcasters desiring to circumvent motion pictures to acquire high-quality
audio. Tr. at 72:06–09, 73:03–12 (Apr. 24, 2018) (Rosenblatt, OTW). The record does not include,
however, any examples of podcasters needing to circumvent a motion picture, or explain why
alternatives to circumvention are inadequate.
205   AACS LA Opp’n at 2.
206   Id. at 6–8; Joint Creators II Class 1 Opp’n at 5, 24.

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rulemaking. 207 AACS LA contends that AACS2 technology differs from AACS1
technology in that “Blu-ray players incorporating only AACS1 Technology will not play
Ultra HD Blu-ray discs protected with AACS2 Technology and cannot be ‘upgraded’ to
play such discs,” and that the “two systems exist in parallel, serving two different
markets.” 208 Accordingly, opponents seek to exclude AACS2 from proposed Class 1.

In response, proponents assert that the Acting Register should extend the proposed
exemption to AACS2 technology. 209 Joint Educators, Associate Professor Anderson, and
Professor Aufderheide maintain that “AACS2 is different in form but it is fundamentally
the same in function,” 210 and EFF, NMR, and OTW state that section 1201 does not
require temporary exemptions to identify the specific types of TPMs at issue in addition
to the category of works exempted. 211 In their view, “more flexibility” should be
allowed with regard to the relevant TPMs. 212 FI, IDA and KEF state that “[m]any if not
most filmmakers now film in 4K; this is quickly becoming the standard,” and ask that
this rulemaking “allow modifications that permit the § 1201 exemption to keep pace
with technological development.” 213

Proponents do not claim that Class 1 petitions identified AACS2 as a TPM requiring
circumvention to eliminate adverse effects of the section 1201 prohibition; nor do they
argue that AACS2 technology is sufficiently similar to AACS1 technology such that the
exemption already covers AACS2 technology. In past rulemakings, the Register has
declined to include new technology where the record did not demonstrate a need, 214 and
exemptions to permit circumvention of new technology have been adopted only upon
showings of a need to access works protected by that specific technology. For example,
the 2015 rulemaking recommended an exemption to circumvent AACS technology for
the first time, only after concluding that DVDs and digitally transmitted material were,
in some instances, insufficient to serve as alternatives to content accessible only on Blu-
ray discs. 215 Here, in contrast to the detailed record regarding CSS, AACS, and access
controls on digitally transmitted content, there is very little in the record regarding



207   AACS LA Opp’n at 4–6.
208   Id. at 3.
209   EFF, NMR & OTW Class 1 Reply at 12; Joint Educators Class 1 Reply at 8–9.
210   Joint Educators Class 1 Reply at 9.
211   EFF, NMR & OTW Class 1 Reply at 12.
212   Id. at 12.
213   FI, IDA & KEF Class 1 Reply at 5.
  See 2012 Recommendation at 135 (finding “the record [did] not reflect a substantial adverse
214

impact due to the inability to use motion picture materials contained on Blu-ray discs”).
215   See 2015 Recommendation at 89–92.

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AACS2. 216 Opponents contend that “[n]o one has released a universal hack to all Ultra
HD films protected by AACS2,” explaining that its integrity is “especially important” to
the thriving ecosystem for motion pictures. 217 Proponents do not contest this.

Accordingly, the Acting Register finds the record insufficient to support extending the
proposed class to AACS2. None of the petitions expressly seek expansion to AACS2,
and the record does not support a finding that such technology is adversely affecting
noninfringing uses or that it is sufficiently similar to AACS1 to be covered by the current
exemption. Proposed Class 1 thus addresses only TPMs employed on DVDs and Blu-
ray discs, and by various online streaming services to protect motion pictures.

                   b. Single Overarching Exemption for Purposes of Comment and
                      Criticism

As noted above, EFF, NMR, and OTW propose replacing the existing exemption, which
consists of multiple subparts relating to use of motion picture clips, with a single
overarching exemption for purposes of criticism and comment. 218 EFF, NMR, and OTW
do not dwell on specific examples of proposed noninfringing uses or analyze such
proposed uses under the 1201 statutory factors, 219 but rather focus on “the value of
adopting a simple overarching exemption that would embrace multiple audiovisual
classes” for purposes of criticism and comment. 220 The factual record for this proposal
largely relies on submissions by other parties seeking to expand the existing audiovisual
exemption. 221 Accordingly, the Acting Register generally addresses EFF, NMR, and
OTW’s comments here, and more specifically in the context of the other parties’
proposed uses below.

EFF, NMR, and OTW maintain that the legislative history of section 1201 indicates that
preserving fair use should be paramount in this rulemaking, but that unnecessary




  Authors All. et al. Class 1 Initial at 5–6, App. A (detailing WebM, DVR, HDCP, HTML 5,
216

WebCrypto API, MPEG-DASH, EME, and Widevine encryption technologies); Joint Educators
Class 1 Initial at 4–5 (detailing Protected Streaming on Adobe, Microsoft PlayReady, and Apple
FairPlay); Joint Filmmakers Class 1 Initial at 9–10.
217Joint Creators II Class 1 Opp’n at 24. In contrast, both prior and current rulemakings disclose
the methods of circumvention for the access controls covered by the present exemption. See, e.g.,
EFF, NMR & OTW Class 1 Initial at 3 (referencing MacTheRipper 4.1, DVD Decrypter, Mac
DVDRipper Pro, Handbrake, MakeMKV, and Aunsoft).
218   EFF, NMR & OTW Class 1 Initial at 2–3.
219   Id. at 3.
220   Id.
221   See id.

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complexities in the existing exemption undermine fair use. 222 While noting that the
Copyright Office’s 2006 decision to define some classes by reference to the use and user
introduced “valuable and much-needed flexibility” into the rulemaking process, they
note that to determine whether the exemption applies, a user needs to analyze both the
intended use, as well as his or her status as a type of user—requirements that they
believe go beyond the requirements of fair use. 223 They assert that the existing language
is “practically unreadable” due to their complexities, 224 and “a challenge for clients and
attorneys alike to apply in practice.” 225 For example, EFF, NMR, and OTW explain that
in 2013, the USC Intellectual Property and Technology Law Clinic developed a process
to help documentary filmmakers determine how to make use of the exemption, and the
process required seven steps. 226

Moreover, EFF, NMR, and OTW assert that their proposed exemption is sufficiently
narrow, as the sole limitations it would remove from the current exemption are the
references to particular types of users. 227 They note that their proposal incorporates and
consolidates well-established limitations from the current exemption—namely, those
limiting its scope to “(1) short portions, (2) of motion pictures, (3) on particular physical
or digital media, (4) for purposes of commentary or criticism, (5) only where the person
engaging in circumvention reasonably believes that non-circumventing alternatives are
unable to produce the required level of high-quality source material and (6) only where
the use is a fair use.” 228 They also note that opponents did not challenge any of this
language in the existing exemption when it was petitioned for renewal. 229 According to
EFF, NMR, and OTW, their proposed exemption ties the class definition to key fair use
factors (criticism and comment, and the amount used). 230 They suggest that some valid
uses are not included by the current exemptions, such as the use of film clips to illustrate




222   Id. at 3–5.
223   Id. at 6.
224   Id. at 7.
  Id. (stating this result is “contrary to the Office’s well-justified goal of crafting regulations that
225

ordinary people can understand and apply”); see also Section 1201 Report at vii (describing
Office’s commitment to “simplified regulatory language”), 151 (“[D]rafting the section 1201
regulatory language in plain language is a worthy goal, echoing efforts from the Legislative and
Executive Branches to promote clear communication to the public.”).
226   EFF, NMR & OTW Class 1 Initial at 9.
227   EFF, NMR & OTW Class 1 Reply at 3.
228   Id.
229   Id.
230   EFF, NMR & OTW Class 1 Initial at 10.

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legal principles to jurors. 231 Finally, they assert that opponents have never demonstrated
that the wording of the exemption “affects the behavior of those who engage in unfair
uses or traffic in decryption technologies.” 232

In response, opponents contend that this request overstates the complexity of the
existing exemption, 233 and that the proposed expansion eliminates “carefully drawn
distinctions among potential users of motion picture content.” 234 DVD CCA and AACS
LA note that the proposed expansion “would enable anyone to circumvent TPMs in
order to use short portions of otherwise protected motion pictures for the purpose of
criticism or comment, regardless of who the user is, the specific use to be enabled, or the
context in which the activity would occur.” 235

Opponents state that in enacting section 1201, Congress purposely created specific and
narrow exemptions (e.g., section 1201(j) permits an exemption for security research,
provided it is conducted in good faith), and that creating broad categories of exemptions
would undermine the effectiveness and intent of the section 1201(a)(1) prohibition. 236
And to be appropriately narrow, opponents contend that exemptions should identify the
specific persons who will be adversely affected in their abilities to make noninfringing
uses by the section 1201 prohibition. 237 Joint Creators II note, however, that they are
open to simplifying the language in principle, so long as the relevant limitations are
maintained; they submit proposed language that is one-third the length of the current
exemptions. 238

After consideration, the Acting Register declines to adopt EFF, NMR, and OTW’s
proposed language, finding it overly broad for purposes of section 1201, and given the
rulemaking record upon which the current exemption has been adopted. 239 Although

231Id. (describing use of three clips from The Town to illustrate bank robbery techniques, as well as
other courtroom uses of fictional film clips). The record does not, however, demonstrate that
circumvention would be required to engage in such uses, or that screen capture would not be an
adequate alternative to circumvention.
232   Id. at 7.
233   Joint Creators II Class 1 Opp’n at 8.
234   DVD CCA & AACS LA Class 1 Opp’n at 5.
235   Id. at 8.
236   Id. at 6.
237   Id. at 7–8.
238   Joint Creators II Class 1 Opp’n at 8–9.
  See 2015 Recommendation at 100 (“A mere requirement that a use be ‘noninfringing’ or ‘fair’
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does not satisfy Congress’s mandate to craft ‘narrow and focused’ exemptions. . . . An
exemption should provide reasonable guidance to the public in terms of what uses are permitted,
while at the same time mitigating undue consequences for copyright owners.”) (citations

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the proposal retains some of the limitations in the existing exemption, by removing the
references to specific users and uses, the context in which the criticism and comment are
being made would be eliminated. Courts evaluate fair use claims on a case-by-case
basis, and the context in which use of the work is being made is a significant part of that
inquiry (e.g., commercial versus noncommercial use). 240 To be sure, the 1201 rulemaking
is distinct, insofar as it requires a prospective determination whether a larger category of
uses are, on the whole, likely to be fair use. But to ensure alignment with the case law,
the Register’s analysis has been aided by considering the type of user, as well as the type
of use, to define classes to recommend exemptions. 241 As one proponent noted, in the
context of the section 1201 policy report, this approach “brings the idea of a class much
more in line with fair use, which is about use and users.” 242 The proposed language
would eliminate these legally important distinctions. Consistent with this fair use
evaluation, the Register has also previously decided not to exempt certain uses,
ostensibly also for criticism and comment, given the lack of factual support in the record
demonstrating that they were likely to be noninfringing. 243

In addition, the Acting Register notes that the nature of the use affects more than the
infringement analysis: the fourth section 1201 factor requires examination of the effect
of circumvention on the market for or value of the copyrighted works. Without a fuller
understanding of the context of the proposed use, not least whether it is intended to be
commercialized, it would be difficult for the Register to evaluate market effects.




omitted); 2006 Recommendation at 18 (“Typically, the impetus for an exemption is the
demonstration of sufficient evidence proving that a particular noninfringing use, one that warrants
an exemption, has been adversely affected by the prohibition, e.g., the noninfringing use cannot
be accomplished without circumvention. Thus, the application of an exemption to all
noninfringing uses or users will in many cases be broader than is justified by the evidence.”);
2003 Recommendation at 84 (rejecting proposal because “proponents of an exemption for ‘all
works’ have utterly failed to propose ‘a particular class of copyrighted works’”).
240   See Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 585 (1994).
241See, e.g., Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1264 (11th Cir. 2014) (“[W]e must
consider not only the nature of the user, but the use itself.”); Am. Geophysical Union v. Texaco Inc.,
60 F.3d 913, 921–22 (2d Cir.1994) (“[A] court’s focus should be on the use of the copyrighted
material and not simply on the user, [although] it is overly simplistic to suggest that the ‘purpose
and character of the use’ can be fully discerned without considering the nature and objectives of
the user.”).
242   Section 1201 Report at 109 (citing Tr. at 95:13–96:07 (May 19, 2016) (Decherney, Univ. of Pa.).
243See, e.g., 2015 Recommendation at 77 (declining to expand the multimedia e-books exemption
to fictional e-books, as “the record lack[ed] evidence demonstrating a need” for expansion, “as no
examples of such uses were submitted”).

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That said, the Copyright Office remains dedicated to simplified regulatory language
where possible, particularly in cases where the exemption is intended for individual
users. Here, however, there’s some suggestion that significant clarification may not be
needed: the survey referenced by EFF, NMR, and OTW appears to suggest that, when
presented with the actual regulatory language, users of the existing exemption are “both
accurate and confident” in applying the exemption to proposed uses. 244 The Acting
Register appreciates EFF, NMR, and OTW’s point of view and considers various ways to
consolidate and reorganize the regulatory text in discussing the other proposed
expansions below.

                    c. Works Protected by Copyright

With respect to the requirement that the relevant TPMs control access to copyrightable
works, this class again involves the use of motion pictures for purposes of criticism,
comment, or educational uses. Therefore, like the 2015 rulemaking, the Acting Register
finds that at least some works included in the proposed expanded class are protected by
copyright.

                    d. Asserted Noninfringing Uses

Proponents claim that a significant number of the proposed uses fall within the favored
purposes of criticism and commentary referenced in the preamble of section 107 and are
therefore likely to be fair. 245 While otherwise analyzing each set of proposed uses
separately below, the Register notes that the second and third factors governing the fair
use analysis under section 107 remain relatively constant across the proposed uses.
Under factor two—the nature of the copyrighted work—it is well established that
motion pictures are creative and thus at the core of copyright’s protective purposes. 246
But in the case of uses involving a favored purpose under the law, the second factor may
be of relatively limited assistance to evaluate whether a use is fair. 247 As in 2012 and
2015, the Acting Register concludes that the second fair use factor slightly disfavors the
proposed expansion, but is not especially relevant to most of the proposed uses. 248

Under the third factor—the amount and substantiality of the portion used in relation to
the copyrighted work as a whole—the Acting Register concludes that with the exception


244Patricia Aufderheide, The Right to Decrypt Media Needs to Be More User-Friendly, CTR. FOR MEDIA
& SOC. IMPACT (Dec. 16, 2017), http://cmsimpact.org/general/right-decrypt-media-needs-user-
friendly/; see EFF, NMR & OTW Class 1 Initial at 8 n.16 (citing same).
245   See 17 U.S.C. § 107.
246   See 2015 Recommendation at 70; 2012 Recommendation at 128.
247   See Campbell, 510 U.S. at 586.
248   See 2015 Recommendation at 70; 2012 Recommendation at 128.

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of BYU’s proposal, the limitation to circumvention for uses of “short portions” of motion
pictures is integral to the various proposals. 249 While recognizing that the extent of
permissible copying may vary, for purposes of this class, the “short portions” limitation
provides useful guidance as to what is generally likely to be a fair use without imposing
a wholly inflexible rule as to length. As a general matter, longer uses are less likely to be
considered fair because they are more likely to usurp the market for a work.

                       i.   Universities and K-12 Educational Institutions

BYU contends that its proposed activities—performances of full-length motion pictures
under section 110(1) and short portions thereof under section 110(2) for nonprofit
educational purposes—are noninfringing because sections 110(1) and 110(2) allow for
such public performances of motion pictures by nonprofit educational institutions. 250
BYU acknowledges, however, that digital copies would need to be made and stored to
facilitate the proposed uses. 251 Proponents contend that any server copies or other
reproductions made would be covered either under section 112(f)’s exception for
nonprofit educational institutions to make copies when making transmissions
authorized under section 110(2), or under section 107 as fair use. 252

                            1) Sections 110(1) and 110(2)

BYU argues that its proposed performances of full-length motion pictures are
authorized under section 110(1). That provision allows for the public performance and
display of copyrighted works for educational purposes, subject to certain conditions:
the performance must be made by instructors or pupils in the course of face-to-face
teaching activities of a nonprofit educational institution, in a classroom or similar place
devoted to instruction, and not knowingly using lawfully made copies. 253 Because
section 110(1) does not restrict the amount of the motion picture that can be used, either
short clips or an entire motion picture may be shown within a classroom, subject to the
other conditions. 254


249   See 2015 Recommendation at 70; 2012 Recommendation at 128.
250   BYU Class 1 Initial at 3–4.
251See id. at 4 (“In many cases, such circumvention may necessitate that a copy of the motion
picture be stored on a media server or similar device. Such reproduction and storage would be
subject to the conditions for ephemeral recordings, as provided in 17 U.S.C. § 112(f).”).
252   Tr. at 233:03–07 (Apr. 11, 2018) (Midgley, BYU).
25317 U.S.C. § 110(1) (the performance or display of certain works in certain educational settings
does not constitute infringement “unless, in the case of a motion picture . . . the performance . . .
is given by means of a copy that was not lawfully made under this title, and that the person
responsible for the performance knew or had reason to believe was not lawfully made”).
254   See id.

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Section 110(2), also referred to as the TEACH Act, also provides an exception for certain
uses of copyrighted works by nonprofit educators, but in distance education. 255 Section
110(2) has a number of requirements. First, the transmitter must be “a governmental
body or an accredited nonprofit educational institution.” 256 Second, the use must be
made at the direction of an instructor teaching a class session as “a regular part of the
systematic mediated instructional activities”—and for motion pictures, only in a
“reasonable and limited portion[].” 257 Third, as with 110(1), any copies involved in
transmitting the performance must be lawfully made and acquired. 258 Fourth, the
reception of the transmission must be limited, to the extent feasible, to students officially
enrolled in the course. 259 Fifth, the transmitting educational institution must institute
policies and provide notice regarding copyright protection to students, faculty, and
relevant staff members. 260 Finally, the transmitting body must apply technological
measures that limit the retention and unauthorized further dissemination of the work in
accessible form. 261

Because section 110(1) provides “no limitations or restrictions” on the length of motion
picture performances in face-to-face teaching, BYU argues that “instructors or pupils can
perform even full-length motion pictures in class, and such performances are
unquestionably noninfringing, provided that they satisfy the remaining conditions set
forth in the statute.” 262 In addition, BYU contends that “[i]nstructors have requested the
ability to queue up a series of clips from a film, and add comments, annotations,
interactions, questions, or other customization to the playback of the video to enhance or
individualize the viewing assignment,” and they “should be enabled to make such uses,
as long as they satisfy the statutory conditions set forth in Section 110(1) or 110(2).” 263

Proponents provide multiple examples of proposed educational uses, including teachers
creating compilations of clips from foreign language films with and without subtitles; 264
teachers showing full-length motion pictures in foreign language courses “to provide
students with opportunities to hear a given foreign language as spoken in film and

  Id. § 110(2); see also U.S. COPYRIGHT OFFICE, REPORT ON COPYRIGHT AND DIGITAL DISTANCE
255

EDUCATION (1999), http://www.copyright.gov/reports/de_rprt.pdf.
256   17 U.S.C. § 110(2).
257   Id.
258   Id.
259   Id. § 110(2)(C)(i).
260   Id. § 110(2)(D)(i).
261   Id. § 110(2)(D)(ii)(I).
262   BYU Class 1 Initial at 3.
263   Id. at 4–5.
264   Tr. at 242:17–23, Hearing Ex. 1-E (Apr. 11, 2018) (Midgley, BYU).

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television programs from a given country or region”; 265 the use of clips from the film
Alone in the Wilderness to instruct students on the steps involved in building a house, and
then to make their own how-to videos; 266 students using the animated film Gnomeo and
Juliet to “visually map the characters, the rising action, the conflict and identify the
culminating point in the narrative” of the tragedy Romeo and Juliet; 267 teachers captioning
popular movies to enhance reading skills; 268 students captioning motion pictures to
strengthen listening comprehension and writing skills; 269 students preparing videos for
competitions, such as National History Day; 270 students remixing motion picture clips in
non-film courses; 271 and a law professor using audiovisual examples in classes to
illustrate legal concepts. 272

Opponents note that although section 110(1) allows certain public performances of
complete motion pictures in classrooms without obtaining licenses, it does not allow
those performances to be made from unauthorized copies. 273 Opponents also note that
sections 110(1) and 110(2) provide exceptions only to public performance and display
rights, not rights of reproduction or distribution, and that the proposed uses thus do not
fall solely under them. 274 Specifically, opponents note that the proposed exemption
would “involve making copies of full-length films in a librarying context,” thereby
“giv[ing] effect not just to classroom instructions or distance education implicating the
performance right permitted under sections 110 but also would implicate the
reproduction and distribution rights to the work.” 275

The Acting Register finds that the thrust of the proposed exemption implicates the rights
of reproduction and distribution rather than public performance or display—
circumvention is required to make copies, not to show a film in a classroom from a
lawfully acquired disc. To use proponents’ own example, BYU likely already can rely

265   BYU Class 1 Initial at 4.
266   Tr. at 241:07–20 (Apr. 11, 2018) (Hobbs, Media Educ. Lab).
267   Tr. at 255:02–17 (Apr. 11, 2018) (Hobbs, Media Educ. Lab).
268   Media Educ. Lab Class 1 Post-Hearing Resp. at 2 (June 10, 2018).
269   Id.
270   Id.
271   Authors All. et al. Class 1 Post-Hearing Resp. at 4 (June 11, 2018).
272   EFF, NMR, & OTW Class 1 Post-Hearing Resp. at 2 (June 11, 2018).
273   Joint Creators II Class 1 Opp’n at 22.
274   DVD CCA & AACS LA Class 1 Opp’n at 12; Joint Creators II Class 1 Opp’n at 22.
275DVD CCA & AACS LA Class 1 Opp’n at 12; see also Joint Creators II Class 1 Opp’n at 22 (“If
Congress wanted educational institutions to be exempt from purchasing complete copies of
works, it would have included an exception to the reproduction right within § 110—which it
clearly did not.”).

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on section 110(1) to show Moana in a foreign language classroom; what it seeks to do
now is circumvent the TPMs preventing it from copying and storing that film on a
server, so it can show it in multiple classrooms without purchasing additional copies or
equipment. 276 Section 110 cannot, by itself, establish that this action is likely to be
noninfringing, since any performances of motion pictures under sections 110(1) and
110(2) must originate from lawfully acquired copies. 277 Accordingly, the Acting Register
cannot conclude that the proposed uses are likely noninfringing without first
determining whether the copies made and used to facilitate the motion picture
performances are themselves noninfringing under section 112(f) and/or fair use.

                                2) Section 112(f)

BYU agrees that the proposed exemption “may necessitate that a copy of the motion
picture be stored on a media server or similar device,” but asserts that this reproduction
and storage is noninfringing under section 112(f). 278 Section 112(f), which authorizes
copies created in making transmissions under section 110(2), states:

           [I]t is not an infringement of copyright for a governmental body or other
           nonprofit educational institution entitled under section 110(2) to transmit
           a performance . . . to make copies . . . of a work that is in digital form . . .
           to be used for making transmissions authorized under section 110(2), if—

                (A) such copies . . . are retained and used solely by the body or
                    institution that made them, and no further copies . . . are
                    reproduced from them, except as authorized under section 110(2);
                    and

                (B) such copies . . . are used solely for transmissions authorized under
                    section 110(2). 279

Accordingly, on its face, section 112(f) does not permit nonprofit educational institutions
to make copies to facilitate performances under section 110(1). 280




276   See Tr. at 303:24–304:01 (Apr. 11, 2018) (Midgley, BYU).
277   17 U.S.C. § 110(1)–(2).
278   BYU Class 1 Initial at 4.
279   17 U.S.C. § 112(f)(1)(A)–(B) (emphasis added).
280  Id. § 112(f)(1)(B); see also H.R. REP. NO. 107-687 at 3 (“The [TEACH Act] also amends section 112
. . . to permit storage of copyrighted material on servers in order to permit the performances and
displays authorized by section 110(2) to be made asynchronously in distance education
courses.”).

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The Acting Register thus finds BYU’s reliance on section 112(f) unhelpful to support its
request to make copies to facilitate performances in face-to-face teaching under section
110(1). Section 112(f) does support a conclusion that making and temporarily storing
digital copies of motion pictures to perform “reasonable and limited portions” in
distance teaching would be noninfringing, assuming the other requirements of section
110(2) are met. This appears already covered, however, by the existing exemption.

                              3) Fair Use

Alternatively, proponents assert that the copying and reproduction of motion pictures
under the proposed exemption for purposes of sections 110(1) and 110(2) is
noninfringing under the doctrine of fair use. 281 Proponents cite Authors Guild, Inc. v.
HathiTrust and Authors Guild v. Google (“Google Books”) for the contention that such
copying constitutes fair use if it is for noninfringing purposes under sections 110(1) or
110(2). 282 In response, opponents distinguish the proposed use from HathiTrust and
Google Books, noting that proponents’ “copying is not for the primary purpose of
indexing and data analysis, but rather for the specific purpose of performing the works
themselves.” 283 Opponents also argue that proponents seek to engage in space
shifting—when a work is transferred from one storage medium to another 284—stating
that “no court has held that space-shifting constitutes fair use.” 285

The participants largely focus on the proposed use of showing full length (or at least
more than short portions of) motion pictures in face-to-face teaching under section
110(1). There is less discussion on the use of short portions of motion pictures in face-to-
face education (and no specific examples of proposed use for distance education apart
from the separate MOOC category), presumably because the existing exemption permits
circumvention in many such instances. 286 However, as noted, the exemption’s subparts
relating to educational uses vary by type of access control (Blu-ray, DVD, access controls
on digitally transmitted content), user (teacher versus student), and use (close analysis
compared to general education). BYU’s examples also appear to include uses beyond

281   BYU Class 1 Initial at 4.
282See id.; Tr. at 232:18–234:02 (Apr. 11, 2018) (Midgley, BYU) (“I would just point to . . . Google
Books and HathiTrust as examples of cases where full copies of millions of works reside, right
now, on servers hosted by a for-profit, private company, and the court has ruled in that specific
instance that those full copies that exist are fair, because they enable the transformative use that
researchers need to make downstream.”); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 97 (2d Cir.
2014); Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir. 2015) (“Google Books”).
283   DVD CCA & AACS LA Class 1 Opp’n at 12 n.15.
284   2015 Recommendation at 107 (citation omitted).
285   Joint Creators II Class 1 Opp’n at 21.
286   37 C.F.R. § 201.40(b)(1)(iv), (vi) (2016).

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criticism and comment, a limitation of the current exemption. Accordingly, the Acting
Register will evaluate whether expansion for “short portions” likely constitutes fair use,
before considering whether making a copy to show a full length film in face-to-face
teaching constitutes fair use.

Regarding the use of short motion picture clips in face-to-face teaching, the Acting
Register concludes that the record demonstrates that a significant number of the
proposed uses are likely to be fair, largely following the reasoning of past
rulemakings. 287 In addition to the extensive record of uses for commentary and criticism
considered in the 2015 rulemaking, proponents introduced multiple additional examples
that may not fall neatly within an existing exemption. 288 These included, for example,
teachers’ use of short film clips to create compilations from foreign language films with
and without subtitles, 289 and students captioning motion pictures to strengthen listening
comprehension and writing skills; in such cases, the teaching or scholarship activities are
still favored purposes under section 107, but may not qualify under the existing
exemption for “comment or criticism.” 290

Each of these uses is favored under the preamble of section 107 and generally appears to
be transformative or otherwise favored. In addition, because only “short portions” are
involved, they are more likely to be fair use. 291 Finally, when the use of a work is for
criticism or commentary, it is presumed to be less likely to compete with the market for
the underlying work. 292 Notably, opponents do not contest that short, educationally
oriented uses in face-to-face or distance teaching are likely to be fair use, nor have they
introduced evidence that the intended uses of excerpts by faculty and students are likely
to undermine the value of copyright-protected motion pictures.

While the record demonstrates that many of these uses of short motion picture clips for
educational purposes are likely to be fair, it also suggests that the current regulatory
language does not fully cover all of these uses, while the complexity of the existing


287   See, e.g., 2015 Recommendation at 71–72.
288   See earlier discussion of section 110(1).
289   Tr. at 242:17–23, Hearing Ex. 1-E (Apr. 11, 2018) (Midgley, BYU).
290Media Educ. Lab Class 1 Post-Hearing Resp. at 2 (June 10, 2018); see also Authors All. et al.
Class 1 Post-Hearing Resp. at 4 (discussing students remixing motion picture clips in non-film
courses); Media Educ. Lab Class 1 Post-Hearing Resp. at 2 (discussing students preparing videos
for competitions, such as National History Day); Tr. at 241:07–20 (Apr. 11, 2018) (Hobbs, Media
Educ. Lab) (discussing the use of clips from the film Alone in the Wilderness to instruct students on
the steps involved in building a house, and then make their own how-to videos).
  Joint Creators II Class 1 Opp’n at 22 (agreeing that uses of short portions are “more
291

compatible” with fair use).
292   2015 Recommendation at 71.

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exemption is difficult for teachers and students to follow. BYU suggests that the
language is “needlessly complex and difficult to interpret, especially for teachers and
educational administrators without formal legal training.” 293 Professor Hobbs similarly
testifies that the exemption is “extremely confusing for teachers.” 294 In sum, this points
toward adopting an expanded exemption with simplified language for educational uses,
including eliminating distinctions between types of courses, and distinctions between
students and faculty at K-12 educational institutions and universities and colleges.

The same logic does not extend, however, to the copying of full motion pictures for
performances in face-to-face teaching. The Register has previously found the “short
portions” limitation to be “critical” in recommending exemptions for audiovisual
works. 295 BYU’s written comments are generally focused on the practical need for a
broader exemption for educational uses (which it characterizes as aligned with sections
110(1) and 110(2)’s educational performances exceptions), and the declining popularity
of DVD players in the marketplace. But it does not point to case law supporting the
notion generally that ripping and librarying copies for educational uses are likely to be
fair under section 107, save for referencing HathiTrust and Google Books. 296 Those
opinions, however, distinguished the proposed uses of indexing and data analysis, from
performing the works themselves, and carefully considered the risk that those
circumscribed uses might act as market substitutes. 297 In this case, however, full length
copies of motion pictures to facilitate performances under section 110(1) are supposed to
substitute for the original works in disc form.

Moreover, the Supreme Court has noted “the mere fact that a use is educational and not
for profit does not insulate it from a finding of infringement.” 298 While section 110(1)’s


293BYU Class 1 Reply at 2–3; see Tr. at 216:13–217:02 (Apr. 11, 2018) (Midgley, BYU) (proposing
recognizing educational users “as a group, in the same way that the statute does.”); Tr. at 218:04–
220:17 (Apr. 11, 2018) (Band, LCA) (testifying as to need for a simplified exemption for varied
educational uses).
294   Tr. at 220:12–221:07 (Apr. 11, 2018) (Hobbs, Media Educ. Lab).
295   2012 Recommendation at 138–39; see 2015 Recommendation at 30 (citing same).
296   BYU Class 1 Initial at 4.
297Google Books, 804 F.3d at 224–25 (finding that even though the search function allowed the user
to view “snippets” of the book in which the search term appears in the book, it did not effectively
substitute for the original works because viewers were seeing such a small percentage of the
book); HathiTrust, 755 F.3d at 101 (finding that a full-text search function did not serve as a
substitute for the original books because the search results did not display any text from the
underlying works).
298Campbell, 510 U.S. at 584; see also Cambridge Univ. Press, 769 F.3d at 1263–64 (“[C]opyright has
always been used to promote learning, . . . allowing some leeway for educational fair use furthers
the purpose of copyright by providing students and teachers with a means to lawfully access

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protection for performances of full works by educational institutions demonstrates the
importance of enabling educational performances, it notably does not include exceptions
to the rights of reproduction and distribution. As prior rulemakings have noted, current
law “does not guarantee access to copyrighted material in a user’s preferred format.” 299
Moreover, proponents do not address Joint Creators II’s contention that the exemption
would essentially requisition the creation of complete copies of works “in the clear,” to
be circulated around campuses, perhaps online, which may threaten the market for
those works. 300

Based on the relevant case law, the Acting Register cannot conclude as a general matter
that the contemplated uses of full length motion pictures are likely to be fair use.

                      ii.   MOOCs

The 2015 rulemaking identified fair use as the noninfringing basis for this exempted use,
and the proposed expansion to “all online courses” is evaluated on the same grounds. 301
First, however, the question of how to define “online course” needs to be addressed.
Joint Educators contend that the colloquial definition is evolving, and that an enrollment
component need not be a feature of an “online course.” 302 But Media Education Lab
suggests defining an “online course” by whether users have to register for the course,
such as through a Facebook login. 303 For their part, opponents recommend preserving




works in order to further their learning in circumstances where it would be unreasonable to
require permission. But, as always, care must be taken not to allow too much educational use,
lest we undermine the goals of copyright by enervating the incentive for authors to create the
works upon which students and teachers depend.”) (citation omitted); Sony Corp. of Am. v.
Universal City Studios, Inc., 464 U.S. 417, 450 (1984) (“Even copying for noncommercial purposes
may impair the copyright holder’s ability to obtain the rewards that Congress intended him to
have.”).
  2015 Recommendation at 109 (citing 2012 Recommendation at 163); see also 2010
299

Recommendation at 224; 2006 Recommendation at 74; 2003 Recommendation at 132.
300   Joint Creators II Class 1 Opp’n at 23.
301   See generally Joint Filmmakers Class 1 Initial at 10–15; FI, IDA & KF Reply 7–10.
302Tr. at 299:14–300:06 (Apr. 11, 2018) (Decherney, Joint Educators); see also Tr. at 295:13–20 (Apr.
11, 2018) (Decherney, Joint Educators) (“But what is an online course is something that’s
obviously changing and expanding through places like edX and Coursera and Udacity. They’re
actually expanding in the other direction now, offering larger, full online degree programs. They
are also offering smaller and more modular courses, things that are shorter, that might only take
a week rather than a full semester.”).
303   Tr. at 297:07–08 (Apr. 11, 2018) (Hobbs, Media Educ. Lab).

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the existing limit to officially enrolled students at accredited non-profit educational
institutions, and suggest that would exclude registration through Facebook. 304

While acknowledging the growth and importance of online education, in granting the
existing exemption in 2015 the Register agreed that an “‘unbounded exemption’ where
‘[a]nybody can declare that they’re teaching a MOOC’ and ‘anyone can be a student’”
would be “anathema to the exemption process as envisioned by Congress.” 305 As in
2015, Joint Educators’ current “broadly framed proposal would seemingly encompass
any online video that could be characterized as an educational experience.” 306
Moreover, the record is very sparse on examples of “online courses” that lack enrollment
features and/or could not be considered a MOOC, but also use motion picture clips. 307
Accordingly, the record does not justify expansion to “all online courses.”

Considering more narrowly whether the exemption should be expanded to include
MOOCs offered by for-profit and unaccredited educational institutions, Joint Educators
contend that the proposed additional uses are fair because they are identical to those
under the existing MOOCs exemption. 308 Specifically, they reference two MOOCs
currently developed by Professor Decherney at University of Pennsylvania and
Professor Abulor at Princeton University, and note that although the existing exemption
permits circumvention to offer these MOOCs at accredited nonprofit institutions, it does
not allow these same MOOCs to be offered at unaccredited or for-profit institutions. 309
In response, DVD CCA and AACS LA argue that Joint Educators failed to support their
assertion that including for-profit and unaccredited educational institutions likely


  Tr. at 298:22–299:13 (Apr. 11, 2018) (Williams, Joint Creators II); Tr. at 300:24–301:01 (Apr. 11,
304

2018) (Taylor, DVD CCA). Whether a student is “officially enrolled” in a MOOC depends upon
an institution’s enrollment policies and is thus a factual determination. Although the Acting
Register agrees that a MOOC by definition is “massive,” she makes no judgment as to whether
any particular form of enrollment constitutes “enrollment.”
 2015 Recommendation at 72 (citing Tr. at 119:18–121:16 (May 27, 2015) (Turnbull, DVD CCA &
305

AACS LA); Tr. at 129:03–130:24 (May 27, 2015) (Williams, Joint Creators)).
3062015 Recommendation at 102. For example, Joint Educators repeatedly reference models, like
Khan Academy, which popularize videos through YouTube. See Joint Educators Class 1 Initial at
2, 5, 7–8. There is no record, however, suggesting those models desire or need to incorporate
motion picture clips originally created for entertainment value in their educational offerings.
  Joint Educators Class 1 Initial at 7. Joint Educators also reference a Harvard University
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professor maintaining a “webpage” that “contains a collection of YouTube clips of popular
movies and television episodes” to illustrate mathematical concepts. Id. As DVD CCA and
AACS LA note, the Harvard professor does not appear to be offering his “webpage” as a MOOC.
DVD CCA & AACS LA Class 1 Opp’n at 32 n.79.
308   Joint Educators Class 1 Initial at 10.
309   Id. at 7.

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constitutes fair use. 310 They suggest the record lacks any examples of for-profit or
unaccredited educational institutions wanting to offer MOOCs, suggesting the
expansion would cover only speculative uses. 311 Finally, they suggest that Joint
Educators II do not themselves represent the interests of for-profit and/or unaccredited
educational institutions in this rulemaking, noting that the entities named by proponents
(e.g., University of Phoenix, Full Sail University, Strayer College, Khan Academy, and
Lynda) did not participate in the rulemaking. 312 Proponents do not offer any additional
examples of proposed uses in their reply.

The Acting Register agrees that the record lacks examples sufficient to evaluate or
recommend expansion to for-profit or unaccredited educational institutions. In the 2015
rulemaking, a group of educators similarly argued that for-profit uses are not
necessarily precluded from being fair uses, 313 but the then-existing record—similar to
this current rulemaking—did not include examples of proposed uses in connection with
MOOCs operated on a for-profit basis. 314 Accordingly, the Register limited the fair use
assessment to MOOCs offered by nonprofit accredited educational institutions, and
similarly limited the current temporary exemption. 315 Just as the 2015 record did not
support the inclusion of MOOCs offered by for-profit and/or unaccredited institutions,
neither does the current record.

                       iii.   Filmmaking

The 2015 rulemaking identified fair use as the noninfringing basis for this exempted use,
and the proposed expansion is evaluated on the same grounds. 316 Proponents now
provide multiple examples of non-documentary films using short motion picture clips
for parody or for the clip’s biographical or historical significance, ostensibly to provide
criticism or commentary. These include a film combining a script with live public
presentations to explore the struggles of Jewish artists in 1930s and 1940s Germany and
those of contemporary artists (using clips of the featured artists’ performances); 317 a film
“commenting on the historical world as it is perceived by a person living in


310   DVD CCA & AACS LA Class 1 Opp’n at 32.
311   Id. (citing Joint Educators Class 1 Initial at 10).
312   See id. at 31.
313   2015 Recommendation at 37 (citing Dercherney, et al. 2015 Class 3 Reply at 6–7).
314   Id. at 37.
  Id. at 75–76. DVD CCA and AACS LA observe that “uses made by commercial enterprises are
315

evaluated differently in determining whether a use is fair when the activity is for alleged
educational purposes.” DVD CCA & AACS LA Class 1 Opp’n at 32 n.80.
316   See generally FI, IDA & KF Reply 7–10; Joint Filmmakers Class 1 Initial at 10–15.
317   Joint Filmmakers Class 1 Initial at 17.

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contemporary times” (using footage of Adolf Hitler); 318 a dramatic film regarding the
historical attempted assassination of President Reagan, from the viewpoint of the
shooter’s family and lawyers (using clips from Taxi Driver, which influenced John
Hinckley, Jr.’s assassination attempt); 319 a biographical film regarding Steve Jobs (using a
clip of the “1984” Apple computer advertisement, which played a “key role” in the
film); 320 a dramatic film regarding the serial killer Richard Ramirez (using historical
news footage); 321 and a parody of the 1993 classic Mrs. Doubtfire purporting to show the
“absurdity of the film’s premise” (using clips from Mrs. Doubtfire). 322 In addition, Joint
Filmmakers provide numerous other examples of narratives films for which filmmakers
desire to engage in criticism and comment. 323

Proponents contend that in evaluating the proposed uses, the focus should be on the
specific use of the clip—and not the genre of film in which the clip appears—as clips can
be used to provide comment or criticism in a transformative way, even if the film’s
overall purpose is for entertainment. 324 Proponents observe that “nondocumentary films
are created for reasons other than just entertainment,” such as raising social
awareness. 325 Proponents point to parody as a transformative use of motion picture
clips in non-documentaries, noting also that although commerciality may weigh against
a finding of fair use, it does not presumptively do so. 326 In addition, proponents observe

318   FI, IDA & KEF Class 1 Reply at 9.
319   Joint Filmmakers Class 1 Initial at App. F.
320Id. at 11; see also The Wrap, How ‘Steve Jobs’ Used Apple’s Super Bowl Ad without Permission,
STARTRIBUNE (Oct. 13, 2015), http://m.startribune.com/variety/movies/332251172.html?
section=/variety.
321   Joint Filmmakers Class 1 Initial at App. O.
322   Id. at 16, App. G.
  Id. at 16–20, Apps. C–L, N–P, R; FI, IDA & KEF Class 1 Reply at 8–10. FI, KF, and IDA list
323

many of these examples in chart form. Tr. at 116:08–12, Hearing Ex. 1-J at 2–4 (Apr. 24, 2018) (FI,
KF & IDA) (appendix of adverse effects).
324Joint Filmmakers Class 1 Initial at 12–13 (citing Wade Williams Distrib., Inc. v. Am. Broad. Co.,
2005 WL 774275 at *9 (S.D.N.Y. Apr. 5, 2005)); see also FI, IDA & KEF Class 1 Reply at 7 (“the
overall purpose of a film genre is not determinative of a filmmaker’s ability to comment and
critique”); Tr. at 92:12–16 (Apr. 11, 2018) (Donaldson, Joint Filmmakers) (noting that in last three
years his law firm worked on sixty-five non-documentary films engaging in fair use, being
insured, and released to public).
  FI, IDA & KEF Class 1 Reply at 13–14 (discussing examples of Spotlight (depicting journalists
325

exposing abuse by Catholic priests), the 1977 miniseries Roots (depiction and impact of slavery),
and Philadelphia (discrimination against individuals living with AIDS)).
326Joint Filmmakers Class 1 Initial at 13 (citing Campbell, 510 U.S. at 570); see also Campbell, 510 U.S.
at 579, 584 (noting “parody has an obvious claim to transformative value” and discussing how
some commercial uses may nonetheless be fair).

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that the Register has previously found that noncommercial videos frequently make
noninfringing use of fictional content, and “[s]imilarly, narrative filmmakers want to use
motion picture clips to make their works transformative.” 327 Finally, proponents note
the growing genre of “hybrid” films, which incorporate documentary and fictional
elements, suggesting that such blending makes it more difficult to identify true
“documentaries” in which use of motion picture clips would constitute fair use. 328 For
example, Professor Aufderheide identified the film The Act of Killing as a hybrid film, 329
which examines how after the Indonesian government was overthrown by the military
in 1965, Anwar Congo and his friends went from “small-time gangsters” to death squad
leaders helping the army target and kill more than one million communists, ethnic
Chinese, and alleged leftists. 330 The real-life Anwar Congo and his friends developed
fictional scenes for the film about their experience of the killings—writing the scripts
themselves, and playing themselves and their victims in the film—and adapted the
scenes to their favorite film genres “not to provide testimony for a documentary,” but to
“star in the kinds of films they most love.” 331

Opponents maintain that proponents have failed to develop a record of likely
noninfringing uses to support extension of the exemption to non-documentary films. 332
They contend that proponents’ examples seem not to be for criticism or comment, but
rather to “provide theme,” 333 “provide scope and assist in portraying the age,” 334
“provide historical context,” 335 “flesh out [characters’] motivations,” 336 or “further the
story line.” 337 For example, opponents suggest the Mrs. Doubtfire parody example “is
actually a satire” and thus infringing, as it pokes fun not so much at Mrs. Doubtfire but


327   FI, IDA & KEF Class 1 Reply at 13.
  See Tr. at 175:04–14 (Apr. 11, 2018) (Welsh, FI); Tr. at 136:10–19 (Apr. 11, 2018) (Aufderheide,
328

Am. Univ.); see also Filmmaker Staff, Cinema Eye Honors Announces 2016 Heterodox Award
Nominees, FILMMAKER MAGAZINE (Nov. 18, 2015), https://filmmakermagazine.com/tag/heterodox-
award/ (discussing Heterodox Award, created to recognize “narrative fiction film that
imaginatively incorporates nonfiction strategies, content and/or modes of production”).
329   Tr. at 136:13–19 (Apr. 11, 2018) (Aufderheide, Am. Univ.).
  Synopsis, THEACTOFKILLING.COM, http://theactofkilling.com/synops/ (last visited Sept. 27,
330

2018).
331   Id.
332   DVD CCA & AACS LA Class 1 Opp’n at 13; Joint Creators II Class 1 Opp’n at 11–12.
333   DVD CCA & AACS LA Class 1 Opp’n at 16.
334   Id.
335   Id.
336   Joint Creators II Class 1 Opp’n at 11.
337   Id.

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the absurdity of the characters and their relationship. 338 Opponents observe that the
Register previously determined that use of short motion picture clips in non-
documentaries is “less likely to warrant a finding of fair use.” 339 Finally, DVD CCA and
AACS LA argue generally that the examples of proposed uses are not transformative
because they are for entertainment purposes, 340 while Joint Creators II acknowledge that
use of motion picture clips in “entertaining, scripted films” may sometimes constitute
fair use. 341

After careful review of this expanded record, the Acting Register observes that a number
of examples of uses offered by proponents for non-documentaries appear to be related
to criticism or comment, similar to uses in documentary films. Although the use of
motion picture clips in non-documentaries “diverges from educational uses and uses in
documentaries because there is no presumption that their primary purpose is to offer
criticism or commentary, as opposed to being included for entertainment purposes,” 342
that distinction does not bar a finding of fair use. 343 In 2015, while noting that it may be
possible for narrative films to incorporate motion picture clips for purposes of criticism
and comment, the Register concluded that the then-existing record failed to support the
contention that the proposed uses in non-documentary films were likely to be
noninfringing. 344 In this proceeding, however, proponents have provided many
additional examples of non-documentaries where uses of clips appear favored. Given


338   DVD CCA & AACS LA Class 1 Opp’n at 15.
339Joint Creators II Class 1 Opp’n at 9 (citing 2015 Recommendation at 79; 2012 Recommendation
at 130).
340   DVD CCA & AACS LA Class 1 Opp’n at 14, 17.
341   Joint Creators II Class 1 Opp’n at 10 n.8.
342   2015 Recommendation at 79.
343See, e.g., Arrow Prods. v. Weinstein Co. LLC, 44 F. Supp. 3d 359 (S.D.N.Y. 2014) (finding fair use
where four minutes of film used in recreating scenes to provide behind-the-scenes depiction of
film); Wade Williams Distrib., Inc., 2005 WL 774275, at *12 (finding fair use where three-second
movie clip used in episode of “Good Morning America” discussing alien films as transformative
comment on how filmmakers have portrayed aliens); Sofa Entm’t, Inc. v. Dodger Prods., Inc., 709
F.3d 1273 (9th Cir. 2013) (finding fair use where seven-second clip of Ed Sullivan’s introduction of
the Four Seasons on “The Ed Sullivan Show” was used in a musical about the Four Seasons,
because its use was transformative in evidencing the band’s enduring prominence in American
music despite “British Invasion”). But see TCA Television Corp. v. McCollum, 839 F.3d 168, 180 (2d
Cir. 2016) (“[T]he focus of inquiry is not simply on the new work, i.e., on whether that work
serves a purpose or conveys an overall expression, meaning, or message different from the
copyrighted material it appropriates. Rather, the critical inquiry is whether the new work uses
the copyrighted material itself for a purpose, or imbues it with a character, different from that for
which it was created.”) (finding use was not fair).
344   2015 Recommendation at 79.

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the changed record and testimony regarding emerging genre trends, the Acting Register
concludes that this factor ultimately weighs in favor of fair use. As discussed further
below, and like the current exempted uses for documentary films and noncommercial
remix videos, however, this conclusion is tailored to those films that use clips for
purposes of criticism and comment specifically, and does not constitute a statement
about the incorporation of motion picture clips into other films more generally. 345

Addressing the second fair use factor, proponents assert that it “is not dispositive of fair
use.” 346 As noted above, the Acting Register agrees that the second factor is of limited
value. Even though motion pictures are creative and thus at the core of copyright’s
protective purposes, because a number of proponents’ examples of proposed use
advance a favored purpose, the second factor carries little weight. 347

Regarding the third fair use factor, because the proposed exemption would not
eliminate the “short portions” limitation, proponents maintain that this factor weighs in
favor of fair use. 348 The Acting Register agrees.

Turning to the fourth factor, proponents argue that expansion of the exemption to non-
documentaries will not negatively affect the market for motion pictures. Joint
Filmmakers note that “the Register has previously concluded that ‘use of a motion
picture clip for purposes of documentary commentary or criticism is unlikely to interfere
with the primary or derivative markets for the underlying work’”—and assert that
“[t]here is no reason that this would be any different in a non-documentary context.” 349

Proponents state that “rightsholders do not have the right to the market for
transformative uses of their works” because such uses constitute fair use. 350
Accordingly, proponents assert that “licensors have no right to whatever business
would be ‘lost’ in such a scenario” because the use constitutes fair use (i.e., a license
should not be necessary). 351 Proponents thus maintain that expanding the exemption


345Cf. id. at 82–83 (finding “a substantial number, though not all” of noncommercial remix videos
were likely noninfringing and cautioning that “several of the videos provided as examples may
be insufficiently transformative to support a determination of fair use”).
346   Joint Filmmakers Class 1 Initial at 14.
  Campbell, 510 U.S. at 579; see also 2015 Recommendation at 70, 78; 2012 Recommendation at
347

128.
348   Joint Filmmakers Class 1 Initial at 14–15.
349   Id. at 15; see 2015 Recommendation at 78.
350   Joint Filmmakers Class 1 Initial at 15 (citing Campbell, 510 U.S. at 591).
351FI, IDA & KEF Class 1 Reply at 5; see also Tr. at 151:10–12 (Apr. 11, 2018) (Lerner, Joint
Filmmakers) (“If I make fair use and I do it appropriately, . . . a rights holder does not have the
right to say [I] need a license to that.”).

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will not affect the licensing market. 352 In addition, proponents state that they “are not
aware of any evidence, or even a single allegation, that the [current documentary]
filmmakers’ exemption has resulted in any harm to the market for copyrighted motion
pictures,” 353 and that opponents have “never offered evidence that the exemption has
affected that market in any way” despite consistently warning of abuses. 354

Finally, as discussed further below in connection with adverse effects, Joint Filmmakers
dispute that there is a licensing market for many of the proposed uses, particularly for
individual users or smaller budget projects. 355 They point out that Universal Studios
needed to rely on fair use to use the well-known “1984” Apple computer advertisement,
which played a key role in the film Steve Jobs, because the Jobs heirs “hated” the
direction the film was taking. 356 Similarly, Joint Filmmakers submit an appendix with
eight redacted examples of standard clip licensing agreements with studios or
production companies including Sony, Fox, CBS, ABC, and NBC Universal, and
Miramax that contain non-disparagement clauses limiting the manner in which the
licensed clip can be used. 357 Such clauses, according to proponents, may prevent
filmmakers from transforming, manipulating, or changing the clip. 358 For example,
proponents note that a licensing agreement used by Miramax Media Group “prohibits
the licensee, after having paid exorbitant fees, from being critical of anything
surrounding the clip, or in other words, from making fair use.” 359

In response, opponents assert that the proposed uses would negatively impact the clip
licensing market for motion pictures because “unlicensed uses harm that market.” 360
Opponents maintain that licenses are “readily available for using short portions of
motion pictures,” 361 and point to websites offered by Universal, Paramount, CNN, and



352   Joint Filmmakers Class 1 Initial at 25.
353   Id. at 15.
354   FI, IDA & KEF Class 1 Reply at 5.
355   EFF, NMR & OTW Class 1 Reply at 6.
356   FI, IDA & KEF Class 1 Reply at 6; Joint Filmmakers Class 1 Initial at 11, App. S.
357Joint Filmmakers Class 1 Initial at App. T (e.g., “none of the [licensed] Footage will be used in a
manner which would be derogatory to or critical of the program from which the Footage was
taken or to the persons involved with the production of the program from which the Footage was
taken”).
  FI, IDA & KEF Class 1 Reply at 9–10; see also Tr. at 169:06–14 (Apr. 11, 2018) (Wertheimer,
358

Authors All. & OTW).
359   FI, IDA & KEF Class 1 Reply at 7.
360   Joint Creators II Class 1 Opp’n at 12; see also DVD CCA & AACS LA Class 1 Opp’n at 17.
361   Joint Creators II Class 1 Opp’n at 14.

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NBCUniversal through which clips may be licensed. 362 Opponents contend that “MPAA
members actively exploit the market for licensing film clips for these types of uses,” and
“license, collectively, thousands of clips for use in a variety of works, including TV
shows, fictional films, and documentaries.” 363 Opponents also maintain that “[c]lip
licensing remains a growing segment of creators’ derivative market for their copyrighted
works,” 364 that the “market for clip licensing has even attracted new entrants including
public television stations,” and that “it is clear that unlicensed uses harm that market.” 365

The Acting Register concludes that this factor does not preclude a limited expansion of
the exemption. While opponents have demonstrated that there is an active clip-licensing
market for motion pictures, the class includes many examples appearing to be critical
uses of motion picture clips in non-documentaries for parody or to comment upon a
clip’s biographical or historical significance. Requiring a filmmaker “who is making fair
use of a work to obtain a license is in tension with the Supreme Court’s holding that
rightsholders do not have an exclusive right to markets for criticism or comment of their
copyrighted works.” 366 By that token, the record indicates that in many cases where
clips would be used for comment or criticism, there may be no effective market for
licensed clips, due to concerns over the context in which the clip would be used (i.e.,
criticism). As with the first factor, however, this conclusion would not extend to the use
of clips in a manner that infringes the copyright owner’s derivative rights, which would
entitle that owner to license—or decline to license—a clip, even at a high price. 367

On balance, the analysis reveals that the proposed expansion to include uses of short
clips for parody or for their biographical or historically significant nature are likely
noninfringing. While the Acting Register makes no judgment as to whether any
particular uses submitted by the proponents are in fact fair, the record demonstrates that
many of the uses suggested by proponents appear to be for purposes of criticism and
comment and thus likely fair. In 2012 and 2015, the rulemaking records lacked examples
of non-documentaries making use of preexisting material for purposes of comment in a

362   Id. at 13.
363   Id. at 12.
364   DVD CCA & AACS LA Class 1 Opp’n at 17–18.
365   Joint Creators II Class 1 Opp’n at 12.
366   2015 Recommendation at 84.
367See Fox News Network, LLC v. TVEyes, Inc., 883 F.3d 169, 180 (2d Cir. 2018) (“It is of no moment
that [defendant] allegedly approached [plaintiff] for a license but was rebuffed: the failure to
strike a deal satisfactory to both parties does not give [defendant] the right to copy [plaintiff’s]
copyrighted material without payment.”), petition for cert. filed, No. 18-321 (U.S. Sept. 12, 2018) ;
Campbell, 510 U.S. at 579, 584 (“Evidence of substantial harm to [the market for the original]
would weigh against a finding of fair use, because the licensing of derivatives is an important
economic incentive to the creation of originals.”).

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transformative way. 368 For this rulemaking, however, proponents have presented many
examples of non-documentary films engaging uses of motion picture clips for criticism
and comment in manners that may be fair. In addition, the growing genre of “hybrid”
films further distinguishes the current record from those in prior rulemakings.

                      iv.     Multimedia E-Books

The 2015 rulemaking identified fair use as the noninfringing basis for this exempted use,
and the proposed expansion is evaluated on the same grounds. 369 Proponents assert that
the uses of clips for comment or criticism in nonfiction multimedia e-books beyond
those offering film analysis, as well as fictional multimedia e-books, are transformative
and thus fair. 370 Proponents contend that the Register’s prior analysis should not change
“simply because an e-book is fictional and/or not directed at film analysis.” 371

Regarding the first fair use factor, proponents assert that the criticism and comment
limitation ensures that nonfiction multimedia e-books generally would give “new
meaning” to works and thus be transformative; they suggest “most [would] alter
audiovisual material in such a way to give it new meaning.” 372 Proponents point to
specific examples of nonfiction multimedia e-books, including an e-book critiquing how
pregnancy and questions of fertility have been portrayed in a television series (using
clips from the television series); 373 an e-book about “the psychology used in certain TV
shows” (using clips from the television shows); 374 an e-book titled Show Sold Separately,
which “critiques the phenomenon of how audiences are interacting with movies and TV
shows based on preconceived notions before that material is released” (using video clips
and imbedded imaged); 375 and an e-book titled Digital Dubliners, which is a guide to
James Joyce’s collection of stories depicting life in Dublin in the early twentieth century
titled Dubliners, and “uses film clips and other still images to provide historical and
cultural context.” 376

Regarding fictional multimedia e-books, proponents argue these uses are often
transformative because they add meaning or expression to the original work, even if


368   2015 Recommendation at 81; 2012 Recommendation at 130.
369   See generally Joint Filmmakers Class 1 Initial at 10–15; FI, IDA & KF Reply 7–10.
370   Authors All. et al. Class 1 Initial at 7–15.
371   Id. at 3.
372   Id. at 11–12 (providing example regarding literary professors).
373   Id. at 19.
374   Id. at 20.
375   Tr. at 118:20–119:09 (Apr. 11, 2018) (Schofield, Authors All.).
376   Tr. at 119:10–18 (Apr. 11, 2018) (Schofield, Authors All.).

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they describe imaginary events or characters. 377 According to proponents, these authors
“often present characters or a setting from an original work,” but will “often splice clips
together in such a way that a new story is being told” to transform the work. 378
Proponents assert that “[f]anfiction is an example of types of fictional e-books that
would benefit from the proposed exemption,” and is “a transformative form of
expression that fits into the fair use doctrine.” 379 Proffered examples include author
Holdt’s multimedia e-book, which would take characters from one movie and put them
in a different movie “universe”; 380 author Kirby Ferguson’s multimedia e-book “about
the hidden forces that shape our lives”; 381 and a multimedia e-book based on an “in-
universe” musical written by a character in the television series Supernatural. 382 In
addition, proponents suggest that including fictional e-books would be consistent with
the existing exemption for noncommercial videos, which includes fictional works. 383

Finally, in recognizing that the excepted uses for e-books under the existing exemption
differ from those for noncommercial remix videos in that they include commercial uses,
proponents state that “[t]he Register noted that even though many multimedia e-books
tend to have a commercial aspect, the short excerpts used for criticism and comment
transformed the work to have new meaning enough to satisfy fair use.” 384

In response, opponents maintain the record lacks evidence of actual use of a motion
picture clip in a fictional e-book or in an “other nonfiction” e-book, and that “[i]n the
absence of actual use, evaluating the use is all but impossible.” 385 Regarding nonfictional
uses, opponents assert that many of the alleged additional uses would qualify under the
current “film analysis” limitation. 386 Regarding fictional uses, opponents maintain that
the fair use analysis is similar to that for filmmaking, and that the creation of fan fiction
multimedia e-books “would frequently infringe the right to prepare derivative
works.” 387 In support, Joint Creators II cite a variety of court opinions concluding that

377   Authors All. et al. Class 1 Initial at 11–12.
378   Id. at 12.
379   Id. at 9.
380   Id. at 18.
381   Id. at 17.
382   Id. at 20–21.
  Authors All. et al. Class 1 Reply at 13–14; see also Tr. at 104:21–105:15 (Apr. 11, 2018) (Tandy,
383

OTW) (suggesting noncommercial videos exemption would not encompass inclusion of remix
videos within a multimedia e-book); Tr. at 122:03–08 (Apr. 11, 2018) (Reid, Authors All.).
384   Authors All. et al. Class 1 Initial at 11 (citing 2012 Final Rule at 65,260, 65,268).
385   DVD CCA & AACS LA Class 1 Opp’n at 21; see also Joint Creators II Class 1 Opp’n at 16.
386   Joint Creators II Class 1 Opp’n at 16.
387   Id. at 15.

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the incorporation of copyrighted material into other fictional works resulted in
unauthorized derivative works. 388

The reasoning under the second and third factors to exempt the existing e-books uses
follows that of this class, generally. Regarding the fourth factor, proponents assert that
the expansion “will not disrupt the market of the original borrowed work because the
audiovisual clips included in the e-books will be short and will not supplant the original
copyrighted work.” 389 Proponents also maintain that eliminating the screen-capture
references does not alter the fair use analysis, because use of screen-capture technology
results in a lower-quality video, such that “readers may be deterred from exploring and
acquiring the original work.” 390

In response, opponents assert that as with the proposed filmmaking expansion, there
will be harm to the clip licensing market if the proposed e-books uses are exempted. 391
At the same time, however, DVD CCA and AACS LA maintain that no market currently
exists for multimedia e-books. 392 But they claim that “if the multimedia e-book market
were to ever materialize, other creators such as the studios or even public television
would also seek to exploit this market as an opportunity to license their works.” 393

Regarding nonfiction multimedia e-books beyond “film analysis,” the Acting Register
concludes that the record sufficiently demonstrates additional proposed uses that are
likely fair. Proponents’ examples show a variety of uses of short excerpts in nonfiction
multimedia e-books to provide criticism or commentary beyond film analysis. While it
is true that a couple of the uses arguably fall under the existing exemption, it appears
that these authors would likely not characterize their e-books as involving “film
analysis.” When considering the inclusion of clips in works of nonfiction comment or
criticism, the brevity and transformative nature of the proposed uses favor an exemption
because the proposed users are unlikely to substitute for the original work—and indeed




388   Id. at 15–16 (collecting cases).
389   Authors All. et al. Class 1 Initial at 14.
390   Id. at 15.
391DVD CCA & AACS LA Class 1 Opp’n at 30. Similarly, Joint Creators II assert that “[t]here is
clearly a market for licensing footage from motion pictures, and it is clear that unlicensed uses
harm that market.” Joint Creators II Class 1 Opp’n at 12.
  DVD CCA & AACS LA Class 1 Opp’n at 23. Authors Alliance responds that the multimedia e-
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books market is, in fact, growing and expected to steadily improve. Authors All. et al. Class 1
Reply at 4 (providing examples).
 DVD CCA & AACS LA Class 1 Opp’n at 30; see also Tr. at 174:07–08 (Apr. 11, 2018) (Turnbull,
393

AACS LA) (stating e-book market is “a potential or likely to be developed market”).

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opponents did not identify any proposed use that has in the past harmed, or is likely in
the future to harm, the market for or value of any copyrighted motion pictures. 394

Regarding the proposed fictional uses, however, the Acting Register finds that the
record lacks evidence demonstrating a need to expand the current exemption. To be
sure, this issue is somewhat difficult to evaluate, as the record includes few examples of
fictional e-books. 395 But the Register has previously determined that “[t]he use of an
earlier work to flesh out characters and motivations in a new work, or to develop a
storyline, does not inherently serve the purpose of criticism or comment on the existing
work.” 396 Proponents’ testimony indicates that many of the proposed fictional uses
serve precisely these purposes. 397 The proposed fictional e-books appear to involve “in
universe” scripts and/or “mashups,” which can constitute unauthorized derivative
works, depending upon the work. 398 While it may be possible in some circumstances for
fan-fiction e-books to incorporate motion picture clips in a transformative way, here,


394   See 2015 Recommendation at 77.
  Authors All. et al. Class 1 Initial at 18, 21; Tr. at 116:08–12, Hearing Ex. 1-I at 2 (Apr. 24, 2018)
395

(Authors All. et al.); Tr. 72:10–73:12 (Apr. 24, 2018) (Rosenblatt, OTW) (“[T]here are a lot of
questions about this rather than concrete examples.”).
396   2012 Recommendation at 130.
  See Authors All. et al. Class 1 Initial at 12 (“By using the clips to merely present a setting[,]
397

authors can then introduce new characters or plots to an old world, creating new meaning and
adding new expression.”); Tr. at 108:24–109:02 (Apr. 11, 2018) (Tandy, OTW) (testifying that
authors want to use clips for purposes of mise-en-scene, to flesh out a narrative, or show
something that happened in the past).
398Authors All. et al. Class 1 Initial at 18, 21; see also Lucasfilm Ltd. LLC v. Ren Ventures Ltd., No.
3:17-cv-07249-RS, slip op. at 9 (N.D. Cal. June 29, 2018) (order granting in part and denying in
part motion for partial summary judgement) (finding that defendants’ use of Star Wars images
and dialogue to promote a game app mimicking a fictional card game appearing in Star Wars did
not constitute fair use; noting that “[m]ovie franchise owners routinely license intellectual
property rights to other businesses to develop movie-related merchandise and products,” and
that defendants did not produce evidence to show lack of market harm from their unlicensed
use); Dr. Seuss Enterprises, L.P. v. ComicMix LLC, No. 16-CV-2779, 2017 WL 6059130 (S.D. Cal. Dec.
7, 2017) (finding no fair use where defendants created a book combining aspects of Dr. Seuss’s
works with elements from Star Trek; defendants’ work was a “mash-up,” that while
transformative, could adversely affect potential market for literary mash-ups including Dr.
Seuss’s works); Paramount Pictures Corp. v. Axanar Prods., Inc., No. 2:15-cv-09938, 2017 WL 83506
(C.D. Cal. Jan. 3, 2017) (finding “prequel” for Star Trek movie was not fair use); Warner Bros.
Entm’t Inc. v. RDR Books, 575 F. Supp. 2d 513 (S.D.N.Y. 2008) (finding no fair use where defendant
sought to publish an “encyclopedia” of details from the Harry Potter series). The Acting Register
concludes that the record lacks sufficient information to evaluate Kirby Ferguson’s multimedia e-
book “about the hidden forces that shape our lives” under fair use. See Authors All. et al. Class 1
Initial at 17.

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particularly because the proposed class primarily concerns unedited clips, the Acting
Register cannot conclude as a categorical matter that the uses likely would be found
transformative. 399 Finally, although proponents maintain that “most” fanfiction e-books
are noncommercial, 400 both proponents and opponents resisted having any proposed
expansion to fictional e-books limited to noncommercial uses. 401 Accordingly, the
commercial nature of the proposed uses does not aid a finding that the uses are likely
fair. 402 Considering the fourth factor specifically, the Acting Register has previously
determined that “use of an earlier work or works as the basis for a new work could give
rise to a concern that the new use might supplant the derivative market for the existing
work.” 403

It is important to note, however, that inserting a noncommercial remix video into a
(noncommercial) multimedia e-book—where the remix video itself complies with the
existing noncommercial video exemption—would merely be using a different medium
in which to deliver these remix videos. 404 The Acting Register finds the exempted use
for noncommercial videos in the current exemption may thus be sufficiently broad to
cover this proposed use, assuming all requirements of the existing noncommercial video
exemption are met.

After considering the factual record and relevant law, the Acting Register concludes that
many of the proposed uses of motion picture clips for purposes of criticism or comment
in nonfiction multimedia e-books beyond those offering film analysis are likely to be a
fair use, but that the same conclusion does not extend to fictional multimedia e-books.




399This is in contrast to the existing exemption for noncommercial remix videos, where the videos
themselves are altered in a transformative manner, and the uses are uniformly noncommercial.
400   Authors All. et al. Class 1 Reply at 13.
  See Tr. at 124:14–125:11 (Apr. 11, 2018) (Lerner, Authors All. & OTW) (stating that adding a
401

noncommercial limitation for fiction multimedia e-books would disincentivize creators); Tr. at
143:22–24 (Apr. 11, 2018) (Williams, Joint Creators II) (“there could be all kinds of uses that are
non-commercial that would still harm . . . and that would still be infringing uses”).
402TVEyes, 883 F.3d at 178 (citing Campbell, 510 U.S. at 579, 585) (“The commercial nature of a
secondary use weighs against a finding of fair use . . . especially when . . . the transformative
character of the secondary use is modest.”); Harper & Row, Publrs. v. Nation Enters., 471 U.S. 539,
562 (1985) (stating that the “fact that a publication [is] commercial as opposed to nonprofit is a
separate factor that tends to weigh against a finding of fair use”).
403   2012 Recommendation at 130.
  See Authors All. et al. Class 1 Reply at 14; see also Tr. at 104:21–105:15 (Apr. 11, 2018) (Tandy,
404

OTW); Tr. at 122:03–08 (Apr. 11, 2018) (Reid, Authors All.).

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                    e. Causation

The Acting Register finds that proponents have met their burden of showing that the
statutory prohibition on circumvention of access controls limits their ability to engage in
the proposed uses. But for the prohibition, users likely could gain lawful access to the
copyrighted motion pictures for those purposes.

To be sure, in the case of multimedia e-books specifically, DVD CCA and AACS LA
contend that technological limitations on file size and digital storage capacity—not
TPMs—are preventing the creation of multimedia e-books. 405 As noted by the Register
in 2015, however, any “technical limitations of the medium (i.e., maximum file sizes) will
seemingly limit the uses of the excerpted works to relatively brief segments,” 406 but not
bar the creation of multimedia e-books completely.

                    f. Asserted Adverse Effects and Statutory Factors

                       i.    Universities and K-12 Educational Institutions

Proponents argue that the statutory factors set forth in section 1201(a)(1) favor the
expanding the exemption. But as with their fair use arguments, proponents focus
mostly on proposed uses under section 110(1) that would allow for the full-length
performances of motion pictures in face-to-face teaching. Specifically, proponents assert
that “instructors and pupils are adversely affected in their ability to make noninfringing
uses of more than ‘short portions’ of motion pictures under the classroom exemption”
due to the language of the current exemption. 407

With respect to first factor, BYU states that “to make noninfringing performances under
the classroom exception, instructors or pupils must have access to licensed decryption
and playback devices in the classroom.” 408 Proponents maintain, however, that “fewer
and fewer classrooms will be equipped with such licensed decryption and playback
devices” 409 because the “unmistakable industry trend” is moving away from DVD and
Blu-ray discs (and thus optical readers), and towards streaming media and digital
downloads. 410 For example, BYU has decided not to replace licensed decryption and


  DVD CCA & AACS LA Class 1 Opp’n at 25–26; see also Tr. at 189:20, Hearing Ex. 1-B (Apr. 11,
405

2018) (DVD CCA) (demonstrating that multimedia e-books created with iBooks Author cannot
exceed two gigabytes).
406   2015 Recommendation at 77.
407   See BYU Class 1 Initial at 3.
408   Id.
409   Id.
410   BYU Class 1 Reply at 7; see also Public Knowledge Class 1 Reply at 2.

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playback devices as “they age out over the next several years.” 411 Proponents contend
that even if optical readers are available in the marketplace, the cost to purchase “a Blu-
ray player for each classroom is prohibitive and would be an extreme hardship.” 412

Regarding shorter uses of motion pictures, proponents maintain that relying on DVD
and Blu-ray discs to play motion pictures in a classroom comes with a “social cost” of
wasted time while the teacher has to “cue up” the motion picture. 413 LCA states that
“having the clip compilation will make it much faster to navigate, as opposed to trying
to zip back and forth” within a DVD. 414

Proponents reject screen capture technologies, lower forms of images, and licensed uses
as viable alternatives to circumvention. For example, they argue that screen capture,
because it results in a static recording, does not allow teachers to add subtitles and/or
commentary to assist with their teaching. 415 As noted above, BYU suggests that the
references to screen-capture technologies in the existing exemption relating to
educational uses are confusing and sometimes contradictory, and should thus be
eliminated. 416 BYU suggests that streaming media providers do not offer the “obscure”
motion pictures needed for classroom use, and streaming services permit only personal
use (not public performances in educational settings). 417

In response, opponents argue that the basis for proponents’ request is not caused by
TPMs, but rather by BYU’s own decision to stop supplying its classrooms with optical
readers. 418 Opponents dispute that optional readers are not available in the
marketplace, stating that a “quick” marketplace check shows DVD players and Blu-ray
players available for as low as $29.99 and for $69.99, respectively. 419 They note that BYU
would need to possess at least some players and disc drives to circumvent CSS or AACS
technology. 420 Opponents also observe that because BYU’s decision not to replace
optical readers will “apparently not be implemented for ‘several years,’” BYU has failed


411   BYU Class 1 Initial at 3–4.
412   BYU Class 1 Reply at 10–11; see Tr. at 272:20–25 (Apr. 11, 2018) (Hobbs, Media Educ. Lab).
413   Tr. at 268:04–14, 268:22–269:03 (Apr. 11, 2018) (Midgley, BYU).
414   Tr. at 252:13–17 (Apr. 11, 2018) (Band, LCA).
415   Tr. at 253:03–06 (Apr. 11, 2018) (Band, LCA).
416   BYU Class 1 Initial at 5; see 37 C.F.R. § 201.40(b)(1)(iv)–(viii) (2016).
417BYU Class 1 Reply at 12; see also Tr. at 303:24–304:01 (Apr. 11, 2018) (Midgley, BYU) (stating
that movie Moana is not available through Netflix in Tahitian).
  DVD CCA & AACS LA Class 1 Opp’n at 9 (“[A]ll that is necessary is a DVD or Blu-ray player
418

and a television screen. No circumvention is necessary.”); Joint Creators II Class 1 Opp’n at 21.
419   DVD CCA & AACS LA Class 1 Opp’n at 12.
420   Id.; Tr. at 275:02–09 (Apr. 11, 2018) (Turnbull, AACS LA).

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to identify “a substantial adverse effect that is likely to occur within the next three
years.” 421

Moreover, opponents maintain that BYU has “failed to establish a record to demonstrate
there is any content that can only be accessed via discs,” 422 and note that a variety of
ways exist in the marketplace for accessing digital copies, such as redeem codes; digital
copies available for rental or long-term access; access through Movies Anywhere and
UltraViolet; streams available through Hulu, Netflix, Amazon Video, YouTube Red; and
permanent downloads available through Apple iTunes and Google Play. 423

The Acting Register concludes that the record shows that a limited expansion likely
would increase the availability of copyrighted works for certain uses of motion picture
clips. For example, proponents gave the example of teachers creating compilations of
clips from foreign language films with and without subtitles. 424 Further, as in prior
rulemakings, the testimony shows a need for educators to compile clips in advance, to
maximize classroom time and avoid attention lagging when queuing up clips. The
record also demonstrates that screen capture may not be an adequate alternative for
certain educational uses 425 and that modern students use media differently and have
higher expectations of digital media. 426 In addition, the Acting Register notes that
confusion over whether the exemption applies, if it results in teachers opting not to use
motion picture clips for educational purposes, may adversely affect teaching and
education. 427 Overall, the first factor supports expanding educational use under the
exemption.



421   Joint Creators II Class 1 Opp’n at 21.
422   Id.
423   Id. at 23.
424   Tr. at 242:10–20, Hearing Ex. 1-E (Apr. 11, 2018) (Midgley, BYU).
425See Tr. at 253:03–06 (Apr. 11, 2018) (Band, LCA) (stating that screen capture does not
reasonably permit teachers to add subtitles and/or commentary to assist with their teaching).
426See Tr. at 273:15–20 (Apr. 11, 2018) (Hobbs, New Media Lab) (stating that modern students “are
using create-to-learn pedagogies, where they’re not just watching, they’re actually remixing and
creating. As part of the learning experience, they’re manipulating image, language, and sound”);
Tr. at 273:09–11 (Apr. 11, 2018) (Hobbs, New Media Lab) (“[T]he expectation is, all of the digital
resources that we need to use should be at our fingertips.”); Tr. at 286:20–23 (Apr. 11, 2018)
(Midgley, BYU) (“[O]ne of the goals of this proceeding should be to try to match what’s
happening on the ground, what the expectations are of modern students and instructors are
when they arrive on campus.”).
427See BYU Class 1 Reply at 2–3 (noting that the language is “needlessly complex and difficult to
interpret, especially for teachers and educational administrator without formal legal training”);
Tr. at 220:21–221:05 (Apr. 11, 2018) (Hobbs, Media Educ. Lab) (stating that if teachers do not

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The conclusion is different regarding the use of full-length motion pictures. The Acting
Register agrees that DVD and Blu-ray players are still widely available on the market.
According to a report cited by proponents, disc sales accounted for $4.7 billion in 2017. 428
Extending the exemption to such uses thus could ultimately decrease the availability of
motion pictures by undermining the value of the market for works in those formats.
Regarding proponents’ argument that it would be costly for educational institutions to
re-purchase digital versions of lawfully acquired physical audiovisual works, as
previously noted, “the 1201 exemption process is meant to ensure that users have access
to copyrighted works; it is not meant to guarantee consumers the ability to access
content through their preferred method or format.” 429

Regarding the availability for use of works for educational purposes, and the impact on
teaching, scholarship, or research, BYU states that without a more user-friendly
expansion, teachers will remain confused as to whether an existing exemption applies to
them, and such uncertainty will deter teachers from using motion picture clips, to the
detriment of teaching and education. 430 Proponents also state that the existing
exemption prevents teachers who teach on multiple educational levels from using
motion pictures in all of their educational efforts, since the exemption distinguishes who
may circumvent based on level of education. 431 Opponents assert that while the existing
exemption “could benefit from some clarification,” “proponents greatly exaggerate the
regulations’ complexity.” 432




know whether they can circumvent, this will “impact . . . how the next generation of teachers is
taught how to use audio-visual resources effectively for purposes of teaching and learning”).
  BYU Class 1 Reply at 7 (citing Ricardo Lopez, Disc Sales Decline Deepens in Annual Home
428

Entertainment Spending Report, VARIETY (Jan. 9, 2018), http://variety.com/2018/digital/news/home-
entertainment-spending2017-1202658638/ (citing Digital Entertainment Group, DEG Year End
2017 Home Entertainment Report (Jan. 8, 2018), https://degonline.org/portfolio_page/deg-year-end-
2017-home-entertainment-report/)).
429   2015 Recommendation at 124.
430See Tr. at 220:21–221:05 (Apr. 11, 2018) (Hobbs, Media Educ. Lab) (stating that if teachers do
not know whether they can circumvention, this will “impact . . . how the next generation of
teachers is taught how to use audio-visual resources effectively for purposes of teaching and
learning”); see also Tr. at 218:02–15 (Apr. 11, 2018) (Band, LCA) (“[T]he existing system is just so
complicated that a lot of people just kind of throw their hands up into the air . . . the right
approach is to figure out how do we make it easier for people to comply with the law . . . .”).
431Tr. at 220:21–23 (Apr. 11, 2018) (Hobbs, Media Educ. Lab) (stating that it is “very common for a
high-school teacher, a middle-school teacher, to teach also in a university context”).
432   Joint Creators II Class 1 Opp’n at 8.

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The Register previously determined that the third factor is a “critical consideration” in
relation to educational uses. 433 Because the proposed uses seek to enable the listed
statutory purposes, this factor weighs in favor of properly crafted exemption to foster
such uses.

Regarding the fourth factor, as noted above, brief, educational uses are unlikely to
undermine the value of copyright-protected motion pictures. As also noted above, the
use of full-length motion pictures, however, would affect the digital motion pictures
market.

                      ii.    MOOCs

Joint Educators maintain that without expanding the exempted use of MOOCs, “there is
no ability for unaccredited, for-profit, or for-credit online educational offerings to embed
noninfringing audiovisual works into their courses or modules without licensing from
the copyright owner.” 434 In support, they reference two courses currently developed by
Professor Decherney at University of Pennsylvania and Professor Abulor at Princeton
University, and note that they cannot be offered at unaccredited or for-profit
institutions. 435 Joint Educators, Associate Professor Anderson, and Professor
Aufderheide suggest that “traditional universities offering professional training or
certificate programs through fee-for-service branches are unsure” whether their
activities are covered, and such uncertainly “may lead to risk-averse choices that
compromise potential learning opportunities.” 436

Regarding the second and third statutory factors, Joint Educators assert that expansion
of the existing exemption “would continue to encourage the innovative, high quality
online teaching that continues to evolve at a rapid pace.” 437 Joint Educators maintain
that the nonprofit and unaccredited limitations in the existing exemption “decrease
access to high quality education for students and undermine[] opportunities for
professors to collaborate and innovate with varied institutions.” 438

Considering the potential effect on the market for copyrighted works, Joint Educators
maintain:




433   See 2015 Recommendation at 94.
434   Joint Educators Class 1 Initial at 13.
435   Id. at 7.
436   Joint Educators, Anderson & Aufderheide Class 1 Reply at 3.
437   Joint Educators Class 1 Initial at 6.
438   Id. at 7.

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            Clips copied from works in this context are to be used exclusively for
            educational purposes, and it is unlikely that those accessing them for
            other purposes would reuse them. Should it occur, however, reuse of
            short clips would be unlikely to affect the value of the work from which
            the clip was sampled, as the clips are limited in duration and not likely to
            serve as a substitute for the entire work. 439

As noted above, opponents suggest that proponents have failed to identify any
unaccredited or for-profit institution wanting, but unable, to offer a MOOC because of
section 1201. 440 Opponents assert that none of the institutions named by proponents as
allegedly harmed have come forward to “provide evidence that any of its activities is
harmed by the circumvention prohibition.” 441 DVD CCA and AACS LA acknowledge
proponents’ example of Professor Decherney being unable to offer his MOOC on
Hollywood to a film society, 442 but note that Joint Educators do “not identify a particular
film society that would actually offer this course if the exemption were modified.” 443

The Acting Register agrees the record does not demonstrate that section 1201 is
inhibiting the use of motion pictures in online education offered by for-profit and/or
unaccredited educational institutions. Indeed, proponents note that online education
has been growing rapidly notwithstanding the prohibition on circumvention. 444 There is
little to suggest that for-profit or unaccredited institutions wish to offer additional
content in MOOCs that they are unable to license. 445 Further, the two proffered
examples appear both de minimis and speculative. The record indicates that Professor
Abulor has not yet finished creating his MOOC, so questions as to whether he “was to”
offer his MOOC through a for-profit and/or unaccredited educational institution 446
remain purely hypothetical. Professor Decherney’s inability to offer his Hollywood
MOOC as part of a film society website or through another unaccredited or for-profit
institution is also unpersuasive—it appears he can already offer the class to a “wider


439   Id. at 13.
  DVD CCA & AACS LA Class 1 Opp’n at 32 (citing Joint Educators Class 1 Initial at 10) (“Joint
440

Educators concede they have not proffered any examples of use of a motion picture by any other
type of MOOC than those offered by accredited nonprofit educational institutions . . . .”).
441   DVD CCA & AACS LA Class 1 Opp’n at 31.
442   Joint Educators Class 1 Initial at 10.
443   DVD CCA & AACS LA Class 1 Opp’n at 31.
444   Joint Educators Class 1 Initial at 5–6.
445See Tr. at 290:10–24 (Apr. 11, 2018) (Decherney, Joint Educators) (confirming that Joint
Educators have not communicated with for-profit and/or unaccredited educational institutions to
see if they share a need for circumvention to offer MOOCs).
446   Joint Educators Class 1 Initial at 7.

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range of learners” by making it “massively” available to the public through the
University of Pennsylvania’s MOOC, including by linking to this MOOC on the film
society’s website. 447

Ultimately, just as the 2015 record did not support the inclusion of MOOCs offered by
for-profit and/or unaccredited institutions, neither does the current record. 448

                      iii.   Filmmaking

Proponents state that a majority of motion pictures are currently protected by copyright
and protected by TPMs and are “thus unavailable to a significant portion of filmmakers
for criticism and commentary.” 449 They argue that the rise of digitally transmitted video
therefore makes circumvention of encryption measures necessary to access news clips
and other high-quality content to meet the requirements of distributors. 450

Proponents dispute that either clips created using non-circumventing screen capture
technology, or clips obtained via licensing are viable alternatives for the proposed uses.
They assert that “all screen capture software programs of which we are aware create
dropped frames and loss of audio sync, among other defects.” 451 According to
proponents, these defects cannot be fixed by the use of film editing software. 452 For
example, dropped frames “cannot be recovered and are often grounds for automatic
disqualification when submitting films.” 453 Allegedly, some users who try to use screen
capture with Netflix end up with just a black screen rather than any visual content. 454

In addition, proponents contend that screen-capture technology requires significant
time, resources, and special hardware, and is “not financially feasible for many
filmmakers,” 455 as “[f]ree trials have time limits and a filmmaker cannot be constrained



447   Joint Educators, Anderson & Aufderheide Class 1 Reply at 3.
  As noted above, the request to exempt “all online courses” is too vague to support a conclusion
448

that the uses are likely noninfringing. This language also potentially implicates the market or
value for copyrighted works in ways unanticipated by the current MOOC exemption.
449   Joint Filmmakers Class 1 Initial at 10.
450   Id. at 20–21.
451   Id. at 21; see also Tr. at 8:17–23 (Apr. 24, 2018) (Turk, Univ. of Minn., Morris).
  FI, IDA & KEF Class 1 Reply at 10–11 (filmmakers “cannot work with the varying frame rates,
452

unpredictability, and inconsistency that screen capture technologies suffer from”).
  Id.; see also Tr. at 194:19–21 (Apr. 11, 2018) (Morrissette, FI) (“Filmmakers today have even more
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gatekeepers and high technical requirements from distributors than ever before.”).
454   Tr. at 18:15–19 (Apr. 24, 2018) (Rosenblatt, OTW).
455   Joint Filmmakers Class 1 Initial at 21.

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to make their feature film within a time limit as short as thirty days.” 456 Moreover, when
considering film distribution requirements, filmmakers may be asked to go back and
obtain the source material if the clips are not high enough quality. 457

Finally, EFF, NMR and OTW note that screen-capture technologies are not a “safe
harbor,” as copyright owners have asserted section 1201 claims against “technologies
that appear very similar to those discussed in these proceedings.” 458

As for obtaining authorization, proponents maintain that licensing clips is not a
reasonable alternative because licenses are too difficult to obtain. 459 In addition to
contesting that a license for critical commentary should or could be obtained given non-
disparagement clauses or other denials, proponents dispute the practical feasibility of
licensing for smaller uses, generally. EFF, NMR and OTW note that Universal’s clip
licensing site “clearly states on its front page that it is a ‘business to business’ site,” 460
seemingly making clip licenses unavailable to individuals.

Opponents respond that both licensing and screen capture technologies serve as valid
alternatives to circumvention. MPAA notes that all six of the motion picture studios it
represents license motion picture clips, which can be done online, and they can be
contacted via email or over the phone. 461 Opponents also assert that “motion pictures
are even more broadly available today than they were three years ago for . . . licensing
uses.” 462 MPAA states that the studios license several thousand clips each year, and
maintains that none its members have a policy against licensing clips to remix artists, e-
book authors, fiction and nonfiction filmmakers, and for educational purposes. 463 Joint
Creators II acknowledge, however, that licensing may not always be a feasible
alternative. 464 Finally, MPAA contends that if the ability to circumvent TPMs protecting

456   FI, IDA & KEF Class 1 Reply at 11; see also EFF, NMR & OTW Class 1 Reply at 5.
457   Tr. at 26:23–24 (Apr. 24, 2018) (Neill, NMR); see also FI, IDA & KEF Class 1 Reply at 11–12.
458EFF, NMR & OTW Class 1 Reply at 6–7. The Acting Register notes that the case referenced
does not appear to involve screen capture technology, as it involved a service that converted
YouTube videos to mp3 (audio) or mp4 (video) files, and allowed users to download them for
free by copying the URL for the YouTube video into the converter and clicking convert button.
Complaint at ¶ 1, UMG Recordings v. PMG Technologies, 2:16-cv-07210 (C.D. Cal. Sept. 26, 2016);
YTMP3 Video Converter, YTMP3, https://ytmp3.cc (last visited Sept. 27, 2018).
459   Tr. at 137:01–06 (Apr. 11, 2018) (Aufderheide, Am. Univ.).
460   EFF, NMR & OTW Class 1 Reply at 6.
461   Tr. at 80:22–81:02 (Apr. 24, 2018) (Sheffner, MPAA).
462   Joint Creators II Class 1 Opp’n at 4.
463   Tr. at 83:13–14, 87:07–10 (Apr. 24, 2018) (Sheffner, MPAA).
  Tr. at 172:07–11 (Apr. 11, 2018) (Williams, Joint Creators II) (acknowledging example of
464

Universal Studios being refused a license for clip of “1984” Apple computer advertisement, and

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motion pictures is expanded more and more, the less effective section 1201 becomes in
protecting copyrighted works, and the less willing movie studios may be to engage in
new licensing practices. 465

Regarding screen capture, Joint Creators II assert that proponents have “not submitted
any evidence to demonstrate that screen-capture is no longer a viable alternative.” 466
DVD CCA and AACS LA maintain that screen-capture products “offer a suite of
features” and “are offered at various price points,” with some being free or having free
trial periods, such as OBS Studio. 467 DVD CCA and AACS LA further assert that
advances in screen capture technologies “should better serve users of recorded DVD
playback that complained about picture quality and frame-loss,” 468 and that film editing
software can improve video imaging with “filters or tools that provide you with options
for cleaning up ‘pixilation’ or ‘mosaic noise.’” 469 In addition, they maintain that
screencasting (i.e., digital recording of computer screen output) can be used to “create
sophisticated, information-rich multimedia presentations.” 470

The Acting Register concludes that the record indicates that the overall availability of
copyrighted works will not be lessened with an appropriately tailored expansion. 471 The
current record suggests that licensing of motion picture clips is not always viable. 472 As
in 2015, the content available for clip licensing is far from complete and, in any event,
such licensing is not practicable in many cases, whether due to difficulties in locating the
rightsholders, overly lengthy negotiations that preclude planned uses, or denials where
the would-be licensor disapproves of the noninfringing use. 473 In addition, the record
again supports the conclusion that screen-capture technology is at times inadequate for



stating “I’m not saying that licensing is always a feasible alternative. Clearly, in that case where
the license was denied, you can’t say that a license was available to be had.”); see also Tr. at 81:26–
83:01 (Apr. 24, 2018) (Sheffner, MPAA); Tr. at 106:24–107:02 (Apr. 24, 2018) (Lerner, OTW)
(contesting availability of licenses to smaller users).
465Tr. at 92:18–25 (Apr. 24, 2018) (Sheffner, MPAA); see also Tr. at 94:03–22 (Apr. 24, 2018)
(Sheffner, MPAA) (discussing “normalization” of circumventing TPMs protecting motion
pictures).
466   Joint Creators II Class 1 Opp’n at 26.
467   DVD CCA & AACS LA Class 1 Opp’n at 38.
468   Id.
469   Id. at 39 (citation omitted).
470   Id. at 37 (citation omitted).
471   See 2015 Recommendation at 94.
472   See id. at 84.
473   Id.

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the expanded set of filmmaking uses. While screen-capture or screencasting technology
has improved, the record generally demonstrates that consumer devices and
expectations have at the same time increased.

Joint Filmmakers assert that the proposed expansion would benefit nonprofit archival,
preservation, and educational purposes, and criticism, comment, news reporting,
teaching, scholarship, or research because “[f]ilms not traditionally classified as
‘documentary’ often serve educational purposes and serve an increasingly important
role in educational and social commentary.” 474 Following the reasoning of the 2015
rulemaking, the Acting Register concludes that because the proposed uses seek to enable
the listed statutory purposes, these factors weigh in favor of a properly crafted
exemption to foster such uses. 475

Noting that opponents did not oppose the renewal of the current filmmaking
exemption, 476 proponents maintain that the record lacks evidence showing negative
effects on the market for motion pictures, stating that there “has been no effect on sales,
no link to privacy [sic], no effect on a legitimate licensing market, and certainly no effect
on public perception of the business model other than to make it seem less untenable.” 477
Proponents also assert that the “rightsholders have no claim on the derivative market for
criticism of their works because rightsholders are unlikely to desire an additional work
criticizing the original work, and have no incentive to develop such markets.” 478 Rather
than preventing filmmakers from engaging in fair use in non-documentaries through an
expanded exemption, proponents suggest that the appropriate remedy for erroneous
claims of fair use would be to sue for copyright infringement. 479 Proponents also
suggest that advice of counsel and review by media liability insurance underwriters will
prevent infringing uses of motion picture clips. 480




474 Joint Filmmakers Class 1 Initial at 24 (non-documentaries may “serve as teaching tools in the
classroom because of their portrayal of important historical and contemporary events . . .”); see id.
(films may “educate the public on important moments in history that would otherwise remain
relatively obscure”).
475See 2015 Recommendation at 94 (“[T]he impact the prohibition on circumvention has on
criticism, comment, news reporting, teaching, scholarship, and research, is a critical consideration
in relation to . . . filmmaking . . . offering film criticism . . . .”).
476   FI, IDA & KEF Class 1 Reply at 5.
477   Joint Filmmakers Class 1 Initial at 23.
478   Id. at 25 (citing Campbell, 510 U.S. at 564).
479   FI, IDA & KEF Class 1 Reply at 6.
480   Id. at 7.

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In response, opponents acknowledge that they did not oppose the readoption of the
existing exemption, but did not do so because they respected the Office’s conclusions,
not because no harm is taking place. 481

For the same reasons discussed above in reference to the fourth fair use factor, the
Acting Register finds that expanding the exemption to include the use of short clips for
parody or to comment upon the clip’s biographical or historical significance is unlikely
to adversely affect the market for or value of the motion pictures in the proposed class.
The Acting Register concludes that the use of small portions in contexts involving
comment or criticism is consistent with principles of fair use and is unlikely to supplant
the market for motion pictures. As the Register stated in the 2015 rulemaking, however,
filmmakers “must be carefully focused on noninfringing uses so as not to undermine
copyright owners’ ability to license portions of motion pictures and other derivative uses
outside of the parameters of fair use, including through clip licensing services.” 482 This
observation is particularly important for this class, where there is an established and
robust market for licensing of motion picture clips for general storytelling or other
entertainment uses that would not be covered by the proposed expansion. The Acting
Register accordingly finds that restricting the exemption to the use of clips for parody or
for their biographical or historically significant nature to be an important limitation.

                       iv.   Multimedia E-Books

Proponents observe that in 2015 the Register recognized that an exception to circumvent
DVDs and Blu-ray Discs would not decrease the availability of copyrighted works, and
maintain that expanding the exemption beyond nonfiction e-books offering film analysis
likewise will not decrease the availability of copyrighted works. 483 Proponents assert
that without the requested expansion, multimedia e-book authors will be prevented
from obtaining material intended for lawful use because the protected motion pictures
are not available in formats without TPMs. 484

Proponents also maintain that sufficient alternatives to circumvention, such as screen
capture and licensing, do not exist. 485 Similar to arguments against screen capture in the
context of filmmaking, proponents assert that screen capture results in “dropped frames,
frame rate issues, insufficient resolution, and artifacting,” rendering “the resulting
images unusable to use for criticism and commentary.” 486 They claim that “licensing

481   Tr. at 162:05–11 (Apr. 11, 2018) (Williams, Joint Creators II).
482   2015 Recommendation at 95.
483   Authors All. et al. Class 1 Initial at 26 (citing 2015 Recommendation at 93–94).
484   Id. at 25, 27.
485   Id. at 27.
486   Id. at 24, 28.

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[motion picture clips] is not a viable alternative due to exorbitant fees, difficulties in
locating the rightsholders[,] and the delays caused by protracted negotiations.” 487

In response, opponents assert that “[e]ven if . . . TPMs are causing harm to the ability to
use motion pictures in multimedia e-books, there is insufficient evidence of such harm”
because the harm must be “‘distinct, verifiable’ and measurable,” and based on more
than de minimis impacts. 488 Opponents also observe that the proffered prospective e-
book uses from the 2015 rulemaking, such as the book proposed by Bobette Buster, still
have not been made. 489 Finally, opponents suggest that proponents’ expectation to
obtain a license within one business day may be unreasonable. 490

For similar reasons as with the filmmaking exemption, the Acting Register concludes
that expanding the exemption for nonfiction e-books beyond those offering film analysis
is unlikely to harm, and may increase, the availability of copyrighted works. The record
indicates that, in many cases, neither screen capture technology nor the licensing of
motion picture clips are viable alternatives for the uses proposed for criticism and
comment. 491 As noted above, while screen-capture technology has improved, the record
generally demonstrates that consumer devices and expectations have at the same time
increased. Similarly, as many of the nonfiction examples seemingly involve pointed
commentary on specific portrayals in television shows or movies, it is not clear that
these transformative uses need to be licensed, or that licenses even could be obtained.

Considering the second and third statutory factors, Authors Alliance et al. state that
“[m]ultimedia e-books have the ability to provide great educational value to classroom
settings,” noting that many “are created specifically as a teaching tool and . . . can be
used as a reference and resource, similar to their paper counterparts.” 492 Authors
Alliance et al. also point to the example of the multimedia e-book Digital Dubliners as an
example showing that the use of video clips in an e-book can “enhance” the study of
literature or history. 493 They admit that fictional multimedia e-books “offer a lesser
degree of educational value but still spur the imagination and promote creativity when
used in the classroom”; they accordingly suggest that the second factor “should be

  Id. at 4–5; see also Tr. at 114:10–16 (Apr. 11, 2018) (Tandy, OTW) (regarding delay in licensing
487

negotiations).
488   DVD CCA & AACS LA Class 1 Opp’n at 27, 29 (citing Commerce Comm. Report at 37).
  Id. at 27. Mr. Lerner, representing Authors Alliance, testified that Bobette Buster is still
489

working on the multimedia e-book she proposed creating during the 2015 rulemaking. Tr. at
209:07–11 (Apr. 11, 2018) (Lerner, Authors All. & OTW).
490   Tr. at 116:04–07 (Apr. 11, 2018) (Williams, Joint Creators II).
491   2015 Recommendation at 84.
492   Authors All. et al. Class 1 Initial at 28.
493   Authors All. et al. Class 1 Reply at 16.

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found neutral to favorable in regard to the proposed modification.” 494 Finally, they
observe that in past rulemakings, the Register found the third factor to be “a critical
consideration” for the existing multimedia e-book exemption, as it seeks to enable
criticism, comment, teaching and/or scholarship. 495 Therefore, they argue, this factor
weighs “strongly in favor of appropriately tailored exemptions to foster such uses.” 496

The Acting Register concludes that these factors weigh in favor of an expansion for
nonfiction multimedia e-books more generally because the proposed uses will facilitate
criticism, comment, teaching and/or scholarship, including as incorporated into
educational pedagogy. But the same logic does not hold for fanfiction or other fictional
e-books, which the record suggests are typically consumed for entertainment value. 497
The second and third statutory factors therefore do not favor an exemption covering
such works.

Finally, proponents argue that expansion will not negatively impact the market for or
value of copyrighted works because the inclusion of clips for purposes of comment or
criticism are “transformative uses” of the original work that will not serve as a “market
substitution.” 498 Proponents maintain that fanfiction works are intended to “offer a new
perspective on popular narratives.” 499 Because it would be necessary to understand the
underlying work before reading the fanfiction work, Authors Alliance et al. state that “it
is extremely unlikely that consumers will buy less of the original work because
fanfiction of it exists.” 500

In response, opponents maintain that expanding the existing exemption to fictional e-
books would “harm the creation of a market to license clips of motion pictures to
multimedia e-book creators,” 501 and that creating fanfiction multimedia e-books “would
frequently infringe the right to prepare derivative works.” 502

For nonfiction proposed uses, the Acting Register concludes that the brevity and nature
of the proposed uses favor an expansion because they are unlikely to substitute for the

494   Authors All. et al. Class 1 Initial at 29.
495   Id. (citing 2015 Recommendation at 94; 2012 Recommendation at 136).
496   Id.
  Authors Alliance et al. speculate that future classrooms may study fan-fictional multimedia e-
497

books; while this case may be, it does not support a general conclusion that these factors favor an
exemption for fan-fiction uses. See id. at 26.
498   Id. at 30; see Campbell, 510 U.S. at 592–94.
499   Authors All. et al. Class 1 Reply at 13.
500   Id.
501   DVD CCA & AACS LA Class 1 Opp’n at 30.
502   Joint Creators II Class 1 Opp’n at 15.

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original work. Regarding the proposed fictional uses, however, because the examples in
the record appear likely to use an earlier work or works as the basis for a new work—
which might supplant the derivative market for the existing work 503—the uses could
substitute for the emerging market for clip licensing in multimedia e-books. 504
Therefore, the fourth statutory factor weighs against an exemption for those works.

Based on the foregoing, the Acting Register concludes that proponents have
demonstrated that the prohibition on circumvention is causing an adverse effect on their
ability to make noninfringing uses of motion picture clips in nonfiction multi-media e-
books beyond those offering film analysis. The Acting Register does not reach such a
conclusion with respect to fictional e-books.

                   3. NTIA Comments

NTIA recommends renewing the current exemption covering educational and derivative
uses, and expanding those exempted uses in several respects. Regarding the proposal of
a single, overarching exemption for purposes of criticism and comment, NTIA rejects the
elimination of all limitations on the types of users or uses because “eliminating all of the
categories of specific users . . . would stray too far from the statutory requirement of
specificity.” 505

NTIA does recommend, however, consolidation of exempted educational uses by
college and university faculty and students, K-12 educators, K-12 students, and
educators and participants in nonprofit digital and media literacy programs. 506 NTIA
asserts that “distinction[s] among educational uses in the regulations ha[ve] no basis in
the Copyright Act,” 507 and that an “educator’s needs are the same and the students’
needs are the same no matter the level of education.” 508 NTIA proposes that the
exempted educational uses be expanded to include “teaching” in addition to criticism
and comment, in alignment with section 107. 509 Although NTIA acknowledges that “no
petitioner requested specifically to modify the exemption for digital and media literacy
educational programs,” it nevertheless suggests that the expanded educational uses



503   2012 Recommendation at 130.
504   DVD CCA & AACS LA Class 1 Opp’n at 30.
505Letter from David J. Redl, Assistant Sec’y for Commc’ns & Info. & Adm’r, Nat’l Telecomms. &
Info. Admin., U.S. Dep’t of Commerce, to Karyn A. Temple, Acting Register of Copyrights and
Dir., U.S. Copyright Office, at 10 (Sept. 25, 2018) (“NTIA Letter”).
506   Id.
507   Id.
508   Id. at 11.
509   Id. at 9.

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should include these programs. 510 As noted below, the Acting Register cannot
recommend expanding the exemption beyond examples supported by the legal or
factual record.

With respect to BYU’s proposed educational uses, NTIA recommends allowing
circumvention for colleges and universities to make use of entire motion pictures. 511 It
contends that that the “primary reason for universities to [circumvent TPMs on motion
pictures] is to be able to continue to play motion pictures in the classroom as universities
face the ramifications of obsolescence and discontinued use of optical drives.” 512 In
NTIA’s view, the storage of a copy “in a central secured server available only for
transmission to the institution’s classrooms,” is “not fundamentally different from the
uses allowed by the existing exemption” for purposes of the fair use analysis. 513 As
support, it relies on the HathiTrust and Google Books decisions, describing those cases as
holding “that it might be necessary to copy the entire copyrighted work, such as to
enable full-text searches of books.” 514 NTIA urges the Office to “consider the TEACH
Act as a guide when determining the parameters of this proposed exemption” and to
incorporate various conditions—for example, that circumvention be supervised by
university intellectual property rights offices or general counsel, that copies are stored
on a closed university secured central server, and that the institution use industry
licenses if available. 515

The Acting Register cannot agree with this analysis of copyright law. As discussed
above, the use of “short portions” of motion pictures presents significantly different
issues under the fair use inquiry than does the use of such works in their entirety.
Indeed, the cases cited by proponents and NTIA carefully distinguish the copying of
whole works from performing or displaying those works. Both HathiTrust and Google
Books emphasized that the digital copies at issue did not effectively substitute for the
originals because the search functions displayed either none of the books’ text or only
small snippets. 516 BYU’s proposed uses are not so limited. Further, the relevance of the

510   Id. at 11.
511   Id. at 17.
512   Id. at 18.
513   Id. at 18, 24.
514   Id. at 20.
515   Id. at 22–23.
516Google Books, 804 F.3d at 224 (finding that even though the search function allowed the user to
view “snippets” of the book in which the search term appears in the book, it did not effectively
substitute for the original works because viewers were seeing such a small portion of the book);
HathiTrust, 755 F.3d at 100 (finding that a full-text search function did not serve as a substitute for
the original books because the search results did not display any text from the underlying
works).

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TEACH Act to those uses is slight given that it applies only to reasonable and limited
portions of motion pictures, is limited to distance learning, and does not permit the
copying of full-length works.

Regarding the proposed expansion for MOOCs, NTIA recommends expansion to for-
profit educational institutions, 517 but not to unaccredited educational institutions. 518 It
concludes that “there is sufficient evidence in the record to expand the exemption
beyond non-profit educational institutions—the record shows examples of legitimate
educational uses by accredited for-profit educational institutions.” 519 In the Acting
Register’s view, however, such evidence is inadequate, as there is no suggestion that for-
profit institutions wish to offer additional content that they are unable to license. 520

As to multimedia e-books, NTIA proposes expanding the exempted use to include all
nonfiction multimedia e-books (i.e., eliminating the “offering film analysis” limitation),
but rejects expansion to fictional multimedia e-books. 521 NTIA also addresses the scope
of the exemption, stating that “the petitioner described media that would, if the petition
[were] granted, appear to broaden the definition of e-book beyond what is the common
understanding of this term.” 522 In its view, proponents “appear to contend that the
Copyright Office could consider a website or a blog to be an e-book.” 523 NTIA expresses
concern that this proposal “could allow essentially all authors of websites to circumvent
TPMs to insert short audiovisual clips into their sites.” 524 The Acting Register, however,
does not understand proponents to necessarily be requesting an expansion of the
definition of “multimedia e-book.” Rather, the Acting Register understands proponents’
comments as seeking to clarify whether inserting a noncommercial remix video into a
(noncommercial) multimedia e-book format (e.g., Kindle) would be covered by the
existing exemption, assuming the remix video itself complies with the existing
noncommercial video exemption. 525 As noted above, the Acting Register finds that the



517   NTIA Letter at 25–26.
518   Id. at 26.
519   Id. at 25–26.
520See Tr. at 290:10–24 (Apr. 11, 2018) (Decherney, Joint Educators) (confirming that Joint
Educators have not communicated with for-profit and/or unaccredited educational institutions to
see if they share a need for circumvention to offer MOOCs).
521   NTIA Letter at 12–13.
522   Id. at 11.
523   NTIA Letter at 13.
524   Id.
  See Authors All. et al. Class 1 Reply at 14; see also Tr. at 104:21–105:15 (Apr. 11, 2018) (Tandy,
525

OTW); Tr. at 122:03–08 (Apr. 11, 2018) (Reid, Authors All.).

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exempted use for noncommercial videos in the current exemption may be broad enough
to cover such use, provided the existing noncommercial video exemption is satisfied.

Concerning the proposed filmmaking expansion, NTIA contends that the existing
exemption should be expanded to all films (i.e., by removing the “documentary”
limitation). NTIA maintains that the record supports a finding that in many instances
the use of short portions of motion pictures is likely a noninfringing fair use. 526
Specifically, NTIA states that “[n]on-documentary filmmakers could take material from
the original work and transform it to add new expression or meaning,” 527 and concludes
that opponents have failed to demonstrate the expansion to non-documentaries would
cause market harm. 528 As noted, however, the Acting Register finds that the record does
not support expansion to all films generally. While proponents provided multiple
examples of non-documentaries using short motion picture clips to provide criticism or
commentary, those examples generally involve situations where the use is for parody or
for the clip’s biographical or historical significance. Moreover, NTIA acknowledges that
there remains an active clip licensing market, generally, and the Acting Register
concludes it is prudent to tailor the recommended exemption accordingly to better
reflect the record and avoid disrupting the legitimacy of this market.

Finally, as a general matter, NTIA recommends removing all references to screen
capture, maintaining that they are “confusing and contradictory.” 529 The Acting Register
believes, however, that expressly permitting the use of screen-capture technology is
useful to users who may be uncertain as to whether such use involves circumvention—a
question on which NTIA does not take a position. 530 As discussed below, the Acting
Register does recommend eliminating the current exemption’s additional requirement
that a user “reasonably believes that screen-capture software or other non-circumventing
alternatives are unable to produce the required level of high-quality content,” in favor of
language suggested by EFF/NMR/OTW, which simply requires that the user reasonably
believe that “non-circumventing alternatives” are unable to produce such content. 531

Overall, the Acting Register generally agrees with NTIA that the existing exemption for
uses of motion picture excerpts should be expanded in certain respects, though not as
broadly as NTIA proposes, largely due to the limitations of the record.




526   NTIA Letter at 14–15.
527   Id. at 15.
528   Id. at 16.
529   Id. at 28.
530   Id.
531   EFF, NMR & OTW Class 1 Initial at 1.

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               4. Conclusion and Recommendation

As detailed above, proponents seeking expansions for filmmaking, multimedia e-books,
and certain educational uses have demonstrated that various technological measures
interfere with their ability to make additional desired uses of motion pictures and that a
number of those uses are likely noninfringing. The Acting Register thus recommends
that the current exemption be expanded in certain limited ways to reflect this additional
record.

But first, a few general observations. A number of commenters urged that the
exemption be simplified to be more accessible for users. The Acting Register generally
agrees, and has adopted suggestions to condense regulatory language where possible.
As noted, the Acting Register declines to recommend a single, overarching exemption,
finding the descriptions of intended users or uses useful in establishing the evidentiary
basis to recommend an exemption. 532 The recommended language does, however,
restructure the exemption components in a manner intended to be more reader-friendly.
Specifically, it provides prefatory language setting forth generally applicable
requirements and then groups the various provisions into two subcategories addressing
(1) criticism and comment and (2) educational uses. The end result is language that
totals 435 words, compared to 958 words in the 2015 exemption.

In addition, in the provisions addressing criticism and comment, and those addressing
uses by educators and students in college, university, and K-12 institutions, the
exemption maintains the requirement that users consider non-circumventing
alternatives. It does so by incorporating EFF/NMR/OTW’s suggested phrase, “where the
person engaging in circumvention reasonably believes that non-circumventing
alternatives are unable to produce the required level of high-quality content.” 533 The
Acting Register finds it appropriate to continue to distinguish between purposes
requiring high-quality motion picture clips and more general purposes that do not. The
evidence again demonstrates that non-circumventing alternatives can serve as an
adequate substitute to circumvention in certain cases for criticism, commentary, or other
pedagogical uses, but not in others. 534 The Acting Register believes that a requirement

532The Register also declines to remove the reference to the specific TPMs, a suggestion
EFF/NMR/OTW made in its reply comment, a change from its initially-proposed language. See
EFF, NMR & OTW Class 1 Reply at 12. Indeed, the rulemaking focuses on the effect of specific
technological measures. See, e.g., Commerce Comm. Report at 38; House Manager’s Report at 6
(stating that “the rulemaking proceedings should consider the positive as well as the adverse
effects of these technologies on the availability of copyrighted materials”).
533   EFF, NMR & OTW Class 1 Initial at 1.
  See, e.g., Tr. at 242:06–07 (Apr. 11, 2018) (Hobbs, Media Educ. Lab) (noting that screen capture
534

may be an alternative to circumvention for educational purposes in the Alone in the Wilderness
project); Tr. at 37:18–22 (Apr. 24, 2018) (Rosenblatt, OTW) (“So, for multimedia e-books, I think it

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that users consider whether it is really necessary to engage in circumvention before
doing so is consistent with the aims of the rulemaking. 535

Second, for all categories of uses, the regulatory text expressly permits the use of screen-
capture technology. The Acting Register recommends retaining a screen-capture
provision to address the possibility that use of this technology could be deemed to
involve circumvention. Inclusion of this provision can give a user comfort that if he or
she uses technology that was marketed as a non-circumventing screen-capture tool, then
the user can use the technology without fear of violating section 1201 regardless of its
actual technological operation. 536 Indeed, the parties expressed uncertainty during the
hearing if screen-capture technologies circumvent or not. 537

Third, opponents suggest the exemption should include a digital rights management
requirement to reduce the likelihood of downstream piracy. 538 With the exception of the
existing MOOCs language, which expressly imports a digital rights management
requirement and other requirements from section 110(2), the Acting Register declines to
add this limitation to the existing exemption, and notes that there has been no evidence
introduced suggesting that exempted users do not take adequate precautions to reduce
the likelihood of downstream piracy to avoid liability.

Turning to the proposed expansions for educational uses, the Acting Register
recommends an expansion that recognizes the needs for K-12 and university faculty and
students to engage with motion picture excerpts of high quality. Proponents have
introduced multiple examples of uses for commentary and criticism beyond film studies
or other courses requiring close analysis of excerpts, as well as for teaching or
scholarship more generally. These latter uses included, for example, teachers’ use of
short film clips to create compilations from foreign language films with and without
subtitles, 539 and students captioning motion pictures to strengthen listening
comprehension and writing skills. 540 While the Acting Register makes no judgment as to
whether any particular uses of short motion picture clips are in fact fair, the record



depends entirely on what you are doing. There are probably some uses for which screen capture
is absolutely adequate. And there are some for which it is not.”).
535   See Commerce Comm. Report at 35–36.
536   See Tr. at 200:18–24 (Apr. 11, 2018) (Williams, Joint Creators II).
537See Tr. at 199:12–16 (Apr. 11, 2018) (Reid, Authors All.); Tr. at 18:07–09 (Apr. 24, 2018)
(Rosenblatt, OTW) (“In response to the question that does screen capture require or involve
circumvention of technological protection measures, nobody knows.”).
538   DVD CCA & AACS LA Class 1 Opp’n at 30.
539   Tr. at 242:17–23, Hearing Ex. 1-E (Apr. 11, 2018) (Midgley, BYU).
540   Media Educ. Lab Class 1 Post-Hearing Resp. at 2 (June 10, 2018).

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demonstrates that many of the uses suggested by proponents appear likely to be
noninfringing and warrant expansion of the existing exemption. The same conclusion
cannot be made as to the contemplated uses of full-length motion pictures, and thus the
Register recommends against expansion to the use of full-length motion pictures.

Further, while participants continue to acknowledge that many of these uses can be
made without circumvention, 541 the record also indicates that as high-quality video
permeates daily life, for a variety of uses, it is increasingly important for these users to
incorporate high-quality clips to effectively achieve their pedagogical ends. 542
Accordingly, while the recommended exemption retains the requirement that a person
must reasonably believe that non-circumventing alternatives are unworkable, the
recommended language removes the references to “film studies or other courses
requiring close analysis” and eliminates distinctions between K-12 and universities and
colleges, as well as between faculty and students. The Acting Register recommends,
however, that the exemption require K-12 students to act under the direct supervision of
K-12 educators. Finally, the Acting Register observes that the recommended language
relating to college and university faculty and students, and kindergarten through
twelfth-grade educators appears broad enough to encompass exempted uses under
sections 110(1) and 110(2) (i.e., face-to-face and distance teaching). While the Acting
Register determines that specific references to section 110(1) and 110(2) are not
necessary, BYU and other educational users should have comfort that the proposed
language encompasses uses permitted under sections 110(1) and 110(2), subject to the
short portions limitation.

In evaluating the proposed MOOCs expansions, the Register finds that the record lacks
support to expand the existing exemption to for-profit and/or unaccredited educational
institutions. Moreover, proponents’ broadly framed proposal seeking to encompass “all
online courses” would seemingly encompass any online video that could be
characterized as an educational experience. The Register therefore recommends that the
MOOCs language from the existing exemption be adopted without substantive changes.

Regarding circumvention currently permitted by educators and participants in nonprofit
digital and media literacy programs offered by libraries, museums, and other nonprofit
entities with an educational mission, the record lacks any evidence warranting
expansion (and indeed it appears that parties did not directly provide comments




  Tr. at 242:06–07 (Apr. 11, 2018) (Hobbs, Media Educ. Lab); see also 2015 Recommendation at
541

101.
  See, e.g., Authors All., Joint Educators, LCA & OTW Class 1 Post-Hearing Resp.; EFF, NMR &
542

OTW Class 1 Reply at 7–10; Media Educ. Lab Class 1 Post-Hearing Resp.; see also BYU Class 1
Post-Hearing Resp. (detailing examples where screen-capture technology is unworkable).

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regarding this use). The Register therefore recommends that the existing language for
this use be adopted without substantive changes.

As to the proposal to expand the filmmaking exemption beyond documentaries, based
on the extensive record, the Register recommends that the existing exemption for
documentary films be expanded to include a subset of fictional (e.g., narrative) films.
The Acting Register finds that the desire to engage in criticism or commentary is a
critical factor in recommending to expand the existing exemption. 543 In considering the
expanded examples of non-documentary films, the Acting Register concludes that the
record supports a finding that the use of motion picture clips in non-documentary films
for purposes of criticism and comment, where the clip is used for parody or its
biographical or historically significant nature, is likely to be noninfringing. As the 2015
Recommendation acknowledged, some fictional filmmaking may offer criticism and
commentary through parody or “present information and commentary meant to educate
and analyze real events,” and this expansion is intended to encompass such uses. 544 As
Joint Filmmakers acknowledge, the existing exemption is limited to criticism and
comment, which is narrower than fair use generally; 545 the expanded exemption retains
this important limitation. Moreover, the Acting Register notes that uses deemed to be
more than “short portions” would not be subject to the exemption and would need to be
licensed. In addition, should evidence emerge that the expanded exemption has
resulted in abuse, the expansion can be reconsidered in the next rulemaking.

Finally, concerning the proposed multimedia e-books expansion, the record contains no
evidence of proposed uses in fictional e-books that appear likely to be noninfringing,
and the Acting Register therefore sees no reason to expand the exemption to fictional e-
books. The record does, however, support expansion to nonfiction multimedia e-books
beyond film analysis. The Acting Register finds that the desire to engage in criticism or
commentary is a critical factor in deciding to expand the existing exemption to
nonfiction multimedia e-books beyond film analysis. 546

Accordingly, the Register recommends that the following classes of works be exempt
from the prohibition on circumvention for the next three years:

           Motion pictures (including television shows and videos), as defined in
           17 U.S.C. 101, where the motion picture is lawfully made and acquired


543   See 2015 Recommendation at 100.
544   Id. at 79 (citing 2015 Joint Filmmakers Supp. at 5).
  Tr. 93:24–94:01 (Apr. 11, 2018) (Donaldson, Joint Filmmakers) (“The exemption is much
545

narrower than the fair use exemption as described by the courts. And that is the exemption we
have to live with.”).
546   See 2015 Recommendation at 100.

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      on a DVD protected by the Content Scramble System, on a Blu-ray disc
      protected by the Advanced Access Content System, or via a digital
      transmission protected by a technological measure, and the person
      engaging in circumvention under paragraph (b)(1)(i) and (b)(1)(ii)(A)
      and (B) of this section reasonably believes that non-circumventing
      alternatives are unable to produce the required level of high-quality
      content, or the circumvention is undertaken using screen-capture
      technology that appears to be offered to the public as enabling the
      reproduction of motion pictures after content has been lawfully
      acquired and decrypted, where circumvention is undertaken solely in
      order to make use of short portions of the motion pictures in the
      following instances:

      (i) For the purpose of criticism or comment:

             (A) For use in documentary filmmaking, or other films where
             the motion picture clip is used in parody or for its biographical
             or historically significant nature;

             (B) For use in noncommercial videos (including videos
             produced for a paid commission if the commissioning entity’s
             use is noncommercial); or

             (C) For use in nonfiction multimedia e-books.

      (ii) For educational purposes:

             (A) By college and university faculty and students or
             kindergarten through twelfth-grade (K-12) educators and
             students (where the K-12 student is circumventing under the
             direct supervision of an educator), including of accredited
             general educational development (GED) programs, for the
             purpose of criticism, comment, teaching, or scholarship;

             (B) By faculty of massive open online courses (MOOCs) offered
             by accredited nonprofit educational institutions to officially
             enrolled students through online platforms (which platforms
             themselves may be operated for profit), in film studies or other
             courses requiring close analysis of film and media excerpts, for
             the purpose of criticism or comment, where the MOOC provider
             through the online platform limits transmissions to the extent
             technologically feasible to such officially enrolled students,
             institutes copyright policies and provides copyright


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                     informational materials to faculty, students, and relevant staff
                     members, and applies technological measures that reasonably
                     prevent unauthorized further dissemination of a work in
                     accessible form to others or retention of the work for longer
                     than the course session by recipients of a transmission through
                     the platform, as contemplated by 17 U.S.C. 110(2); or

                     (C) By educators and participants in nonprofit digital and media
                     literacy programs offered by libraries, museums, and other
                     nonprofit entities with an educational mission, in the course of
                     face-to-face instructional activities, for the purpose of criticism
                     or comment, except that such users may only circumvent using
                     screen-capture technology that appears to be offered to the
                     public as enabling the reproduction of motion pictures after
                     content has been lawfully acquired and decrypted.

            B. Proposed Class 2: Audiovisual Works—Accessibility

                  1. Background

                     a. Summary of Proposed Exemption

Proposed Class 2 would allow circumvention of technological measures protecting
motion pictures for disability services professionals at educational institutions to create
accessible versions of motion pictures for students with disabilities. 547 The Association
of Transcribers and Speech-to-Text Providers (“ATSP”), Association of Research
Libraries, American Library Association, American Library Association Video Round
Table, Association of College and Research Libraries, and Association on Higher
Education and Disability (collectively, “ATSP et al.”) submitted a petition seeking this
exemption so that disability services professionals can “fulfill their legal and ethical
obligations to make digital works accessible for students with disabilities . . . without
uncertainty about the intersection of their activities and [s]ection 1201.” 548

Specifically, proponents request an exemption to permit:

            disability services offices, organizations that support people with
            disabilities, libraries, and other units at educational institutions that are
            responsible for fulfilling those institutions’ legal and ethical obligations to
            make works accessible to people with disabilities to circumvent
            technological protection measures for motion pictures (including


547   ATSP et al. Class 2 Initial at 2, 5–6.
548   Id. at 2.

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            television shows and videos), where circumvention is undertaken for the
            purpose of making a motion picture accessible to people with disabilities,
            including through the provision of closed and open captions and audio
            description. 549

“Captioning” is “the process of converting the audio content” of audiovisual material,
such as a motion picture, “into text and displaying the text on a screen, monitor, or other
visual display system.” 550 Captioning “not only display[s] words as the textual
equivalent of spoken dialogue or narration, but . . . also include[s] speaker identification,
sound effects, and music description.” 551 By contrast, “audio description” is a narration
added to the soundtrack of audiovisual material, such as a motion picture, to describe
significant visual details (e.g., descriptions of new scenes, settings, costumes, body
language) for individuals with sight impairments. 552

Proponents’ comments include testimony from multiple disability service
professionals. 553 In addition, FSF submitted brief comments in support of ATSP et al.’s
petition. 554 Class 2 was opposed by DVD CCA and AACS LA and Joint Creators I. 555

                     b. Overview of Issues

Proponents explain that “nearly all educational institutions” are subject to disability
laws such as the Americans with Disabilities Act (“ADA”), section 504 of the
Rehabilitation Act (“Section 504”), and the Individuals with Disabilities Education Act
(“IDEA”), which require educational institutions to “foster a learning environment that
accommodates students with disabilities.” 556 Proponents maintain that accommodating
students with disabilities often means providing accessible versions of motion pictures


549   ATSP et al. Class 2 Pet. at 3.
  What is Captioning?, National Ass’n of the Deaf, https://www.nad.org/resources/technology/
550

captioning-for-access/what-is-captioning/ (last visited Sept. 27, 2018).
  Id. “Closed captions” are “visible only when selected and activated,” whereas “open captions”
551

“cannot be selected or activated, such as when they are permanently embedded in the
audiovisual material.” Id.
552The Audio Description Project, AM. COUNCIL OF THE BLIND, http://www.acb.org/adp/ad.html (last
visited Sept. 27, 2018). Audio description may also be referred to as “video description” or
“descriptive narration.” Id.
553ATSP et al. Class 2 Initial at 17–19 (appendix containing testimonials of unidentified disability
service professionals).
  FSF Class 2 Initial at 2 (stating that “all users have a legitimate right to circumvent controls on
554

audiovisual works, regardless of the medium or the particular use involved”).
555   Joint Creators I Class 2 Opp’n at 3–21; DVD CCA & AACS LA Class 2 Opp’n at 2–6.
556   ATSP et al. Class 2 Initial at 8.

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available to other students. 557 Indeed, as ATSP et al. note, the Department of Justice
(“DOJ”) “has the authority to censure and initiate legal action against educational
institutions where disability service professionals decline or are unable to make content
accessible to people with disabilities.” 558

Proponents observe that nearly 48 million Americans are deaf or hard of hearing, and
approximately 77,000 students with hearing disabilities require support from disability
services offices. 559 They also note that nearly 24 million Americans are blind, visually
impaired, or print-disabled, and that more than 60,000 students with visual disabilities
require assistance from disability services offices. 560 According to proponents, disability
services offices can receive “daily” requests, 561 adding up to “hundreds per semester,” to
reconfigure videos into accessible formats, generally by adding captions or audio
description. 562

Proponents maintain that creating accessible versions is necessary because inaccessible
motion pictures remain prevalent in the video industry and that copyright owners fail to
retroactively make motion pictures accessible or grant permission to disability services
offices to make those works accessible, even when contacted directly. 563 In addition,
proponents assert that it is “unrealistic and unduly costly” to expect disability service
professionals to search for new and accessible versions of motion pictures, and that it
would be “wholly inconsistent with the principles established in the ADA to mitigate
the costs associated with retroactively making content accessible.” 564

Opponents Joint Creators I “understand that accessibility is an important issue,” and
note that, since 2011, “nearly all” digital releases by MPAA members have been
captioned and audio described, but believe the proposed class is “far too broad.” 565
Similarly, DVD CCA and AACS LA state that they are “open to a reasonable exemption
that facilitates the proposed activities in circumstances where the market has not yet


557   Id. at 9.
  ATSP et al. Class 2 Reply at 10 (citing Letter from Rebecca B. Bond, Chief, Disability Rights
558

Section, Department of Justice, to Nicholas B. Dirks, Chancellor, Univ. of Cal. Berkeley 10 (Aug.
20, 2016), https://www.ada.gov/briefs/uc_berkley_lof.pdf).
559   ATSP et al. Class 2 Initial at 3.
560   Id. at 4.
561   Id. at 3.
  Id. at 5, 7, 17 (testimony of unidentified West Virginia University disability services
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professional).
563   Id. at 12.
564   ATSP et al. Class 2 Reply at 10.
565   Joint Creators I Class 2 Opp’n at 3.

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provided accessibility.” 566 They maintain, however, that the proposed exemption is
overbroad because it does not take into account “the extent to which DVDs and [Blu-Ray
discs] already include closed captions and audio description.” 567

Specifically, Joint Creators I suggest the proposed exemption is overbroad because
“petitioners do not explain precisely the conduct in which they seek to engage,” raising
questions regarding, inter alia, the initial acquisition of the works, and how the accessible
versions of works would be distributed or protected. 568 They analogize to the 2012
rulemaking, where the Register recommended, and the Librarian granted, an exemption
for conducting research and development for the purpose of creating players capable of
making motion pictures accessible through audio or visual captioning. 569 At the same
time, however, the Register concluded that there was insufficient factual information
regarding the proposed uses and technology to recommend a broader exemption for
captioning or audio descriptions, generally. 570

While some of these potential ambiguities raised by Joint Creators I are discussed
further below, overall, the Acting Register finds that proponents have sufficiently
described the proposed exemption. The record is more robust than in 2012, and the
request is limited to circumvention by personnel at educational institutions. Proponents
assert that to create accessible versions of motion pictures, disability services
professionals at such institutions must circumvent technological measures protecting
motion pictures on DVDs, Blu-Ray discs, or via digital transmissions to add captions
and/or audio description. 571 Specifically, for captioning, a disability services professional
first manually creates a transcript of the motion picture, including speaker identification
and sound effects. 572 The disability services professional would then circumvent the
technological measure protecting the motion picture, compress the work into an MP4 or
similar format, and import the file into a captioning program such as MovieCaptioner. 573


566   DVD CCA & AACS LA Class 2 Opp’n at 2.
567   Id.
568   Joint Creators I Class 2 Opp’n at 10.
  Id. at 7–10, 13–14; see 2012 Recommendation at 148–51 (expressing concern over “broad
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generalization” of intended uses but finding the record more developed for research and
development).
570   2012 Recommendation at 155.
571ATSP et al. Class 2 Reply at 12; see also Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP);
Tr. at 11:09–21 (Apr. 12, 2018) (Reid, ATSP).
572ATSP et al. Class 2 Reply at 12; see also Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP);
Tr. at 11:22–12:14 (Apr. 12, 2018) (Cowling, ATSP & Kent State Univ.).
  See Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP); Tr. at 12:07–14 (Apr. 12, 2018)
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(Cowling, ATSP & Kent State Univ.). Proponents offer testimony that “[t]he process to caption

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Using the captioning software, the transcriber plays a short segment of the motion
picture in a loop, and manually types in the captions for that segment, which is recorded
along with the time code for that segment. 574 The process is repeated for the remaining
segments until the captioning is completed. To add audio description to a motion
picture, a disability services professional would use a similar process after manually
creating a narrative describing what is taking place in the motion picture, using
describing software. 575

In the alternative, proponents explain that instead of creating the transcript or
description of the motion picture themselves, disability services professionals may
outsource the addition of captioning and/or audio description to a commercial vendor
specializing in accessible works, such as 3Play Media or VITAC. 576 Circumvention of
technological measures protecting motion pictures on DVDs, Blu-Ray discs, and via
digital transmissions would still be required for outsourcing, as the vendor would need
to receive the motion picture in an MP4 or similar format file. 577 Relatedly, Joint
Creators I express concern that the proposed exemption would cover “the provision of
circumvention services” and perhaps also “the creation and circulation of circumvention
tools,” in violation of the anti-trafficking provisions. 578 It is not clear, however, that these
vendors would themselves need to engage in the circumvention, rather than simply
process files provided by the educational institution. 579

There was also some disagreement as to the intended beneficiaries of the proposed
exemption. Although the petition refers to making motion pictures accessible to “people
with disabilities,” 580 throughout their written submissions and testimony proponents
refer to the need for students to have accessible versions (or their educators); 581 the record


videos take upwards of 7 hours for each hour of video captioned (often more).” ATSP et al. Class
2 Initial at 17 (testimony of unidentified West Virginia University disability services professional).
574ATSP et al. Class 2 Reply at 12; see also Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP);
Tr. at 12:07–14 (Apr. 12, 2018) (Cowling, ATSP & Kent State Univ.).
  ATSP et al. Class 2 Reply at 12–13; Tr. at 18:12–16 (Apr. 12, 2018) (Cowling, ATSP & Kent State
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Univ.); see also Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP); Tr. at 12:07–14 (Apr. 12,
2018) (Cowling, ATSP & Kent State Univ.).
576   ATSP et al. Class 2 Reply at 13.
577   Id.
578   Joint Creators I Class 2 Opp’n at 20.
 See ATSP et al. Class 2 Reply at 13 (noting that vendors must “receive media in the form of an
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MP4 or similar format, which requires circumvention of TPMs beforehand”) (emphasis added).
580   ATSP et al. Class 2 Pet. at 3 (emphasis added).
581See, e.g., ATSP et al. Class 2 Initial at 2–4 (“This exemption is necessary so that when disability
services professionals must circumvent technological protection measures to fulfill their legal and

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does not describe others who might be entitled to receive these accessible versions of
motion pictures under relevant laws. Next, opponents maintain that because the
examples from proponents’ written submissions are limited to the university context (as
opposed to kindergarten through twelfth grade students), the proposed exemption
should be limited to college and university students, and that the Office should ignore
information submitted in response to a post-hearing question. 582 To be sure, the NPRM
instructed proponents to “present their complete affirmative case for an exemption
during the initial round of public comment, including all legal and evidentiary support
for the proposal.” 583 Proponents’ initial comment, however, references the IDEA
multiple times, which specifically applies to public elementary and secondary schools
(i.e., not to colleges and universities), and neither the petition nor initial comments were
otherwise limited to post-secondary educational institutions. 584 In addition, proponents
testified that kindergarten through twelfth-grade students have the same accessibility
needs as students in higher education, and thus would be similarly adversely affected
should the exemption not be granted. 585 Opponents do not dispute these claims. The
Acting Register concludes that proponents sufficiently developed the record to include
kindergarten through twelfth-grade students in addition to students at colleges and
universities (and not the public at large) in consideration of whether to grant the
proposed exemption. 586



ethical obligations to make digital works accessible for students with disabilities.”) (emphasis
added); Tr. at 58:12–23 (Apr. 12, 2018) (Reid, ATSP) (confirming that students would be
beneficiaries of proposed exemption); see also Tr. at 23:04–10 (Apr. 12, 2018) (Cowling, ATSP &
Kent State Univ.) (confirming that accessible versions may be made available to educators in
cases where the entire class, consisting of students with and without disabilities, watches a
motion picture together).
582Joint Creators I Class 2 Post-Hearing Resp. at 1 (contending that any examples provided in
response to the Office’s post-hearing letter should be disregarded).
583   NPRM at 49,558.
584ASTP et al. Class 2 Initial at 3, 4, 8; see also ASTP et al. Reply at 16; 20 U.S.C. § 1400(d)(1)(A)
(“[One purpose] of this chapter [is] to ensure that all children with disabilities have available to
them a free appropriate public education that emphasizes special education and related services
designed to meet their unique needs and prepare them for further education, employment, and
independent living.”).
585See Tr. at 59:13–20, 66: 06–15 (Apr. 12, 2018) (Band, LCA). While proponents acknowledged
that most of their evidentiary examples concerned secondary institutions, they maintain that an
exemption should be broad enough to encompass K-12 institutions who have a growing need to
engage in circumvention to fulfill their legal mandates. Tr. at 58:20–59:23 (Apr. 12, 2018) (Reid,
ATSP; Band, LCA).
  In its post-hearing letter, the Office solicited “illustrative examples of kindergarten through
586

twelfth-grade educational institutions needing to circumvent motion pictures,” and asked

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                2. Discussion

                    a. Works Protected by Copyright

This class concerns a request to circumvent access controls protecting audiovisual works
contained on DVDs, Blu-ray discs, or transmitted through streaming services. There is
no dispute that at least some of these works are protected by copyright.

                    b. Asserted Noninfringing Uses

Proponents submit that adding captions and/or audio description to motion pictures for
the purpose of making them accessible to students with disabilities constitutes fair use.
Proponents point to the House Report for the 1976 Act, which states:

           Another special instance illustrating the application of the fair use
           doctrine pertains to the making of copies or phonorecords of works in the
           special forms needed for the use of for blind persons. These special forms
           . . . are not usually made by the publishers for commercial distribution . . .
           the making of a single copy or phonorecord by an individual as a free
           service for a blind persons [sic] would properly be considered a fair use
           under section 107. 587

According to proponents, “the legislative history . . . makes clear that converting works
into formats that are accessible to people with sensory disabilities is a quintessential
example of fair use.” 588 In addition, proponents cite a footnote in Sony v. Universal City
Studios, in which the Supreme Court references the same House Report and notes that
“[m]aking a copy of a copyrighted work for the convenience of a blind person is
expressly identified by the House Committee Report as an example of fair use, with no
suggestion that anything more than a purpose to entertain or to inform need motivate
the copying.” 589

For their part, Joint Creators I suggest that the scope of the intended uses is insufficiently
delineated for the Acting Register to form a basis that the uses are fair, and suggests that


whether the needs of K-12 institutions differed from the factual testimony regarding university
and college disability services officers. Class 2 Post-Hearing Letter. Based on the prior testimony
concerning the needs of K-12 institutions, the Office views this as directed at clarifying the
record, rather than soliciting new evidence.
  H.R. REP. NO. 94-1476, at 73, as reprinted in 1976 U.S.C.C.A.N. 5659, 5687 (1976); S. REP. NO. 94-
587

473, at 66 (1975).
588ATSP et al. Class 2 Initial at 9 (citing H.R. REP. NO. 94-1476, at 73, reprinted in 1976 U.S.C.C.A.N.
at 5687).
589   ATSP et al. Class 2 Initial at 9 (quoting Sony, 464 U.S. at 455 n.40).

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proponents have not cited any authority holding that captioning or audio describing
motion pictures qualifies as a noninfringing use. 590

In addition, the participants specifically address the four fair use factors. Regarding the
purpose and character of the use, proponents cite Authors Guild, Inc. v. HathiTrust and
argue that “[c]onverting an inaccessible copyrighted motion picture into an accessible
format clearly serves a broad public benefit and results in direct, tangible benefit for
many students who are blind, visually impaired, deaf, or hard of hearing,” such that
providing accessible formats to individuals with disabilities “serves ‘a valid purpose
under [fair use] factor one.’” 591 Proponents assert that Congress’s commitment to
individuals with disabilities further evidences the “valid purpose” of converting
inaccessible versions of motion pictures into accessible formats by adding captioning
and/or audio description. 592 Specifically, proponents reference disability laws such as
the ADA, as well as the Chafee Amendment, the latter of which provides that it is not an
infringement of copyright “for an authorized entity to reproduce or to distribute copies
or phonorecords of a previously published, nondramatic literary work if such copies or
phonorecords are reproduced or distributed in specialized formats exclusively for use
by blind or other persons with disabilities.” 593 Proponents argue that the Chafee
Amendment “illustrates Congress’s intent that copyright law make appropriate
accommodations for the blind, visually impaired, or print disabled.” 594

Joint Creators I assert that proponents’ reliance on HathiTrust is misplaced insofar as it
concerned making “text-to-speech” versions of literary works for the print disabled. 595
They argue the result of altering a motion picture—such as by adding captioning and/or
audio description—“is likely a derivative work that involves a creative interpretation of
the underlying work,” and thus is more comparable to creating a foreign language
translation, which is an exclusive right of the copyright owner. 596 Joint Creators I also
note that the Chafee Amendment “applies only to non-dramatic literary works” (i.e., not
motion pictures), and that it includes multiple limitations that the proposed exemption
lacks, including that copies must be made and distributed “exclusively for use by blind
or other persons with disabilities,” and “only [] in specialized formats.” 597

590   Joint Creators I Class 2 Opp’n at 13.
591   ATSP et al. Class 2 Initial at 10 (citing HathiTrust, 755 F.3d at 102).
592   Id.
593   17 U.S.C. § 121(a).
594   ATSP et al. Class 2 Initial at 10 (quoting HathiTrust, 755 F.3d at 102).
595   Joint Creators I Class 2 Opp’n at 16.
  Id. at 15–16 (citing HathiTrust, 755 F.3d at 101; Radji v. Khakbaz, 607 F. Supp. 1296, 1300 (D.D.C.
596

1985)).
597   Id. at 17–18 (citations omitted).

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Finally, Joint Creators I assert that the Register determined during the 2012 rulemaking
that neither Sony nor the 1976 Act House Report “suggest[] a rule that all reproduction,
adaptation and distribution for the purpose of accessibility is fair use.” 598 Specifically,
they note that, in deciding to recommend an exemption for the purpose of engaging in
research and development aimed at developing players capable of rendering captions
and descriptive audio, “the Register expressly stated that she was not concluding that
captioning or audio describing a motion picture qualifies as a fair use.” 599

Considering the present request in light of this precedent, including the 2014 HathiTrust
opinion, the Acting Register finds that the first factor weighs in favor of fair use. In
HathiTrust, the Second Circuit found that although creating a database of millions of text
and image files of books for the purpose of providing access to individuals with
disabilities is not “transformative,” “providing access to the print-disabled is still a valid
purpose” under the first fair use factor. 600 The court equated the creation of an accessible
format with that of a translation or other derivative work, but noted that even absent a
finding of transformative use, a defendant may still satisfy the first fair use factor. 601
And the court did not limit its holding to individuals with disabilities relating to sight
impairments, thereby implying that creating accessible formats for individuals with
other types of disabilities also constitutes a “valid purpose.” 602

Applying that logic, adding captions or audio description to a motion picture for
purposes of creating accessible versions for students with disabilities, in compliance
with disability laws, is a “valid purpose,” weighing in favor of fair use. Indeed, the
passage of the ADA, IDEA, and Section 504 demonstrate Congress’s desire to provide
meaningful access to students with other types of disabilities. As noted by the Register
in her 2015 Recommendation regarding accessibility for e-books, “[t]he need for and
desirability of access to such works by those with impairments—access that might
otherwise be denied—present a quintessential case for an exemption to the prohibition
on circumvention.” 603 The 2015 Recommendation noted that the legislative history of the
1976 Copyright Act, the Chafee Amendment, and a 2014 congressional hearing on
exceptions for the visually impaired all supported a conclusion of fair use. 604 Congress

598   Id. at 13 (citing 2012 Recommendation at 146, 149).
599   Id.
600   HathiTrust, 755 F.3d at 102.
601   Id. at 101–02.
602See id. at 103 (noting that “other disabled patrons, whose physical impairments prevent them
from turning pages or from holding books, may also be able to use assistive devices to view all of
the content contained in the image files for a book”).
603   2015 Recommendation at 133.
  Id. at 134 (citing H.R. REP. NO. 94-1476, at 73, reprinted in 1976 U.S.C.C.A.N. at 5687); 142 CONG.
604

REC. 21796 (1996) (statement of Sen. Chafee) (the Amendment “sought to ‘end the unintended

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has demonstrated the same “commitment to ameliorating the hardships” faced by
persons with sensory disabilities in enacting the ADA, IDEA, and other laws. 605

Turning to the second factor, proponents allow that the proposed exemption “would
cover access to motion pictures, which come in many formats and genres.” 606
Proponents assert, however, that under HathiTrust, this does not prevent a finding of fair
use. 607

As the Register noted in 2015, “[u]nder factor two, it is well established that motion
pictures are generally creative and thus at the core of copyright’s protective
purposes.” 608 The Acting Register finds that this factor weighs against fair use, but given
the valid purpose of the use and lack of negative impact on the market, it does not
preclude a finding of fair use under the other factors. 609

Proponents assert that the third factor weighs in favor of fair use because “[c]onverting a
motion picture into an accessible format requires only a partial replication of the original
copyrighted work,” as adding captions and/or audio description uses only the audio or
visual components, respectively. 610 The Acting Register disagrees; although a disability
services professional may arguably use only the aural or visual component, the entire
motion picture is copied and imported into the captioning or describing software to add
the captions or audio description to the motion picture. 611 For some purposes, however,
“it may be necessary to copy the entire copyrighted work,” and in such cases, the third


censorship of blind individuals’ access to current information’ by allowing groups that produce
specialized formats for persons who are blind, visually impaired, or print disabled to do so
without first having to gain permission from copyright owners”); Copyright Issues in Education and
for the Visually Impaired: Hearing Before the Subcomm. on Courts, Intellectual Property, and the Internet
of the H. Comm. on the Judiciary, 113th Cong. 3–4 (2014) (statement of Rep. Bob Goodlatte,
Chairman, H. Comm. on the Judiciary) (“[T]he visually impaired community has the expectation
and the right to participate in our community and the copyrighted works created within it.”)); see
also S. REP. NO. 115-261 at 2 (noting that, in amending section 121, the Marrakesh Treaty
Implementation Act aims to ensure that, “with appropriate safeguards, [] copyright restrictions
should not impede the creation and distribution of such accessible format copies”).
605   See HathiTrust, 755 F.3d at 102.
606   ATSP et al. Class 2 Initial at 11.
607   Id.
608   2015 Recommendation at 70.
  See HathiTrust, 755 F.3d at 102 (finding second factor weighed against fair use, but did not
609

preclude a finding of fair use under the other factors).
610   ATSP et al. Class 2 Initial at 11.
611ATSP et al. Class 2 Reply at 12; see also Tr. at 7:02–08, Hearing Ex. 2-A (Apr. 12, 2018) (ATSP);
Tr. at 12:07–14 (Apr. 12, 2018) (Cowling, ATSP & Kent State Univ.).

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factor “does not weigh against a finding of fair use.” 612 In HathiTrust, the Second Circuit
determined that it was reasonable to retain both text and image files of books, because
the text files were required to create text-to-speech capabilities, and the image files
provided additional ways for individuals with disabilities to access the works. 613
Similarly, the Acting Register concludes that it is necessary to copy the entire motion
picture because disability services professionals are potentially adding captions and/or
audio description to the entire length of the motion picture.

Fourth, proponents assert that making motion pictures accessible to students with
disabilities would not negatively affect the market or value of copyrighted works. 614
Proponents allege that the same market failure for accessibility of e-books noted in
HathiTrust plagues the video programming market, and state that “[b]ecause the market
conditions do not support retroactively converting works into an accessible format,
converting motion pictures to accessible formats has little effect on the potential market
for converting works.” 615 Proponents reference litigation by disability advocacy groups
against content distributors such as Netflix and Hulu as evidence of the market’s failure
to distribute films in an accessible format unless forced to do so. 616

Further, proponents would limit the distribution of accessible versions to students by
“uploading the accessible video and accompanying timed-text caption file or described
audio to Kaltura, Kanopy Streaming or a similar private distribution platform.” 617
Proponents also note that commercial vendors used to create captioning and/or audio
description “specify in their terms of agreement that no confidential information will be
compromised—i.e., that the video will not be disseminated—in the course of captioning
or audio describing, consistent with similar agreements those vendors strike with
copyright holders when they caption their content.” 618 Moreover, accessible versions
would be created only from authorized versions of motion pictures. 619




  HathiTrust, 755 F.3d at 98; see also Campbell, 510 U.S. at 586–87 (“extent of permissible copying
612

varies with the purpose and character of the use”).
613   HathiTrust, 755 F.3d at 103.
614   ATSP et al. Class 2 Initial at 11–13.
615   Id. at 13; see also ATSP et al. Reply at 18.
616   ATSP et al. Class 2 Initial at 12.
617   ATSP et al. Class 2 Reply at 13.
618   Id.; Tr. at 61:07–15 (Apr. 12, 2018) (Band, LCA).
619ATSP et al. Class 2 Reply at 11 (“The proposed exemption would only enable disability
services professionals to add accessibility features to motion pictures obtained through a lawful
chain of distribution.”).

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Although raised more in the context of the market effect under the section 1201 statutory
factors, DVD CCA and AACS LA assert that the proposed exemption is overbroad
because it does not “account [for] the extent to which DVDs and [Blu-Ray discs] already
include closed captions and audio description.” 620 Joint Creators I raise a similar
concern. 621 Joint Creators I also assert that the record requires more detail to assess fair
use generally (and factor four specifically). 622 Those concerns are discussed below in the
context of alternatives to circumvention. In addition, Joint Creators I express concern
that proponents “do not address whether the exemption would allow permanent copies
of motion pictures to be made from streaming subscription services that typically do not
allow for permanent downloads.” 623 As litigation against content distributors such as
Netflix shows, however, legal obligations to provide accessible formats extend beyond
permanent downloads. 624

This factor weighs in favor of fair use, despite the seemingly more varied marketplace
availability of accessible formats for motion pictures than in the e-books context. While
opponents persuasively demonstrate that the motion picture industry has made great
strides towards providing more accessible content, 625 proponents submit equally
compelling evidence that the overall market has not yet adequately met the needs of
individuals with disabilities by retroactively offering catalog videos in accessible
formats, and that in some cases, new works are not being issued in accessible formats. 626
When an accessible version is not available in the marketplace, the proposed use is less
likely to interfere with the primary or derivative markets for the motion picture. 627 The
record also reflects that the accessible versions would be created from authorized
versions of motion pictures 628 and would typically be disseminated through a password-
protected mechanism—as is traditionally done by disability service professionals when




620   DVD CCA & AACS LA Class 2 Opp’n at 2.
621   Joint Creators I Class 2 Opp’n at 3.
622   See id. at 10–12.
623   Id. at 11.
  See Complaint at ¶¶ 47–55, Nat’l Ass’n of the Deaf v. Netflix, Inc., No. 3:11-cv-30168 (D. Mass.
624

June 16, 2011) (asserting ADA claim against Netflix for failure to provide content with
captioning).
625See Joint Creators I Class 2 Opp’n at 4 (citing Nondiscrimination on the Basis of Disability by
Public Accommodations-Movie Theaters; Movie Captioning and Audio Description, 79 Fed. Reg.
44,976, 44,989 (Aug. 1, 2014)).
626   See ATSP et al. Class 2 Initial at 12–13; ATSP et al. Class 2 Reply at 9.
627   See HathiTrust, 755 F.3d at 103.
628   ATSP et al. Class 2 Reply at 11.

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providing accessible materials 629—thereby reducing the likelihood of negatively
affecting the market for the copyrighted motion pictures.

Overall, the Acting Register concludes that proponents have provided sufficient detail to
assess whether the proposed uses are likely to constitute fair use. As noted above, the
present request is more tailored and the evidence submitted is more specific than past
exemption requests. 630 Proponents have explained how captions and audio descriptions
would be created and added to motion pictures. 631 Citing the legislative history of the
1976 Copyright Act, the Chafee Amendment, the HathiTrust decision, and other existing
disability laws, Class 2 proponents offer credible support for their claim that converting
motion pictures into accessible formats for students with disabilities by adding captions
and/or audio description is a noninfringing fair use.

In sum, the Acting Register finds that for purposes of this rulemaking, proponents have
made a compelling case that making motion pictures accessible to students with
disabilities by adding captions and/or audio description is likely noninfringing.

                     c. Causation

The Acting Register finds that proponents have met their burden of showing that the
statutory prohibition on circumvention of access limits their ability to add captions or
audio description to motion pictures for purposes of providing accessible versions to
students with disabilities. But for the prohibition, users likely could gain lawful access
to the copyrighted motion pictures for that purpose.

                     d. Asserted Adverse Effects

In discussing the purported adverse effects and addressing the section 1201 statutory
factors, proponents combined discussion of the first three factors because “the
prohibitions on circumvention have a similar impact under each factor.” 632 Specifically,
proponents assert that without the proposed exemption, disability services professionals
are “inhibited from making works available for students with disabilities,” which
“restrict[s] the availability of works for educational purposes” and “ha[s] a negative



629   Id. at 13; see also Tr. at 18:05–16 (Apr. 12, 2018) (Cowling, ATSP & Kent State Univ.).
630Compare 2012 Recommendation at 149 (noting “[m]ost of the uses relating to the creation of
captions and descriptive audio proposed by the proponents [were] so general that it [was]
impossible to evaluate whether such uses would be noninfringing.”); Section 1201 Report at 87–
88 (stating that there has been “very little in the records from prior rulemaking proceedings
regarding other entertainment products such as . . . motion pictures”).
631   ATSP et al. Class 2 Reply at 12–13.
632   ATSP et al. Class 2 Initial at 14.

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impact on teaching and scholarship.” 633 Proponents identified examples of motion
pictures either lacking accessibility features or it being unclear whether captions and/or
audio description are available. 634 In addition, proponents identified over a dozen
examples where K-12 educators requested captioning or audio descriptions to make
accessible versions for students with disabilities. 635

Regarding the fourth statutory factor, proponents argue that not allowing circumvention
will negatively affect the market for the copyrighted motion pictures because
educational institutions will not use content that they cannot easily convert into an
accessible format. 636 For example, the University of California, Berkeley responded to a
letter from the DOJ regarding its alleged failure to make free course and lecture content
accessible by stating that DOJ’s requested remedial measures were too costly, and that it
therefore “might not be able to continue to provide free public content under the
conditions laid out by the Department of Justice to the extent [it had] in the past.” 637

Proponents also assert that viable alternatives to circumvention do not exist. According
to proponents, copyright owners have in some cases failed to respond to or grant
requests by disability services professionals for permission to make motion pictures
accessible; 638 in other cases, they note, locating the actual copyright owner is
confusing. 639 Proponents maintain that sourcing accessible format versions that a school
or library does not already possess is burdensome and unworkable, particularly because
disability services professionals must provide accessible versions in a timely manner,
and that requiring educational institutions to repurchase them, “simply because the
content creators and distributors did not make those films accessible at the outset is not

633   Id. at 1.
634See ATSP et al. Class 2 Reply at 3 (stating that 70% of the more than 28,000 DVDs at Emory
Heilbrun Music & Media Library lack accessibility features), 19–20 (appendix of exemplary
inaccessible materials).
635   ATSP et al. Class 2 Post-Hearing Resp. at 2.
  ATSP et al. Class 2 Initial at 15–16; see also id. at 18 (testimony of unidentified Kent State
636

University disability services professional).
637A Statement on Online Course Content and Accessibility, UC BERKELEY (Sept. 13, 2016),
http://news.berkeley.edu/2016/09/13/a-statement-on-online-course-content-and-accessibility
(noting the “department’s findings do not implicate the accessibility of educational opportunities
provided to our enrolled students”). Proponents note that other universities, such as Harvard
and MIT, have been sued for similarly not making accessible versions of content available. ATSP
et al. Class 2 Reply at 9.
638   ATSP et al. Class 2 Initial at 12, 18.
  Id. at 17–18 (testimony from University of Illinois disability services professional that “it is
639

hard to determine who is the actual copyright holder in many of the cases where we have old
videos or a documentary where the publishing company has gone under”).

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only economically infeasible, but would contravene the ADA’s principles against
imposing unnecessary costs to improve accessibility for people with disabilities.” 640

In addition, proponents claim that other non-circumventing alternatives—such as
creating transcripts of a motion picture—are burdensome because they “often must be
supplemented with real-time interpreting or a transcriber summary,” and may be
“considered inadequate accommodation for students with disabilities.” 641 Proponents
also claim that captioning provided through YouTube is “poor” and thus not an effective
accommodation. 642

Neither Joint Creators I nor DVD CCA and AACS LA contest the importance of making
works available to students with disabilities on an equal basis. But opponents generally
contend that the wide availability of versions with captioning and/or audio description
already in the market constitutes a viable alternative to circumvention. They note that
“[n]early all optical disc media (DVD, Blu-ray, and Ultra HD) released by MPAA
members are distributed with captions,” and that the Federal Communications
Commission (“FCC”) requires (with some exceptions) television programming
distributed on or after January 1, 1998 to have captions. 643 The FCC also requires
captioned online video when it previously appeared with captions on U.S. television
after certain dates. 644 Joint Creators I note that the MPAA and its members in particular
have been commended by the DOJ for efforts to provide closed captioning and audio
description for motion pictures. 645 DVD CCA and AACS LA similarly state that
proponents “have failed to allege a single DVD or Blu-ray title that lacks captioning and
audio description.” 646 Opponents also note an online list of motion pictures available



640   ATSP et al. Class 2 Reply at 4, 10; see also Tr. at 37:09–12 (Apr. 12, 2018) (Reid, ATSP).
641   ATSP et al. Class 2 Initial at 16.
642   Id. at 17 (testimony of unidentified West Virginia University disability services professional).
643   Joint Creators I Class 2 Opp’n at 5 (citing 47 C.F.R. § 79.1(b)(1)).
64447 C.F.R. § 79.4(b)(1); see also Joint Creators I Class 2 Opp’n at 5 (“Nearly 100% of content
streamed by Hulu, Netflix, Amazon Video, and other online services that publicly perform
MPAA members’ works is captioned.”), 6 (“many motion pictures are now available with audio
descriptions”), 7 (“iTunes now offers over 600 movies with audio description tracks” and “Netflix
offers description for over 500 original shows, documentaries, TV series, and children’s
programming”) (citations omitted).
645 Joint Creators I Class 2 Opp’n at 4–5 (citing Nondiscrimination on the Basis of Disability by
Public Accommodations-Movie Theaters; Movie Captioning and Audio Description, 79 Fed. Reg.
44,976, 44,989 (Aug. 1, 2014) (“[M]ovie studios appear committed to making their movies
accessible to individuals who are deaf or hard of hearing or blind or have low vision, and the
Department commends their efforts.”)).
646 DVD CCA & AACS LA Class 2 Opp’n at 3.




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with audio descriptions maintained by the American Council for the Blind, 647 and
observe that movie theatres are required to provide access to both captioning and audio
description, when available. 648

Still, opponents acknowledge that “not every motion picture is available in accessible
formats,” 649 and the record reflects this unavailability, for example, regarding certain
user-generated content and many back catalog works. 650 Moreover, the record reveals
that while closed captioning is significantly available for video content, audio
description lags behind. 651

The Acting Register concludes that the statutory factors favor an exemption. As the
Register noted in 2012, “[g]enerally, public policy favors removing impediments to
access for individuals with disabilities.” 652 An exception to promote accessibility “is not
merely a matter of convenience, but is instead intended to enable individuals [with
disabilities] to have meaningful access to the same content that individuals without such
impairments are able to perceive.” 653 The proposed exemption is aimed at allowing the
wide range of motion pictures that are available to the general population to be accessed
and enjoyed by students with disabilities. For these students, the exemption may
represent the difference between having and not having access to the works available to
other students. Indeed, the U.S. government has expressed that students with
disabilities “must receive an equal opportunity to participate in and benefit” from the


647   Id.; Joint Creators I Class 2 Opp’n at 6.
648Joint Creators I Class 2 Opp’n at 6. During a meeting with the Office, Joint Creators I asserted
that available market technologies—including those used within a movie theater, such as closed-
captioning glasses, or headsets for listening to audio description tracks—are viable alternatives to
circumvention that could be used for educational purposes. Joint Creators I Class 2 Ex Parte
Meeting Summary at 1 (July 24, 2018). The record is far too sparse, however, to conclude
whether such technologies are or are not reasonable alternatives.
649   Joint Creators I Class 2 Opp’n at 4.
650See Tr. at 29:21–30:17 (Apr. 12, 2018) (Band, LCA) (noting the exemption is not for “new content
that is being released,” but rather “older films, foreign films, some of the independent films . . .
older documentaries . . . not [the] sort of current releases that have all of these features built into
them”); Tr. at 13:05–12 (Apr. 12, 2018) (Reid, ATSP) (stating that although “YouTube has
captioning services that can be invoked by the owner of a video that is posted on YouTube,”
“[t]he rub is that, in general, the owner has to approve the captions being included in the file”).
  Joint Creators I Class 2 Opp’n at 6–7 (noting “marketplace improvements” for audio
651

description, but generally describing more limited availability).
6522012 Recommendation at 21 (citing 42 U.S.C. § 12101(a)(7) (“[T]he Nation’s proper goals
regarding individuals with disabilities are to assure equality of opportunity, full participation,
independent living, and economic self-sufficiency for such individuals.”); 17 U.S.C. § 121.
653   2015 Recommendation at 136; 2012 Recommendation at 22.

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goods and services offered by colleges and universities, and that colleges and
universities are prohibited from offering students with disabilities aids, benefits, and
services that are “unequal to the opportunity afforded others.” 654

Importantly, however, the recommendation must also take into account that for a
significant number of feature films and other audiovisual works, the market already
provides accessible versions, which may alleviate the need to circumvent certain works.
In that respect, the market for audiovisual works appears different than that of e-
books. 655 The legislative history for section 1201 states that in assessing the impact of the
prohibition on the ability to make noninfringing uses, the Register and the Librarian
“should take into consideration the availability of works in the particular class in other
formats that are not subject to technological protections.” 656 Searches for the motion
pictures given as examples lacking accessibility features 657 resulted in locating a
significant number with captioning, and two with audio description. Indeed, out of the
thirty-five DVDs described as not having closed captions submitted in proponents’ reply
comment, eleven were advertised as available with closed captioning on Amazon.com;
the same was true of twelve of the fourteen videos described as inaccessible for K-12
uses. 658 Certain titles were also available through other mainstream platforms including


654Dep’t of Justice, Civil Rights Div. & U.S. Dep’t of Educ., Office for Civil Rights, Joint “Dear
Colleague” Letter: Electronic Book Readers 1–2 (June 29, 2010), https://www2.ed.gov/about/
offices/list/ocr/letters/colleague-20100629.pdf.
655During the 2015 rulemaking, the Association of American Publishers (“AAP”) acknowledged
that despite the proliferation of e-book readers, the market “do[es] not yet offer inherent
accessibility across such platforms or in the commercially-available versions of such works for
consumers with print disabilities.” 2015 Recommendation at 133 (citing AAP 2015 Class 9 Initial
at 1 (comments in support of a class for literary works distributed electronically for assistive
technologies)).
656   House Manager’s Report at 7.
657   See ATSP et al. Class 2 Post-Hearing Resp. at 2; ATSP et al. Class 2 Reply at 19–20.
658Compare ATSP et al. Class 2 Reply at 19–20, with, e.g., The Accused, Amazon,
https://www.amazon.com/Accused-Tara-Timpone/dp/B074J5PRMJ/; Black Robe, AMAZON,
https://www.amazon.com/Black-Robe-Lothaire-Bluteau/dp/1573623903/; Breaker Morant,
AMAZON, https://www.amazon.com/gp/product/B00A5IXZXQ; Chasing Freedom, AMAZON,
https://www.amazon.com/Chasing-Freedom-Juliette-Lewis/dp/B0009XT8VA; Days of Heaven,
AMAZON, https://www.amazon.com/Days-Heaven-Richard-Gere/dp/B001KT3JQ2/; Inside Job,
AMAZON, https://www.amazon.com/Inside-Job-Matt-Damon/dp/B0041KKYBA; The Marquise of
O..., AMAZON, https://www.amazon.com/Marquise-Edith-Clever/dp/B010ONY5B2; Perceval,
AMAZON, https://www.amazon.com/Perceval-Fabrice-Luchini/dp/B00004U0FN/. The other titles
searched were Michael Clayton, Varsity Blues, Through Deaf Eyes, Lewis and Clark Great Journey West
(National Geographic), The Men Who Built America (History Channel series), The Presidents
(History Channel), The Star of Bethlehem (Mpower Pictures), Iron Jawed Angels, The Lip Reader
(Seinfeld episode), Switched at Birth, Before the Flood, The War of 1812 (History Channel), Platoon,

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Netflix or Google Play. As proponents themselves acknowledge, the motion picture
industry has adjusted to meet the needs of individuals with disabilities by offering
accessible versions, 659 and proponents in fact hope circumvention becomes unnecessary
in the future as the market more fully meets disability needs. 660 Accordingly, as detailed
below, the Acting Register recommends tailoring an exemption to take into account and
further incentivize the marketplace offerings, including by requiring a reasonable
market check for usable copies, while balancing the legitimate needs of disability
services offices to create accessible versions.

                   3. NTIA Comments

NTIA recommends that the proposed exemption allow “disability services offices and
equivalent units” to “circumvent TPMs on audiovisual works in educational settings to
add accessibility features” to motion pictures, 661 including “through the provision of
closed and open captions and audio description.” 662 Its proposal thus would extend to
“accessibility features” generally, 663 despite proponents limiting their arguments to
captioning and audio description. In agreement with the Acting Register, NTIA believes
that the exemption should apply “regardless of grade level” of the student, 664 and apply
to both non-profit and for-profit educational institutions required by disability laws to
make motion pictures accessible to students with disabilities. 665 NTIA also recommends
that the exemption incorporate “a broad, good-faith based definition of ‘individual with
disability.’” 666

Regarding whether to require the educational institution to conduct a reasonable market
check before circumventing, NTIA maintains that “preconditioning circumvention on
disability rights offices searching the market for an accessible copy would be
impracticable,” 667 and could perhaps result in a student not being able to watch the




Front of the Class: How Tourette Syndrome Made Me the Teacher I Never Had, and America & Lewis
Hine.
659   ATSP et al. Class 2 Ex Parte Meeting Summary at 2 (July 24, 2018).
660   See id.; Tr. at 40:02–04 (Apr. 12, 2018) (Reid, ATSP).
661   NTIA Letter at 30.
662   Id. at 36.
663   Id. at 30.
664   Id. at 35.
665   Id. at 31.
666   Id. at 35–36.
667   Id. at 34.

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motion picture when needed. 668 But as discussed below, the record suggests that these
searches are already occurring. The Acting Register believes that NTIA’s concerns can
be addressed through regulatory language providing that educational institutions may
circumvent to add captions or audio description if an accessible version cannot be
obtained in a timely manner.

                   4. Conclusion and Recommendation

The Acting Register is sensitive to the need to ensure that access controls do not prevent
students with disabilities from gaining meaningful access to motion pictures distributed
in electronic formats. 669 After careful consideration of the evidentiary record and
relevant legal authorities, the Acting Register concludes that the prohibition on
circumvention is adversely affecting the ability of educational institutions to offer
accessible formats of motion pictures on an equal basis in conformance with their legal
responsibilities. The Acting Register recommends that an exemption be granted, with a
few adjustments to the language outlined in the petition.

First, the Acting Register recommends that the exemption be available for units of an
educational institution engaged in and/or responsible for the provision of accessible
options. The petition language includes “disability services offices, organizations that
support people with disabilities, libraries, and other units at educational institutions that
are responsible for fulfilling those institutions’ legal and ethical obligations to make
works accessible to people with disabilities.” 670 The Acting Register recognizes that
educational institutions may offer disability services from different (or multiple)
locations within an institution, depending on their configuration, and it is important that
certain educational institutions are not excluded merely because of which structural
component offers disability services. 671 Structuring the exemption this way is intended
to recognize these varied approaches to offering disability services. 672

The Acting Register declines the suggestion to limit the exemption to “nonprofit
organizations or governmental agencies with a primary mission related to assisting
persons with disabilities,” which is how the Chafee Amendment defines an “authorized
entity” entitled to reproduce or to distribute certain copies in specialized formats



668   Id. at 35.
  This concern is reflected in prior exemptions for accessibility. See 2015 Recommendation at
669

137; 2012 Recommendation at 24–25; 2006 Recommendation at 37; 2003 Recommendation at 64.
670   ATSP et al. Class 2 Pet. at 3.
  See Tr. at 57:16–58:11 (Apr. 12, 2018) (Reid, ATSP); ASTP et al. Initial at 19 (addressing
671

accessibility requires “multiple departments” working together).
672   See Tr. at 62:09–63:13 (Apr. 12, 2018) (Reid, ATSP).

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exclusively for use by the blind or other persons with disabilities. 673 The Chafee
Amendment is not limited to providing accessible formats in the educational context, as
is the proposed exemption. Moreover, for-profit educational institutions are also subject
to the ADA. 674 The Acting Register thus believes that the proposed exemption should
apply to for-profit and nonprofit educational institutions, specifically kindergarten
through twelfth-grade institutions, colleges, and universities.

Second, there was discussion of how to define “disabilities.” Proponents note that the
ADA, IDEA, and Section 504 define “disabilities” differently, and ask that the exemption
be tied “to circumvention behavior performed with a good faith intent to comply with a
federal or state disability law or otherwise serve the educational needs of a student with
a disability recognized under federal or state disability law.” 675 Proponents also ask that
an exemption not be limited by “the legal classification of students who might
ultimately view an accessible version of the video,” as the accessible version “might be
viewed by disabled and non-disabled students alike in a classroom context” and should
not be required to be distributed separately from the non-accessible version (resulting in
different treatment of students rather than equal access). 676 Proponents request that the
exemption allow an educational institution to undertake proactive accessibility efforts to
“comply with the terms of a settlement of a disability law claim, to meet in advance the
terms of an Individual Education Plan for a student with a disability, or simply on the
institution’s own ethical initiative.” 677 Taking into account these concerns, the
recommended exemption permits circumvention where the accessible version is created
as a necessary accommodation for a student or students with disabilities under a federal
or state disability law, such as the ADA, IDEA, or Section 504.

Third, the proposed exemption would allow circumvention only after the educational
institution has conducted a reasonable market check and determined that an accessible
version is not available, not available at a fair price, or not available in a timely way. 678
While ASTP objects that it would be “unrealistic and unduly costly” to require a search
for readily available accessible copies, the record suggests that these searches are already


673   See Joint Creators I Class 2 Opp’n at 20–21 (proposing limit); see also 17 U.S.C. § 121(d)(1).
674See 42 U.S.C. § 12181(7)(J) (stating that for purposes of the ADA, a private “nursery,
elementary, secondary, undergraduate, or postgraduate private school, or other place of
education” are “considered public accommodations”).
675   ASTP et al. Class 2 Post-Hearing Resp. at 4.
676   Id.
677   Id.
  Determining whether an accessible version can be obtained in a “timely” manner will depend
678

on whether it can be received in time to serve the student with disabilities as a necessary
accommodation.

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occurring, and section 1201 requires taking into account the wide availability of
accessible versions—particularly closed captioned versions—available in the market. 679

Requiring a market check is not foreign to copyright law. Under the section 108
exception for libraries and archives, the institution must expend a “reasonable effort” to
search for an “unused” replacement at a “fair price” before making a copy for
replacement purposes. 680 In its Section 108 Discussion Document, the Office proposed
retaining the market check requirement because it “will prevent replacement copies
being made for popular and available works.” 681 In response to concerns about it being
difficult to conduct market checks on a large scale, the Office concluded that “market
checks themselves will not be onerous because of institutions’ networks of providers
and easily searchable online sales platforms offering access to new and used items.” 682

In this case, proponents acknowledge that even without a formal requirement, disability
services professionals typically conduct some type of de facto market check by
investigating “the most economic decision,” which could mean making an accessible
version, or just purchasing one, depending on the circumstances. 683 As one participant
explained, “it’s a lot of work” to create an accessible version, and “if someone else has
done it . . . that’s what you want; you don’t want to have to go to that effort.” 684 And
regardless of whether a decision is made to create an accessible version, outsource the
creation of an accessible version, or purchase an accessible version, the educational
institution would incur a cost. By adding a “reasonable” market check requirement, the
Acting Register does not expect disability services professionals to scour the market,
spend exorbitant fees, or wait months for an accessible version to arrive from a seller. If
an institution determines, after a reasonable search of available platforms such as


679To that end, while a reasonable market check is not incorporated into the existing temporary
exemption for e-books and assistive technologies, 37 C.F.R. § 201.40(b)(2) (2016), it would not
make sense to do so because the record indicated that only a “fraction of e-book titles are
currently available in accessible formats.” 2015 Recommendation at 135. As noted above, the
market for e-books differs from that for motion pictures. Id. at 133 (citing 2015 AAP Class 9 Initial
at 1 (comments in support of a class for literary works distributed electronically for assistive
technologies)).
680   17 U.S.C. § 108(c)(1).
  U.S. COPYRIGHT OFFICE, SECTION 108 OF TITLE 17 28 (2017), https://www.copyright.gov/
681

policy/section108/discussion-document.pdf (“Section 108 Discussion Document”).
682   Section 108 Discussion Document at 34.
683   See Tr. at 33:08–15 (Apr. 12, 2018) (Galleher, ATSP).
684Tr. at 29:21–30:10 (Apr. 12, 2018) (Band, LCA) (also suggesting that as a practical matter, a
limited market check requirement will not be burdensome); see also Tr. at 44:02–05 (Apr. 12, 2018)
(Reid, ATSP) (“nobody in a disability services office is particularly interested in re-captioning or
re-describing a program”).

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Amazon.com or Netflix, that it must create an accessible version as a necessary
accommodation for a student with disabilities, then it may proceed. In this way, the
market check requirement seeks to prevent copies being made of works already
available in accessible formats, while supporting the motion picture industry’s effort to
further expand the availability of accessible versions in the marketplace.

Fourth, the recommended exemption would require the accessible versions to be
provided to students and stored by the educational institution in a manner that
reasonably prevents unauthorized further dissemination of the work. This reflects the
record testimony that accessible versions of motion pictures are made available to
students in the same manner as that for students without an accommodation; that is,
either shown in the classroom or distributed to students through a private distribution
platform such as Kaltura or Kanopy Streaming. 685

The Acting Register therefore recommends an exemption to permit circumvention of
technological measures protecting motion pictures (including television shows and
videos) on DVDs, Blu-Ray discs, and via digital transmissions to add captions and/or
audio description for students with disabilities. Accordingly, the Acting Register
recommends that the Librarian designate the following class:

          (i) Motion pictures (including television shows and videos), as defined in 17
          U.S.C. 101, where the motion picture is lawfully acquired on a DVD protected
          by the Content Scramble System, on a Blu-ray disc protected by the Advanced
          Access Content System, or via a digital transmission protected by a
          technological measure, where:

                 (A) Circumvention is undertaken by a disability services office or other
                 unit of a kindergarten through twelfth-grade educational institution,
                 college, or university engaged in and/or responsible for the provision
                 of accessibility services to students, for the purpose of adding captions
                 and/or audio description to a motion picture to create an accessible
                 version as a necessary accommodation for a student or students with
                 disabilities under an applicable disability law, such as the Americans
                 With Disabilities Act, the Individuals with Disabilities Education Act,
                 or Section 504 of the Rehabilitation Act;



685ATSP et al. Class 2 Reply at 13; see Joint Creators I Class 2 Opp’n at 11–12 (questioning planned
dissemination of works). The Office cautions against the mishandling of circumvented motion
pictures, which could create infringement liability. See Google Books, 804 F.3d at 229 (while
recognizing that the creation of digital copies of books for libraries to make fair use does not itself
constitute infringement, noting that “libraries might incur liability by negligent mishandling of,
and failure to protect, their digital copies, leaving them unreasonably vulnerable to hacking”).

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                   (B) The educational institution unit in paragraph (b)(2)(i)(A) of this
                   section has, after a reasonable effort, determined that an accessible
                   version cannot be obtained at a fair price or in a timely manner; and

                   (C) The accessible versions are provided to students or educators and
                   stored by the educational institution in a manner intended to
                   reasonably prevent unauthorized further dissemination of a work.

           (ii) For purposes of this paragraph (b)(2), “audio description” means an oral
           narration that provides an accurate rendering of the motion picture.

           C. Proposed Class 3: Audiovisual Works—Space-shifting

               1. Background

                   a. Summary of Proposed Exemption

Proposed Class 3 would allow circumvention of technical measures protecting motion
pictures and other audiovisual works to engage in “space-shifting.” As the 2015
rulemaking described the Copyright Office’s understanding, “‘[s]pace-shifting’ occurs
when a work is transferred from one storage medium to another, such as from a DVD to
a computer hard drive.” 686 In this proceeding, Chris De Pretis petitioned for an
exemption to allow circumvention by individuals to create a personal digital backup of
content for private use. 687 This proposal is similar to those sought in previous
rulemakings. 688

The Copyright Office also received a petition from OmniQ, a corporate entity, proposing
an exemption to allow so-called “non-reproductive” space-shifting, including for
commercial uses. Specifically, OmniQ requested an exemption to:

           [P]ermit the circumvention of technological protection measures that
           control access to [1] Audiovisual Works, specifically Motion Pictures, that
           [2] have been reproduced in digital Copies lawfully made when the
           works were Fixed by embodying the work via digital information in an
           optical disc, such as a DVD or blu-ray disc. The works need to be
           accessed [3] for the purpose of space-shifting the work Fixed in that

686   2015 Recommendation at 107 & n.645.
687De Pretis Class 3 Pet. at 2 (requesting “to permit private owners of Movies and Television on
DVD and Blu Ray Discs, to allow circumventing protection in order to create a personal digital
backup of content for private use in order to save the content in the event that something
happens to the original, fragile disc as well as to play the content on tools that do not play discs
(newer computer; iPads; iPhones; etc.)”).
688   See, e.g., 2015 Recommendation at 107.

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           particular material object (an optical disc such as a DVD or blu-ray disc)
           to a more useful material object so that [4] users who do not own or have
           access to the Device, Machine or Process needed to privately perform the
           work (i.e., needed to watch the movie) may still enjoy private
           performances of the work from that lawfully made copy, shifted to a
           usable strata. Such viewers may include persons who do not own or have
           reasonable access to a DVD player, whose latest laptop computer follows
           the trend of not including an optical disc drive, or whose DVD player no
           longer functions. . . . 689

While both petitions seek to space-shift content from disc media to facilitate private
performances, OmniQ claims that its request encompasses “non-reproductive space-
shifting,” which it distinguishes from the De Pretis petition, calling it “radically
different, in that no back-up or convenience copies are made at all.” 690

With regard to its proposal, OmniQ does not seek an exemption tied to its own
technology, but rather “an exemption to use any method now known or later developed
of moving the fixation from the disc to something else, without reproduction.” 691

A third proponent, SolaByte Corporation, filed a one-page comment in support of
OmniQ. 692 At the public hearing, SolaByte elaborated that it seeks to make use of the
exemption for its own space-shifting activities. SolaByte stated at the hearing that it
wishes to grant a user access to master cloud copies of audiovisual works that can be
streamed on a user’s personal device after SolaByte authenticates that the user has the
same content on disc media. 693 SolaByte said that it seeks to create a library of works
that would be offered to its users as “replacements” for their disc copies. 694 While

689   OmniQ Class 3 Pet. at 2 (bracketed numbers in original) (citation omitted).
690   OmniQ Class 3 Initial at 2–3.
691Id. at 19. OmniQ’s comments also suggest it supports an exemption even if the reproduction
right is implicated by space-shifting activities. Id. at 31.
692   SolaByte Class 3 Reply at 2.
  Tr. at 8:08–14:08, Hearing Ex. 3-A at 5 (Apr. 11, 2018) (Chatfield, SolaByte); Tr. at 10:18–12:03
693

(Apr. 11, 2018) (Chatfield, SolaByte).
694Tr. at 8:08–14:08, Hearing Ex. 3-A at 6 (Apr. 11, 2018) (Chatfield, SolaByte) (“We ask Librarian
to authorize an exemption to allow the creation of replacement content to support this
service[.]”); Tr. at 45:22–46:01 (Apr. 11, 2018) (Chatfield, SolaByte). SolaByte appears to still be
developing the details of its business. During an ex parte communication, SolaByte described a
different model whereby a customer would access a private cloud copy of a work space-shifted
by SolaByte from the customer’s own disc, as opposed to streaming from a master cloud copy not
made from the customer’s disc and that multiple customers would access. SolaByte suggested
that limited simultaneous streams from that copy would still be permitted. SolaByte also
elaborated that under either model its customers would be charged a monthly subscription fee to

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SolaByte’s testimony at the hearing is untimely insofar as it can be interpreted as seeking
an exemption tailored to its specific technology, the Acting Register considers the
testimony to the extent it supports the proposal outlined in the NPRM.

In addition, Consumers Union and Free Software Foundation, Inc. (“FSF”) filed
comments generally supporting this exemption, but did not provide any evidence or
substantive argument regarding the merits of the specific proposals. Class 3 was
opposed by DVD CCA, AACS LA, and Joint Creators II.

                    b. Overview of Issues

In prior rulemakings, while past Registers have “recognize[d] the consumer and policy
appeal” 695 of an exemption for space-shifting, they have regularly declined to
recommend such an exemption. As the Register summarized in the last triennial
proceeding:

           The Register has declined to recommend an exemption for such uses in
           the past four rulemakings because the proponents have failed to establish
           a legal or factual record sufficient to establish that the space-shifting
           and/or format-shifting of audiovisual works, e-books, and other
           copyrighted works constitutes a noninfringing use. When considering
           space- or format-shifting for the transfer of copyrighted works to
           different devices or the creation of back-up copies, the Register has
           consistently found insufficient legal authority to support the claim that
           these activities are likely to constitute fair uses under current law.

           In particular, the Register has previously noted that “no court has held
           that ‘space-shifting’ is a fair use,” and that current law “does not
           guarantee access to copyrighted material in a user’s preferred format.” In
           the 2012 rulemaking, the Register found that proponents had not
           adequately demonstrated that space-shifting was a transformative use as
           opposed to “simply a means for an individual consumer to access content
           for the same entertainment purpose as the original work.” While the
           Register has acknowledged that judicial interpretation of fair use could
           someday evolve to include certain space-shifting activities, as stated in
           the last proceeding, “the Section 1201 rulemaking process is not the
           forum in which to break new ground on the scope of fair use.” 696



maintain access to the space-shifted copies. Both models have been considered by the Acting
Register. SolaByte Class 3 Ex Parte Meeting Summary at 2–6 (Sept. 10, 2018).
695   2015 Recommendation at 119.
696   Id. at 108–09 (citations omitted).

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In 2015, the Register again declined to recommend an exemption for space-shifting,
explaining that she “does not find any fair use precedent that sanctions broad space-
shifting or format-shifting,” and that the proponents had failed to “sufficiently
demonstrate[] that services, including online download or streaming services, disc-to-
digital services, digital rights lockers systems, ‘TV Everywhere’ or similar on-demand
services, do not provide reasonable alternatives to circumvention.” 697

Regarding OmniQ specifically, and as addressed further below, the company claims to
have a patent-pending method of space-shifting that is non-reproductive, and therefore
noninfringing, because the copyright owner’s exclusive right to reproduce the
copyrighted work under 17 U.S.C. § 106(1) is purportedly not implicated. 698 OmniQ
describes its space-shifting technology as “a scanner combined with a shredder.” 699
While OmniQ lacks a working prototype, 700 the Acting Register understands that the
technology will supposedly work essentially as follows: (1) a small segment of the data
on a DVD or Blu-ray disc within which a copyrighted motion picture is embodied is
copied into a computer’s volatile memory; (2) that segment of the disc is destroyed; (3)
the data in volatile memory is copied into the computer’s non-volatile memory; (4) the
data in volatile memory is destroyed; (5) the process is repeated for the next small
segment of data on the disc until all of the data on the disc has been transferred to the
computer’s hard drive, leaving the disc unusable. 701 If the exemption is granted, OmniQ
intends to create an online video store by space-shifting copies of motion pictures from
DVDs and Blu-ray discs and then selling or renting the copies by space-shifting them
from OmniQ’s server to its customers’ devices (and back again in the case of rentals). 702

OmniQ participated in the 2015 rulemaking and advanced similar contentions. The
Register determined that she could not credit OmniQ’s arguments about its technology
being non-reproductive because OmniQ “fail[ed] to establish that the technology it
advocates has actually been developed.” 703 Moreover, the Register found OmniQ’s legal
arguments on the matter unavailing. 704


697   Id. at 120, 124.
698   See OmniQ Class 3 Initial at 2–5.
699   Tr. at 22:10–11 (Apr. 11, 2018) (Mitchell, OmniQ).
700   See Tr. at 40:22–41:10 (Apr. 11, 2018) (Mitchell, OmniQ); OmniQ Class 3 Initial at 17–20.
701   See OmniQ Class 3 Initial at Exs. 1, 3; Tr. at 20:20–21:18 (Apr. 11, 2018) (Mitchell, OmniQ).
702See Tr. at 14:14–20:12, Hearing Ex. 3-B at 7 (Apr. 11, 2018) (Mitchell, OmniQ); OmniQ Class 3
Initial at Exs. 2, 4; Tr. at 75:12–77:12 (Apr. 11, 2018) (Mitchell, OmniQ).
703   2015 Recommendation at 123.
704Id. (“In any event, the cases on which OmniQ seeks to rely for its assertions involve physical
rather than digital copies of copyrighted works. The most closely analogous case appears instead
to be Capitol Records v. ReDigi, which concluded that transferring digital files from one location to

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                   2. Discussion

                     a. Works Protected by Copyright

The proposals in this class concern audiovisual works contained on DVDs and Blu-ray
discs. There is no dispute that at least some of these works are protected by copyright.

                     b. Asserted Noninfringing Uses

Proponents allege three bases upon which the proposed uses would be noninfringing:
(i) that allegedly “non-reproductive” uses would not implicate any rights protected by
copyright under section 106; (ii) that the uses are private performances also protected by
the first sale doctrine; and (iii) that the uses are fair use under section 107.

                       i.   Non-Reproductive Use

OmniQ’s primary argument is that the use does not result in a reproduction of a
copyrighted work under section 106(1) of the Copyright Act. Although OmniQ
seemingly admits that its process creates a copy within the meaning of the Act, 705 it
contends that “[a]ny process that, once complete, has generated no more copies than
when the process began, is not a reproduction.” 706 OmniQ asserts that “[t]he
reproduction right attaches to the work, not the copy” and “[w]hether the material
object in which the work is fixed is substituted for another material object is
inconsequential for purposes of the reproduction right.” 707 In its view, “[a]lthough the
term ‘reproduce’ is not defined in the [Copyright] Act, it is clear that Congress intended
to follow the plain English meaning of the term, which is to say, to ‘reproduce’ is to
‘produce again’ or ‘produce another.’” 708 OmniQ further alleges that the intermediate
data segments in volatile memory created during its space-shifting process are not




another implicates the reproduction right and is therefore infringing, even where the original
copy is contemporaneously or subsequently deleted.” (citations omitted)).
705See 17 U.S.C. § 101 (defining “[c]opies” as “material objects . . . in which a work is fixed”); see
also Tr. at 26:24–27:03 (Apr. 11, 2018) (Mitchell, OmniQ) (agreeing “that the destination [hard]
drive . . . that the content is going to from the disc is a material object in which the work has been
fixed”).
706OmniQ Class 3 Initial at 24; see also OmniQ Class 3 Reply at 17 (“[E]ven if the OmniQ method
met the fixation requirement after the original has been un-fixed, there is still only one fixation in
existence, and therefore, no reproduction of the work into an additional copy.”); Tr. at 27:04–14
(Apr. 11, 2018) (Mitchell, OmniQ).
707   OmniQ Class 3 Initial at 26.
708   Id. at 29.

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reproductions because they do not exist for a sufficiently long enough period of time to
constitute fixed copies within the meaning of the Copyright Act. 709

In support, OmniQ relies primarily on two cases—one applying Canadian law—that
each found that there was no reproduction where a special process was applied to a
printed image that enabled physical ink comprising the image to be peeled off of its
original paper backing and then adhered to a new backing material (e.g., canvas or a
ceramic plaque), like a decal. 710

OmniQ attempts to distinguish the technology at issue in Capitol Records, LLC v. ReDigi
Inc., 711 which the Register relied upon in rejecting OmniQ’s proposal in the 2015
rulemaking. 712 OmniQ appears to agree that ReDigi’s process created a reproduction,
but asserts that its own technology is different because it deletes the original while it
makes the new copy—as opposed to deleting it after the fact—such that two complete
usable copies of the work never exist at the same time. 713

Opponents disagree, arguing that OmniQ’s technology would reproduce works because
“[t]he copy resident on the new machine after OmniQ delivered it to a consumer would
be physically distinct from the copy deleted from the disc,” i.e., “[i]t would constitute an
entirely new thing, consisting of different electrons, that is capable of enabling




709See Id. at Ex. 3 (“[T]he space-shifting process reads these chunks into volatile memory that is
insufficiently permanent or stable to permit it to be perceived, reproduced, or otherwise
communicated for a period of more than transitory duration.”); Tr. at 24:02–11 (Apr. 11, 2018)
(Mitchell, OmniQ) (“We definitely will stay within that window—that I guess it was Cablevision—
of less than 1.2 seconds but certainly not minutes.”).
710See OmniQ Class 3 Initial at 24–26 (citing Théberge v. Galerie d’Art du Petit Champlain inc., [2002]
2 S.C.R. 336 (Can.) and C.M. Paula Co. v. Logan, 355 F. Supp. 189 (N.D. Tex. 1973)). OmniQ also
cites Lee v. Deck The Walls, Inc., 925 F. Supp. 576 (N.D. Ill. 1996), aff’d sub nom. Lee v. A.R.T. Co., 125
F.3d 580 (7th Cir. 1997), which found that purchasing notecards and remounting them onto
ceramic tiles and reselling them did not infringe the derivative work or distribution rights of the
works embodied in the notecards.
711934 F. Supp. 2d 640 (S.D.N.Y. 2013) (finding that because the unauthorized transfer and sale of
digital music files on the internet was a reproduction under the Copyright Act, even where the
original copy was deleted, neither fair use nor the first sale doctrine applied), appeal docketed, No.
16-2321 (2d Cir. July 1, 2016).
712   See 2015 Recommendation at 123.
713See OmniQ Class 3 Initial at 26; Tr. at 30:07–31:08 (Apr. 11, 2018) (Mitchell, OmniQ) (stating
“the fundamental difference here is that we don’t take that interim step of making a copy and
then deleting it,” that is, ReDigi is “reproduc[ing] and delet[ing]” whereas OmniQ is
“reproduc[ing] while delet[ing]”) (emphases added).

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perception of the same work (i.e., a copy).” 714 Opponents contend that OmniQ’s
technology is “distinguishable from transferring physical copies of images onto new
objects,” 715 arguing that the case cited by OmniQ “involved very different technology
from a different era.” 716 Opponents also disagree with OmniQ’s characterization of
ReDigi, explaining that “[t]he [court’s] reasoning really turned on whether the copy in
the end user’s home is a new copy that is resident in a new material object and whether
that violates the reproduction right without regard to what you do with the original
copy, whether you delete it instantaneously while you’re copying it, before or after.” 717

Having considered the relevant comments and testimony, the Acting Register finds that
under current law, OmniQ’s self-described process is likely to be an unauthorized
reproduction in violation of section 106(1). As in 2015, the most relevant case
interpreting the reproduction right in this context still appears to be ReDigi. In the 2015
rulemaking, the Register rejected OmniQ’s claims, explaining that the ReDigi court
“concluded that transferring digital files from one location to another implicates the
reproduction right and is therefore infringing, even where the original copy is
contemporaneously or subsequently deleted.” 718

The Acting Register finds no basis to depart from the determination made in the 2015
proceeding. Section 106(1) of the Copyright Act provides for the exclusive right of
copyright owners “to reproduce the copyrighted work in copies.” 719 “Copies” are
defined as “material objects, other than phonorecords, in which a work is fixed by any
method now known or later developed, and from which the work can be perceived,
reproduced, or otherwise communicated, either directly or with the aid of a machine or
device.” 720 Under section 101, “[a] work is ‘fixed’ in a tangible medium of expression
when its embodiment in a copy . . . is sufficiently permanent . . . .” 721 The legislative
history of the Copyright Act further explains:



  Joint Creators II Class 3 Opp’n at 14; see Tr. at 28:21–29:07 (Apr. 11, 2018) (Williams, Joint
714

Creators II).
715   Joint Creators II Class 3 Opp’n at 13–14.
716   DVD CCA & AACS LA Class 3 Opp’n at 4.
  Tr. at 31:10–32:16 (Apr. 11, 2018) (Williams, Joint Creators II); see Joint Creators II Class 3
717

Opp’n at 13–14.
718See 2015 Recommendation at 123 (citing ReDigi, 934 F. Supp. 2d at 650 (“It is beside the point
that the original phonorecord no longer exists. It matters only that a new phonorecord has been
created.”)).
719   17 U.S.C. § 106(1).
720   Id. § 101.
721   Id.

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            Read together with the relevant definitions in section 101, the right “to
            reproduce the copyrighted work in copies or phonorecords” means the
            right to produce a material object in which the work is duplicated,
            transcribed, imitiated [sic], or simulated in a fixed form from which it can
            be “perceived, reproduced, or otherwise communicated, either directly or
            with the aid of a machine or device.” 722

From this, the ReDigi court found that “the plain text of the Copyright Act makes clear
that reproduction occurs when a copyrighted work is fixed in a new material object,” and
that the legislative history “bolsters this reading.” 723 The court held that to “reproduce”
a work simply means to make a “copy” of it within the meaning of section 101. 724 The
court further held that even where a new copy replaces the original (either
contemporaneously or subsequently), an infringement of the reproduction right has
occurred; there is no additional requirement that a copy must increase the total number
of copies available for use for that copy to be a reproduction. 725

Thus, it appears OmniQ’s process would likely result in an unauthorized reproduction
because its method creates a new copy of the work. 726 Indeed, as the Register previously
stated, “a digital file transfer creates a new copy or phonorecord on the transferee’s
computer.” 727 To paraphrase the ReDigi court, “the fact that a file has moved from one
material object—the [DVD or Blu-ray disc]—to another—the [OmniQ] server—means
that a reproduction has occurred.” 728 It matters not that the original copy is destroyed. 729




722H.R. REP. NO. 94-1476, at 61, reprinted in 1976 U.S.C.C.A.N. 5659, 5675; S. REP. NO. 94-473, at 58
(1975).
723   ReDigi, 934 F. Supp. 2d at 648–49.
  Considering a dictionary definition of “reproduction,” the court also noted “[s]ignificantly, it is
724

not defined as ‘to produce again while the original exists.’” Id. at 650.
725See id. at 650 (“[I]t is the creation of a new material object and not an additional material object
that defines the reproduction right.”).
726   See, e.g., Tr. at 26:24–27:03 (Apr. 11, 2018) (Mitchell, OmniQ).
727U.S. COPYRIGHT OFFICE, THE MAKING AVAILABLE RIGHT IN THE UNITED STATES 22 n.94 (2016)
(“Making Available Report”); U.S. COPYRIGHT OFFICE, DMCA SECTION 104 REPORT 79 & n.272
(2001) (“Section 104 Report”) (“The ultimate product of one of these digital transmissions is a
new copy in the possession of a new person. . . . [T]he recipient obtains a new copy, not the same
one with which the sender began.”); see also ReDigi, 934 F. Supp. 2d at 649 (“[As] confirmed by the
laws of physics[, i]t is simply impossible that the same ‘material object’ can be transferred over
the Internet.”).
728   ReDigi, 934 F. Supp. 2d at 650.
729   See id.

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OmniQ’s reliance upon physical ink cases is inapposite. Besides the fact that one is a
Canadian case, the other was decided under the 1909 Copyright Act, and neither case
concerns the digital world, the cases do not support OmniQ’s contention that “where the
owner of a lawfully made copy transfers the fixation of a work from one material object
to another, without altering the work or causing more copies to be created, there is no
infringement of the exclusive right to reproduce the work into copies.” 730 In both of
these cases, the work was originally fixed in ink that was then removed from one
backing and adhered to another. 731 While there was substitution of the backing, there
was no substitution of the material object in which the work was fixed (i.e., the ink). 732
This is markedly different from the digital realm where transferring a work requires
fixing it in a new material object—i.e., making a new copy. 733 In any event, ReDigi is the
more analogous and persuasive precedent.

                       ii.    Private Performance and First Sale Doctrine

In further support of its exemption proposal, OmniQ points to the importance and
public benefits of preserving private performances 734 and the ability to freely alienate
copies of works pursuant to the first sale doctrine under section 109 of the Copyright
Act. 735 As OmniQ appears to premise consideration of these policy arguments on its
technology making no reproduction, 736 this is unpersuasive. With regard to private
performances, the Register has repeatedly determined that “space-shifting for
noninfringing private performance is insufficient grounds for an exemption if the space-
shifting also requires a reproduction.” 737 The Copyright Office has similarly concluded




730   See OmniQ Class 3 Initial at 27.
731   See ReDigi, 934 F. Supp. 2d at 650–51 (discussing facts at issue in C.M. Paula Co. v. Logan).
  See C.M. Paula Co., 355 F. Supp. at 191 n.4 (“The rationale upon which the Court’s holding is
732

based makes it immaterial whether the paper backing is peeled away or not, since either process
uses the original print.”); Théberge, [2002] 2 S.C.R. at 358 (“[W]e are talking here about moving the
same physical layer of inks around different blank substrates.”).
733   See Making Available Report at 22 n.94; Section 104 Report at 79 & n.272.
734   See OmniQ Class 3 Initial at 5, 21, 35.
735See id. at 8–9 (“If we do not allow a comparable manifestation of the principles underlying the
first sale doctrine to evolve alongside the technological evolution, we risk losing the important
benefits of the doctrine.”); see also id. at 5–13, 22–23, 31, 39–44; OmniQ Class 3 Reply at 10–16. But
despite devoting considerable time to discussing the first sale doctrine, OmniQ confusingly states
that its petition “has nothing to do directly with the first sale doctrine.” See OmniQ Class 3 Initial
at 9.
736   See, e.g., OmniQ Class 3 Initial at 5, 21.
737   See 2015 Recommendation at 123–24 n. 773 (citing 2006 Recommendation at 70).

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that the first sale doctrine does not apply to digital transfers of copies of works. 738 In any
event, it is only a defense to an infringement of the distribution right under section
106(3), not the reproduction right under section 106(1). 739

                     iii.    Fair Use

Proponents offer little argument in support of their space-shifting activities being fair
use. There were no substantive comments submitted squarely in support of the personal
space-shifting exemption sought by the De Pretis petition, although Consumers Union
and FSF voiced generic support for the exemption. In fact, OmniQ’s initial comment
identifies reliance upon the fair use doctrine as a “fundamental weakness” of the De
Pretis petition, preferring instead to emphasize its assertion, addressed above, that its
own technology avoids making reproductions. 740 But OmniQ does appear to contend in
the alternative that its business model would constitute fair use. While admitting its
technology is not “transformative,” it asserts that under the fourth factor, “there is no
‘market for providing access’ that is cognizable” and that “the ‘unfettered personal
copying’ that might have occurred in the case of ‘unfettered’ backup or convenience
‘personal use’ copies is not present here.” 741 Similarly, SolaByte asserts that its proposed
commercial technology would permit “the consumer [to] exercise their fair use
rights.” 742 While SolaByte did not analyze each of the fair use factors, it claimed that
“[t]he consequences . . . from a fair use perspective [are] low” because “we keep the
content in a secure form” and thus “reduce the consequence or the risk of piracy.” 743



738See Section 104 Report at 78–80 (“We therefore conclude that section 109 does not apply to
digital transmission of works.”); see also Making Available Report at 22 n.94 (reaffirming that
there is no digital first sale doctrine); DEP’T OF COMMERCE INTERNET POLICY TASK FORCE, WHITE
PAPER ON REMIXES, FIRST SALE, AND STATUTORY DAMAGES 4 (2016) (“Amending the law to extend
the first sale doctrine to digital transmissions of copyrighted works is not advisable at this
time.”); ReDigi, 934 F. Supp. 2d at 655 (finding that the first sale doctrine does not apply to digital
transfers because “the statute protects only distribution by ‘the owner of a particular copy or
phonorecord . . . of that copy or phonorecord,” and in the digital context, it is “impossible for the
user to sell her ‘particular’ phonorecord”) (omission in original) (quoting 17 U.S.C. § 109(a)).
73917 U.S.C. § 109(a); see also ReDigi, 934 F. Supp. 2d at 655; Section 104 Report at 80 (“[W]hen the
owner of a lawful copy of a copyrighted work digitally transmits that work in a way that
exercises the reproduction right without authorization, section 109 does not provide a defense to
infringement.”).
  OmniQ Class 3 Initial at 4 (“In the absence of any reproduction, there is no need to apply fair
740

use analysis to justify it.”).
741   OmniQ Class 3 Reply at 20.
742   Tr. at 45:22–46:01 (Apr. 11, 2018) (Chatfield, SolaByte).
743   Tr. at 46:02–08 (Apr. 11, 2018) (Chatfield, SolaByte).

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In opposition, Joint Creators II contend that recent case law developments demonstrate
that it is “not only the case that it is unlikely that space-shifting is a fair use—it is clear
that space-shifting is not a fair use.” 744 Joint Creators II also claim that analyzing the
section 107 factors demonstrates that space-shifting is unlikely to be fair use. 745 They
disagree that having a single encrypted copy at the end of a space-shifting process
meaningfully alters the analysis. 746

In 2015, the Register recognized the consumer and policy appeal of the proposed
exemptions, as consumers who purchase a movie in one format can experience
frustration when they are unable to watch that film in a different format on another
device. 747 She noted, however, that “the section 1201 rulemaking is a carefully tailored
proceeding that is designed to incorporate, not replace, the determinations of Congress
and the courts.” 748 After careful review, the Register did “not find any fair use precedent
that sanctions broad space-shifting or format shifting.” 749 Since then, the Ninth Circuit,
in Disney Enterprises, Inc. v. VidAngel, Inc., rejected the contention that space-shifting is a
“paradigmatic example of fair use,” noting that “[t]he reported decisions unanimously
reject the view that space-shifting is fair use under § 107.” 750 In doing so, the court
credited the Register’s conclusion in the last rulemaking that “‘the law of fair use, as it
stands today, does not sanction broad-based space-shifting or format-shifting.’” 751 The
court ultimately concluded more narrowly that “even assuming space-shifting could be
fair use, [the defendant’s] service is not personal and non-commercial space-shifting.” 752

With regard to personal space-shifting, in light of the lack of record and in the absence of
clear supporting precedent, the Acting Register finds no basis to depart from the fair use




  Joint Creators II Class 3 Opp’n at 3, 17 (citing Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848,
744

862 (9th Cir. 2017)); Tr. at 61:01–05 (Apr. 11, 2018) (Williams, Joint Creators II).
745   Joint Creators II Class 3 Opp’n at 18–19 (asserting that all of the factors weigh against fair use).
746   Tr. at 68:19–70:10 (Apr. 11, 2018) (Williams, Joint Creators II).
747   2015 Recommendation at 119.
748   Id. at 120.
749   Id.
750VidAngel, 869 F.3d at 862 (citing A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1019 (9th Cir.
2001) and UMG Recordings, Inc. v. MP3.com, Inc., 92 F. Supp. 2d 349, 351 (S.D.N.Y. 2000). Notably,
the court considered, but did not credit, Recording Indus. Ass’n of Am. v. Diamond Multimedia Sys.,
Inc., 180 F.3d 1072, 1079 (9th Cir. 1999), as supporting the contention that space-shifting is fair
use. See id.
751   VidAngel, 869 F.3d at 862 (quoting 2015 Final Rule at 65,960).
752   See id.

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analysis and ultimate conclusion reached in the 2015 proceeding, where “the Register
[was] unable to determine that the proposed uses [were] noninfringing.” 753

As to OmniQ and SolaByte, the commercial nature and potential market effects of their
business models complicate the fair use analysis, and not in their favor.

Specifically, the first factor does not favor them, as they seek to reproduce, or enable
others to reproduce, audiovisual works for the same entertainment purposes as
originally intended; 754 OmniQ itself admits that its uses are not transformative. 755
Moreover, it is undisputed that both OmniQ and SolaByte are commercial enterprises. 756
Indeed, OmniQ intends “to build the world’s biggest video store.” 757 The second and
third factors heavily disfavor fair use, as the proposals would encompass motion
pictures and television programs that are likely to be highly creative in nature and at the
core of copyright’s protective purpose, 758 and because the proposals are predicated on a
desire to reproduce entire copyrighted works. 759

With regard to the fourth factor, the record suggests that OmniQ’s and SolaByte’s
businesses may negatively impact the market for or value of copyrighted works. Joint
Creators II provide substantial evidence of extensive markets for internet-based
distribution services for copyrighted audiovisual works, including digital rentals (e.g.,
iTunes, GooglePlay, Amazon Video, Vudu), online streaming and over-the-top services
(e.g., Hulu, Netflix, Amazon Video), and on-demand cable and satellite television
offerings (e.g., Comcast, Verizon Fios, AT&T U-verse, DIRECTV, DISH Network). 760 Joint
Creators II also highlight disc-to-digital services, like Vudu, and digital locker services,
like Movies Anywhere and Ultraviolet, that allow users to access content initially



753   See 2015 Recommendation at 122–24; see also 2012 Recommendation at 162–65.
754   See 2015 Recommendation at 122; 2012 Recommendation at 164.
755See OmniQ Class 3 Reply at 20 (“[I]t is true that the non-reproductive space-shifting is not
transformative of the work . . . .”) (internal quotation marks omitted).
  Tr. at 75:12–77:12 (Apr. 11, 2018) (Mitchell, OmniQ); Tr. 45:14–21 (Apr. 11, 2018) (Chatfield,
756

SolaByte).
757OmniQ Class 3 Initial at Ex. 4. While OmniQ’s comments suggest that it might permit others
to use its technology in different ways at some point in the future, these contentions are
speculative and do not change the purpose of the commercial uses OmniQ itself seeks to make
and for which it is asking an exemption, which is primarily to create a content library for its
online video store.
758   See 2015 Recommendation at 122–23; 2012 Recommendation at 164.
759   See 2015 Recommendation at 123; 2012 Recommendation at 165.
  Joint Creators II Class 3 Opp’n at 3–11; see also Tr. at 163:11–164:04, 167:24–168:06 (Apr. 25,
760

2018) (Gilford, Movies Anywhere).

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purchased in a disc medium through an online platform (or across online platforms). 761
Finally, they introduce evidence that DVDs and Blu-ray discs bundled in “bonus packs,”
which include access to a separate online or downloadable copy, are sold at a higher
price point than is charged for just the disc by itself. 762 Opponents assert that the
proposed exemption, which could permit “unfettered personal copying” as well as
commercial competitors to these services, will harm these distribution models. 763

Proponents’ arguments to the contrary are not persuasive. They contend that their
space-shifting would produce a single, encrypted copy of the work and, in OmniQ’s
case, that only one customer could watch that copy at a time. 764 OmniQ further argues
that its space-shifting can “restore the benefits” of the first sale doctrine, but the
Copyright Office has previously concluded that the first sale doctrine should not apply
to digital transfers. 765 In light of proponents’ avowed intent to substitute their own non-
transformative, commercial services for the many preexisting licensed models identified
by opponents—including but not only by serving as “the world’s largest video rental
store”—the Acting Register concludes that the fourth factor disfavors proponents. 766

In balancing the section 107 factors, Acting Register finds that the non-transformative,
commercial uses proposed by OmniQ and SolaByte are disfavored. 767 Further, while the
law may one day clarify whether certain space-shifting uses, such as those of a purely
personal and noncommercial nature, are fair use, the record as submitted does not
support that conclusion currently. In sum, based on the relevant record, the Acting


  Joint Creators II Class 3 Opp’n at 7–9; Tr. at 162:04–180:13, Hearing Ex. 3-C (Apr. 25, 2018)
761

(Gilford, Movies Anywhere).
762   Joint Creators II Class 3 Opp’n at 6.
763   Id. at 19.
764   See OmniQ Class 3 Reply at 20; Tr. at 45:22–46:08 (Apr. 11, 2018) (Chatfield, SolaByte).
765   See OmniQ Class 3 Initial at 31; Section 104 Report at 80–101.
766See TVEyes, 883 F.3d at 180 (“Since the ability to re-distribute Fox’s content in the manner that
TVEyes does is clearly of value to TVEyes, it (or a similar service) should be willing to pay Fox for
the right to offer the content. By providing Fox’s content to TVEyes clients without payment to
Fox, TVEyes is in effect depriving Fox of licensing revenues from TVEyes or from similar
entities”); cf. MP3.com, 92 F. Supp. 2d at 352 (“Any allegedly positive impact of defendant’s
activities on plaintiffs’ prior market in no way frees defendant to usurp a further market that
directly derives from reproduction of the plaintiffs’ copyrighted works.”).
767In fact, SolaByte’s business model, at least as presented in this proceeding, appears similar to
one that was found to not qualify as fair use. See MP3.com, 92 F. Supp. 2d at 350–53 (finding no
fair use where a service created unauthorized copies of sound recordings from CDs on its
computer servers and then permitted subscribers to listen to those copies over the internet after
the service authenticated that the subscriber already owned a CD copy of the particular sound
recording).

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Register does not conclude that proponents’ space-shifting activities are likely
noninfringing under current law.

                    c. Causation

As discussed above, the Acting Register cannot conclude that the proposed uses are
likely noninfringing and, as discussed below, the record does not support a finding of
any cognizable adverse effects due to the prohibition on circumvention. As a result, she
cannot conclude that proponents’ inability to engage in their proposed uses are “clearly
attributable to implementation of a technological protection measure.” 768 Specifically as
to OmniQ’s contention that the availability of works on the secondary market (e.g., for
resale, rental, lending, or gifting) is being diminished by a shift from ownership of
copies to a “permissions-based,” “access economy,” assuming this is the case, the record
is insufficient to establish that section 1201 is the cause of any such purported harm. 769
Instead, the record may suggest that any contraction of the secondary market is the
result of an increasing consumer preference for online access over physical media. 770

                    d. Asserted Adverse Effects

Even if the Acting Register could conclude that the proposed uses are likely
noninfringing, there is not a sufficient record of cognizable adverse effects resulting
from section 1201 to warrant granting an exemption.

Under the first statutory factor, proponents argue that the overall availability of works
for public use is shrinking because the hardware and software needed to play disc media
are becoming less available in the marketplace. 771 They argue that online content
distribution platforms, taken in the aggregate, only offer a small and always-changing
fraction of the titles historically available on DVD and Blu-ray disc, and that the costs of
these services are unacceptable, especially where users already own the content in disc
form. 772

Opponents, as discussed above, provide evidence of alternatives to circumvention in the
form of a substantial number of online distribution platforms for accessing copyrighted


  2015 Recommendation at 16 (quoting Commerce Comm. Report at 37); see House Manager’s
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Report at 6.
769   See OmniQ Class 3 Reply at 11; see also OmniQ Class 3 Initial at 1–2, 5–13.
770   See Joint Creators II Class 3 Opp’n at 2–11.
771See OmniQ Class 3 Initial at 39, 42–44; Tr. at 83:04–13 (Apr. 11, 2018) (Chatfield, SolaByte); Tr.
at 8:08–14:08, Hearing Ex. 3-A at 10 (Apr. 11, 2018) (Chatfield, SolaByte).
  See OmniQ Class 3 Initial at 32–33, 39, Ex. 4; OmniQ Class 3 Reply at 10–15; Tr. 81:06–82:22
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(Apr. 11, 2018) (Chatfield, SolaByte); Tr. at 8:08–14:08, Hearing Ex. 3-A at 9 (Apr. 11, 2018)
(Chatfield, SolaByte).

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audiovisual works, the vast majority of which they claim exist as viable business models
only because of the ability to employ TPMs to protect the content from unauthorized
uses. 773 Joint Creators II disagree that movies are less available than before the rise of
digital distribution, or that proponents have established that there is actually any
content that can only be accessed on DVDs or Blu-ray discs. 774 They relatedly assert that
disc media remains readily accessible through available peripheral devices. 775 Joint
Creators II contend that the licensed online distribution platforms not only provide
many of the benefits of the first sale doctrine, but also offer additional benefits, such as
“portability, cross-platform compatibility, the ability to share multiple copies with
family or friends, the availability of cloud storage, and the ability to re-download copies
of purchased titles in the event of loss or even for convenience of storage.” 776 Joint
Creators II argue that space-shifting would directly compete with these existing online
distribution models, decreasing revenue from lawful sales of digital content and
ultimately threatening the viability of creative output made available commercially. 777

Based on the record, the Acting Register does not find that section 1201 is negatively
impacting the availability for use of copyrighted works. First, the record does not
indicate that hardware and software to play DVDs and Blu-ray discs are no longer
reasonably available on the market. Second, the record suggests that the services cited
by Joint Creators II are reasonable alternatives to circumvention. While some services
individually may have fewer titles than what is available on disc media, the record does
not support a finding that all of these services do. OmniQ seems to suggest that about
30,000 titles would be reasonable, as that is the number of titles it says one of the largest
video stores used to carry. 778 But at least one of the services listed by Joint Creators II,
Vudu, appears to have over 100,000 titles available for purchase or rental. 779 With regard
to the potential cost to consumers to repurchase content originally procured on disc
media, as the Register explained in the 2015 proceeding, “the 1201 exemption process is
meant to ensure that users have access to copyrighted works; it is not meant to


773   See DVD CCA & AACS LA Class 3 Opp’n at 3; Joint Creators II Class 3 Opp’n at 2–11, 19–20.
774   See Joint Creators II Class 3 Opp’n at 11–12, 20.
775   See id. at 20–21.
776   Id. at 25.
777See id. at 4–6, 21–22 (warning that in such a case, “copyright owners would be less likely to
make available lower priced options that limit the number of copies a consumer might make, or
which restrict platforms through which a work could be accessed”); see also Tr. at 67:10–68:16
(Apr. 11, 2018) (Williams, Joint Creators II) (“[I]t’s quite possible that prices would go up in the
first instance and a lot of these lower-priced offerings wouldn’t be available.”).
778   See OmniQ Class 3 Initial, Ex. 4; Tr. at 75:24–76:06 (Apr. 11, 2018) (Mitchell, OmniQ).
  See About Us, VUDU, https://www.vudu.com/content/movies/aboutus (last visited Sept. 27,
779

2018).

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guarantee consumers the ability to access content through their preferred method or
format.” 780 Certainly, this conclusion applies with at least equal force to SolaByte’s
desire to avoid securing licenses from copyright owners to build its commercial
streaming library and compete with an array of licensed platforms offering the same
content. 781 Further, Joint Creators II’s assertions that discs bundled with digital access
usually are priced at a premium 782 suggest that “consumers purchasing DVDs and Blu-
ray discs [without such features] are not necessarily harmed in economic terms.” 783

Regarding the second and third factors, proponents offer few arguments, with OmniQ
essentially providing examples of a teacher and a film critic seeking to use motion
pictures in their work. 784 OmniQ, however, seems to admit that the works could be
accessed by alternative means, such as “subscribing to a new monthly subscription
service,” “purchas[ing] a copy,” or borrowing it from an “inconvenient” source, such as
a library. 785 The mere inconvenience of obtaining alternative access is generally not an
adverse effect. 786

Turning to the effect of circumvention on the market for or value of copyrighted works,
OmniQ argues that its so-called “non-reproductive” space-shifting would have a
positive effect, because it would expand the secondary market for copies of the work. 787
Joint Creators II, on the other hand, assert that the uses would have a negative impact
because “space-shifting not only results in the generation of in-the-clear . . . copies that
can be disseminated widely, but also directly competes with authorized offerings.” 788
The Acting Register concludes that this factor disfavors the exemption. OmniQ’s claims
about the secondary market are speculative, and as discussed above, the market
currently offers consumers myriad online distribution models for accessing copyrighted
works.


780   2015 Recommendation at 124 (citing 2012 Recommendation at 163).
781   See Tr. at 44:13–45:13 (Apr. 11, 2018) (Chatfield, SolaByte).
782   See Joint Creators II Class 3 Opp’n at 6, 21–22.
783   2015 Recommendation at 124.
784   See OmniQ Class 3 Initial at 34–36.
785   See id. at 34.
  House Manager’s Report at 6; see Section 1201 Report at 121 (“[W]hether or not something is an
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adverse effect or a mere inconvenience can depend upon the costs and burdens involved in
making use of reasonable alternatives.”).
787   See OmniQ Class 3 Initial at 36.
  Joint Creators II Class 3 Opp’n at 23 (“OmniQ’s business model would lower the value of
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works because copyright owners who sell access to copies in one format at a particular price
point would be deprived of the ability to sell access to that work in other formats, or to charge
higher prices for bundled access to works in multiple formats.”).

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The Acting Register does not find any of proponents’ other arguments persuasive.
Accordingly, on the present record, the Acting Register cannot find that the inability to
engage in the proposed activities is adversely affecting, or in the next three years is
likely to adversely affect, the ability to make noninfringing uses of copyrighted works.

                   3. NTIA Comments

Unlike in prior rulemakings, where NTIA “supported limited versions of a
noncommercial space-shifting exemption . . . mainly in the interest of consumer
protection,” 789 NTIA agrees with the Acting Register that an exemption for this class is
not warranted in the present rulemaking. 790 NTIA acknowledges that the “legal status of
the concept of space-shifting remains a matter of dispute among copyright experts” and
that it “has not been explicitly established as non-infringing on the basis of the fair use
doctrine.” 791 Examining the four fair use factors, NTIA concludes that the “fair use
analysis generally weighs against granting the proposed exemptions.” 792 NTIA finds the
first factor to weigh in favor of De Pretis’s personal use but against OmniQ’s commercial
and non-transformative proposal; it finds the second factor to weigh against both; it
finds the third factor to either weigh against or be neutral as to both; and it finds the
fourth factor to weigh against fair use. 793

NTIA adds that “although [it] is sympathetic to the challenges encountered by those
who own copies of motion pictures in formats no longer compatible with modern
devices” and “[a]lthough noncommercial space-shifting might be a non-infringing use,
the proponents have not established in this proceeding that their specific proposal
would be non-infringing.” 794 Moreover, NTIA recognizes that “[p]roponents failed to
demonstrate that the ‘prevalence of [encrypted digital content] is diminishing the ability
of individuals to use these works in ways that are otherwise lawful.’” 795

                   4. Conclusion and Recommendation

Based on the record presented during the proceeding, the Acting Register cannot
conclude that the space-shifting activities advocated by proponents (and largely for
commercial purposes) are noninfringing, or that the prohibition on circumvention has,
or is likely to have, an adverse impact on noninfringing uses of the underlying

789   NTIA Letter at 37 n.184.
790   Id. at 37–38.
791   Id. at 37 & n.185.
792   Id. at 37.
793   Id. at 37–38.
794   Id.
795   Id. at 38 (quoting 2015 Recommendation at 15 (quoting Commerce Comm. Report at 37)).

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audiovisual works. The Acting Register therefore declines to recommend granting an
exemption for this class.

            D. Proposed Class 4: Audiovisual Works—HDCP/HDMI

                1. Background

                    a. Summary of Proposed Exemption

Proposed Class 4 concerns a petition from Andrew “bunnie” Huang (represented by
EFF) for an exemption “to make noninfringing uses of audiovisual works that are
subjected to High-bandwidth Digital Content Protection (HDCP).” 796 Huang describes
HDCP as “a protocol used to restrict content sent over High-Definition Multimedia
Interface (HDMI) cables,” 797 or “a standard for video transport from one device to
another.” 798 He explains that “[m]any devices that play video discs and video game
software encode their output using HDCP” and that “[t]his interferes with capturing the
output for subsequent noninfringing uses, such as fair use or automated analysis of
noncopyrightable elements of the content.” 799 Huang seeks an exemption for the “[f]ull
[r]ange of [n]oninfringing [u]ses of HDCP-[e]ncumbered [w]orks,” “not an exemption
that identifies a tiny sliver of noninfringing uses while leaving the rest prohibited.” 800
His petition notes that the “types of users who want access are, in the first instance,
Petitioner bunnie Huang, as well as a range of individuals including scholars, remixers,
video game enthusiasts, and businesses who use digital video playback devices.” 801

In addition to Huang, FSF filed comments generally supporting this exemption. 802 Class
4 was opposed by Joint Creators II, Digital Content Protection, L.L.C. (“DCP”),
Entertainment Software Association (“ESA”) and DVD CCA and AACS LA. 803




796   Huang Class 4 Pet. at 2.
797   Id.
798   Huang Class 4 Initial at 1.
799   Huang Class 4 Pet. at 2.
  Huang Class 4 Reply at 4; see also Huang Class 4 Initial at 5; Tr. at 173:20–21 (Apr. 24, 2018)
800

(Walsh, EFF).
801   Huang Class 4 Pet. at 3.
802During the public hearing, the Copyright Office heard from two additional individuals
supporting the exemption. See Tr. at 209:07–11 (Apr. 25, 2018) (Wiens, iFixit). In particular, one
stated that he has run into problems with HDCP when making video recordings for conferences
and public meetings, where laptop monitor outputs sometimes “default to having HDCP.” Tr. at
209:23–214:06 (Apr. 25, 2018) (Freeman, SaurikIT). Without a further factual record, the Acting
Register is unable to appropriately evaluate this concern. For example, it is not clear whether

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                    b. Overview of Issues

In their comments, opponents provide additional detail about HDCP. As described by
Joint Creators II:

           HDCP technologies protect high-value digital transmissions of motion
           pictures, television programs, video games, and audio against
           unauthorized interception and copying while a digital set-top box, disc
           player, video game console, or digital video recorder delivers the content
           to a television or computer for viewing. . . . The system is also designed
           to prevent HDCP-encrypted content from being played on unauthorized
           devices that expose works to copying, unauthorized viewing or listening,
           and redistribution. The technology enables a service provider to identify
           whether a particular receiver is authorized to receive the content before
           transmitting encrypted copyrighted works. If the receiver is an
           authorized device, the transmitter provides the content, but encrypts it to
           prevent interception. HDCP is recognized as the industry standard by
           content providers and device manufacturers. 804

DCP—which licenses HDCP—elaborates:

           When a user instructs the Source Device to play content protected by . . . a
           storage or streaming TPM, the Source Device decrypts and decompresses
           the content in preparation to transmitting it to another device. That
           Device is often a display, such as a high-definition TV (the Sink). If the
           source TPM requires link protection, HDCP authenticates the Sink. Then
           HDCP encrypts only small portions of the decrypted-decompressed
           content at a time when that portion is prepared for transmission across an
           HDMI connection to the Sink (an HDTV). The Sink then decrypts each
           portion when received. If it has the capability, the Sink can manipulate
           the content, e.g., provide picture-in-picture, overlay with different
           content, etc. . . . HDCP is agnostic as to the content. 805




HDCP is active when the output is being transmitted with the authority of the copyright owner
(e.g., the presenter who created it).
  DCP is a wholly owned subsidiary of Intel Corporation, which developed HDCP. DCP Class 4
803

Opp’n at 3 & n.6.
804   Joint Creators II Class 4 Opp’n at 5; see also ESA Class 4 Opp’n at 2, 4.
805DCP Class 4 Opp’n at 3 (citation omitted); see also DVD CCA & AACS LA Class 4 Opp’n at 3
(“[I]n the United States all High Definition and Ultra High Definition digital televisions have
inputs for HDMI transmissions.”).

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Huang says that the “master key” for HDCP was uploaded to the internet in 2010, 806 but
participants disagreed whether the current version of HDCP has been cracked. 807

Although the Copyright Office has not previously considered the precise issues
presented here, Huang is a plaintiff in ongoing litigation against the Library of Congress
and the Copyright Office concerning section 1201. In that judicial proceeding, Huang—
who resides in Singapore—alleges that he is “the inventor of the ‘NeTV’ devices for
editing high-definition digital video streams,” which has “a limited ability to
superimpose pixels onto an HDMI stream, but its functionality is dramatically restricted
because it is designed not to circumvent HDCP.” 808 Huang appears to be developing a
“NeTV2” which he says will be capable of adding “opaque text overlay” to live
encrypted video streams “without ever decrypting the video stream,” and on
unencrypted video feeds, will provide “full access to the entire video stream” to let users
“arbitrarily manipulate pixels in real time.” 809

According to his complaint, Huang, through his company Alphamax, LLC, also seeks to
develop and commercially distribute a device called a “NeTVCR,” which would
circumvent HDCP to, among other things, “save content for later viewing, move content
to a viewing device of the user’s choice, or convert content to a more useful format.” 810
Huang’s written comments do not mention Alphamax, though his counsel stated that
the NeTVCR does not yet exist, 811 and when asked, consistently represented that the
proposal only pertains to the personal uses of individuals. 812 This makes sense given


806   Huang Class 4 Initial at 2.
  See Tr. at 174:16–175:18 (Apr. 24, 2018) (Walsh, EFF; Burger, DCP; Taylor, DVD CCA & AACS
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LA).
808Complaint for Declaratory & Injunctive Relief ¶¶ 6, 89, 98, Green v. U.S. Dep’t of Justice, No.
1:16-cv-01492-EGS (D.D.C. July 21, 2016); see also Tr. at 159:14–160:05, 170:19–171:05 (Apr. 24,
2018) (Walsh, EFF) (stating that “because it doesn’t circumvent, it can’t achieve any of the uses
that we’re talking about here,” such as creating transparent overlays, picture-in-picture, rescaling
the image, or space-, time-, or format-shifting, but also stating that “it enables a lesser form of
some of the uses that we’re talking about”).
  NeTV2, CROWD SUPPLY, https://www.crowdsupply.com/alphamax/netv2 (last visited Sept. 27,
809

2018).
810Complaint for Declaratory & Injunctive Relief ¶¶ 90–91, 93, 99–102, Green v. U.S. Dep’t of
Justice, No. 1:16-cv-01492-EGS (D.D.C. July 21, 2016).
811   Tr. at 155:21–22 (Apr. 24, 2018) (Walsh, EFF).
812See, e.g., Tr. at 158:18–159:05 (“[A] person, to take advantage of the exemption, needs to create
the technology to do that for their own personal use. So do you mean would Dr. Huang be able
to create a device [such as the NeTVCR] for his personal use to take advantage of the exemption?
The answer is yes.”); Tr. at 155:12–17 (Apr. 24, 2018) (Walsh, EFF) (suggesting that the NeTVCR is
“outside of the scope of the rulemaking”). Consequently, the Acting Register does not consider

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that distributing a device such as the NeTVCR may also be a trafficking violation under
section 1201(a)(2). Indeed, an overarching contention from opponents is that the true
aim of Huang’s proposal is to create a commercial market for his NeTVCR, which they
argue would enable large-scale piracy of motion pictures. 813

                2. Discussion

                    a. Scope of the Proposed Class

Huang seeks an extraordinarily broad exemption for all audiovisual works in any
medium for all noninfringing uses, the only limitation being that the work be
encumbered by HDCP when passing over HDMI. Opponents object, arguing that the
statute does not permit such a broad exemption. 814

The Acting Register agrees—the proposal is broader than the statute can bear. To start,
it does not seem to constitute “a particular class of copyrighted works” within the
meaning of section 1201(a)(1). 815 Congress intended for a class to be “a narrow and
focused subset of the broad categories of works . . . identified in section 102 of the
Copyright Act,” but audiovisual works are themselves a section 102 category. 816 The
Office has suggested that while a class “might be defined in part by reference to . . . the
access control measures applied to them[, d]efining an exemption solely by reference to
. . . the access control measures applied to a work . . . would be inconsistent with
Congress’s intent in directing the Register and Librarian to define a ‘particular class’ of
‘works.’” 817 Regardless, because HDCP is the industry standard for protecting



Huang’s proposal to cover development or distribution of the NeTVCR by his company
Alphamax.
813See DCP Class 4 Opp’n at 13; Joint Creators II Class 4 Opp’n at 4, 15–17; Tr. at 176:09–177:03
(Apr. 24, 2018) (Williams, Joint Creators II) (“I think the Office has been hesitant rightly to grant
exemptions where it almost invites the market to be created for a certain type of tool. . . . This is
circulation of a device that could really lead to a lot of unlawful copying, and it’s a device that
currently doesn’t exist . . . .”); Tr. at 168:01–24 (Apr. 24, 2018) (Burger, DCP) (“This proceeding is
at odds with the filing in the Federal District Court that all of a sudden we’re magically
transforming a person who wants to sell a commercial product to do all this to just be doing it for
himself. . . . Once you start letting Dr. Huang do this, then I don’t know what we’re going to be
up against in terms of illegitimate boxes out there that are not permitted by the law.”).
814See DCP Class 4 Opp’n at 1–2, 13–14; ESA Class 4 Opp’n at 8; Joint Creators II Class 4 Opp’n at
4, 10.
815   17 U.S.C. § 1201(a)(1)(C).
  2015 Recommendation at 17 (omission in original) (emphasis omitted) (quoting Commerce
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Comm. Report at 38).
817   See id. (citing 2006 Recommendation at 9–10, 15–20).

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audiovisual works in transit to a display device, limiting the proposal this way does not
very meaningfully focus the scope beyond the starting point of all audiovisual works.
For this reason alone, the Acting Register cannot recommend granting the request.

Huang’s proposal is also overbroad for other reasons. As the 2015 rulemaking stated:

           A mere requirement that a use be “noninfringing” or “fair” does not
           satisfy Congress’s mandate to craft “narrow and focused” exemptions.
           For this reason, the Register has previously rejected broad proposed
           categories such as “fair use works” or “educational fair use works” as
           inappropriate. An exemption should provide reasonable guidance to the
           public in terms of what uses are permitted, while at the same time
           mitigating undue consequences for copyright owners. 818

Here, the Acting Register cannot make the statutorily required determination that a
particular use is likely noninfringing when the record does not sufficiently specify the
uses; while some examples are supplied, there remain innumerable unspecified
potential uses. 819 Similarly, the Acting Register cannot determine if a user is being
adversely affected by the prohibition on circumvention without a fuller description of
the uses allegedly being prevented. 820 Huang himself seems disinterested in curing this
potential deficiency, rather seeking “the full scope of non-infringing uses.” 821

                    b. Works Protected by Copyright

This class concerns audiovisual works, including motion pictures and video games.
There is no dispute that at least some of these works are protected by copyright.

                    c. Asserted Noninfringing Uses

Even if the class were limited to the uses described in Huang’s written comments, the
record does not adequately demonstrate they are likely noninfringing. Huang’s
comments list a number of uses that, for the most part, can broadly be categorized as
relating to text and visual overlays, rescaling and remixing video feeds, content analysis

818Id. at 100 (internal quotation marks omitted); see also 2006 Recommendation at 17–19; 2003
Recommendation at 125–26 (rejecting proposed class for “a variety of sometimes unspecified
claimed fair uses”).
819See 2015 Recommendation at 15 (“[T]here is no ‘rule of doubt’ favoring an exemption when it
is unclear that a particular use is a fair or otherwise noninfringing use. Thus, a proponent must
show more than that a particular use could be noninfringing. Rather, the proponent must
establish that the proposed use is likely to qualify as noninfringing under relevant law.”) (citation
omitted).
820   See Section 1201 Report at 120–21.
821   Tr. at 173:20–21 (Apr. 24, 2018) (Walsh, EFF); see also Huang Class 4 Reply at 4.

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and alteration, and time-, space-, and format-shifting. 822 Huang contends that they are
all transformative and thus “unlikely” to cause market harm, involve “works that have
been previously published and usually widely disseminated,” “do not borrow an undue
amount from the original [work],” and may “fall within the preamble [uses] of Section
107.” 823 He adds that “[i]n many cases, . . . the rescaled or modified image is displayed
onscreen and then gone. There is no possibility of substitution because an authorized
copy was used as the input and no lasting copy or derivative work results.” 824 With
regard to space- and format-shifting, Huang acknowledges that the Register “previously
rejected exemption requests to engage in these activities,” but argues that “[t]he
comments of proponents of [the space- and format-shifting class] in the 2015
Rulemaking provide an ample legal and factual basis to conclude that” these activities
are fair use. 825

Opponents strongly disagree. 826 For example, Joint Creators II argue that “Huang’s
cursory discussion of whether his list of hypothetical uses would qualify as fair fails to
establish that they would,” for “[i]t is not enough to simply assert that everything at
issue is transformative and thus that no copyright owner would be harmed.” 827 ESA
states that “[i]t simply is not feasible to evaluate whether all the uses that Mr. Huang
imagines as covered by the proposed exemption are infringing” and that while “[s]ome


822 See Huang Class 4 Initial at 2–3 (providing illustrations of potential uses, including “displaying
a live political debate rescaled so that the text of a commentator’s live blog is presented alongside
it,” “rescaling the display of a work so that the text or visual overlay can appear alongside it to
notify a home owner that a door has opened or remind a person that they need to take their
medicine, or altering a work in real-time to block visual triggers of epilepsy or trauma,”
“record[ing] a video gamer’s gameplay and remix[ing] it with audio and visual commentary,”
“business[es] rescaling the video to display targeted advertisements in the margins,”
“identify[ing] content inappropriate for minors”); Huang Class 4 Reply at 4–5 (providing
illustrations of potential uses, including “eliminat[ing] portions of programming that disturb a
person with Alzheimer’s who is soothed by other portions of the program,” “engag[ing] in
realtime subtitling in [Huang’s] preferred languages,” and “space-, time-, and format-shift[ing]
favorite media to a format that will be reliably supported years from now”).
823   Huang Class 4 Initial at 3–4; see also Tr. at 121:04–05 (Apr. 24, 2018) (Walsh, EFF).
824   Huang Class 4 Initial at 4.
825Id.; see also Huang Class 4 Reply at 3 (making additional arguments that time-, space-, and
format-shifting are “[e]stablished [f]air [u]ses with a [l]ong [p]edigree”).
826See DCP Class 4 Opp’n at 10–11; ESA Class 4 Opp’n at 2, 8–9; Joint Creators II Class 4 Opp’n at
3, 11–13.
827Joint Creators II Class 4 Opp’n at 13; see also DCP Class 4 Opp’n at 10 (calling Huang’s
statements “blanket,” “conclusory,” and “bare,” and arguing that he “ignores the Supreme
Court’s explicit call in Campbell v. Acuff-Rose Music, Inc. for case-by-case analysis of fair use
claims”).

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such uses might constitute fair uses,” “Mr. Huang does not put enough parameters
around his proposal to ensure that would necessarily be the case.” 828 DCP analyzes each
of the four fair use factors, including asserting that the proposed potential uses are not
transformative, stating that “[n]either adding commercials and subtitles to an
audiovisual work, nor recording an entire protected-work in the clear, sufficiently alters
the original work’s meaning or expression.” 829 In addition, DCP contends that under the
fourth factor, “[t]he end result of circumventing HDCP would be an in-the-clear copy of
entire works originally protected from infringing distribution” and that, “[a]s history
teaches, once a copy is available in the clear, massive online infringement is inevitable
and the negative effect on the market for the work will be substantial.” 830 Joint Creators
II further argue that “at least some of the uses Huang claims he wants to facilitate are
likely infringing,” such as space-, and format-shifting, 831 while others, such as
identifying content inappropriate for minors and the commercial expression Huang
seeks to enable are “legally suspect.” 832

The Acting Register largely agrees with opponents. While some of Huang’s illustrative
uses may potentially be fair use depending upon factual circumstances, that mere
possibility is not enough. Instead, “[t]he statutory language requires that the use is or is
likely to be noninfringing, not merely that the use might plausibly be considered
noninfringing.” 833 Here, the record lacks the requisite detail and legal support for the
Acting Register to conclude that the uses listed by Huang are or are likely to be
noninfringing.

Even though fair use is a “fact-specific inquiry requiring case-by-case consideration,” 834
Huang makes no effort to explain why, for example, each of his proposed uses is

828 ESA Class 4 Opp’n at 8–9 (“Mr. Huang describes potential uses in vague and largely
categorical terms, and provides a few stylized examples within his categories. This is
insufficient.”) (citation omitted); see also Tr. at 127: 14–17 (Apr. 24, 2018) (Williams, Joint Creators
II) (“[T]here’s no real meat on the bones for most of these uses to enable you to analyze whether
they’re fair or not in all instances.”).
829   DCP Class 4 Opp’n at 10.
830   Id. at 11.
  Joint Creators II Class 4 Opp’n at 11–12 (first citing 2015 Recommendation at 123; then citing
831

VidAngel, 869 F.3d at 862; and then citing 2015 Recommendation at 121).
  Id. at 12 (arguing that rescaling video to display advertisements could “involve infringing the
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adaptation right or public performance right” and that with regard to identifying inappropriate
content, as VidAngel demonstrates, “[u]nderstanding the details of the process he is suggesting
would be critical to assess whether Huang is describing a lawful use”); see also Tr. at 156:25–
157:07 (Apr. 24, 2018) (Williams, Joint Creators II).
833   2015 Recommendation at 15.
834   2012 Recommendation at 40 (citing Campbell, 510 U.S. at 577).

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transformative. Instead, he baldly states that they are and notes that “many of the uses
. . . fall within the preamble of Section 107.” 835 It is well established, however, that not
every use engaged in for one of the purposes listed in the preamble is necessarily a fair
use. 836 Similarly, Huang provides no evidence to support his conclusion that “market
harm [is] unlikely” for each particular use. 837 As the Supreme Court has instructed, a
“proponent would have difficulty carrying the burden of demonstrating fair use without
favorable evidence about relevant markets.” 838 Huang’s assertion that these wide-
ranging uses “do not usurp the market for the original works” 839 fails to consider
“whether unrestricted and widespread conduct of the sort engaged in by the [proponent
of fair use] would result in a substantially adverse impact on the potential market for the
original” work, including “the market for derivative works.” 840 Nor is the law
surrounding Huang’s contention that transformative uses “lie outside of any market that
copyright owners may legitimately monopolize” as clear cut as he supposes. 841

These deficiencies are best illustrated by way of some specific use cases. Huang
proposes to identify and analyze content to then flag, block, alter, and filter it. 842 As
Disney Enterprises, Inc. v. VidAngel, Inc. demonstrates, the way in which content is filtered
can be determinative of whether or not it is noninfringing. 843 There, the court
distinguished one company’s method of content filtering, which involved making an


835   Huang Class 4 Initial at 3.
  See Harper & Row, 471 U.S. at 561 (finding no fair use despite the use being for the preamble
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purpose of “news reporting”; explaining that the preamble “listing was not intended . . . to single
out any particular use as presumptively a ‘fair’ use”).
837   Huang Class 4 Initial at 3–4.
838Campbell, 510 U.S. at 590 & n.21 (“Even favorable evidence, without more, is no guarantee of
fairness.”).
839   Huang Class 4 Initial at 3–4.
840   Campbell, 510 U.S. at 590 (internal quotation marks and ellipses omitted).
841Huang Class 4 Initial at 4 (citing HathiTrust, 755 F.3d 99). While in HathiTrust, the Second
Circuit stated that “any economic ‘harm’ caused by transformative uses does not count because
such uses, by definition, do not serve as substitutes for the original work,” 755 F.3d at 99, the
court subsequently explained that “[e]ven if the purpose of the copying is for a valuably
transformative purpose, such copying might nonetheless harm the value of the copyrighted
original if done in a manner that results in widespread revelation of sufficiently significant
portions of the original as to make available a significantly competing substitute,” Google Books
804 F.3d at 223–24 (“The question for us is whether [the use], notwithstanding its transformative
purpose, does that.”). The Second Circuit later found market harm even where the use was “at
least somewhat transformative.” TVEyes, 883 F.3d at 180–81.
842   See Huang Class 4 Initial at 3; Huang Class 4 Reply at 4.
843   See 869 F.3d 848 (9th Cir. 2017).

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infringing reproduction, from another company’s method, which did not make a copy
but rather involved a noninfringing fast-forwarding device that used video time codes to
skip scenes or mute audio. 844 Notably, the Ninth Circuit found that “[a]lthough
removing objectionable content may permit a viewer to enjoy a film, this does not
necessarily” mean that it is a transformative use. 845 Huang provides no details as to
whether his real-time content flagging, blocking, altering, and filtering uses would
require the creation of a reproduction and fails to provide specific evidence that such
uses are likely to constitute fair use or satisfy the conditions of 17 U.S.C. § 110(11). 846

Similarly, Huang proposes to engage in “realtime subtitling in his preferred languages,”
including for educational or personal reasons. 847 But at least one circuit has described
translations as a “[p]aradigmatic example[] of [a] derivative work[]” 848 that “do[es] not
involve the kind of transformative purpose that favors a fair use finding.” 849 While a
translation might potentially be fair use under the right circumstances, Huang has not
provided sufficient evidence or argument to that effect. 850

Huang also relies on comments submitted in the 2015 proceeding to support his
arguments about space- and format-shifting. 851 In doing so, he even acknowledges that
the Register has previously rejected these arguments. 852 By failing to point to any
intervening change in law, Huang has not made an adequate showing that space- and
format-shifting are likely noninfringing uses. 853


844   See id. at 856–57, 860.
845   Id. at 861.
846See 17 U.S.C. § 110(11) (authorizing “the making imperceptible . . . of limited portions of audio
or video content of a motion picture” in connection with private home viewing under specified
conditions).
847   Huang Class 4 Reply at 5; see Tr. at 145:17–146:03 (Apr. 24, 2018) (Walsh, EFF).
848   Google Books, 804 F.3d at 215 (quoting HathiTrust, 755 F.3d at 95).
849Id. at 215; see also Nihon Keizai Shimbun, Inc. v. Comline Bus. Data, Inc., 166 F.3d 65, 72–73 (2d Cir.
1999) (holding that making and selling English translations of Japanese news articles was not fair
use, reasoning that despite being “for the purpose of news reporting,” the translations were “not
in the least transformative,” and “compete[d] with and supersede[d]” the copyright owner’s own
English versions of its articles) (internal quotation marks omitted).
850   Cf. Class 2 (discussing lack of markets for re-captioning and re-describing a program).
851   See Huang Class 4 Initial at 4; Huang Class 4 Reply at 3.
852   See Huang Class 4 Initial at 4.
853See also Class 3. Moreover, although Huang points to examples noted in Sony Corp. of America
v. Universal City Studios, Inc., those examples concerned “time shifting,” defined as “record[ing] a
program [one] cannot view as it is being televised [] to watch it once at a later time.” 2015
Recommendation at 121 (alterations in original) (quoting Sony, 464 U.S. at 421); see Sony, 464 U.S.

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As these examples demonstrate, the deficient record and lack of legal support prevent
the Acting Register from being able to conclude that the myriad uses Huang lists are, as
a general matter, likely to be noninfringing.

                    d. Causation

The causation element asks whether Huang’s inability to engage in his proposed uses is
“clearly attributable to implementation of a technological protection measure.” 854
Opponents argue that because HDCP is a link protection that is agnostic as to what it is
encrypting, HDCP itself does not prevent the uses Huang seeks. 855 Instead, they say, the
TPMs or functional capabilities on relevant source or display devices are what limit
Huang’s ability to engage in his desired uses. 856 Opponents assert that Huang should
instead seek exemptions for the source TPMs that control the relevant functionality on
the devices and become moot if HDCP is circumvented. 857 Huang disputes this, stating
that “[c]ircumventing HDCP is the most logical point to access works for the specified
uses.” 858

The Acting Register finds the question of whether the alleged impacts on the proposed
uses are sufficiently attributable to HDCP unnecessary to resolve; as noted, she cannot
conclude that the proposed uses are likely noninfringing, and the record does not
support a finding of any cognizable adverse effects. Because Huang has failed to



at 455 n.40. Huang, in contrast, seeks to convert his media “to a format that will be reliably
supported years from now” and for “archiving” purposes.” Huang Class 4 Reply at 5. This
“practice of ‘librarying,’ or maintaining long-term copies of works,” however, is precisely the
type of activity that, as the Register has repeatedly explained, “[t]he Court declined to address.”
2015 Recommendation at 121 (citing Sony, 464 U.S. at 422–23, 442); see also 2012 Recommendation
at 162–63; 2003 Recommendation at 106.
854   2015 Recommendation at 16 (quoting Commerce Comm. Report at 37).
855See DCP Class 4 Opp’n at 2–3, 5 (“HDCP does not impose any restrictions on the content’s use
that are not otherwise imposed by the source TPM or by the capabilities of the source or viewing
device . . . . Therefore, other than the functions performed by the NeTVCR, which would enable
the copying and manipulation of content being transmitted via HDMI using HDCP, none of
Huang’s categories of uses are actually prevented by HDCP itself.”); Joint Creators II Class 4
Opp’n at 15.
  See DCP Class 4 Opp’n at 2–5; ESA Class 4 Opp’n at 4–5 (“[A]ny adverse effects stem from the
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choice of input/output ports and/or functionality implemented in the devices, not from the
prohibition on circumventing HDCP.”).
857See DCP Class 4 Opp’n at 6–7, 14; DVD CCA & AACS LA Class 4 Opp’n at 2–3
(“[C]ircumventing the HDMI/HDCP downstream link in this chain necessarily means that the
original protection of the data on the disc has been rendered moot.”).
858   Huang Class 4 Reply at 4; see Tr. at 119:11–120:22, 138:13–139:01 (Apr. 24, 2018) (Walsh, EFF).

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establish legally sufficient adverse effects on a noninfringing use, he cannot satisfy the
causation requirement in any event.

                    e. Asserted Adverse Effects

Even if the Acting Register could conclude that the proposed uses are likely
noninfringing, there is not a sufficient record of cognizable adverse effects. Again, the
overarching deficiency is that the record is simply too bare, especially on such a broad
request, to “show that adverse effects are not merely possible, but probable.” 859

Under the first statutory factor, Huang argues that “[s]ince many videos and video
games are only available in formats subject to TPMs, the exemption is necessary to make
them available for the uses authorized by copyright and other law.” 860 He further
contends that “the exemption will not harm market incentives to make works
available.” 861 Opponents assert that HDCP has been critical to enabling the current
digital ecosystem that makes works more readily available to consumers, and that
bypassing HDCP would diminish the availability of works by encouraging infringement
and by discouraging use of HDMI to provide authorized access to works. 862 They note
that Huang’s “list [of uses] is not exclusive but ‘includes’ a recitation of general uses
without demonstrating any specific adverse effects on users.” 863 They claim that “[t]he
majority of the examples that are given in Dr. Huang’s petition and in the reply are free
to air examples” that “don’t have [a] TPM,” and that “for most of the content that flows
over HDMI, it’s unencrypted.” 864

Opponents further argue that Huang “ignores many alternatives to circumvention,
including the existing exemptions for creating criticism and commentary of motion
pictures; licensed devices that enable consumers to engage in the activity he claims he


859   Section 1201 Report at 120–21.
860   Huang Class 4 Initial at 4–5.
861   Id. at 5.
862DCP Class 4 Opp’n at 3 (“[HDCP] has played a critical supporting role in facilitating the
growth of the digital content distribution ecosystem.”); ESA Class 4 Opp’n at 5, 9; Joint Creators
II Class 4 Opp’n at 6–10 (stating “standards [like HDCP] have led to broader availability of
content and devices designed for accessing entertaining motion pictures, audio, and video
games” and providing examples, such as online streaming services and over-the-top services,
cable and satellite offerings including on-demand and remote access options, and digital rentals).
  DCP Class 4 Opp’n at 7; see also Joint Creators II Class 4 Opp’n at 15 (“[Huang] fails to explain
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how HDCP or DCP licensing practices prevent these activities or how he intends to enable them.
As the Register has concluded in other contexts, it is not enough to speculate about hypothetical
uses.”).
864   Tr. at 122:16–123:08 (Apr. 24, 2018) (Burger, DCP).

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will facilitate; and his own device, the ‘NeTV,’ which appears to enable much of the
conduct, he claims, without circumvention.” 865 For example, Joint Creators II explain
that “if you’re accessing a streaming service on your laptop . . . and you’re not running a
cable from your laptop to your TV, that doesn’t implicate HDCP” or “[i]f you’re viewing
a smart TV and connecting directly to the internet to view a streaming service instead of
running it through a set-top box and an HDMI cable, that doesn’t implicate HDCP.” 866
They also suggest that a user might be able to use the existing smart TV jailbreaking
exemption to create an app that, without circumventing HDCP, can perform certain
uses, such as real-time translation. 867 Another example, raised by multiple participants,
is that, in addition to numerous televisions that can achieve picture-in-picture or split
screen uses, individuals can simply watch one thing on TV while using another device,
like a laptop, smartphone, or tablet, to simultaneously view other content. 868 Regarding
Huang’s desire to “recapture the functionality of VCR machines,” 869 opponents assert
that “[m]any of today’s Digital Video Recorders (‘DVRs’) not only have ‘recaptured’
VCR functionality, they have surpassed it.” 870 DCP provides a detailed appendix listing
numerous other purported alternatives to the uses proposed by Huang. 871

In response, Huang argues that “[i]t is not reasonable to require users . . . to acquire new
display devices to make noninfringing uses that they could achieve with existing
technology via circumvention.” 872 Huang states that “many of the examples involve the
kind of entertainment works like movies, etc., that by admission are typically
encumbered by HDCP” and that “many playback devices default to” HDCP which
“cannot be disabled,” even for “over-the-air” broadcasts. 873 Huang contends that “many
of these features don’t exist,” such as the ability to “connect your home assistant to your
television and have a blended overlay of information from your home assistant and



  Joint Creators II Class 4 Opp’n at 4, 13–15 (listing alternatives that purportedly enable a
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number of Huang’s proposed uses); see also ESA Class 4 Opp’n at 3–4, 7 (“Existing alternatives
can be used to facilitate most or all of the display options that Mr. Huang identifies.”).
866   Tr. at 158:05–13 (Apr. 24, 2018) (Williams, Joint Creators II).
867   See Tr. at 147:16–21 (Apr. 24, 2018) (Williams, Joint Creators II).
868See DCP Class 4 Opp’n at Ex. A, at 2; ESA Class 4 Opp’n at 4, 7; Joint Creators II Class 4 Opp’n
at 14.
869   Huang Class 4 Initial at 3.
870   DCP Class 4 Opp’n at 9, Ex. A at 5–6; see also Joint Creators II Class 4 Opp’n at 7, 13.
  See DCP Class 4 Opp’n at Ex. A. DCP noted that there was insufficient market demand for
871

some of Huang’s proposed uses. See Tr. at 149:19–150:26, 182:13–24 (Apr. 24, 2018) (Burger, DCP;
Williams, Joint Creators II).
872   Huang Class 4 Reply at 2; see also Tr. at 132:13–25 (Apr. 24, 2018) (Walsh, EFF).
873   Tr. at 123:19–25, 124:08–10 (Apr. 24, 2018) (Walsh, EFF).

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whatever you’re trying to watch.” 874 Huang also asserts that his NeTV has limited
functionality and cannot create transparent overlays, rescale the image, or time-, space-,
or format-shift. 875

Based upon the record, the Acting Register cannot conclude that the overall availability
for use of copyrighted works has been diminished or is likely to be in the next three
years absent an exemption. Opponents set forth a number of concrete examples of
potential alternatives to circumvention that Huang fails to meaningfully challenge. For
example, Huang fails to explain why using an existing laptop, smartphone, or tablet
while watching TV, or even having multiple windows open on a computer, is an
inadequate alternative to picture-in-picture, split screen, and certain rescale uses. While
Huang argues that his NeTV device cannot create transparent overlays, he fails to
explain why the opaque overlays that the NeTV does generate are inadequate for many
of the described uses, such as smart home and home assistant messages, reminders, and
alerts. Huang also fails to describe why current DVRs on the market, along with the
myriad download, rental, streaming, on-demand, disc-to-digital, locker, and remote
access options offered by copyright owners (discussed in more detail above in Class 3)
are inadequate for his needs. In short, Huang has failed to meaningfully demonstrate
that any burden associated with these alternatives rises above the level of a mere
inconvenience.

Given the scope of the request, there is at least a possibility that there may not be
reasonable alternatives to each and every use listed by Huang. But even so, the statutory
analysis does not change. Huang has sought a broad exemption for numerous uses,
many of which can be achieved with reasonable alternatives. The Acting Register is not
persuaded that the overall availability for use has been or is likely to be diminished in the
next three years.

Finally, specifically regarding video games, Huang seeks to record gameplay and remix
it with commentary, and asserts that some gaming consoles, viz., the PlayStation 3,
“use[] HDCP that cannot be disabled through the user interface.” 876 Opponents contend
that modern consoles already permit users to capture, edit, livestream, and share
gameplay videos, and remix gameplay with audio and visual commentary. 877 They note
that there currently exists a thriving ecosystem for commenting on and sharing




874   Tr. at 144:25–145:04 (Apr. 24, 2018) (Walsh, EFF).
875   See Tr. at 159:14–160:05, 170:19–171:05 (Apr. 24, 2018) (Walsh, EFF).
876   Huang Class 4 Initial at 2.
  See DCP Class 4 Opp’n at 8, Ex. A, at 4–5; ESA Class 4 Opp’n at 2, 4–7; Joint Creators II Class 4
877

Opp’n at 15.

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gameplay. 878 Huang replies that “[t]he very fact that it has become a feature in modern
consoles demonstrates that gaining DRM-free access to audiovisual works output from
game consoles is both in demand and broadly acceptable to rightsholders.” 879

The participants seemingly agree that modern consoles permit the uses Huang seeks. 880
When asked whether other consoles beyond the PlayStation 3 do not permit these uses,
Huang’s counsel could not name any. 881 Examining the PlayStation 3, HDMI appears to
be one of several video output options that also include component and composite
video. 882 Huang has not demonstrated that using one of these other outputs is not a
reasonable alternative.

Regarding the second and third statutory factors, Huang generally claims that HDCP
constrains various favored uses without providing any concrete evidence that HDCP
encryption is currently inhibiting those uses from otherwise flourishing. 883 Opponents
contend that a number of favored uses can already be accomplished via existing
exemptions; 884 Huang agrees that at least some of his uses are already covered. 885 On
this record, the Acting Register is not persuaded that an exemption is warranted under
these factors.

Turning to the effect of circumvention on the market for or value of copyrighted works,
Huang argues that because the user “already has the ability to view [the content] on an
HDCP-enabled playback device,” “[t]he copyright owner has already been


  See ESA Class 4 Opp’n at 2, 6–7. Opponents also contend that “in many instances, HDCP is not
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even activated when gameplay is transmitted through the HDMI output of a console.” Id. at 4.
879   Huang Class 4 Reply at 4.
880   See id.
881   See Tr. at 126:20–25 (Apr. 24, 2018) (Walsh, EFF).
882See Huang Class 4 Initial at 2 n.2 (citing James T. Wood, How to Disable HDCP on a PS3, OUR
PASTIMES (Sept. 15, 2017), https://ourpastimes.com/how-to-disable-hdcp-on-a-ps3-12612586.html
(describing component and composite outputs on PS3)); Video Output Settings, PLAYSTATION 3
USER’S GUIDE, http://manuals.playstation.net/document/en/ps3/current/settings/videooutput.html
(last visited Sept. 27, 2018) (composite video cable supplied with console).
883   See Huang Class 4 Initial at 5.
884See DCP Class 4 Opp’n at 12 (“[T]o the degree source TPMs prevent educational uses . . .
educators will be able to do so under the existing/renewed education exemptions or new
exemptions . . . .”) (internal quotation marks omitted); ESA Class 4 Opp’n at 10 (“[P]reservation
and study of video games is addressed adequately by the existing video game preservation
exemption.”); Joint Creators II Class 4 Opp’n at 13–14; Tr. at 173:25–26 (Apr. 24, 2018) (Williams,
Joint Creators II) (“I think that some of these activities are clearly covered by the existing
exemptions.”).
885   See Tr. at 173:05–22 (Apr. 24, 2018) (Walsh, EFF).

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compensated.” 886 Huang cursorily alleges that circumventing for his listed uses “does
not harm the market for any copyrighted works,” and would instead “increase the value
of copyrighted works by enabling new, important uses of those works.” 887 Huang
further asserts that because “HDCP isn’t difficult to circumvent,” it “is not operating to
prevent people from [engaging in piracy] if they don’t care about adhering to the
law.” 888

Opponents assert that “HDCP is a critically important component of the secure
ecosystem through which content is delivered for home entertainment” 889 and that it
“preserves the incentive to develop and disseminate expressive works” through the
security it offers. 890 They contend that this is exactly what section 1201 was intended to
do—to encourage copyright owners to make their works available digitally and foster
new means of distribution by providing reasonable assurances against fears of piracy. 891
Opponents argue that Huang’s request “ignores the threat of piracy entirely and brushes
over the fact that what he seeks to do is to distribute an illegal circumvention tool.” 892
They contend that an exemption “is likely to promote a substantial amount of other
activity that is infringing” because “users could intercept and reproduce, retransmit, or
otherwise infringe the copyrights in valuable copyrighted works more readily than is
currently the case in the secure environments in which HDMI is used.” 893 They explain
that “video-on-demand business models based on charging lower prices for time-limited
access to movies are undermined when end users can create complete digital copies of
transmitted works to add them to their permanent digital libraries while paying only for
temporary access. . . . This would harm consumers, who benefit from having lower-
priced options available in the marketplace.” 894



886   Huang Class 4 Initial at 5.
887   Id.
888   Tr. at 142:26–143:18 (Apr. 24, 2018) (Walsh, EFF).
889   Joint Creators II Class 4 Opp’n at 15.
890   ESA Class 4 Opp’n at 4.
891See Joint Creators II Class 4 Opp’n at 15–16 (first citing S. REP. NO. 105-190, at 8 (1998); and then
citing Section 1201 Report at 44); ESA Class 4 Opp’n at 4 (citing H.R. REP. NO. 105-551, pt. 1, at 10
(1998)).
892  Joint Creators II Class 4 Opp’n at 4; see also DCP Class 4 Opp’n at 13 (“Huang’s many examples
. . . are a smoke screen for his real goal: circumventing HDCP to record entire in-the-clear copies
of high-value works on his NeTVCR. Once an entire copy of a work is available in the clear and
placed on the Internet it is not unreasonable to argue the effect will be a substantial negative
one.”).
893   ESA Class 4 Opp’n at 3; see also DCP Class 4 Opp’n at 11.
894   Joint Creators II Class 4 Opp’n at 5–6; see also ESA Class 4 Opp’n at 9.

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Based upon the record, the proposed activities may well have a negative effect on the
market for or value of copyrighted works. Huang’s argument that there is no harm
because copyright owners have already been compensated for a particular use is
inapposite where, as here, there is allegedly an overarching threat of piracy. The Acting
Register finds Huang’s additional arguments similarly unpersuasive. 895

The record suggests that circumventing HDCP to carry out the proposed uses creates an
unsecure environment where the work can be copied and manipulated. Indeed,
opponents raise a serious concern that the exemption, if granted, could potentially
compromise a distribution system for audiovisual content that has matured seemingly
in part due to the protections offered by section 1201. Huang does not dispute that
circumvention could permit virtually anything displayable on a modern television
screen to be recorded in the clear and made available online; meanwhile, creators and
distributors of these works suggest widespread circumvention could flatten market
distinctions between live and scheduled broadcasts, subscription and ad-based streams,
and rentals and purchases because all could be captured, copied, and circulated. In
short, Huang has failed to make a sufficiently persuasive demonstration that the
proposal is unlikely to impair the market for or value of copyrighted works.

Finally, the Acting Register declines to recommend this exemption because Huang’s
request seems to be an “individual case[]” 896 of “de minimis impact[].” 897 Opponents
argue that there is little or no market demand for many of Huang’s proposed uses and
that few other than Huang would actually be able to use the exemption because of the
level of expertise needed to circumvent HDCP and to create a device capable of doing all
of the things Huang seeks to do. 898 Huang counters that while “[i]t might be that there’s
not a mass market for a display device or an intermediate device that lets you do all of
the things that Dr. Huang wants to do,” “[t]hat doesn’t mean that he shouldn’t have the
right to do it.” 899

While “the Register does not decline to recommend exemptions solely because only a
small number of individuals would benefit from it,” “it certainly may be appropriate to
weed out edge cases where permitting circumvention broadly may impact the market


  The fact that licensed devices may permit some proposed uses is not evidence that the uses
895

would not damage copyright owners’ interests if made via circumvention. But see Huang Class 4
Reply at 2. When made on a licensed device, the use is carried out within the protected space
HDCP and related TPMs provide.
896   2015 Recommendation at 16 (quoting House Manager’s Report at 6).
897   See id. (quoting Commerce Comm. Report at 37).
  See Tr. at 148:23–154:10, 161:09–21, 167:21–169:18, 182:13–24 (Apr. 24, 2018) (Burger, DCP;
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Taylor, DVD CCA & AACS LA; Williams, Joint Creators II); see also DCP Class 4 Opp’n at 6.
899   Tr. at 154:17–22 (Apr. 24, 2018) (Walsh, EFF).

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for copyrighted works.” 900 Given the above discussion and the lack of concrete evidence
demonstrating a verifiable need for anyone to circumvent to engage in all of the uses
sought by Huang, this request is such an “edge case.”

Further, even the potential impact on Huang’s professed personal uses seems to be de
minimis. Huang does not reside in the United States, which means that even if there
were adverse effects, Huang would only be harmed by them when visiting this
country—not in his day-to-day life at home in Singapore. 901 And Huang has not
established that he needs to be in the United States to engage in his proposed uses.

The Acting Register does not find proponents’ other arguments persuasive.
Accordingly, on the present record, the Acting Register cannot find that the inability to
engage in the proposed activities is adversely affecting, or in the next three years is
likely to affect, consumers’ ability to make noninfringing uses of copyrighted works.

                3. NTIA Comments

NTIA agrees with the Acting Register that an exemption for this class is not
warranted. 902 NTIA recognizes that “[p]roponents did not provide sufficient evidence
on the record about the alleged non-infringing uses,” and that “[w]hile there are several
examples of potential non-infringing uses that could serve as the basis for an exemption,
the proponents have not developed the argument in the record here.” 903 Rather, NTIA
observes that the proposed exemption “appears to be for the HDCP TPM itself, which is
not appropriate for this rulemaking process.” 904 NTIA notes, however, that “some of
proponent’s sought uses may be supported by other current exemptions that the
Register has recommend[ed] be renewed, such as the Smart TV exemption.” 905

                4. Conclusion and Recommendation

Based on the record presented, an appropriate class has not been established. Moreover,
the Acting Register cannot conclude that the prohibition on circumvention has, or is
likely to have, an adverse impact on noninfringing uses of the underlying audiovisual
works. The Acting Register declines to recommend an exemption for this class.


900   Section 1201 Report at 121.
  Complaint for Declaratory & Injunctive Relief ¶ 6, Green v. U.S. Dep’t of Justice, No. 1:16-cv-
901

01492-EGS (D.D.C. July 21, 2016); see Tr. at 183:23–26 (Apr. 24, 2018) (Walsh, EFF) (alleging Huang
spends “significant time” in the U.S.).
902   NTIA Letter at 39.
903   Id.
904   Id.
905   Id. at 39 n.197; see 37 C.F.R. § 201.40(b)(5) (2016).

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            E. Proposed Class 5: Computer Programs—Unlocking

                 1. Background

                     a. Summary of Proposed Exemption

Proposed Class 5 would expand an existing exemption for activity known as unlocking,
that is, circumvention of access controls on computer programs for the purpose of
enabling a wireless device to connect to a different mobile network provider. As noted
above, the 2015 rulemaking adopted an exemption permitting the unlocking of used
cellphones, all-purpose tablet computers, portable mobile connectivity devices, such as
mobile hotspots, and wearable devices, such as smartwatches or fitness devices. 906 In
this proceeding, ISRI filed petitions for two modifications to this exemption that would
(1) remove the subcategories and permit circumvention to unlock “any wireless
device”; 907 and (2) eliminate the requirement that a wireless device be “used,” i.e.
previously activated on a wireless carrier. 908 Specifically, ISRI proposed the following
language:

            Computer programs that enable the following types of wireless devices to
            connect to a wireless telecommunications network, when circumvention,
            including individual and bulk circumvention, is undertaken by the owner
            of any such device, by another person at the direction of the owner, or by
            a provider of a commercial mobile radio service or a commercial mobile
            data service at the direction of such owner or other person, solely in order
            to connect to a wireless telecommunications network and such connection
            is authorized by the operator of such network. 909

ISRI states that the language referring to “individual and bulk circumvention” at the
direction of a device owner was meant “purely as clarification.” 910 It suggests, however,
that this change may be unnecessary given that the Office agrees that the current
exemption permits bulk unlocking. 911 Comments supporting the proposed
modifications were also filed by Consumers Union and the FSF, and iFixit testified in
support of the proposed class. No oppositions were filed.


906   37 C.F.R. § 201.40(b)(3) (2016).
907   ISRI Class 5 Pet. 1 at 2.
908   ISRI Class 5 Pet. 2 at 2.
909   ISRI Initial at 5.
910   Tr. at 135:06–18 (Apr. 23, 2018) (Connelly, ISRI).
911Tr. at 135:06–18 (Apr. 23, 2018) (Connelly, ISRI); see 2015 Recommendation at 169 (adverse
effect finding “includes entities that obtain used cellphones and unlock them in bulk for
redistribution or resale”).

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                       b. Overview of Issues

As explained in greater detail during the 2015 rulemaking, devices that connect to a
wireless telecommunication network may contain TPMs to prevent use of the device on
a different network, even if the telecommunications radios and other hardware in the
device have the technical capability to operate on another network. 912 Wireless carriers
can do this by preventing devices from accepting a subscriber identity module (“SIM”)
card from a competing carrier, by requiring input of a special code from the original
carrier to enable use of competing networks, or by locking a device to operate on a
subset of the wireless frequencies that it has the hardware to otherwise communicate
over. 913 Here, Mr. Wiens described the relevant TPM as a lock in the software on a
device’s baseband chip, which allows the device to communicate with a cellular
network. 914 Circumvention to “unlock” a wireless device for use on other networks can
occur by inputting special codes or running software to exploit security vulnerabilities
and remove the software lock. 915

The Copyright Office has received petitions to permit the unlocking of cellphones since
2006. In 2015, as directed by the Unlocking Consumer Choice and Wireless Competition
Act (“Unlocking Act”), 916 the Register considered whether to expand the exemption to
additional categories of wireless devices. Based on the record in that proceeding, the
Register recommended, and the Librarian granted, an exemption covering the current
categories of devices. The Register determined that for some subset of wireless
customers, unlocking such devices is likely noninfringing under section 117, and that
“unlocking as a general matter is also likely to be a fair use.” 917 The Register declined,
however, to recommend a proposal to include all “consumer machines” or “smart
devices” in the class because she found that its proponents failed to provide “any
specification information” about the kinds of devices that would be included or the
noninfringing uses that would be facilitated by circumvention. 918

The current exemption also is limited to used devices. First adopted in 2010, 919 this
limitation was implemented in response to concerns raised by wireless carriers engaged


912   2015 Recommendation at 138.
913   Id. at 144–45.
914   Tr. at 139:01–11 (Apr. 23, 2018) (Wiens, iFixit)
9152015 Recommendation at 144–45; see also Tr. at 140:11–17 (Apr. 23, 2018) (Wiens, iFixit) (stating
that circumvention involves “modifying a bit on [the] baseband”).
916   Pub. L. No. 113-144, § 2(c), 128 Stat. 1751, 1751–52 (2014).
917   2015 Recommendation at 162.
918   Id. at 167, 170.
919   See 37 C.F.R. § 201.40(b)(3) (2011).

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in the business of selling cellphones at substantially discounted prices and recouping
that investment through the sale of prepaid wireless service. 920 These companies feared
that including new phones in the class could foster illegal trafficking activity, which
involves “the bulk purchase of unused handsets that have been offered for sale at
subsidized prices . . . and then unlocking and reselling those unlocked handsets for a
profit.” 921 In 2015 the wireless provider TracFone filed comments opposing any
exemption that “could be construed to immunize illegal activities of phone
traffickers.” 922 The Register found “universal agreement” among the parties that “any
exemption for cellphones should be fashioned so as to exclude trafficking activities that
seek illegitimately to profit from subsidies offered by prepaid phone providers.” 923 As in
prior rulemakings, she concluded that this could be accomplished through a
requirement that the devices be used, which the 2015 exemption defines to refer to
devices that have “previously been lawfully acquired and activated on the wireless
telecommunications network of a wireless carrier.” 924

Proponents in this proceeding request removal of both the list of covered device
categories and the limitation to used devices. As to the former, proponents seek to
unlock “connected devices of all types, sizes and applications” (i.e., the Internet of
Things, or “IoT”), noting that all of these devices connect to wireless networks and
arguing that consumer choice is necessary for them as well. 925 Proponents point to
NTIA’s 2012 and 2015 submissions supporting a broad exemption for “all wireless
devices that connect to a wireless network” 926 and warn that the rapid pace of innovation
within the IoT industry makes it impossible to predict the specific categories of wireless
devices that consumers may need to unlock. 927 In its reply comments, ISRI cites home
security systems, farming equipment, and car GPS trackers as examples of wireless
devices presenting such a need. 928

Regarding the “used” limitation, proponents argue that illegal trafficking does not
implicate copyright interests and that concerns about such activity therefore are outside

920   See 2015 Recommendation at 156.
921   Id. at 145.
922   TracFone 2015 Class 11 Opp’n at 3.
923   2015 Recommendation at 169.
924   Id. 169–71.
925   ISRI Class 5 Initial at 5–6.
  Id. at 6 (quoting Letter from Lawrence E. Strickling, Assistant Sec’y for Commc’ns & Info., Nat’l
926

Telecomms. & Info. Admin., U.S. Dep’t of Commerce, to Maria A. Pallante, Register of Copyrights
and Dir., U.S. Copyright Office, at 39 (Sept. 18, 2015) (“NTIA 2015 Letter”)).
927   ISRI Class 5 Initial at 6.
928   ISRI Class 5 Reply at 4–6.

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the proper scope of this rulemaking. 929 Moreover, they argue, such a limitation is
unnecessary given that TracFone has successfully sued traffickers on causes of action
other than section 1201. 930 Proponents further suggest a need to unlock unused devices
not present in 2015, offering examples of corporations acquiring excess devices that are
never activated but that they later seek to recycle. 931

                2. Discussion

                     a. Works Protected by Copyright

This class again involves computer software running on wireless devices, which can
include TPMs as part of the code itself. Proponents suggest that the relevant
copyrighted works for the entire class are the computer programs running on the
baseband processors in these devices 932 and other software such as operating systems. 933
The Acting Register agrees that in both cases the software constitutes a computer
program within the meaning of section 101 and therefore finds that at least some works
included in the proposed expanded class are protected by copyright. 934

                     b. Asserted Noninfringing Uses

The 2015 rulemaking identified several bases for the proposition that unlocking wireless
devices is a noninfringing use, including that (1) some methods of unlocking, such as
inputting unlock codes, do not implicate a section 106 exclusive right; (2) section 117
privileges some forms of unlocking; and (3) “unlocking as a general matter” is likely to
be a fair use. 935 Proponents appear to be relying on the 2015 rulemaking analysis in
support of the requested modification and incorporate by reference the 2015
Recommendation to avoid “undertak[ing] a detailed analysis of those factors. 936 Though
no opposition comments were filed, the Acting Register has an independent obligation
to ensure that the proposed uses are likely to be noninfringing.




929   ISRI Class 5 Initial at 4.
930   Id. (citing NTIA 2015 Letter at 41).
931Id. at 4. According to ISRI, third parties recycling or reselling wireless devices may receive
“tens of thousands” devices each month, which can be either used or new. ISRI Class 5 Reply at
2.
932   See Tr. at 139:01–20 (Apr. 23, 2018) (Wiens, iFixit).
933   ISRI Class 5 Initial at 9; Tr. at 139:17–20, 140:11–17 (Apr. 23, 2018) (Wiens, iFixit).
934   See 17 U.S.C. § 101 (definition of “computer program”).
935   2015 Recommendation at 159–64.
936   ISRI Class 5 Initial at 7.

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                       i.      No Prima Facie Infringement

In the past three rulemakings, the Register has concluded that unlocking often can be
accomplished “simply by changing variables in the cellphone’s software in a manner
that is intended by the software’s creator.” 937 Such activity, the Register has concluded,
is noninfringing because it does not involve reproducing the device software or creating
a derivative work. 938 Here, the record suggests that this method of unlocking remains
possible for some devices. 939 Proponents do not, however, argue that all of the
additional devices they seek to cover under their proposed expansion can be unlocked in
this manner. They accordingly must provide an additional legal basis to support a
finding that their proposed activities likely are noninfringing.

                      ii.      Section 117

The Register has previously found that in some cases, the reproduction and adaptation
of device software for unlocking purposes may be protected under section 117(a). 940
That provision authorizes the owner of a copy of a computer program to make or
authorize the making of another copy where doing so is “an essential step in the
utilization of the computer program in conjunction with a machine.” 941 In 2015 the
Register found “some evidence” that the owner of a wireless device qualifies as the
owner of the copy of the device software for purposes of section 117(a). 942 She
concluded that those users likely satisfy the legal standards governing ownership under
section 117(a) because the software is stored on the device itself, device owners have the
right to use the device software indefinitely, and they have the right to discard or
destroy the device (including its software). 943 She further found that reproduction or
adaptation of device software to allow it to operate with a carrier of the user’s choice
likely constitutes an “essential step” in the utilization of the program within the
meaning of section 117(a). 944


  2015 Recommendation at 160 (citation omitted); 2012 Recommendation at 90; 2010
937

Recommendation at 134. As noted in 2015, such a system may “not function as a TPM at all,” in
which case an exemption is not needed. 2015 Recommendation at 160.
938   2015 Recommendation at 160.
  See Tr. at 145:12–146:11 (Apr. 23, 2018) (Wiens, iFixit) (referring to use of manufacturer’s
939

“unlock codes”).
  See 2015 Recommendation at 160–62; 2012 Recommendation at 93; 2010 Recommendation at
940

138, 167.
941   17 U.S.C. § 117(a)(1).
942   2015 Recommendation at 161.
943   Id.
944   Id. at 162.

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The Register’s prior analysis of these issues did not depend on the relevant devices
being used. The same factors as indicating ownership of the software copy are equally
applicable to unused devices (assuming the purchase has been completed and the device
paid for), as are the Register’s conclusions regarding the “essential step” requirement.
Moreover, the relevant law has not changed since 2015. 945 The Acting Register
accordingly concludes that the unlocking of unused devices in the categories
enumerated in the current exemption is likely noninfringing under section 117(a).

Proponents have not, however, provided evidence that would allow the Acting Register
to reach the same conclusion with respect to wireless devices generally. In 2015 the
Register’s finding that the relevant device owners likely own the embedded software
copies relied in part on evidence that the manufacturers of mobile operating systems
“expressly permit the transfer of the software to a third party in connection with the sale
of a device.” 946 Here, no evidence was presented indicating to what extent such software
transfers are permitted in the context of other devices. In particular, it is unclear
whether manufacturers of the software in the large-scale equipment cited by ISRI—for
example, trucks, trains, “remote weather monitoring stations and seismic monitors,” or
traffic lights 947—maintain transfer policies similar to those governing the very different
devices covered by the existing exemption, which are largely consumer-facing in nature.
Indeed, it seems plausible that some of these devices would be leased. Because
proponents have failed to demonstrate that owners of additional types of wireless
devices would qualify as owners of the copies of the software embedded in them, they
cannot, on this record, establish that unlocking those devices is likely noninfringing
under section 117(a).

                   iii.   Fair Use

                          1) Unused Devices

As noted, the Register in 2015 concluded that “unlocking as a general matter is . . . likely
to be a fair use.” 948 She found that while the first factor was “somewhat mixed,” it
“tend[ed] to support a finding of fair use” because enabling interoperability has been




945The only appellate case to consider either holding since the 2015 rulemaking is Adobe Sys. Inc.
v. Christenson, 809 F.3d 1071 (9th Cir. 2015), where the Ninth Circuit held that failure to disclose
software license terms during discovery foreclosed the argument that a purchaser of software did
not own the copy for first sale purposes under section 109. Id. at 1080.
946   2015 Recommendation at 161 n.1037.
  ISRI Class 5 Initial at 7; Tr. at 178:07–09 (Apr. 23, 2018) (Wiens, iFixit) (suggesting traffic lights
947

have cellular service).
948   2015 Recommendation at 162.

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recognized by courts as a favored purpose under the law. 949 For the second factor, the
Register found that the nature of the programs “weigh[ed] strongly” in favor of fair use
because they are used to connect wireless devices to wireless networks, and thus are
“highly functional.” 950 As to the third factor, the Register found that even if unlocking
requires significant copying or alteration of software, this factor warrants “only modest
weight” because the use is necessary to engage in an otherwise legitimate activity. 951
Finally, under the fourth factor, the Register found no evidence that “the market for
software used to operate cellphones or other wireless devices would be harmed by
allowing those devices to be unlocked,” except in the case of prepaid cellphones. 952 As
to those devices, she found that the unlocking of “new, carrier-subsidized prepaid
cellphones . . . may facilitate illicit and commercially harmful activities.” 953

In considering proponents’ current request to expand the exemption to unused devices,
the Acting Register concludes that the 2015 analysis under the first three factors is
equally applicable to new devices as it is to used. Therefore, the relevant question is
whether, under the fourth factor, extending the exemption to unused devices of the
types currently covered would adversely affect the market for or value of the embedded
software used to connect to wireless networks. Although ISRI does not directly address
the fair use factors, it suggests that any market harm resulting from illegal trafficking in
unused devices is not cognizable under factor four because it relates to “protecting a
particular business model, not [to] protecting the integrity or preventing the copying of
the underlying software on the phone.” 954

After considering the arguments and the record in this class, the Acting Register agrees
that the unlocking of unused devices is unlikely to harm the market for or value of the
relevant software for purposes of the fourth factor. Case law regarding this factor
focuses on whether a use “serve[s] as a market substitute for the original or potentially
licensed derivatives,” not simply on whether a copyright owner may face any economic
impact from a proposed use. 955 In the case of subsidized prepaid cellphones, a wireless
provider (e.g., TracFone) purchases devices from the manufacturer and subsequently
offers them for sale to the public at a substantial discount on the theory that it will


  Id. at 162–63 (citing Computer Entm’t, Inc. v. Connectix Corp., 203 F.3d 596, 607–08 (9th Cir. 2000),
949

and Sega Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1522–23 (9th Cir. 2000), as amended (Jan. 6,
1993)).
950   2015 Recommendation at 163.
951   Id.
952   Id. at 163–64.
953   Id. at 164.
954   ISRI Class 5 Initial at 4.
955   Campbell, 510 U.S. at 587.

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recoup its losses through the sale of wireless service. 956 Trafficking involves purchasing
those subsidized phones in bulk, unlocking them, and then reselling them for profit,
often overseas, thereby denying the wireless provider the opportunity to recover its
investment. 957 Although such activity certainly harms the network provider’s ability to
sell devices at a discount, and thus perhaps could dissuade the provider from
purchasing devices from the manufacturer in the first place, any resulting harm to the
value of the device software is not the result of an infringing product substituting for the
manufacturer’s software in the marketplace—for example, a competing device utilizing
the manufacturer’s copyrighted software. Rather, as described by TracFone, the harm
results from traffickers “stealing the subsidies that were intended to benefit legitimate
American consumers” and in turn “denying TracFone sales and business relationships
[with] potential long-term customers.” 958 While such activity should in no way be
condoned, it does not involve the type of harm with which the fourth fair use factor
ordinarily is concerned. Furthermore, as ISRI notes, other causes of action are available
to address any injury to non-copyright interests. 959

Based on the foregoing, the Acting Register concludes that unlocking the types of
devices covered by the current exemption is likely a fair use, regardless of whether the
devices are new or used.

                           2) Additional Device Categories

In 2015 the Register limited her fair use analysis to the categories of devices for which
there was specific evidence. She found the record too sparse to assess whether
unlocking of “consumer machines” was likely fair, noting that for those works, the
evidence did not show “whether unlocking would require creation of copies or
derivative works . . . [or] whether permitting unlocking is likely to adversely impact the
market for copyrighted works.” 960 Here, the evidence is similarly scant, and proponents’
comments do not discuss the application of the fair use factors in this context. Thus,
while the Acting Register appreciates there is an argument that unlocking likely is a fair
use regardless of the type of device involved, she is unable to make that determination
based on such a limited record.



956   See 2015 Recommendation at 156.
957   See id.
958   TracFone 2015 Class 11 Opp’n at 2, 6.
  See ISRI Class 5 Initial at 4 (citing NTIA 2015 Recommendation at 41); see also, e.g., First
959

Amended Complaint and Demand for Jury Trial, TracFone Wireless, Inc. v. Mohamed, No. 4:14-cv-
00685-RH-CAS (N.D. Fla. Jan. 3, 2015), ECF No. 10 (alleging unfair competition, unjust
enrichment, and trademark infringement).
960   2015 Recommendation at 164.

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As discussed further below, however, proponents did provide evidence regarding three
categories of devices: home security devices, agricultural equipment, and vehicle GPS
trackers. The record indicates that these devices are similar to those covered by the
current exemption in that they appear to be primarily intended for use by individual
end users. 961 Because owners of these devices appear to be similarly situated to owners
of devices covered by the current exemption, the Acting Register concludes that the
same fair use analysis should govern. The Acting Register thus finds that unlocking
these devices would serve the favored purpose of achieving software interoperability;
that the relevant software is highly functional in nature; that the reproduction or
modification of the software likely is necessary to accomplish a legitimate purpose; and
that unlocking these devices is unlikely to harm the market for or value of the software.
The Acting Register therefore finds that unlocking these specific categories of devices is
likely to be a fair use.

In sum, the Acting Register finds that proponents have met their burden to demonstrate
that unlocking unused cellphones, tablets, mobile connectivity devices, and wearables,
as well as unlocking home security devices, agricultural equipment, and vehicle GPS
trackers, are likely to be noninfringing uses. This does not end the inquiry, however. To
obtain an expanded exemption, proponents still must demonstrate that the bar on
circumvention is causing, or is likely to cause, an adverse effect on those uses.

                c. Causation

The Acting Register finds that proponents have met their burden of showing that the
current qualifying language limits their ability to unlock wireless devices beyond the
enumerated categories in the current exemption. In this class, however, the issue of
causation is intertwined with questions related to whether the specific activities
described by proponents are in fact being impacted by section 1201. Therefore, in the
next section, the Acting Register will address whether proponents have successfully
established that the prohibition on circumvention is the cause of their asserted adverse
effects with respect to specific types of devices.

                d. Asserted Adverse Effects

                   i.    Unused Devices

ISRI argues the current exemption has an adverse effect on users’ legitimate interest in
unlocking unused devices. It notes that while it did not oppose the 2015 exemption’s



961See ISRI Class 5 Reply at 4–6 (focusing on adverse effects for only these three categories of
devices, beyond used/new debate); Tr. at 149:23–15:01 (Apr. 23, 2018) (Wiens, iFixit) (testifying
that child monitors are similar to security systems).

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limitation to used devices, the intervening three years have given rise to a need to
unlock new devices:

            ISRI members now periodically obtain and need to recycle and/or resell
            new devices, particularly wireless handsets. This may happen in a
            variety of settings. For example, corporations or other organizations
            often purchase a significant quantity of new phones in order to equip
            numerous employees and/or to maintain a stock of spares, and then end
            up reselling to recyclers or resellers a number of extra devices that have
            gone unused by employees (and are thus still “new” under the definition
            in the 2015 exemption), because the purchase was larger than needed or
            because of an intervening company-wide upgrade or switch to other
            devices. In such cases, the recycler or reseller will acquire a quantity of
            the phones and need to unlock them for resale, just as they do with used
            phones. 962

At the hearing, Mr. Wiens indicated that recyclers’ interest in unlocking unused devices
is not limited to cellphones. He reported an instance of a recycler in the possession of
unused smartwatches that cannot be sold for their full value because of the prohibition
on unlocking. 963

Looking to the statutory factors, the first factor, the availability for use of copyrighted
works, favors extending the exemption to unused devices. Proponents have provided
evidence that unlocking unused devices allows them to be recycled and reused rather
than discarded or used as scrap. 964 Because unlocked devices are more valuable for
resale, an exemption for unlocking those devices, including unused devices, will expand
the availability of the copyrighted software within them by enabling them to continue
their functional use. There is no evidence in the record suggesting that expanding
unlocking to unused devices will decrease the availability of copyrighted works.

The second factor, the availability for use of works for nonprofit archival, preservation,
and educational purposes, and the third factor, the effect on criticism, comment, news
reporting, teaching, scholarship and research, are neutral. As in the last rulemaking,




962   ISRI Class 5 Initial at 4.
963See Tr. at 138:04–17 (Apr. 23, 2018) (Wiens, iFixit); see also Tr. at 172:25–173:05 (Apr. 23, 2018)
(Connelly, ISRI) (stating that recyclers’ inability to obtain an adequate price for other connected
devices will become a common program); Tr. at 145:12–20, 146:12–25 (Apr. 23, 2018) (Wiens,
iFixit; Connelly, ISRI) (stating that recyclers contract with retailers to dispose of returns, which
are considered new under the definition in the current exemption).
964   ISRI Class 5 Reply at 1–2; Tr. at 172:09–13, 172:21–24 (Apr. 23, 2018) (Connelly, ISRI).

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general observations that unlocked devices could serve as tools for these uses are
insufficient to weigh this factor in either direction. 965

For the fourth factor, the effect of circumvention on the market for copyrighted works,
the record lacks evidence that expanding the unlocking exemption to cover unused
devices would harm the market for copyrighted works. As discussed, such devices have
been excluded from prior exemptions based on concerns expressed by some wireless
service providers that allowing the unlocking of unused devices could facilitate
cellphone trafficking. As explained above, however, it is not clear that the economic
harm caused by that activity affects the value of the computer programs allowing
devices to connect to wireless networks. And, such harms are separately addressed
through other laws. Indeed, it is worth noting that the party advocating in support of
limiting the exemption to used devices in 2015—TracFone—did not participate in this
proceeding. In fact, as noted, no party filed oppositions in this class.

Moreover, while the evidence indicating a need to unlock unused devices relates
primarily to cellphones, the record reflects some legitimate interest on the part of users
in unlocking other types of new devices, particularly in promotion of environmental
responsibility. No parties expressed concern regarding trafficking in devices other than
cellphones, and in fact the references to subsidy theft in the 2012 and 2015 rulemakings
pertain exclusively to phones. 966 The record thus provides no basis to find that the
requested expansion would adversely affect the market for the other devices
encompassed by the current exemption.

The Acting Register does not find any additional factors relevant to the adverse effects
analysis. Accordingly, she finds that proponents have demonstrated that absent an
exemption, they are likely to be adversely affected in their ability to unlock unused
cellphones, tablets, mobile connectivity devices, and wearable devices.

                    ii.   All Wireless Devices

Proponents argue that the adverse effects arising from the inability to unlock devices are
not limited to the devices covered by the current exemption but are applicable to
wireless devices generally. In their view, the pace of innovation in the connected
devices industry is so swift that limiting unlocking to narrow categories of devices will
needlessly stifle innovation. 967 Proponents note that NTIA has previously recommended
this expansion on the ground that there is little practical difference between wireless

965   See 2015 Recommendation at 167–68.
966See Cellular Telecomm. Indus. Ass’n 2012 Class 6 Initial at 49–50; TracFone 2015 Class 11 Opp’n
at 11–12; see also 2015 Recommendation at 163–64; 2012 Recommendation at 87.
967ISRI Class 5 Initial at 5–6 (arguing that pace of innovation in connected devices industry makes
category-based exemptions for unlocking “unrealistic” and “unnecessary”).

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phones and other devices for purposes of unlocking. 968 In support of this broad
expansion, ISRI’s initial comments cite examples of various smart devices that include
wireless technology, including child monitors, modems embedded within automobiles,
agricultural equipment, and animal trackers. 969 Proponents seek to illustrate that there
are numerous devices capable of communicating over wireless networks and that
owners of such devices likewise should be free to transfer to a different service provider.

The Acting Register finds this submission insufficient to demonstrate that owners of
wireless devices of all types are likely to be adversely affected by the bar against
circumvention. ISRI’s initial comments offer only “a handful of examples” of wireless
devices, and those consist entirely of one- or two-sentence descriptions of each. 970 They
do not indicate whether, or to what extent, owners of such devices have sought to
unlock them and have been deterred by section 1201. In fact, ISRI acknowledged at the
hearing that “we don’t have specific examples that demonstrate” consumers seeking to
unlock automobile GPS trackers or other devices. 971 These statements are inadequate to
enable the Acting Register to assess whether the asserted adverse effects pertaining to
these devices describe actual or likely harms, or instead are merely speculative. 972 This is
not to suggest that proponents must identify separate adverse effects for every type of
device for which they seek an exemption. Here, however, proponents’ comments fail to
make even a minimal showing that users of many types of wireless devices are similarly
harmed by the inability to unlock them. 973

Moreover, in the case of at least some of ISRI’s examples, adverse effects appear
unlikely. For example, ISRI concedes that child trackers are “included in the current
exemption” as wearable devices. 974 Likewise, animal trackers that are “built into
collars” 975 are a type of wearable device covered by the existing exemption. In addition,
ISRI refers to vehicle-embedded modems such as OnStar, but provides no evidence to



968   Id. at 6 (quoting NTIA 2015 Letter at 39).
969   Id. at 6–7.
970   Id.
971Tr. at 158:18–20 (Apr. 23, 2018) (Scher, ISRI); see also Tr. at 180:10–15 (Apr. 23, 2018) (Wiens,
iFixit) (same for industrial monitoring equipment such as oil pipelines).
  See 2012 Recommendation at 8 (“Claims based on ‘likely’ adverse effects cannot be supported
972

by speculation alone.”) (citation omitted).
  See House Manager’s Report at 7 (suggesting that Register should look to whether the
973

prohibition on circumvention affects the availability of works in different categories in the same
way).
974   Tr. at 150:09–26 (Apr. 23, 2018) (Connelly, ISRI).
975   ISRI Class 5 Initial at 7.

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counter the Register’s 2015 determination that “there are currently no apparent means
for users to unlock in-vehicle telematics and communications systems.” 976

Subsequently, in its reply comments, ISRI provided more detailed and concrete
discussion about the functioning and noninfringing use of three categories of devices:
consumer security systems, farming equipment, and automobile GPS trackers. 977 This
evidence likewise is insufficient to establish that users of all wireless devices will suffer
adverse effects absent an exemption, but the Acting Register will consider whether
proponents have made such a showing as to these specific categories.

Home security systems. Proponents suggest that the inability to unlock cellular-connected
home security systems such as Google’s Nest Secure could lead to adverse effects where
the system is later shut down, or where a consumer’s home has poor wireless
coverage. 978 At the hearing, Mr. Wiens cited the example of Revolv, a smart home
security system purchased by Nest and subsequently discontinued. 979 In such a
circumstance, he explained, a recycler may be able to “swap out the SIM cards” from
hardware units of former subscribers—thereby enabling the devices to connect to a
different wireless network—and then resell them, presumably to be used with a
different security provider. 980 Similarly, ISRI notes that services such as Nest Secure and
SimpliSafe have relationships with specific cellular service providers, and it argues that
consumers in areas with limited connectivity should be free to obtain service from a
different provider if they so choose. 981

These examples, the Acting Register concludes, are inadequate to satisfy the statutory
requirement to demonstrate actual or likely adverse effects resulting from the bar on
circumvention. As the Office has noted, for an exemption to issue, the statutory
prohibition must be the cause of any adverse effects on noninfringing uses. 982 Here,
proponents have failed to demonstrate that it would be possible to connect the
referenced security devices to other networks even if they were permitted to unlock

9762015 Recommendation at 158. In 2015 the Register noted evidence that it is not physically
possible to switch the carrier for such a device “without destroying your car,” and that, even if it
were possible to do so, the OnStar system would not operate because its protocols are engineered
to work through a specific carrier. Id. at 158–59. Nothing in the record suggests that these
conditions have changed.
977   ISRI Class 5 Reply at 5–6.
978   Id. at 4–5; Tr. at 144:15–145:08 (Apr. 23, 2018) (Wiens, iFixit).
979   Tr. at 144:22–25 (Apr. 23, 2018) (Wiens, iFixit).
980   Tr. at 144:15–145:08 (Apr. 23, 2018) (Wiens, iFixit).
981   ISRI Class 5 Reply at 4–5.
982See Commerce Comm. Report at 37; House Manager’s Report at 6; see also Section 1201 Report
at 117.

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them. In the Revolv example, it is not clear whether any security provider allows its
customers to obtain service through a device provided by another company, or whether
such providers instead require use of their own hardware. Likewise, there is no
indication that providers like Nest Secure and SimpliSafe will provide service using
wireless carriers other than those with which they have contractual relationships. In
both examples, to the extent the security providers are unwilling or unable to permit the
arrangements proponents describe, any adverse effect is the product of those policies or
technical limitations, not section 1201. 983 Absent any evidence that such transactions are
possible, proponents cannot establish a likelihood of adverse effects, as such a showing
may not be based solely on speculative or hypothetical harms.

Farming equipment. Proponents also suggest that farming equipment should be
unlockable, giving examples of connected devices with agricultural uses that can
increase productivity and reduce use of natural resources. 984 Proponents do not,
however, offer specific examples of devices that are capable of being unlocked and used
on different wireless networks. Instead, they point only to solutions offered directly by
network providers such as Verizon, AT&T, and Sierra Wireless. 985 The websites cited by
ISRI indicate that these connected devices may be custom-built by the wireless providers
themselves. For example, Sierra Wireless states that it offers “custom tracking devices
[built] from scratch,” 986 and Verizon suggests that its IoT sensors are built with the
Verizon network in mind. 987 To the extent these devices are designed specifically to
operate on a particular network, it is unclear whether they are capable of use through
other carriers. In some cases, moreover, it appears that the devices are “tightly
integrated” with services offered by the providers, further calling into question whether
they would function on a different network. 988 On this record, the Acting Register


983Commerce Comm. Report at 37 (“Adverse impacts that flow from other sources . . . are outside
the scope of the rulemaking.”).
984   ISRI Class 5 Initial at 7; ISRI Class 5 Reply at 5.
985See ISRI Class 5 Initial at 7 nn.21–22 (citing links to Verizon and Sierra Wireless pages for asset
tracking solutions for agriculture); ISRI Class 5 Reply at 5 (citing reports on Verizon and AT&T
agricultural services).
986Benoit Tournier, Tracking Devices for Livestock Increase Farm Profits, SIERRA WIRELESS (Oct. 24,
2017), https://www.sierrawireless.com/iot-blog/iot-blog/2017/10/tracking_devices_for_
livestock_increase_farm-_profits/.
987How Verizon’s Internet of Things Technology Can Feed a Food Safety Revolution, VERIZON (Dec. 13,
2017), https://www.verizon.com/about/news/how-verizons-internet-things-technology-can-feed-
food-safety-revolution (“You’re talking about a platform that has to scale to literally billions and
trillions of transactions. That’s a very good fit for Verizon, because our network accommodates
that load. It was built with that in mind for years to come.”).
  Benoit Tournier, Tracking Devices for Livestock Increase Farm Profits, SIERRA WIRELESS (Oct. 24,
988

2017), https://www.sierrawireless.com/iot-blog/iot-blog/2017/10/tracking_devices_for_

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cannot find that the prohibition on circumvention is the cause of any adverse effect on
users’ ability to obtain wireless service for such devices from a different provider.

Automobile GPS trackers. Proponents also offer specific evidence regarding automobile
GPS trackers, pointing to devices such as Verizon’s Hum service and T-Mobile’s SyncUp
DRIVE. 989 These devices plug into a car’s On-Board Device (“OBD”) port, a
standardized port for accessing the vehicle’s computer for tasks such as obtaining
diagnostic data. 990 In addition to retrieving information about the car’s performance,
these vehicle devices include GPS capability and, most relevant to this proceeding,
wireless radios allowing for hotspot functionality. 991

Proponents warn that vehicle trackers face similar issues as locked cell phones. They
argue that users of a device should not have to purchase a new one for use on a
competing compatible network, and that locked devices limit competition by preventing
consumers from switching carriers. 992 As an example, they note that some insurance
companies offer lower rates to drivers who install GPS devices in their vehicles to
monitor data indicative of driving safety. 993 If the driver decides to change insurance
companies, proponents posit, an insurer using a different wireless network could




livestock_increase_farm-_profits/ (“Sierra Wireless modules are tightly integrated with our
connectivity services and AirVantage IoT platform, which makes it easy to get data to the cloud,
so you can develop value added services that help farmers increase their profits.”); see also M2X,
AT&T, https://m2x.att.com/iot/industry-solutions/iot-data/agriculture / (last visited Sept. 27,
2018).
989ISRI Class 5 Reply at 6; see Hum by Verizon, VERIZON, https://www.hum.com/products (last
visited Sept. 27, 2018); SyncUP DRIVE, T-MOBILE, https://www.t-mobile.com/offers/syncup (last
visited Sept. 27, 2018) (FAQ explaining that “[f]or security reasons, the SyncUP DRIVE device is
locked to the T-Mobile network and only accepts legitimate T-Mobile Micro-Sim cards purchased
from T-Mobile or an authorized T-Mobile dealer”).
990See Hum by Verizon, VERIZON, https://www.hum.com/products (last visited Sept. 27, 2018)
(Hum “receives diagnostic information from your car’s OBD system” and sends alerts); SyncUP
DRIVE, T-MOBILE, https://www.t-mobile.com/offers/syncup (last visited Sept. 27, 2018) (directing
owners to plug device into OBD-II port); Tr. at 56:08–25 (Apr. 25, 2018) (Wiens, iFixit) (stating
that the OBD port is a “standardized interface” that allows for access of diagnostic information in
most cars).
991See Hum by Verizon, VERIZON, https://www.hum.com/features/wi-fi-hotspot (last visited Sept.
27, 2018); Tr. at 167:06–12 (Apr. 23, 2018) (Wiens, iFixit).
992   ISRI Class 5 Reply at 6.
993   Tr. at 154:06–18 (Apr. 23, 2017) (Wiens, iFixit).

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require purchase of a new device that operates on its preferred network, even if the old
device could capture and deliver the same information to the new insurance company. 994

For the reasons noted above in relation to security systems, the Acting Register
concludes that these asserted harms are speculative in nature and therefore are
insufficient to demonstrate adverse effects under the statute. At the hearing, Mr. Wiens
acknowledged that he is unaware of any instance of an insurance company refusing to
allow the use of an alternative device, 995 and ISRI’s evidence of consumer demand in this
area relates to child monitoring devices, not automobile trackers. 996 Moreover, as in the
case of the security system examples, the harm described by proponents stems not from
section 1201 but from the insurance carrier’s requirement that its customers utilize the
company’s own GPS trackers. An exemption allowing users to unlock trackers provided
by their former insurer would have no effect on the new carrier’s ability to maintain
such a policy. Proponents thus have failed to demonstrate that section 1201 is the cause
of their asserted adverse effects with respect to these devices.

In any event, the two specific automobile trackers cited by ISRI appear to be covered
under the existing exemption as portable mobile connectivity devices. The Verizon
Hum and the T-Mobile SyncUp Drive appear to be portable devices that, in addition to
providing GPS tracking, also function as Wi-Fi hotspots. 997 An expansion of the current
exemption accordingly is unnecessary to allow unlocking of those devices or other
portable in-vehicle units with the same functionality. 998

In light of the foregoing, the Acting Register concludes that the statutory factors do not
favor an exemption encompassing additional categories of wireless devices. Here, the
most relevant factor is the first—the availability for use of copyrighted works. While the
Acting Register adheres to the Office’s prior conclusion that unlocking can promote the
availability of software by extending the useful life of wireless devices, in this class the
evidence is insufficient to establish that extending the exemption to the devices cited by
proponents is likely to have that effect. As discussed, to the extent those devices are not
covered by the current exemption, the evidence does not demonstrate that an exemption
would enable users to connect them to different wireless networks. The second factor,


994   Tr. at 154:19–26 (Apr. 23, 2017) (Wiens, iFixit).
995   Tr. at 155:01–14 (Apr. 23, 2017) (Wiens, iFixit).
996   See ISRI Class 5 Reply at 6 n.30.
  See HumX, VERIZON, https://www.hum.com/products/hum-x (last visited Sept. 27, 2018);
997

SyncUP DRIVE, T-MOBILE, https://www.t-mobile.com/offers/syncup (last visited Sept. 27, 2018).
  These portable in-vehicle devices should be distinguished from hotspots embedded in the
998

vehicle, such as OnStar. As noted, the latter was excluded from the current exemption based on
evidence that unlocking could not be accomplished without destroying the vehicle and that there
was a lack of desire on the part of consumers to do so. See 2015 Recommendation at 158–59.

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the availability for use of works for nonprofit archival, preservation, and educational
purposes, and the third factor, the effect on criticism, comment, news reporting,
teaching, scholarship and research, have little relevance in this context. 999 And while the
fourth factor ordinarily favors an exemption where, as here, there is no evidence of
likely harm to the market for copyrighted works, that factor has little significance to this
request given the lack of evidence of adverse effects attributable to the statutory
prohibition. Accordingly, and without prejudice to future consideration of this issue
upon a different record, the Acting Register concludes that proponents have failed to
establish that they are, or are likely to be, adversely affected by section 1201 in their
ability to unlock additional categories of wireless devices.

                    3. NTIA Comments

As it did in 2015, NTIA believes that “proponents have provided sufficient evidence to
demonstrate that circumvention of TPMs on all lawfully acquired wireless devices is a
noninfringing use.” 1000 Specifically, NTIA states that proponents have shown that their
proposed uses “are essentially identical” to the uses permitted under the current
exemption and that the adverse impacts of the circumvention bar are felt equally by
“users of all wireless devices.” 1001 NTIA finds that the statutory prohibition “limits
consumer choice of wireless network providers, limits recyclers’ ability to recycle or
resell wireless devices, and limits competition between wireless network providers.” 1002
NTIA does not, however, point to specific evidence of such effects in the context of
devices beyond those covered by the current exemption. Absent such evidence, the
Acting Register cannot recommend an exemption covering all wireless devices.

In reaching its conclusion, NTIA suggests that unlocking devices in situations where the
customer does not contract directly with a wireless carrier (as in the case of OnStar) does
not threaten copyright infringement and thus does not merit special consideration. 1003 It
finds “no evidence that merely allowing the cellular radio in a car to communicate with
a different wireless network would result in the user unlawfully obtaining copyrighted
material that had only been made available with the initially bundled service (e.g.,
OnStar maps).” 1004 Like the Acting Register, however, NTIA appears to question
whether changing wireless providers is possible in these circumstances. It notes, for
example, that “if a user is able to unlock an OnStar receiver in a car to direct it to connect


999   See id. at 167–68.
1000   NTIA Letter at 41.
1001   Id. at 43.
1002   Id.
1003   Id. at 42.
1004   Id.

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to a different wireless carrier, the user cannot expect that OnStar would continue to
provide service to the user.” 1005

NTIA echoes the Acting Register’s conclusion that proponents have met their burden
with respect to unused devices, pointing to evidence that since 2015, “business practices
have changed, resulting in a need for bulk and individual unlocking of new wireless
devices.” 1006 NTIA proposes replacing the term “used” in the exemption with “lawfully
acquired.” 1007 The Acting Register agrees that it is appropriate to include that phrase in
the regulatory text. Because the regulations implementing the Unlocking Act already
require that circumvention under this exemption be initiated by the “owner” of the
relevant device or by a person or service provider at the direction of the owner, the
Acting Register views this as a technical, rather than a substantive, change. 1008

                4. Conclusion and Recommendation

Proponents have met their burden to show that the statutory prohibition is likely to
cause adverse effects on the ability to unlock unused cellphones, tablets, mobile
connectivity devices, and wearables. The Acting Register therefore recommends
expanding the current exemption by eliminating the requirement that a device be
“used.” Proponents have not, however, carried their burden to demonstrate adverse
effects with respect to other types of mobile devices, and therefore the Acting Register
does not recommend removal of the exemption’s enumerated device categories.

The Acting Register accordingly recommends that the Librarian designate the following
class:

             Computer programs that enable the following types of lawfully acquired
             wireless devices to connect to a wireless telecommunications network, when
             circumvention is undertaken solely in order to connect to a wireless
             telecommunications network and such connection is authorized by the
             operator of such network:

                    (i) Wireless telephone handsets (i.e., cellphones);

                    (ii) All-purpose tablet computers;

                    (iii) Portable mobile connectivity devices, such as mobile hotspots,
                    removable wireless broadband modems, and similar devices; and


1005   Id.
1006   Id. at 42–43 (citing record showing recyclers increasingly receive new devices).
1007   Id.
1008   See 37 C.F.R. § 201.40(c) (2016).

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                     (iv) Wearable wireless devices designed to be worn on the body, such
                     as smartwatches or fitness devices.

            F. Proposed Class 6: Computer Programs—Jailbreaking

                1. Background

                     a. Summary of Proposed Exemption

Proposed Class 6 would expand an existing exemption for activity known as
“jailbreaking”; that is, “the process of gaining access to the operating system of a
computing device . . . to install and execute software that could not otherwise be
installed or run on that device, or to remove pre-installed software that could not
otherwise be uninstalled.” 1009 As noted above, the 2015 rulemaking adopted an
exemption permitting the jailbreaking of smartphones, “portable all-purpose mobile
computing devices.” 1010 In this proceeding, EFF filed a petition seeking to expand the
current exemption in two respects. First, EFF proposes adding voice assistant devices
such as the Amazon Echo and Google Home to the categories of devices covered by the
exemption. Second, it requests language expressly allowing jailbreaking not only to
install, run, or remove software, but also for the purpose of enabling or disabling
hardware features of the relevant device.

Specifically, EFF’s petition proposed replacing “portable all-purpose mobile computing
devices” with “general-purpose portable computing devices,” and defining that term as
“a portable device that is primarily designed or primarily used to run a wide variety of
programs rather than for consumption of a particular type of media content, is equipped
with an operating system primarily designed for use in a general-purpose computing
device, and is primarily designed to be carried or worn by an individual or used in a
home.” 1011 Consumers Union, FSF, Keeon Jung, and SaurikIT each filed brief comments
in support of the petition.

EFF’s subsequent supporting comments, which were joined by ORI and the Association
of Service and Computer Dealers International, Inc. (“ASCDI”) (collectively,
“EFF/ORI/ASCDI”) narrowed the proposed regulatory language. In lieu of a “general-
purpose portable computing devices” category, proponents now seek to expand the
exemption only to “voice assistant devices,” which they define as “a device that is
primarily designed to run a wide variety of programs rather than for consumption of a
particular type of media content, is designed to take user input primarily by voice, and



1009   2015 Recommendation at 172 (citations omitted).
1010   37 C.F.R. § 201.40(b)(4) (2016).
1011   EFF Class 6 Pet. at 2.

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is designed to be installed in a home or office.” 1012 Thus, proponents’ requested
language is as follows, with proposed additions indicated in bold:

             Computer programs that enable smartphones, voice assistant devices,
             and portable all-purpose mobile computing devices to execute lawfully
             obtained software applications, where circumvention is accomplished
             solely for one or more of the following purposes: enabling
             interoperability of such applications with computer programs on the
             smartphone or device, or to permit removal of software from the
             smartphone or device, or to enable or disable hardware features of the
             smartphone or device. For purposes of this exemption, a “portable all-
             purpose mobile computing device” is a device that is primarily designed
             to run a wide variety of programs rather than for consumption of a
             particular type of media content, is equipped with an operating system
             primarily designed for mobile use, and is intended to be carried or worn
             by an individual. A “voice assistant device” is a device that is primarily
             designed to run a wide variety of programs rather than for consumption
             of a particular type of media content, is designed to take user input
             primarily by voice, and is designed to be installed in a home or
             office. 1013

                       b. Overview of Issues

Proponents seek to gain access to the computer programs within voice assistant devices
that are used to “start up the device, control the hardware, and allow the running of
other programs.” 1014 Such programs are variously referred to as “firmware, operating
systems, and bootloaders.” 1015 Proponents offer a number of reasons for seeking such
access. First, they contend that access will enable owners of voice assistant devices to
improve the device’s functionality—for example, by installing applications developed
by third parties or by fixing security vulnerabilities that the manufacturer has yet to
address. 1016 Second, they argue that jailbreaking would give users greater control over
their privacy. Noting that voice assistant devices “are designed to transmit audio
commands over the Internet to the manufacturer’s servers for interpretation,” and may
also transmit sensitive data from connected devices, proponents seek the ability to install
firewall software to prevent such transmissions, as well as the ability to control the
operation of particular applications or hardware features such as the microphone or

1012   EFF, ORI & ASCDI Class 6 Initial at 2.
1013   Id.
1014   Id. at 6.
1015   Id.
1016   Id. at 13–14.

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camera. 1017 Finally, proponents argue that jailbreaking will enable users to continue
using voice assistant devices even if the manufacturer discontinues server support,
thereby extending the useful life of such devices and mitigating the environmental
impact of electronics waste. 1018

Proponents assert that gaining such access requires circumvention of TPMs contained in
the device firmware. They note that most voice assistant devices, including the Amazon
Echo and Google Home, run variants of the GNU/Linux operating system, which
“contains access controls that can be configured to restrict access to nearly any of a
device’s functions, including the ability to add or remove software from a device.” 1019
Neither Amazon nor Google, they contend, grant such access, and therefore “obtaining
it requires modifying or replacing the access controls on the device.” 1020 The Apple
HomePod runs the iOS operating system, which “contains cryptographic verification
that prevents any application from running on a device unless it bears a digital signature
from Apple.” 1021 The system also “contains cryptographic checks at various levels of the
software stack that prevent modification or replacement of the operating system
itself.” 1022

Class 6 was opposed by the ACT | The App Association (“ACT”), ESA, and Joint
Creators II and the Recording Industry Association of America (“RIAA”) testified in
opposition of the proposed class. Opponents argue that jailbreaking of voice assistant
devices will contribute to piracy by enabling users to gain unauthorized access to
subscription-based streaming content, as well as by enabling the installation of
counterfeit apps or apps offering infringing content. 1023 In opponents’ view, jailbreaking
a voice assistant device carries a greater risk of these harms than exists in the context of
the devices covered by the current exemption.

                    2. Discussion

                       a. Scope of the Proposed Class

The Acting Register first addresses two related issues concerning the scope of the
request. First, Joint Creators II argue that the exemption requested in the supporting
comments of EFF, ORI, and ASCDI should be denied as untimely because it differs from

1017   Id. at 14.
1018   Id. at 14–15.
1019   Id. at 6.
1020   Id. at 6–7.
1021   Id. at 7.
1022   Id.
1023   See, e.g., ACT Class 6 Opp’n at 5.

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the request in EFF’s petition and was submitted after the petition deadline of September
13, 2017. Joint Creators II note that EFF’s petition sought an exemption for “general-
purpose portable computing devices,” 1024 while the supporting comments seek to cover
(in Joint Creators II’s language) “non-portable, in-home or in-office, voice assistants.” 1025
EFF responded that it was clear from its petition that voice assistant devices were
included; indeed, the petition listed “the Amazon Echo series of products, the Google
Home, and the forthcoming Apple HomePod” as examples of devices to be covered. 1026
Further, EFF contends that it provided “more focused regulatory language” in its
comments in response to the NPRM’s request for examples of specific types of devices
that would be encompassed by the proposed exemption. 1027

The Acting Register concludes that proponents’ request was timely filed. The Office’s
petition request form states that “[p]etitioners need not propose precise regulatory
language or fully define the contours of an exemption class” and that “a short, plain
statement describing the nature of the activities the petitioners wish to engage in will be
sufficient.” 1028 As proponents note, EFF’s petition made clear that the proposed
exemption was intended to include the most well-known examples of voice assistant
devices. The proposed regulatory language in proponents’ subsequent comments is
consistent with that statement; in fact, the latter language is narrower than that of the
petition, which would have covered not just voice assistant devices but other “general
purpose portable computing devices,” including by changing the type of operating
systems relevant to the exemption. 1029 Therefore, opponents have not been prejudiced
by the change in proponents’ language, and the Acting Register accordingly will
consider the proposal as reflected in the comments.

Second, some opponents contend that proponents’ definition of “voice assistant device”
is overbroad. As noted, the proposed exemption defines that term as “a device that is
primarily designed to run a wide variety of programs rather than for consumption of a
particular type of media content, is designed to take user input primarily by voice, and
is designed to be installed in a home or office.” 1030 Joint Creators II argue that this
definition could sweep in devices such as television set-top boxes and Blu-ray players,
many of which “are capable of being operated by voice and access multiple forms of


1024   EFF Class 6 Pet. at 2 (emphasis added).
1025   Joint Creators II Class 6 Opp’n at 4.
1026   EFF Class 6 Reply at 2 (quoting EFF Class 6 Pet. at 3).
1027   Id. at 3.
1028   EFF Class 6 Pet. at 2.
   Id.; see also ESA Class 6 Opp’n at 2 (stating that supporting comments “propos[e] narrower
1029

regulatory language” than that proposed in petition).
1030   EFF, ORI & ASCDI Class 6 Initial at 2.

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content.” 1031 ACT similarly contends that the definition “could essentially include any
home computing device operated by voice commands.” 1032 Proponents respond that
they are not seeking to extend the exemption beyond voice assistant devices. They
argue that their definition excludes set-top boxes, digital video recorders, universal
remote controls, and video game consoles on the ground that those devices “are all fully
functional without using voice commands,” as well as the fact that none of them are
“designed to run a wide variety of software applications apart from media viewing.” 1033

Based on proponents’ statements, the Acting Register understands the proposed
expansion to exclude the devices cited by opponents. The analysis below accordingly
will consider whether the jailbreaking of this narrower category of voice assistant device
qualifies for an exemption under section 1201. If that question is resolved in the
affirmative, the Acting Register will consider whether proponents’ suggested definition
appropriately describes the scope of the class or whether alternative regulatory language
is warranted.

                    b. Works Protected by Copyright

In recommending the current exemption, the Register recognized that the operating
systems in smartphones and portable all-purpose mobile computing devices constitute
computer programs within the meaning of the Copyright Act. 1034 The same conclusion
applies to the firmware in voice assistant devices. 1035 Therefore, the Acting Register
finds that at least some works included in the proposed expansion of the class are
protected by copyright.

                    c. Asserted Noninfringing Uses

Proponents note that “[j]ailbreaking involves modifying the firmware on one’s device,
potentially creating a derivative work” 1036—a prima facie infringement of the copyright
owner’s exclusive right to prepare derivative works under section 106(2) of the

1031   Joint Creators II Class 6 Opp’n at 10.
1032   ACT Class 6 Opp’n at 4.
1033   EFF Class 6 Reply at 4.
   See 2015 Recommendation at 172 n.1077 (“Although the terms ‘firmware’ and ‘software’ are
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variously used throughout the Recommendation, both are considered computer programs within
the meaning of the Copyright Act.” (citing 17 U.S.C. § 101 (definition of “computer program”))).
   See EFF, ORI & ASCDI Class 6 Initial at 4 (“Voice assistants from Amazon and Google run
1035

variants of the GNU/Linux operating system, the same operating system that runs on billions of
other Internet-connected devices and forms the basis of the Android operating system for mobile
devices. The Apple HomePod runs iOS, the same operating system that runs on iPhone and iPad
devices.”).
1036   Id. at 8.

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Copyright Act. They argue, however, that such activity is noninfringing under the fair
use doctrine, and that each of the factors weighs in favor of the exemption. 1037 In
proponents’ view, the fair use analysis relied upon by the Register in recommending the
previous jailbreaking exemptions is equally applicable in the context of voice assistant
devices. Opponents do not directly contest these fair use arguments, but the Acting
Register must assess them regardless.

Proponents do not provide a separate fair use analysis for the second aspect of their
request, which seeks to add language expressly permitting circumvention for purposes
of enabling or disabling hardware features of the relevant device. Proponents describe
this request as merely a clarification of the existing exemption language, contending that
“the ability to enable or disable hardware features is inherent in the ability to install or
remove software.” 1038 They do not provide further elaboration, however, and Joint
Creators II do not appear to concede that such activity is currently covered. 1039 Given the
lack of evidence or analysis in the record, the Acting Register declines to opine on the
question whether this request is properly considered a clarification compared to an
expansion of the current exemption. Without more information about the specific
nature of the activity, the Acting Register cannot determine whether it requires a
different fair use analysis from that applicable to jailbreaking as defined under the
current exemption. The analysis below accordingly is limited to the question of whether
circumvention of the access controls on voice assistant devices for the purposes
provided in the current exemption is likely to be a fair use.

With respect to the first fair use factor, EFF/ORI/ASCDI argue that the purpose and
character of jailbreaking favor their proposal because “the analysis and modification of
the functional aspects of software” to make it interoperable with other programs is a
favored purpose under applicable precedent. 1040 They rely on the Ninth Circuit’s
decisions in Sega Enterprises Ltd. v. Accolade, Inc. and Sony Computer Entertainment, Inc. v.
Connectix Corp., which held that reverse engineering video game systems to facilitate the


   Id. at 8–13. Despite its potential relevance, proponents did not rely on section 117, which
1037

permits the owner of a copy of a computer program to reproduce and adapt the program in
certain circumstances, as a basis for noninfringing use.
1038   Id. at 2; see also Tr. at 93:20–94:09 (Apr. 12, 2018) (Stoltz, EFF).
1039See Joint Creators II Class 6 Opp’n at 3 n.2 (“Without more information, the Joint Creators and
Copyright Owners cannot determine whether to oppose this expansion.”); Tr. at 96:19–24 (Apr.
12, 2018) (Williams, Joint Creators II); see also Tr. at 99:07–12 (Apr. 12, 2018) (Hughes, RIAA) (“In
these devices, it sounds to me that if one of their purposes is to start to turn off hardware
features, then my concern would be that there’s going to be some unintended consequence
whereby suddenly music that was licensed for an end-to-end secure distribution is no longer
secure.”).
1040   EFF, ORI & ASCDI Class 6 Initial at 8.

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creation of interoperable third-party software was a fair use. 1041 Proponents also point to
the Register’s prior determination that the goal of jailbreaking—“to allow the operating
system on a device to interact with other programs”—is “a favored purpose under the
law,” 1042 as well as the Register’s finding that the legislative history of section 1201
“expresse[s] a commitment to permit and encourage interoperability.” 1043

Proponents further argue that jailbreaking is a transformative, noncommercial use.
Citing Connectix, they contend that “[c]opying and modification of software to render it
compatible with other, independently created software has been held to be a
transformative purpose.” 1044 Proponents assert that jailbreaking is noncommercial
because those who jailbreak “do not do so for profit, but to enhance, personalize, and
secure their devices,” and that that jailbreaking “promotes additional creativity and
expands access to knowledge by encouraging more software development and
expanded functionality.” 1045

The Acting Register agrees with proponents that this factor favors fair use. As
proponents note, previous Registers have concluded that enabling a device’s operating
system to interoperate with other programs is a favored purpose under the first fair use
factor. 1046 Indeed, the Acting Register notes the long history of exemptions for
jailbreaking granted in prior rulemakings. Nothing in the record suggests that
jailbreaking a voice assistant device is materially different in purpose and character from
jailbreaking those other types of devices. Similarly, with respect to proponents’
contention that jailbreaking is transformative, the Register previously found that
question unnecessary to a determination that the first factor favors fair use. In 2015 the
Register noted that even if jailbreaking is not considered transformative, “the first factor
may nonetheless favor fair use where, as here, the purpose and character of the use is
‘noncommercial and personal’ and enhances functionality.” 1047 The same conclusion
applies to the jailbreaking of voice assistant devices. 1048


1041   Id. (citing Sega, 977 F.2d at 1514, and Connectix, 203 F.3d at 598–99).
1042   Id. at 9 (quoting 2015 Recommendation at 188).
1043   Id. (quoting 2010 Recommendation at 92).
1044   Id. at 10 (citing Connectix, 203 F.3d at 606–07).
1045   Id.
1046See 2015 Recommendation at 188; see also 2012 Recommendation at 72; 2010 Recommendation
at 93–95.
1047   2015 Recommendation at 188; see also 2012 Recommendation at 72; 2010 Recommendation at
93.
1048At the hearing, counsel for Joint Creators II suggested that the Office’s prior analysis under
this factor should change in light of the Federal Circuit’s decision in Oracle Am., Inc. v. Google LLC,
886 F.3d 1179 (Fed. Cir. 2018), which was issued after the close of the written comment period.

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Finally, the Acting Register believes it significant that proponents seek to jailbreak voice
assistant devices for the additional purpose of safeguarding personal privacy. Section
1201(i) provides a permanent exemption that permits circumvention for the “sole”
purpose and effect of disabling technology that collects or disseminates personally
identifying information. 1049 While proponents’ requested exemption is not fully covered
by the 1201(i), section 1201(i) reflects Congress’s recognition that the protection of
privacy is a purpose for which circumvention may be warranted under appropriate
circumstances. 1050 The Acting Register finds that this consideration further tips the first
factor in favor of fair use. 1051

As to the second factor, proponents rely on the Ninth Circuit’s holdings in Sega and
Connectix for the proposition that the nature of the work favors fair use where the
copying of software is necessary to understand its functional aspects. 1052 They also note



See Tr. at 157:16–159:21 (Apr. 12, 2018) (Williams, Joint Creators II). In Oracle, the court held that
Google’s use of Oracle’s application programming interface packages to develop a software
platform for mobile devices was not transformative. Oracle, 886 F.3d at 1199. The court
distinguished Connectix, where the court found the copying of software code to create a
compatible product with new code to be “modestly transformative.” Id. at 1200 (citing Connectix,
203 F.3d at 606–07). In contrast, the Oracle court found that Google copied the code verbatim to
attract programmers to a “new and incompatible platform.” Id. (internal quotation marks and
citation omitted). Counsel for Joint Creators II argued that jailbreaking more closely resembles
the latter activity because the copied firmware is used for substantially the same purpose for
which it was designed. Tr. at 158:20–159:07 (Apr. 12, 2018) (Williams, Joint Creators II).
Regardless, however, the Office’s analysis does not require a finding that jailbreaking is
transformative in these circumstances. See 2015 Recommendation at 188 (“Even if this use is not
considered transformative in nature—because the computer program is still being used for its
intended purpose—that is not in and of itself a basis to reject a fair use claim.”).
1049   17 U.S.C. § 1201(i).
   Id. § 1201(i)(1); see also Tr. at 94:19–21 (Apr. 12, 2018) (Stoltz) (opining that section 1201(i)
1050

would not cover all aspects of proposed exemption); Tr. at 112:03–14 (Apr. 12, 2018) (Freeman,
SaurikIT) (similar).
1051The Acting Register notes that voice assistant devices recently have been the subject of
privacy-related concerns. See, e.g., Letter from U.S. Senators Jeff Flake & Christopher A. Coons to
Jeff Bezos, Chief Executive Officer, Amazon, Inc. (June 11, 2018), https://www.flake.senate.gov/
public/_cache/files/ef175bd4-d6b4-46eb-9014-bb8942420a63/06.12.18-flake-coons-amazon-
letter.pdf (requesting information on privacy and data-security issues concerning Amazon Echo);
Laurel Wamsley, Amazon Echo Recorded and Sent Couple’s Conversation—All Without Their
Knowledge, NPR (May 25, 2018), https://www.npr.org/sections/thetwo-way/2018/05/25/
614470096/amazon-echo-recorded-and-sent-couples-conversation-all-without-their-knowledge.
   EFF, ORI & ASCDI Class 6 Initial at 10 & n.56 (citing Sega, 977 F.2d at 1526, and Connectix, 203
1052

F.3d at 605).

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that in considering the jailbreaking exemptions requested in prior rulemakings, the
Register has consistently concluded that this factor favors fair use on the ground that
firmware is largely functional in nature. 1053

For substantially the same reasons cited in reference to those exemptions, the Acting
Register concludes that the nature of the software at issue weighs in favor of fair use.
The record evidence indicates that the firmware in voice assistant devices serves
primarily to “start up the device, control the hardware, and allow the running of other
programs” 1054—the same functions as the firmware in the smartphones and other
devices covered by the existing exemption. Indeed, the record indicates that voice
assistant devices run either the same firmware as is used in those devices or a variant of
such firmware. 1055 Because these programs are “largely functional, rather than
expressive, in nature,” 1056 the second factor favors fair use.

Proponents argue that the third factor requires only that “[t]he amount taken . . . be
‘reasonable’ and for a legitimate purpose,” and that “the amount of code copied in the
course of a jailbreak” satisfies that standard. 1057 Proponents acknowledge that “the
amount of code that must be copied and modified varies depending on the device and
firmware,” but they cite case law in which copying works in their entirety was deemed
“necessary to achieving a favored purpose.” 1058 Moreover, they argue, “[i]n most cases,
the portion of the firmware that must be permanently modified to accomplish a jailbreak
is a very small proportion of the overall code.” 1059 Proponents accordingly maintain that
the third factor either “favors fair use, or is neutral.” 1060

In each of the past three rulemakings, the Register found that this factor has limited
significance in the context of jailbreaking. 1061 Most recently, the Register concluded that
“while jailbreaking often requires making a complete reproduction of the firmware, in


   Id. at 10–11 (citing 2015 Recommendation at 188, 2012 Recommendation at 73, and 2010
1053

Recommendation at 96).
1054   Id. at 6.
1055   Id. at 6–7.
1056   2015 Recommendation at 188–89.
1057   EFF, ORI & ASCDI Class 6 Initial at 11–12 (quoting Campbell, 510 U.S. at 586).
   Id. at 11 (citing Sega, 977 F.2d at 1526, Connectix, 203 F.3d at 605–06, Kelly v. Arriba Soft Corp.,
1058

336 F.3d 811, 820–21 (9th Cir. 2001), Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1167–68 (9th
Cir. 2007), and Google Books, 804 F.3d at 221–22).
1059   EFF, ORI & ASCDI Class 6 Initial at 11.
1060   Id. at 12.
1061   See 2015 Recommendation at 188–89; 2012 Recommendation at 74; 2010 Recommendation at
97.

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light of the de minimis nature of the modifications ultimately made to the firmware to
enable jailbreaking, this factor, while not favorable to fair use, is of limited relevance.” 1062
Nothing in the current record suggests that the analysis should differ with respect to
voice assistant devices, and therefore the Acting Register reaches the same conclusion.

In considering the fourth factor, proponents argue that jailbreaking of voice assistant
devices does not harm the market for the sale of device firmware because the firmware
“is sold along with the devices themselves, not separately.” 1063 Noting that “[f]irmware
upgrades are not sold, but are made available to device owners as a free download,”
they contend that “jailbreaking does not cause any proliferation of infringing copies, nor
replace any sales.” 1064 Proponents additionally contend that “[j]ailbreaking has not
harmed sales of other devices.” 1065

On this factor as well, the Acting Register adheres to the analysis from prior
rulemakings. In 2010, 2012, and 2015, the Register found no evidence that jailbreaking
was likely to displace sales of the firmware in the devices at issue. 1066 In fact, in the two
most recent rulemakings, the Register noted evidence that sales of smartphones had
increased during the period in which the jailbreaking exemption for such devices was in
effect. 1067 The evidence in this proceeding indicates a similar trend for smartphones. 1068
Moreover, nothing in the record suggests that there has been any harm to the market for
the firmware in portable all-purpose mobile computing devices since the jailbreaking
exemption for those devices took effect in 2015. Nor is there any basis to conclude that a
different result would obtain if the exemption were extended to voice assistant devices.
The Acting Register accordingly concludes that this factor favors fair use. 1069

Based on the foregoing analysis, the Acting Register finds that proponents have met
their burden of showing that jailbreaking voice assistant devices within the meaning of
the current exemption is likely to be a fair use.

1062   2015 Recommendation at 188–89.
1063   EFF, ORI & ASCDI Class 6 Initial at 12.
1064   Id.
1065   Id.
1066   2015 Recommendation at 189; 2012 Recommendation at 74; 2010 Recommendation at 97–100.
1067   2015 Recommendation at 189; 2012 Recommendation at 74.
1068   See EFF, ORI & ASCDI Class 6 Initial at 12 n.79.
   Opponents argue that jailbreaking may give rise to piracy of creative content transmitted to
1069

voice assistant devices, such as music streamed via a subscription-based service. See ACT Class 6
Opp’n at 4–6; Joint Creators II Class 6 Opp’n at 11–13. This concern does not go to the effect of
the copying or alteration of the device firmware on the market for or value of that work.
Therefore, the Acting Register addresses it below in her analysis of the fourth statutory factor
under section 1201(a)(1)(C).

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                    d. Causation

The Acting Register finds that proponents have met their burden of showing that the
statutory prohibition on circumvention of access controls limits their ability to engage in
jailbreaking of voice assistant devices. But for the prohibition, users likely could gain
lawful access to the copyrighted firmware for that purpose. 1070

                    e. Asserted Adverse Effects

Regarding the first statutory factor, EFF/ORI/ASCDI argue that a jailbreaking exemption
“will have either no effect or a positive effect on the availability of copyrighted firmware
and application software.” 1071 They point to the Register’s prior conclusion that
jailbreaking likely would increase the availability of applications for smartphones and
likely would not interfere with the availability of smartphone operating systems or other
works created for wireless communications devices. 1072 In proponents’ view, the same
conclusion should apply here. Proponents further contend that jailbreaking voice
assistant devices will not contribute to infringement of copyrighted entertainment media
streamed to such devices, such as content from music streaming services, because any
digital rights management (“DRM”) protecting such streams is separate from the access
controls in the bootloader and operating system. 1073

Opponents challenge the contention that jailbreaking is necessary to promote the
development of new applications. Joint Creators II note that Amazon and Google
“already allow independent app development for voice assistants” and reports suggest
that Apple will do so in the future. 1074 ACT argues that circumvention is unnecessary
given the availability of “low-cost, open source hardware available for
programming.” 1075 Citing Raspberry Pi and Arduino as examples, ACT contends that




   See EFF, ORI & ASCDI Class 6 Initial at 6–7 (stating that obtaining access to firmware on
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Amazon Echo and Google Home “requires modifying or replacing the access controls on the
device” and that Apple HomePod contains cryptographic verification preventing running of non-
approved applications and cryptographic checks preventing modification or replacement of the
operating system); EFF Class 6 Reply at 7 (“Jailbreaking is . . . the only way to add non-Apple
software to a HomePod.”).
1071   EFF, ORI & ASCDI Class 6 Initial at 15.
1072   Id. (citing 2010 Recommendation at 102).
1073   Id.
1074   Joint Creators II Class 6 Opp’n at 14.
1075   ACT Class 6 Opp’n at 3.

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these platforms “enable users to create personalized home automation with voice
assistant devices” without the need to circumvent access controls. 1076

In response, proponents dispute that these options provide adequate alternatives to
circumvention. First, EFF notes that one of the uses in which users seek to engage is the
alteration of the firmware “to selectively limit [the device’s] functionality, such as by
limiting the reach of the always-on voice recognition, the various wireless interfaces, and
the transmission of very personal data.” 1077 It argues that such modifications “require
adding software to the device itself, and cannot be accomplished through ‘Alexa Skills’
and similar third-party functionality that resides largely on the manufacturer’s
servers.” 1078

Second, with respect to the installation of third-party apps, EFF notes that the Register
previously rejected the argument that the Android platform’s relative openness to such
software renders jailbreaking unnecessary. 1079 Further, they emphasize that the Apple
HomePod does not currently permit the installation of third-party apps, arguing that
“speculation about whether Apple might change its policy in the future does not obviate
the need for an exemption now.” 1080 As to the electronics platforms cited by ACT, EFF
contends that they do not provide an adequate substitute because “[b]uilding a device
from scratch to approximate the functionality of a voice assistant” would require
significant amounts of hardware, assembly, and programming, the costs of which are
“likely to be more than the retail price of a mass-produced voice assistant device.” 1081

The Acting Register finds that this factor favors the requested exemption. As the
Register concluded in the past three rulemakings, “access controls prevent consumers
from using third-party applications, so denying a jailbreaking exemption would
significantly diminish the availability of those works. At the same time, granting the
exemption is unlikely to discourage use or development of devices or the copyrighted
firmware needed to run them.” 1082

The Acting Register concludes that this potential diminished availability of copyrighted
works would not be adequately offset by the alternatives to circumvention cited by


   Id.; see also Tr. at 155:06–156:19, Hearing Ex. 6-B, (Apr. 12, 2018) (Zuck, ACT) (discussing
1076

photographs of DYI device).
1077   EFF Class 6 Reply at 7.
1078   Id.
1079   Id. (citing 2015 Recommendation at 190).
1080   Id.
1081   Id. at 7–8.
10822015 Recommendation at 190 (citing 2012 Recommendation at 76, and 2010 Recommendation
at 101).

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opponents. Opponents do not dispute proponents’ assertion that limiting device
functions cannot be accomplished using manufacturer-provided functionality. 1083
Moreover, although the record indicates that Amazon and Google allow the installation
of third-party apps on their voice assistant devices, opponents do not dispute that Apple
has yet to do so on its HomePod. Absent an exemption, therefore, users in at least that
segment of the market would be prevented from installing such apps. Nor do the
hardware platforms cited by ACT provide a realistic and sufficient alternative. While
section 1201’s legislative history cautions against finding an adverse impact on the basis
of “mere inconveniences,” the costs and burdens associated with building an entirely
separate device on which to run third-party apps would far exceed that standard. 1084

The Acting Register does not, however, find that granting the second component of
proponents’ request—the addition of language expressly permitting circumvention “to
enable or disable hardware features of the smartphone or device”—would increase the
availability for use of copyrighted works. As explained above, the record lacks sufficient
information about the nature those activities to permit a determination of whether they
are outside the scope of the current exemption. At any rate, proponents did not offer
evidence suggesting that the absence of such language has caused confusion or has
otherwise adversely affected those seeking to jailbreak under the current exemption,
stating only “because of the importance of this ability, particularly to protect user
privacy and security, we request that the Office recommend including that purpose
explicitly in the exemption.” 1085 Thus, there is no basis to conclude that the requested
addition would promote the availability for use of copyrighted works.

Finally, although the parties did not raise this issue, the Acting Register notes that there
is a plausible argument that the permanent exemption for reverse engineering under
section 1201(f) already permits this activity and thus diminishes the favorability of this
statutory factor. The Copyright Office’s recent policy study on section 1201 concluded
that section 1201(f) “may . . . allow jailbreaking smartphones, for example, ‘in order to
make the operating system on that phone interoperable with an independently created
application . . . [when] the modifications . . . are made purely for the purpose of such
interoperability.’” 1086 Assuming that construction is correct, it could be argued that a
jailbreaking exemption is unnecessary to promote the availability for use of copyrighted
works because jailbreaking is already permitted under section 1201(f). The report noted,

1083Cf. id. (“Although Android is a somewhat more open platform than Apple’s iOS in terms of
the applications it will allow . . . it may not be possible to uninstall applications” without
jailbreaking.).
1084House Manager’s Report at 6; see also Section 1201 Report at 122 (noting that “alternatives to
circumvention should be realistic and not merely theoretical”).
1085   EFF, ORI & ASCDI Class 6 Initial at 17.
1086   Section 1201 Report at 70 n.377 (quoting 2010 Recommendation at 100 (citations omitted)).

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however, that the Office would continue to recommend granting exemptions otherwise
meeting the statutory standard “in cases where there may be reasonable disagreement as
to whether section 1201(f) applies.” 1087 Previous Registers recognized that section
1201(f) does not unambiguously authorize jailbreaking by end users, 1088 and the Acting
Register notes the general dearth of case law on that question. Therefore, while the
Office continues to believe that section 1201(f) is properly construed to accommodate
certain jailbreaking activities, the Acting Register will not alter her analysis of the first
statutory factor on this basis.

As to the second statutory factor, proponents argue that the availability of firmware for
nonprofit archival, preservation, and educational purposes “will not be harmed” and
that this factor might even favor an exemption because “[j]ailbreaking a voice assistant
[device] could enable the device to be used for capturing and preserving an audio record
under the control of the device owner, with voice control over the recording
functions.” 1089 They do not, however, elaborate on that potential use.

In the three previous rulemakings, the Register found that this factor is not directly
implicated by the jailbreaking exemptions, 1090 and the Acting Register reaches the same
conclusion here. Proponents’ one-sentence reference to the possible preservation of
audio records does not tip this factor in favor of an exemption because it is speculative
and unsupported by the record. This factor accordingly is neutral.

For the third factor—the impact on criticism, comment, news reporting, teaching,
scholarship, or research—proponents contend that this exemption will enable users to
install, use, study, and comment upon software that otherwise could not be installed on
voice assistant devices due to manufacturer-imposed content restrictions. As an
example, they note that Apple will not approve apps for sale in its App Store if they
contain “content that is offensive, insensitive, upsetting, intended to disgust, or in
exceptionally poor taste,” meaning that jailbreaking is required to install such apps on
iOS devices. 1091

The Acting Register finds that this factor somewhat favors the requested exemption,
insofar as it may allow users to research and comment upon new software applications


1087   Id.
1088See 2015 Recommendation at 181 n.1159; 2012 Recommendation at 71; 2010 Recommendation
at 84–85.
1089   EFF, ORI & ASCDI Class 6 Initial at 16.
1090   2015 Recommendation at 190; 2012 Recommendation at 77; 2010 Recommendation at 101.
1091 EFF, ORI & ASCDI Class 6 Initial at 16. Proponents also assert that manufacturers have made
certain apps unavailable in foreign countries at the request of those countries’ governments, see
id., but they do not explain how an exemption under U.S. law would address that issue.

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that would otherwise be excluded from use on voice assistant devices. Moreover, as was
true in the 2015 rulemaking, “the current record suggests that jailbreaking may help
further research of security flaws by allowing users to access a device’s ‘lower-level
functionality’ to detect vulnerabilities.” 1092

As to the fourth factor, proponents contend that an expanded jailbreaking exemption
would have no adverse impact on the market for the firmware on voice assistant devices
for the same reasons cited in their argument under the fourth fair use factor. In fact,
they argue, “the proposed expansion is likely to stimulate the market for such works by
permitting developers to create new applications for the devices[,] . . . thus making these
devices—together with their copyrighted firmware—more attractive to consumers.” 1093

But opponents’ argument under this factor—indeed, their principal argument against
the expansion as a whole—is that jailbreaking is likely to enable voice assistant devices
to access pirated content. Joint Creators II provide a statement from an expert,
Christopher Bell, who opines that “obtaining root access to the firmware on a voice
assistant [device] in order to install arbitrary code to run on the device may lead to a
compromise of . . . protection schemes” used to prevent unauthorized access to content
from subscription streaming services. 1094 First, Mr. Bell states that a person who obtains
root access likely could “attach a peripheral device and obtain permanent copies of
sound recordings that the consumer only paid to access via a temporary
subscription.” 1095 Second, he states that such a user “could potentially avoid limitations
imposed by a service provider on the number of devices through which one subscription
account may be accessed,” resulting in “multiple consumers sharing accounts.” 1096 As
further evidence of piracy risk, Joint Creators II refer to a statement by an entrepreneur
and inventor named Todd Troxell, who notes that he is unable “to create an app to ‘filter
curse words from all applications’” without jailbreaking the device. 1097 According to
Joint Creators II, “[t]his implies that jailbreaking will enable Mr. Troxell to impact
content delivery from subscription music, television, e-book, and streaming services.” 1098

These piracy concerns, opponents argue, are greater in the context of voice assistant
devices than in that of other devices. Opponents do not dispute that manufacturers

1092   2015 Recommendation at 191.
1093   EFF, ORI & ASCDI Class 6 Initial at 16.
  Joint Creators II Class 6 Opp’n at Ex. 1 (statement of Christopher Bell, Vice President Tech. &
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Anti-Piracy, Business Development Warner Music Grp. (“Bell Statement”) at 2).
1095   Id. (Bell Statement at 3).
   Id. (Bell Statement at 3) (describing technological process analogous to “MAC address
1096

spoofing”).
1097   Id. at 13 (citing EFF, ORI & ASCDI Class 6 Initial at Ex. A (statement of Todd Troxell at 1)).
1098   Id.

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generally provide root access to the operating systems on personal computers by
default, 1099 or that the existing jailbreaking exemptions authorize such access on mobile
computing devices. But in contrast, RIAA argues, voice assistant devices are relatively
simple devices that do not incorporate the same “hardware and software complexity”
that exists in personal computers, and therefore they provide more limited security
options. 1100 As a result, it contends, it may be easier to download unauthorized copies of
sound recordings streamed to a voice assistant device than it would be to extract such
material from a general purpose computing device. 1101 In addition, RIAA asserts that an
exemption would threaten the viability of the licensing market for music streaming
services. It notes that although there is “not a direct relationship” between music
copyright owners and manufacturers of voice assistant devices, content owners’
negotiations with streaming services are premised on “an assumption that the music
will be kept secure” when the services in turn allow the content to be accessed on
particular devices. 1102 Opponents accordingly “consider access controls on voice
assistant firmware to be one important aspect of ensuring secure delivery of content.” 1103

Opponents further suggest that jailbreaking would facilitate the installation of
counterfeit apps and apps that enable unauthorized access to copyrighted content. ACT
argued that the requested expansion “would open the door to an online environment
where illegal and counterfeit apps could be distributed freely.” 1104 Joint Creators II and
RIAA introduced evidence showing that counterfeit versions of Spotify and Pandora, as
well as other apps providing unauthorized access to creative works, are widely available
via Cydia, an online app store for jailbroken devices. 1105 They argue that the jailbreaking
of devices contributes to the availability and use of these illegal platforms, which
“continue to cause significant harm to the entertainment industries.” 1106 Joint Creators II
accordingly urge that any expanded jailbreaking exemption “expressly exclude


   See EFF Class 6 Reply at 5 (claiming that “[p]ersonal computers give root or superuser
1099

privileges to their owner or primary user by default”).
1100   Tr. at 100:03–13 (Apr. 12, 2018) (Hughes, RIAA).
1101   Joint Creators II Class 6 Opp’n at Ex. 1 (Bell Statement at 3).
1102   Tr. at 103:08–12 (Apr. 12, 2018) (Hughes, RIAA).
1103   Joint Creators II Class 6 Opp’n at Ex. 1 (Bell Statement at 4).
1104   ACT Class 6 Opp’n at 6.
1105 Tr. at 118:24–119:24, 121:24–122:14, Hearing Ex. 6-A (Apr. 12, 2018) (Williams, Joint Creators
II) (discussing Cydia); Tr. at 144:17–145:05, Hearing Ex. 6-D (Apr. 12, 2018) (Hughes, RIAA)
(same).
   Joint Creators II Class 6 Opp’n at 13. Joint Creators II cite a music industry study concluding
1106

that 40% of consumers across thirteen countries access unlicensed music. See id. (citing IFPI,
CONNECTING WITH MUSIC: MUSIC CONSUMER INSIGHT REPORT 5 (2017), http://www.ifpi.org/
downloads/Music-Consumer-Insight-Report-2017.pdf).

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jailbreaking that results in the installation of applications that enable unauthorized
access to copyrighted works,” as well as “circumvention that results in unauthorized
access to music, or audiovisual works.” 1107

Proponents respond that there is no showing that extending the jailbreaking exemption
to voice assistant devices will increase the likelihood of piracy. EFF notes that
subscription-based content apps like Spotify are also available on devices covered by the
prior jailbreaking exemptions and argue there is no evidence that unauthorized access to
such services “is more prevalent on mobile devices because of the legal ability to
jailbreak.” 1108 In addition, they argue that access to content from streaming services is
protected by access controls that are separate from those protecting access to the device
firmware. They offer a statement from their own expert, Seth Schoen, who opines that
“[t]he device owner’s root privileges typically are not sufficient to give the owner
unrestricted access to [entertainment] media, because the application software used to
decrypt and view those media enforces other restrictions or contains other technical
measures that do not depend on [withholding root privileges].” 1109 Mr. Schoen further
states that “[s]treaming media services can also use a variety of measures on the server
side to enforce policies about authorized access to media. These measures do not
depend on locking the user’s device against modification.” 1110 Such server-side
measures include “restrict[ing] the number of simultaneous streams each customer can
run” and “analyz[ing] connections to [the provider’s] server for unusual patterns of
activity.” 1111

As to ACT’s contention concerning the installation of counterfeit apps, EFF responds
that “[t]he Register has never found that the mere ability to load counterfeit software on
a general-purpose computing device justifies denying owners the right to install
software of their choice.” 1112 In their view, this concern is no greater for voice assistant
devices than it is for smartphones. 1113

Based on the record as a whole, the Acting Register concludes that the fourth statutory
factor is at best neutral, and therefore does not tip the balance against the requested
exemption. With respect to the effect on the value of the device firmware, the same
conclusions noted above regarding the fourth fair use factor, as well as the Register’s


1107   Id. at 12 n.7, 13.
1108   EFF Class 6 Reply at 5.
1109   Id. at Attach. 1 (statement of Seth Schoen, Senior Staff Technologist, EFF at 1–2); see also id. at 6.
1110   Id. (statement of Seth Schoen, Senior Staff Technologist, EFF at 2).
1111   Id. (statement of Seth Schoen, Senior Staff Technologist, EFF at 2).
1112   Id. at 6.
1113   Id.

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past findings in the 2015 rulemaking on this issue, are applicable here. There is no
evidence that the prior jailbreaking exemptions have harmed the market for firmware in
smartphones or all-purpose mobile devices, and nothing in the record suggests that a
different conclusion is warranted for voice assistant devices. 1114

Nor can the Acting Register conclude, upon the current record, that an expanded
exemption is likely to harm the market for copyrighted works streamed to voice
assistant devices. The Acting Register recognizes that piracy of streaming content is a
highly significant concern, and credits Mr. Bell’s statement that “[v]oice assistants are
rapidly becoming an important part of the ecosystem through which consumers access
music,” as well as his description of the various TPMs applied to streaming apps to
prevent unauthorized access and facilitate these licensed services. 1115 The evidence,
however, does not indicate that the prior or current jailbreaking exemptions have led to
increased levels of piracy on mobile devices. 1116 Indeed, opponents did not oppose
renewal of the existing exemption. 1117 Furthermore, the evidence in this proceeding is
insufficient to conclude that allowing jailbreaking of voice assistant devices will create a
greater risk of unauthorized access to streaming content than exists with respect to other
devices. Instead, it is only cursorily alleged that the hardware/software may be less
robust in voice assistant devices than the other devices covered by the current
exemption, and participants’ experts offered conflicting descriptions of the potential
impact of the exemption. Notably, Joint Creators II’s experts acknowledged a general
lack of familiarity with the access controls used on voice assistant devices. Mr. Bell
noted that his employer, Warner Music Group, “is not privy to the precise methods used
to securely communicate or store [information shared by streaming services] on each


   Cf. 2015 Recommendation at 191 (finding “no evidence on the current record that jailbreaking
1114

will harm the market for smartphones, devices, or the firmware within them”).
1115   Joint Creators II Class 6 Opp’n at Ex. 1 (Bell Statement at 1).
1116The Acting Register appreciates opponents’ concern that it is difficult to obtain direct evidence
of such a relationship. See Tr. at 146:06–10 (Apr. 12, 2018) (Williams, Joint Creators II) (“[I]t’s very
difficult, if not impossible to collect one-to-one evidence showing that this individual person
jailbroke their phone, installed this app and then downloaded our music.”). Nothing in the
statute, however, prevents the Register from drawing reasonable inferences from circumstantial
evidence.
1117At the hearing, Joint Creators II suggested that opposition was impracticable in light of the
Office’s statement that it would recommend renewal in the absence of a “material change in the
facts, law, or other circumstances set forth in the prior rulemaking record.” NOI at 29,806; see Tr.
at 120:11–20 (Apr. 12, 2018) (Williams, Joint Creators II). But that standard is not so rigid that it
would have precluded the Office from considering relevant evidence going to the effect of the
current exemption on piracy activity, had such evidence been available; indeed, the Office would
consider evidence regarding whether the current exemptions were relied on by users seeking to
install apps facilitating unauthorized access to copyrighted works.

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voice assistant” and that “[g]iven that these devices are in their infancy, much is
unknown to us about the technical measures utilized by the manufacturers and the
streaming service providers.” 1118 At the hearing, RIAA’s Chief Technology Officer stated
that he had “no personal experience researching . . . in detail” how difficult it may be to
extract music data from the buffer of a voice assistant device. 1119 For opponents to
establish that this statutory factor weighs against the exemption on the ground that it
would adversely affect the market for their own creative works, they must offer more
than speculation about the role the access controls protecting the device firmware may
play in protecting access to those works.

Moreover, opponents did not dispute that subscription streaming services typically
control access to their content with TPMs separate from those protecting the firmware.
Mr. Bell stated that such services “would typically use multiple measures to prevent
unauthorized access,” including requiring “a customer log-in and password to verify
that a subscription has been obtained” and “encrypt[ing] streams as they are delivered
to the consumer.” 1120 The current record does not support a finding that jailbreaking
undermines the effectiveness of those separate TPMs. 1121 Thus, while the Acting Register
takes very seriously opponents’ concerns over potential impacts on licensing
negotiations with such services, there is insufficient basis to conclude that granting the
exemption is likely to disrupt that market. 1122

As noted, Joint Creators II also urge that any exemption include limitations to guard
against the installation of counterfeit or otherwise unauthorized apps. The Acting
Register agrees that concerns over the potential use of jailbroken devices as platforms for
unauthorized content are legitimate, and therefore she believes it appropriate to address


1118   Joint Creators II Class 6 Opp’n at Ex. 1 (Bell Statement at 2, 4).
1119   Tr. at 104:15–19 (Apr. 12, 2018) (Hughes, RIAA).
   Joint Creators II Class 6 Opp’n at Ex. 1 (Bell Statement at 2); see also Tr. at 132:09–11 (Apr. 12,
1120

2018) (Williams, Joint Creators II) (stating “I think there are things that the services already do on
the server side to prevent some of this”).
   Cf. 2015 Recommendation at 215 (proponents of jailbreaking exemption for smart TVs
1121

“explained that access to copyrighted programming . . . from services like Hulu and Netflix ‘is
controlled by separate TPMs’ from those used to protect the smart TV firmware, and Joint
Creators do not rebut this claim”) (citation omitted). In this regard, the record evidence
distinguishes the access controls protecting the firmware in voice assistant devices from the
access controls in video game consoles. The Register has repeatedly concluded that “‘access
controls on gaming consoles protect not only the console firmware, but the video games and
applications that run on the console as well,’ many of which are owned by the console
manufacturers.” Id. at 199 (quoting 2012 Recommendation at 41).
   To the extent probative evidence of market impact emerges during the next three years, it will
1122

be relevant if the issue is revisited in the next rulemaking.

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that issue in the regulatory text. The Acting Register declines, however, to recommend
the specific language proposed by Joint Creators II, which would exclude jailbreaking
“that results in the installation of applications that enable unauthorized access to
copyrighted works.” 1123 That formulation is potentially overbroad, as it could be read to
bar even the installation of web browsers, which can “enable unauthorized access to
copyrighted works.” 1124 But the Acting Register will recommend that the exemption
expressly exclude circumvention undertaken for purpose of gaining unauthorized access
to copyrighted works other than the device firmware. The Acting Register will discuss
this condition further in the Conclusion and Recommendation section below.

With respect to the fifth factor, the Acting Register does not find any additional factors
relevant to the asserted adverse effects in this proposed class. Therefore, in light of the
foregoing, the Acting Register finds that users are adversely affected in their ability to
jailbreak voice assistant devices, or are likely to be so adversely affected during the next
three years. The Acting Register does not, however, find such an adverse effect resulting
from the lack of express regulatory language permitting circumvention for purposes of
enabling or disabling hardware features of the device.

                    3. NTIA Comments

NTIA agrees with the Acting Register that an exemption is warranted, though it would
adopt the broader language requested by proponents. It concludes that jailbreaking
voice assistant devices is unlikely to harm the market for copyrighted works, noting that
there is no evidence of market harm for the devices covered by the current exemption. 1125
NTIA rejects opponents’ argument about unauthorized access to entertainment content
on the ground that it “fail[s] to explain why infringement is more likely on voice
assistant platforms than on smartphones, tablets, and other devices already subject to
the exemption.” 1126

NTIA further concludes that proponents have demonstrated that users in this class are
adversely affected by the statutory prohibition. In its view, “the proffered alternatives to
circumvention—including building one’s own device from an online model—are not
viable.” 1127 In addition, relying on the Register’s application of the statutory factors to
prior jailbreaking exemptions, NTIA concludes that “the proposed exemption would




1123   Joint Creators II Class 6 Opp’n at 13.
1124   EFF Class 6 Reply at 6.
1125   NTIA Letter at 47.
1126   Id.
1127   Id. at 48.

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have either no effect or a positive effect on the availability of copyrighted firmware and
application software.” 1128

NTIA’s recommended exemption language includes proponents’ suggested reference to
“enabl[ing] or disabl[ing] hardware features of the smartphone or device.” 1129 NTIA
does not address this provision in detail, but it states in a footnote that the Register
found in 2012 that such uses “would likely be transformative and non-infringing.” 1130
Yet in that proceeding the Register did not reach that conclusion specifically with respect
to enabling or disabling hardware features; the 2012 Recommendation does not refer to
those activities. 1131 For the reasons discussed above, the Acting Register concludes that
the addition of this language is not warranted on the current record.

                4. Conclusion and Recommendation

For the reasons described above, proponents of Class 6 have satisfied their burden of
showing that technological measures applied to voice assistant devices have an
adverse effect on noninfringing uses. The Acting Register accordingly recommends
adoption of an exemption authorizing the jailbreaking of such devices.

The Acting Register finds that proponents’ definition of “voice assistant device”
appropriately describes the scope of the category of devices. Such devices must be
“designed to take user input primarily by voice,” which excludes video game consoles,
set-top boxes, DVD and Blu-Ray players, and similar devices that typically are operated
using buttons. In addition, consistent with the existing definition of “portable all-
purpose mobile computing device,” a voice assistant device must be “primarily
designed to run a wide variety of programs rather than for consumption of a particular
type of media content.” This requirement provides an additional basis for excluding
game consoles, set-top boxes, and digital disc players, which ordinarily are not designed
to run a wide variety of computer programs (as distinguished from a particular type of
program, such as video games). Finally, a voice assistant device must be “designed to
be installed in a home or office.”

In addition, as noted, the recommended exemption does not extend to circumvention
intended to facilitate access to pirated works. The exemption text accordingly includes
the condition that circumvention not be “accomplished for the purpose of gaining
unauthorized access to other copyrighted works.” Because the Acting Register
previously determined that the existing jailbreaking exemptions should be renewed in


1128   Id.
1129   Id. at 49; see id. at 45 (quoting EFF, ORI & ASCDI Class 6 Initial at 2).
1130   Id. at 47 n.234 (citing 2012 Recommendation at 71–72).
1131   See 2012 Recommendation at 72–74.

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their current form, she does not at this stage recommend adding this new language to
those exemptions. Therefore, although proponents framed their request as an
amendment of the current exemption pertaining to smartphones and portable all-
purpose mobile computing devices, the Acting Register recommends that the newly
granted exemption for voice assistant devices appear as a separate provision in the
regulations so that it may incorporate this additional condition. In the next rulemaking,
the Office may seek public input on whether it is appropriate to extend this language to
the other jailbreaking exemptions.

Accordingly, the Acting Register recommends that the Librarian designate the following
class:

           Computer programs that enable voice assistant devices to execute
           lawfully obtained software applications, where circumvention is
           accomplished for the sole purpose of enabling interoperability of
           such applications with computer programs on the device, or to
           permit removal of software from the device, and is not accomplished
           for the purpose of gaining unauthorized access to other copyrighted
           works. For purposes of this paragraph (b)(8), a “voice assistant
           device” is a device that is primarily designed to run a wide variety of
           programs rather than for consumption of a particular type of media
           content, is designed to take user input primarily by voice, and is
           designed to be installed in a home or office.

           G. Proposed Class 7: Computer Programs—Repair

               1. Background

                  a. Summary of Proposed Exemption

Several organizations petitioned to expand the current exemption allowing for
circumvention of access controls controlling the functioning of motorized land vehicles
for purposes of diagnosis, repair, or lawful modification of a vehicle function to allow an
additional range of activities. 1132 The Office synthesized these suggestions into Proposed
Class 7, for which it sought public comment on “whether an expanded exemption to
cover additional repair and related activities should be adopted, including any proposed
regulatory language.” 1133 In response, the Office received comments in support of
expanding the exemption, along with proposed regulatory language, from Farmers; EFF,


   Auto Care & CTA Class 7 Pet. at 2–3; EFF Class 7 Pet. at 2; iFixit Class 7 Pet. at 2; AFBF, Nat’l
1132

Corn Growers Ass’n & Nat’l Farmers Union (collectively, “Farmers”) Class 7 Pet. at 2; see 37
C.F.R. § 201.40(b)(6) (2016).
1133   NPRM at 49,561.

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ORI, and ASCDI (collectively, “EFF/ORI/ASCDI”); and MEMA. Additional comments in
support of an expanded exemption were submitted by Auto Care, CTA, eBay Inc., FSF,
and sixteen individuals. 1134 Although the commenters’ proposals varied in scope, and
there is no singular unified proposed exemption, they can be grouped into the following
four categories:

       1) removing the current limitation prohibiting circumvention of TPMs to access
          computer programs primarily designed for the control of vehicle telematics and
          entertainment systems; 1135

       2) expanding the exemption to apply to other types of software-enabled devices,
          including appliances, computers, toys, and other Internet of Things devices. For
          example, EFF proposes “an exemption to enable circumvention of access controls
          applied to software and compilations of data, where circumvention is for the
          purpose of noninfringing repair, diagnosis, or modification of a software-enabled
          device”; 1136

       3) extending the exemption to allow circumvention by third-party service
          providers, and in particular, independent vehicle repair shops, for purposes of
          diagnosis, repair, and lawful modification; 1137 and

       4) allowing the acquisition, use, and dissemination of circumvention tools in
          furtherance of diagnosis, repair, and modification. 1138

Opposition comments, reflecting a diverse set of concerns, were submitted by the
Alliance of Automobile Manufacturers (“Auto Alliance”); DVD CCA and AACS LA;
ESA; Harman International; and Joint Creators II. 1139



   The individuals supporting this class are Alex Adams, William Brown, Arthur De Volve, Jim
1134

Delton, Pat Goltz, Geoffrey Gross, Robert Johnson, Harvey Lewis, Lovelidge, Michael Paisis,
Robert Preston, Scott Schaefer, Richard Taylor, James Walker, Andrew White, Daniel Willhelm,
and Adam Zuckerman.
   CTA Class 7 Initial at 5–6; Farmers Class 7 Initial at 6 (with respect only to mechanized
1135

agricultural equipment); Auto Care Class 7 Initial at 4–6.
1136EFF Class 7 Pet. at 2; see also Consumers Union Class 7 Initial at 2; EFF, ORI & ASCDI Class 7
Initial at 2–7; FSF Class 7 Initial at 1–2.
1137See, e.g., Consumers Union Class 7 Initial at 1; CTA Class 7 Initial at 1–2, 4; Farmers Class 7
Initial at 6; MEMA Class 7 Initial at 6.
1138   See, e.g., Auto Care Class 7 Initial at 4; CTA Class 7 Initial at 2–5; FSF Class 7 Initial at 2.
   Auto Alliance Class 7 Opp’n (joined by The Ass’n of Global Automakers (“Global
1139

Automakers”); Harman Class 7 Opp’n at 2 (joined by Panasonic Corporation of North America);
Joint Creators II Class 7 Initial at 4–5.

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                    b. Overview of Issues

Following the 2015 rulemaking, the Copyright Office issued two policy studies that
touched upon issues relevant to the need to repair or modify software-embedded
devices. In its 2016 Software Study, the Office observed that current copyright law,
including section 117 and fair use under section 107, may provide relief for many repair
and tinkering activities, while acknowledging that the analyses could be fact-
intensive. 1140 Next, in its Section 1201 Report, the Office suggested that section 1201 may
be inhibiting legitimate repair activities, and recommended legislative consideration of a
permanent exemption for diagnosis, maintenance, and repair activities. 1141 The Office,
however, declined to support a permanent exemption for modification, suggesting that
the triennial rulemaking continue to address these activities by tailoring exemptions to
specific classes of works. 1142

Turning to the four categories of concerns presented by this class, participants raise a
host of issues addressing the use of access controls on vehicles and other devices in ways
that allegedly inhibit diagnosis, repair, and modification.

Third-Party Assistance. In 2015, the Register declined to adopt language that would allow
circumvention “on behalf of” the owner, concluding that the phrase might implicate the
anti-trafficking provisions set forth in section 1201(a)(2) and (b). 1143 In this rulemaking,
some proponents suggest that the inability to obtain expert assistance has left ordinary
repair activities out of the reach of many individual consumers. 1144 For example,
Farmers explain that farmers and ranchers “need local expert assistance” to modify
original equipment manufacturer (“OEM”) software and repair tractors and other
agricultural vehicles, including to perform “routine and simple maintenance or [to]
control vehicle operating modes after repair.” 1145 They attach six declarations attesting
to the need for local mechanical assistance. 1146 While the main of commenters were


   U.S. COPYRIGHT OFFICE, SOFTWARE-ENABLED CONSUMER PRODUCTS 35–41 (2016),
1140

https://www.copyright.gov/policy/software/software-full-report.pdf (“Software Study”).
1141   Section 1201 Report at 92–95.
1142Id. at 95–97 (“[I]n many cases modification activities may not implicate significant copyright
interests. On the other hand, some tinkering activities may result in the creations of new works
in ways that implicate the copyright owner’s exclusive right to prepare derivative works.”).
1143   2015 Recommendation at 246.
1144See, e.g., Auto Care Class 7 Initial at 3; Consumers Union Class 7 Initial at 2; CTA Class 7 Initial
at 1–2.
1145   Farmers Class 7 Initial at 7.
   Farmers Class 7 Initial at 12 (decl. of Kevin Kenney, Software Engineer for Agricultural
1146

Vehicles), 14 (decl. of Guy Mills, Jr., Farmer), at 18 (decl. of Charles “Jason” Pratt, Farmer), 19
(decl. of Kyle Schwarting, Farmer), 20 (decl. of Paul Shamblin, Lead Mechanic at Talley Farms), 21

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concerned with enabling independent automobile or agricultural vehicle repair, other
examples involved smartphones or other devices. 1147 Opponents argue that the statute
does not allow the Register to recommend, or the Librarian adopt, an exemption that
authorizes third-party assistance on the basis that it would contravene the anti-
trafficking provisions. 1148

Provision of Tools. In 2015, the Register noted that section 1201(a)(1) does not provide the
authority to adopt an exemption that permits “trafficking” in circumvention tools. 1149 In
the subsequent Section 1201 Report, the Copyright Office concluded that “exemption
beneficiaries should be able to make necessary tools solely for their own use in carrying
out exempted circumventions.” 1150 Here, some proponents ask the Office to explicitly
affirm this view in the exemption to make it more valuable to users. 1151 Others propose
that companies that specialize in software development should be allowed to develop
and distribute tools to users. 1152 Opponents respond that the interpretive framework has
not changed since 2015, and that even if beneficiaries may use tools, it is outside the
Librarian’s authority to regulate the scope of section 1201(a)(2) and (b). 1153

Vehicle Telematics and Entertainment Systems. The 2015 rulemaking excluded ECUs chiefly
designed to operate entertainment and telematics systems in vehicles, explaining that
the record was largely focused on ECUs that control the vehicle’s mechanical operation,
and noting concerns about unauthorized access to the services and content that
entertainment and telematics ECUs protect. 1154 Now, some proponents desire to remove
that limitation. As they describe it, access to vehicle telematics and entertainment
systems is restricted through a variety of TPMs including encrypted ECUs, cell phone
baseband locks on telematics systems, passwords on diagnostic interfaces, “virtual



(decl. of John Doe, Large-Scale Farmer), 22 (decl. of Mary Pat Weyback, Deputy General Counsel,
Am. Farm Bureau Fed’n) (affirming that the “John Doe” declarant who wished to remain
anonymous was known to AFBF).
1147See, e.g., ASCDI, ORI & Repair.org Class 7 Post-Hearing Resp. at 1–2; Consumers Union Class
7 Initial at 2–3; EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing
Resp. at 2–5; iFixit Class 7 Pet. at 2.
1148See, e.g., Auto Alliance Class 7 Opp’n at 7–9; Joint Creators II Class 7 Opp’n at 12; Tr. at 19:02–
07 (Apr. 10, 2018) (Williams, Joint Creators II).
1149   2015 Recommendation at 246–47.
1150   Section 1201 Report at 53–54.
1151   See CTA Class 7 Initial at 2, 4–6.
1152   See Auto Care & CTA Class 7 Pet. at 3; iFixit Class 7 Pet. at 2.
1153   See Auto Alliance Class 7 Opp’n at 9–10; Joint Creators II Class 7 Opp’n at 12.
1154   2015 Recommendation at 246.

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handshake” configurations, memory modifications, and disabled access to “ports” from
which vehicle data could be extracted. 1155 Proponents suggest that access to the
telematics system is sometimes required to restore vehicle functioning, particularly by
accessing the diagnostics data stored in the system. 1156 Opponents respond that some of
the proposed uses, such as accessing “storage capacity” of a vehicle entertainment
system, are not fair. 1157 In opponents’ view, expanding the current exemption would
have an adverse impact on the market for copyrighted works that are accessed through
these vehicle systems. 1158 In any event, they argue that proponents have not sufficiently
demonstrated that it is necessary to circumvent TPMs restricting access to these systems
to engage in diagnosis, repair, or modification. 1159

Other Devices. Many proponents seek to broaden the exemption to permit the diagnosis
and repair of other software-enabled devices, as well as modification of such devices. 1160
They suggest that the proliferation of software-enabled devices is challenging “long-
established, fundamental rights and expectations of consumers regarding their
ownership and dominion over the products they have lawfully acquired,” and that
repair is a fair use. 1161 EFF/ORI/ASCDI generally assert that TPMs—including
encryption, passwords, and virtual handshakes—restrict access to software and data
compilations embedded on these devices. 1162 Others observe that TPMs prohibit access




1155See CTA Class 7 Initial at 3; Farmers Class 7 Initial at 3–8; iFixit Class 7 Pet. at 2; MEMA Class
7 Initial at 2.
   See Auto Care Class 7 Initial at 5; CTA Class 7 Initial at 3; Tr. at 46:14–48:14 (Apr. 10, 2018)
1156

(Lowe, Auto Care); Tr. at 65:07–66:17 (Apr. 25, 2017) (Wiens, iFixit).
1157   See Harman Class 7 Opp’n at 5, 7–8; Joint Creators II Class 7 Opp’n at 8 n.3.
1158   See Harman Class 7 Opp’n at 8; Joint Creators II Class 7 Opp’n at 11.
1159See Auto Alliance Class 7 Post-Hearing Resp. at 1; Joint Creators II Class 7 Post-Hearing Resp.
at 1; Tr. at 60:19–22; 60:25–61:23 (Apr. 25, 2018) (Mooney, Harman); Tr. at 57:12–24 (Apr. 10, 2018)
(Williams, Joint Creators II).
   Consumers Union Class 7 Initial at 2–3; EFF, ORI & ASCDI Class 7 Initial at 2–7; EFF,
1160

AutoCare, Dorman, iFixit, SmarTeks, Puls & Repair.org Class 7 Post-Hearing Resp. at 2–3; FSF
Class 7 Initial at 1–2.
   Consumers Union Class 7 Initial at 2–3; see also EFF, ORI & ASCDI Class 7 Initial at 2
1161

(software-enabled devices “limit[] the ability of device owners to repair, diagnose, or modify
their property”).
   EFF, ORI & ASCDI Class 7 Initial at 2; see also DVD CCA & AACS LA Class 7 Opp’n at 2
1162

(suggesting CSS and AACS would be implicated); Joint Creators II Class 7 Opp’n at 5 (“It is
impossible to list all of the access controls that would be undermined by [EFF/ORI/ASCDI’s]
extremely broad proposal.”).

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to software controlling LG appliances and Apple iPhones. 1163 In response, opponents
comment that, overall, proponents have not met their statutory burden of demonstrating
that TPMs are having an adverse impact on noninfringing uses of software-enabled
devices. 1164 They also express concerns about the impact of an expansion on highly
expressive works, in contrast to the prior rulemaking’s focus on re-enabling activities
related to vehicle functioning that had long been purely mechanical and unrelated to by
copyright. Particularly where devices permit access to other expressive content,
opponents suggest circumvention would enable unauthorized access and facilitate
piracy. 1165 With respect to the specific proposal to allow modification of software-
enabled devices (as distinguished from repair), opponents assert that such activity may
implicate copyright owners’ exclusive right to prepare derivative works. 1166

                    2. Discussion

                      a. Scope of the Proposed Class

Outside of the vehicle context, many proponents urge the adoption of a broad
exemption, generally protecting a variety of diagnosis, repair, maintenance, and
modification activities on “all devices that run software” without regard to differences
among devices or the technology embedded within them. 1167 As they put it, software
has become ubiquitous in consumer and other devices, and TPMs are “limiting the
ability of device owners to repair, diagnose, or modify their property, thanks in part to
restrictions imposed by Section 1201(a)(1).” 1168 In EFF/ORI/ASCDI’s view, where
categories of devices are “exceptions to that rule or . . . present special complications,”
those devices may be carved out from the general exemption. 1169 Similarly,
ASCDI/ORI/Repair.org claim that “all products with embedded computer chips are
based on the same architecture and the same components, which are assembled at the
same factories in a global marketplace,” and argue that “developing rules that apply to
these products based on what they are capable of doing, as opposed to how they are
actually used, is problematic.” 1170


   See Tr. at 30:15–31:01 (Apr. 25, 2018) (Wiens, iFixit) (discussing LG appliances); Tr. at 32:12–20,
1163

32:23–33:04, 33:11–16 (Apr. 25, 2018) (Wiens, iFixit) (describing issue with replacing iPhone home
button due to TPM on device).
1164   See Joint Creators II Class 7 Opp’n at 7; Joint Creators II Class 7 Post-Hearing Resp. at 1–3.
1165   See ESA Class 7 Opp’n at 2–5, 7–8; Joint Creators II Class 7 Opp’n at 10–11.
1166   See Joint Creators II Opp’n at 9–10; Tr. 26:04–08 (Apr. 25, 2018) (Williams, Joint Creators II).
1167   See, e.g., EFF, ORI & ASCDI Class 7 Initial at 2, 14.
1168   Id. at 2.
1169   Id. at 14.
1170   ASCDI, ORI & Repair.org Class 7 Post-Hearing Resp. at 2.

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Opponents respond that proposals that would cover “every conceivable device and
machine” are “overbroad and factually unsupported.” 1171 As a larger matter, they
suggest that adopting such an exemption notwithstanding the scant record in this class
would set a precedent disavowing previous procedural “rules of the road” that would
impact future rulemakings. 1172 Regarding this class specifically, they argue that
proponents’ broad approach “does not recognize any distinctions among types of
devices as to the TPMs and methods of circumvention involved, the associated use cases,
and the infringement that would be involved in circumvention or result from it.” 1173 In
particular, Joint Creators II contend that proponents have offered no evidence regarding
the need to repair devices used to access literary works, motion pictures, and music. 1174
They suggest that because highly expressive works like music or feature films may be
protected and accessed differently on different devices, the fair use and adverse effects
analysis can vary significantly from one device to another. 1175 For example, ESA submits
that unlike many other software-enabled devices, video game consoles provide access to
“vast numbers of valuable copyrighted works” with licensing arrangements that depend
upon a TPM-secured platform. 1176 Joint Creators II also observe that the Section 1201
Report noted that modification “raises significantly different issues from repair.” 1177

Further, opponents note that the Register previously declined to recommend
exemptions that would permit circumvention to access ECUs on in-vehicle
entertainment systems and to repair video game consoles, concluding inter alia that the
record lacked sufficient evidence to support a need for circumvention. 1178 Therefore,
opponents contend that any exemption should enumerate devices for which there is a
record demonstrating that a TPM is causing or is likely to cause an adverse effect on
noninfringing uses. 1179



   Joint Creators II Class 7 Opp’n at 4; see also Tr. at 77:01–80:08 (Apr. 10, 2018) (Williams, Joint
1171

Creators II).
1172   Tr. 28:02–12 (Apr. 25, 2018) (Williams, Joint Creators II).
1173   ESA Class 7 Opp’n at 6; see also Tr. at 38:22–40:25 (Apr. 25, 2018) (Williams, Joint Creators II).
1174   Joint Creators II Class 7 Opp’n at 4.
   See Tr. at 16:14–18 (Apr. 25, 2018) (Williams, Joint Creators II) (arguing that in the case of
1175

“devices that are designed to access expressive works, . . . the countervailing interest of
preventing the unauthorized access outweighs the need to get to independent repair”).
   ESA Class 7 Opp’n at 2–5; see also Joint Creators Class 7 Opp’n at 9–10; Joint Creators II Class 7
1176

Ex Parte Meeting Summary at 2 (July 24, 2018).
1177   Joint Creators II Class 7 Opp’n at 4–5 (quoting Section 1201 Report at 95).
1178   Id. at 3.
   Joint Creators II Class 7 Post-Hearing Resp. at 2; Tr. at 79:19–80:08 (Apr. 10, 2018) (Williams,
1179

Joint Creators II).

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While recognizing that the ability to repair software-enabled devices has been
acknowledged as an important interest, both in the context of copyright and in other
legal areas, 1180 the Acting Register concludes that the record in this class is insufficient to
fully evaluate, as statutorily required, an exemption encompassing all types of software-
enabled consumer products. When considering a class of works, the statute requires a
determination that users “are, or are likely to be in the succeeding 3-year period, adversely
affected by the prohibition . . . in their ability to make noninfringing uses.” 1181 The
Copyright Office has consistently interpreted that language as requiring the Register to
determine whether, on balance, the evidence supports the requested exemption. 1182 This
interpretation is strongly supported by the legislative history, which explains, “[i]f the
rulemaking has produced insufficient evidence to determine whether there have been
adverse impacts with respect to particular classes,” an exemption should not issue. 1183
The legislative history further suggests that the definition of a class should consider
whether the availability of one category of computer programs is likely to be affected “in
the same way” by the circumvention bar as the availability of other programs for the
same purpose. 1184

Here, it is not clear whether “devices,” generally, share enough commonalities for the
Acting Register to evaluate whether access controls are, in practice, adversely affecting
noninfringing uses. The rulemaking record lacks a minimum quantity of evidence for a
broad panoply of the devices that proponents reference, let alone those which are not
introduced but would fall under the proposed exemption. Outside of the vehicle
context, the information provided is sparse regarding specific types of devices where
TPMs inhibit repair or modification activities, with initial comments providing only
cursory notice of devices considered by proponents as “relevant” to the exemption. 1185
To fully air issues in this class, including to give proper notice to opponents, the
Copyright Office repeatedly sought additional information on these issues in hearings in




1180   See Section 1201 Report at 88–90; Software Study at 31–33.
1181   17 U.S.C. § 1201(a)(1)(C) (emphasis added); see also Section 1201 Report at 111.
   Section 1201 Report at 111–12; see also NPRM at 49,552; 2015 Recommendation at 13–14; 2012
1182

Recommendation at 6; 2010 Recommendation at 10; 2006 Recommendation at 8; 2003
Recommendation at 10–11, 19–20.
   Commerce Comm. Report at 38 (stating a class should be “a narrow and focused subset of the
1183

broad categories of works . . . identified in section 102 of the Copyright Act.”).
1184   House Manager’s Report at 7.
   EFF, ORI & ASCDI Class 7 Initial at 2; see also Consumers Union Class 7 Initial (not identifying
1185

any specific devices). As noted above, the other initial commenters were focused on an
exemption limited to vehicles.

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multiple cities, as well as in post-hearing letters. 1186 While in post-hearing comments,
some proponents ultimately submitted lengthy lists of specific devices that “could be
configured to include technological protection measures that would prevent independent
maintenance and repair,” for many categories, it is still unclear whether TPMs are
typically applied to these devices. 1187

As a general matter, this level of information is insufficient for the Acting Register to
determine whether users of various devices are similarly situated for purposes of repair
and modification. Many of proponents’ examples do not indicate, for example, whether
the relevant TPMs effectively control access within the meaning of the statute, whether
the TPMs control access to copyrighted works other than the device firmware, or
whether reasonable alternatives to circumvention may exist. Similarly, proponents
contend that section 117 provides a basis for adopting an exemption, but have
introduced scant evidence demonstrating whether “devices,” generally, and the
software embedded in them, are likely to be owned, as that statute requires. 1188 Further,
as opponents note, past rulemakings have sometimes declined to recommend adoption
of exemptions for repair of specific types of devices after considering adverse effects in
reference to the statutory factors. 1189

Given these evidentiary deficiencies, the Acting Register concludes that the more
prudent approach is to refine the class based on the types of devices for which there is a
cognizable record. 1190 This approach is consistent with the Office’s practice in past




   See, e.g., Class 7 Post-Hearing Letter at 2 (May 21, 2018); Tr. at 28:18–30:01 (Apr. 25, 2018)
1186

(Smith, U.S. Copyright Office; Wiens, iFixit); Tr. at 93:22–97:16 (Apr. 10, 2018) (Shore, ORI; Smith,
U.S. Copyright Office); Tr. at 84:07–85:01 (Apr. 10, 2018) (Smith, U.S. Copyright Office).
   ASCDI, ORI & Repair.org Class 7 Post-Hearing Resp. at 2 and Attach.; EFF, Auto Care,
1187

Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 2–3 (listing identical
categories of devices as ASCDI/ORI/Repair.org, but not addressing presence of TPMs).
   17 U.S.C. § 117; see, e.g., ASCDI, ORI & Repair.org Class 7 Post-Hearing Resp. at 2 (June 11,
1188

2018) (listing various retail and wholesale equipment, servers, networking and office equipment,
without addressing lease versus purchase options).
   See 2015 Recommendation 199–201 (video game consoles); 2012 Recommendation at 47
1189

(same).
1190As a matter of policy, it is true that the Copyright Office has signaled that repair and
maintenance activities are likely to be noninfringing, conclusions that the Acting Register draws
upon while evaluating the noninfringing basis for the proposed class below. See Section 1201
Report at 88–90, 92–95; Software Study at 31–41. Further, since a statutory exemption need not be
constrained by the fail-safe mechanisms of the triennial rulemaking, the Office continues to
recommend legislative consideration of a properly crafted permanent exemption for repair
activities. See Section 1201 Report at v, 90, 92–95.

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rulemakings. 1191 Specifically, the device categories for which the Acting Register has
determined that proponents provided cognizable legal and factual support to evaluate
an exemption are as follows:

       •   Vehicle telematics and entertainment systems. A number of commenters focus
           their discussion strictly on expanding the range of activities permitted within the
           confines of motorized land vehicles. 1192

       •   Home appliances and home systems. A number of participants provided
           information related to the need to circumvent access controls on home appliances
           and home systems, such as refrigerators, toasters, and lighting and
           environmental control systems, and suggested that this category shares a
           commonality compared to other devices. 1193

       •   Smartphones. The record also contains multiple testimonies regarding the need
           to circumvent access controls on smartphones to repair them for owners. 1194

       •   Video game consoles. At the public hearings and in post-hearing responses,
           proponents contended that TPMs prevent repair of issues with optical drives and
           other console malfunctions. 1195

       •   Computers and ancillary computing devices. Proponents offer some limited
           information in support of expanding the exemption to computers and a variety

1191See, e.g., 2015 Recommendation at 317 (declining to recommend an “open-ended exemption”
for security research in favor of an exemption tailored to machines and devices for which there
was an “evidentiary showing of adverse effects”); 2010 Recommendation at 16 (explaining that
“the records in [the 2010] and prior rulemaking proceedings have demonstrated that in many
cases, [an initial] subset of a category of works should be further tailored in accordance with the
evidence in the record”).
   See Auto Care Class 7 Initial at 1; CTA Class 7 Initial at 1; eBay Class 7 Reply at 1; Farmers
1192

Class 7 Initial; MEMA Class 7 Initial at 2.
   See ASCDI, ORI & Repair.org Class 7 Post-Hearing Resp. at 2 (June 11, 2018); EFF, ORI &
1193

ASCDI Class 7 Initial at 3 (lighting systems); EFF, AutoCare, Dorman, iFixit, SmarTeks, Puls &
Repair.org Class 7 Post-Hearing Resp. at 2 (June 11, 2018); Tr. at 83:08–16 (Apr. 10, 2018) (Band,
ORI) (discussing thermostats); Tr. at 30:17–18 (Apr. 25, 2018) (Wiens, iFixit) (“LG, since the
beginning of 2017, hasn’t sold any appliances that aren’t Wi-Fi connected.”).
   See Tr. at 13:19–14:24 (Apr. 25, 2018) (Zieminski, Puls) (“we repair iPhones, Google Pixel
1194

devices, Samsung devices”); Tr. at 32:12–20, 32:23–33:04, 33:11–16 (Apr. 25, 2018) (Wiens, iFixit)
(describing inability to restore iPhones to full functionality after replacing batteries and home
buttons).
1195See EFF, AutoCare, Dorman, iFixit, SmarTeks, Puls & Repair.org Class 7 Post-Hearing Resp. at
4–5; Tr. at 12:17–13:23 (Apr. 25, 2018) (Zieminski, Puls); Tr. at 29:08–12 (Apr. 25, 2018) (Wiens,
iFixit).

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           of ancillary computing devices, including hard drives, debuggers, servers,
           routers, and switches. 1196

       •   Consumables. The record includes some testimony regarding consumers’ desire
           to modify devices to permit the use of replacement cartridges, specifically
           relating to ink, coffee, juice, and cat litter box cleaning fluid. 1197

       •   In addition, EFF offers specific examples of the desire to circumvent TPMs to
           modify a few other specific devices, including a toy robotic dog, a camera gimbal
           (i.e., a pivoted mount), and handheld two-way radios. 1198

Accordingly, the Acting Register bases the following analysis on whether there are, or
are likely to be, adverse effects on noninfringing uses of these categories of devices
(including analyzing below whether there is more than a de minimis showing for each of
these categories). 1199

                    b. Works Protected by Copyright

ECUs that control vehicle operations, telematics, and infotainment systems constitute
“computer programs” as defined in section 101. 1200 Likewise, software that enables other
consumer devices, including home appliances and phones, are computer programs. 1201
The Acting Register accordingly finds that at least some works in the class are protected
by copyright.

                    c. Asserted Noninfringing Uses

The following analysis first considers proposed expansions within the context of
motorized land vehicles (e.g., personal automobiles and mechanized agricultural


   See EFF, ORI & ASCDI Class 7 Initial at 6–7; see also ASCDI, ORI & Repair.org Class 7 Post-
1196

Hearing Resp. at 2; EFF Class 7 Reply at 5; EFF, Auto Care, Dorman, iFixit, SmarTeks, Puls,
Repair.org Class 7 Post-Hearing Resp. at 2.
  See Tr. at 18:01–07 (Apr. 25, 2018) (Walsh, EFF); Tr. at 44:13–46:15 (Apr. 25, 2018) (Walsh, EFF;
1197

Wiens, iFixit); see also EFF, ORI & ASCDI Class 7 Initial at 3–4.
1198   EFF Class 7 Reply at 5; EFF, ORI & ASCDI Class 7 Initial at 3–5.
1199In contrast, while the post-hearing letters from EFF and ORI/ASCDI included laundry lists of
other devices, including fork-lifts, staplers, and cash registers, these lists, or other passing
references in the record, do not provide enough information for the Acting Register to properly
consider them (or their commonalities with other devices) with respect to the statutory elements
of the rulemaking. See EFF, Auto Care, Dorman, iFixit, SmarTeks, Puls, Repair.org Class 7 Post-
Hearing Resp. at 2–3; ORI & ASCDI Class 7 Post-Hearing Resp. at 2.
1200   See 2015 Recommendation at 218.
1201   See Software Study at 2–3.

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vehicles), and then addresses expansion of the exemption to other types of devices.
While infringement concerns can bear upon issues related to third-party assistance and
provision and acquisition of circumvention tools (including whether uses are strictly
personal or commercial), the primary focus of those issues relates to whether the
expansions would contravene the anti-trafficking provisions of section 1201(a)(2) and
(b). Accordingly, issues related to third-party assistance and circumvention tools are
primarily discussed separately at the end of the recommendation for this class.

                    i.    Vehicle Telematics and Entertainment Systems

Proponents assert that diagnosis, repair, and lawful modification of vehicle telematics
and entertainment systems are fair uses and are noninfringing under section 117.

                          1) Fair Use

Proponents request removing the regulatory limitation “except for computer programs
primarily designed for the control of telematics or entertainment systems for such
vehicle” to allow for a broader range of diagnosis, repair, and lawful modification
activities. 1202 They argue that telematics and entertainment systems often are protected
by the same TPMs used to protect other vehicle software, and therefore this limitation
effectively excludes other systems that need to be accessed for purposes of vehicle
diagnosis, repair, or modification of a vehicle function. Proponents also seek to repair or
replace the entertainment systems themselves and to access the “storage capacity” of
such systems for noninfringing uses. Because these uses present different issues under
the fair use analysis, the Acting Register addresses them separately below.

Diagnosis, Repair, and Lawful Modifications of Vehicle Functions. Regarding the purpose
and character of the use, proponents argue that for some car models, 1203 it is necessary to
access the telematics software to engage in diagnosis, repair, and lawful modification of
a vehicle function, and that this activity is transformative in the same way as accessing
ECUs that control vehicle functions under the existing exemption. 1204 In cases where
entertainment systems are integrated with other functional vehicle systems, proponents


   37 C.F.R. § 201.40(b)(6) (2016); see Auto Care Class 7 Initial at 4–6; CTA Class 7 Initial at 5–6;
1202

Farmers Class 7 Initial at 6 (with respect only to mechanized agricultural equipment).
   See Tr. at 59:22–60:09 (Apr. 25, 2018) (Wiens, iFixit) (Tesla); Tr. at 48:05–14 (Apr. 10, 2018)
1203

(Lowe, Auto Care) (BMW).
1204See Auto Care Class 7 Initial at 5 (noting a “growing trend of vehicle manufacturers restricting
the amount of information available through the OBD port” such that “access to telematics
capabilities will increasingly be necessary for diagnosis and for uploading software
modifications, updates, and repairs” to vehicles); CTA Class 7 Initial at 3; Farmers Class 7 Initial
at 9 & n.48 (accessing telematics for a “user’s repair of motor vehicles that involves the repair of
functions that were previously controlled by mechanical or analog techniques” is a fair use).

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contend that users should be permitted incidental access to make functional repairs. 1205
As to telematics systems, proponents argue that vehicle owners’ “access to [that] data
about [their] own driving or [their] own vehicle would be an obvious fair use.” 1206

Opponents contend that the proposed activities are not favored under the first factor
because access to entertainment and telematics systems could allow unauthorized access
to expressive content. For example, Harman asserts that access to its integrated
telematics and infotainment systems would enable unauthorized use of subscription
services that access expressive content via the telematics system, such as SiriusXM. 1207
Similarly, Auto Alliance posits that the expansion could allow unauthorized access to
“maps, databases of geographic data, and other navigational information.” 1208

In 2015, the Register concluded that diagnosis, repair, and modification of vehicle
functioning were likely to be transformative uses where they could result in creation of
new applications to facilitate diagnosis and repair, and to interoperate with different
auto parts. 1209 Even where the new use “coincides generally with the original use,” the
Register concluded the first factor may still favor “noncommercial and personal” uses
that “enhance the intended use of ECU computer programs.” 1210 The Office
subsequently noted in its Software Study that repair may be a favored purpose when
directed at preserving the functionality of a device. 1211

Upon the broader record in this rulemaking, the Acting Register finds that the same
logic supports accessing the telematics system and, if necessary, incidentally accessing
entertainment systems, strictly for purposes of diagnosis, repair, and lawful
modification of vehicle functions (compared to entertainment functions). To be sure,
accessing such systems with the object of accessing entertainment or expressive content
without authorization would tip the first factor heavily against fair use. But the record
now indicates that in some car models, and arguably to an increasing extent, it is
becoming difficult for owners to obtain necessary diagnostic information through the
onboard diagnostic port, requiring them to instead access this data from telematics

   See EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 5–10
1205

(June 11, 2018); Tr. at 56:04–57:17 (Apr. 25, 2018) (Wiens, iFixit); Tr. at 43:12–45:08 (Apr. 10, 2018)
(Kealey, Dorman); Tr. at 50:23–51:09 (Apr. 10, 2018) (Lowe, Auto Care).
1206   Auto Care Class 7 Initial at 5.
   Harman Class 7 Opp’n at 4–5; see also Auto Alliance Class 7 Post-Hearing Resp. at 1 (June 6,
1207

2018); Harman Class 7 Post-Hearing Resp. at 1–4; Joint Creators II Class 7 Post-Hearing Resp. at 1
(June 11, 2018).
1208   Auto Alliance Class 7 Opp’n at 10–11.
1209   2015 Recommendation at 234–35.
1210   Id.
1211   Software Study at 40.

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systems to proceed with repair activities. 1212 Testimony further indicated that in some
cases, the “same computer” contains infotainment or entertainment systems. 1213 The
Acting Register recognizes the seriousness of opponents’ concerns regarding
unauthorized access to content made available through such systems. 1214 Those issues,
however, relate primarily to the possibility that the proposed exemption could be
abused, not to the purpose and character of the activities for which proponents seek an
exemption. As under the current exemption, those activities would be strictly limited to
“diagnosis, repair or lawful modification of a vehicle function,” and would not extend to
circumvention for purposes of gaining unauthorized access to entertainment content. 1215
With the proposed uses defined in this manner, the Acting Register concludes that the
first factor weighs in favor of fair use. The Acting Register will consider opponents’
piracy-related concerns below in her discussion of the fourth fair use factor and the
statutory factors under section 1201(a)(1)(C).

As to the second fair use factor, proponents do not present specific arguments
concerning the nature of the software controlling either telematics or entertainment
systems. Opponents do not dispute that the firmware on telematics systems itself is
functional, although, as noted, they suggest that access to the telematics system
implicates other expressive works including maps or compilations of geographic
data. 1216 Harman also objects to the characterization of infotainment system firmware as
functional, offering examples of vehicle entertainment system features such as
“augmented reality,” “virtual personal assistance,” and integrated music and
audiovisual works. 1217

The second factor “calls for recognition that some works are closer to the core of
intended copyright protection than others, with the consequence that fair use is more
difficult to establish when the former works are copied.” 1218 The Register previously
concluded that “vehicle software is not especially ‘expressive’; it is not meant to be




   See Auto Care Class 7 Initial at 5; CTA Class 7 Initial at 3; Tr. at 46:14–48:14 (Apr. 10, 2018)
1212

(Lowe, Auto Care).
1213Tr. at 56:04–57:17 (Apr. 25, 2018) (Wiens, iFixit); see also EFF, Auto Care, Dorman, iFixit,
SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 5–10 (June 11, 2018); Tr. at 69:17–70:22 (Apr.
10, 2018) (Lowe, Auto Care).
1214   Cf. 2015 Recommendation at 235.
1215   37 C.F.R. § 201.40(b)(6) (2016).
1216   Auto Alliance Class 7 Opp’n at 10.
1217   Harman Class 7 Post-Hearing Resp. at 2.
   Campbell, 510 U.S. at 586 (citing examples of factual works as further removed from the core of
1218

copyright protection).

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consumed as a creative work,” but rather “to operate a device.” 1219 Here, at least some
aspects of the telematics software are functional works. 1220 But other software at issue
contains integrated expressive content that is further attenuated from vehicle
functionality, which would disfavor fair use. Overall, this factor is mixed.

Regarding the third factor, participants do not squarely address the amount and
substantiality of the work used. It appears that in some cases it may be necessary to use
vehicle computer programs in their entirety to achieve a legitimate purpose, and courts
have held that the third factor does not necessarily weigh against fair use in such
circumstances. 1221 Ultimately, the Acting Register gives this factor little weight.

As to the fourth factor, proponents assert that vehicle firmware is “effectively useless”
outside of the vehicle, with essentially no separate market for the software apart from
the vehicles. 1222 Opponents contend that “[t]elematics and entertainment software often
interact with servers outside the vehicle, have value apart from the vehicle, are often
sold separately from the vehicle, and may be paid for subsequent to . . . purchase of the
vehicle.” 1223

The fourth factor requires the Office to consider “not only the extent of market harm
caused by the particular actions of the alleged infringer, but also ‘whether unrestricted
and widespread conduct of the sort engaged in by the [user] . . . would result in a
substantially adverse impact on the potential market.’” 1224 In 2015, the Office concluded
that “computer programs on the majority of ECUs are only meaningful in connection
with the vehicle, that the copies are generally sold only with the vehicle, and that the
consumer pays for those copies when purchasing the vehicle.” 1225 Here, the record
indicates that certain telematics and entertainment software can have independent


   2015 Recommendation at 235; see Oracle, 886 F.3d at 1204–05 (finding it reasonable that
1219

“functional considerations [of software] were substantial and important” in favoring fair use
under the second factor); Connectix, 203 F.3d at 603–05 (finding the second factor favored fair use
where entire operating system was copied to study and use functional elements of software).
1220   See 2015 Recommendation at 235 (vehicle ECUs); 2012 Recommendation at 73 (smartphones).
1221See HathiTrust, 755 F.3d at 98–99; Arriba Soft, 336 F.3d at 820–21; Connectix, 203 F.3d at 603–06;
cf. EFF, ORI & ASCDI Class 7 Initial at 9 (discussing the necessity of accessing and copying the
entire firmware of a device to understand its functionality).
1222   Tr. at 25:11–22 (Apr. 10, 2018) (Kealey, Dorman).
1223Auto Alliance Class 7 Opp’n at 11–12 (describing how GM’s OnStar and Mercedes-Benz’s
mbrace entertainment and shopping services have “meaningful value apart from the vehicle”);
see also Harman Class 7 Opp’n at 4 (expressing concern about reproduction and sale of its
telematics source code on the black market).
1224   Campbell, 510 U.S. at 590 (citation omitted).
1225   2015 Recommendation at 236.

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value, and may be accessed through subscription services. But while the accessing of
subscription-based software presents a more complex question, this does not appear to
be the thrust of proponents’ aim; rather, their testimony is focused on accessing these
ECUs strictly to diagnose or repair the functioning of a vehicle. 1226 As the Office
explained in its Software Study, where programs have no value apart from the devices
that they operate, repairing these programs is not likely to interfere with any market
likely to be exploited by the copyright owner. 1227 Setting aside instances where software
may be accessed through a separate subscription, the same rationale seemingly applies
to the diagnosis, repair, and lawful modification of vehicles where it is necessary to
access the telematics or, incidentally, the entertainment ECUs for those activities.

Overall, when considering circumvention as “a necessary step undertaken . . . to allow
the diagnosis, repair or lawful modification of a vehicle function,” 1228 the Acting Register
finds this limiting purpose to be an important factor in her ultimate conclusion that such
activities are likely to be a fair use. To the extent opponents, particularly Harmon, have
raised concerns about unauthorized uses of telematics software, obtaining unauthorized
access to subscription services for entertainment content, or other unauthorized
activities that jeopardize protection of copyrighted works, those are serious issues, and
such activities should be expressly excluded from the scope of the exemption.

Other activities. Proponents also suggest users should be permitted to access “storage
capacity” in vehicle entertainment systems for noninfringing uses 1229 and to replace or
repair entertainment modules. 1230 Auto Care and CTA cite Sony Corp. of America v.
Universal City Studios, Inc. 1231 for the broad proposition that the “ability to receive copied
content—which is all that circumvention of access to an entertainment system would
do—is not itself an infringement of copyright.” 1232 In addition, proponents imply that
use of “storage capacity” in a vehicle entertainment system to space-shift “entertainment
content [that] the consumer owned or created or personal photographs” would not
impact the market for copyrighted works. 1233 Opponents respond that Sony is
inapposite. In their view, as a case addressing the fair use of home “time-shifted”


1226See Tr. 48:05–14 (Apr. 10, 2018) (Lowe, Auto Care) (commenting that moving diagnostic data
to the telematics system would inhibit the ability to repair functional parts, such as the brake
module); Tr. 68:04–70:22 (Apr. 10, 2018) (Band, ORI; Lowe, Auto Care).
1227   Software Study at 41.
1228   37 C.F.R. § 201.40(b)(6) (2016).
1229   See Auto Care Class 7 Initial at 5–6; CTA Class 7 Reply at 4–5; Farmers Class 7 Initial at 9 n.48.
1230   See Tr. at 43:12–45:05-08 (Apr. 10, 2018) (Kealey, Dorman).
1231   464 U.S. 417 (1984).
1232   Auto Care & CTA Class 7 Pet. at 3–4.
1233   See Auto Care Class 7 Initial at 5–6.

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recorded content, Sony does not stand for the broader proposition that “space-shifting”
is a fair use or that there exists an unfettered right to transfer and store copyrighted
works. 1234

In previous rulemakings, as well as in the Class 3 discussion above, the Office has
consistently found insufficient legal authority to support the claim that space-shifting
activity, generally, is likely to constitute fair use. 1235 For similar reasons, the Acting
Register cannot find that this proposed activity is likely to be fair.

Finally, there was a brief discussion, following the close of written comments, regarding
the need to repair vehicle infotainment/entertainment systems themselves. 1236 Given the
sparse record, and particularly in light of opponents’ countervailing concerns about
unauthorized access to copyrighted content, 1237 there is insufficient information for the
Acting Register to evaluate whether repair of these systems is likely noninfringing under
the same analysis and if so, whether such activity is adversely affected by section 1201.

                            2) Section 117

Proponents contend that making copies and adaptations is an essential step in lawful
diagnosis, repair, and modification, and therefore those activities are noninfringing
under section 117. 1238 Section 117(a)(1) is a limited exemption for an “owner of a copy of
a computer program,” 1239 and the inquiry into whether an individual qualifies as an
“owner” is fact-intensive. 1240 Without putting forward specific facts regarding whether


1234   See Harman Class 7 Opp’n at 5, 7–8; Joint Creators II Class 7 Opp’n at 8 n.3.
   See 2015 Recommendation at 108, 121–24; 2012 Recommendation 162–65; 2006
1235

Recommendation at 60, 69–72, 80–83; 2003 Recommendation at 130–31, 137–38.
   See Auto Care & Dorman Class 7 Ex Parte Meeting Summary at 2–3 (Sept. 6, 2018); Tr. at 42:03–
1236

45:14 (Apr. 10, 2018) (Kealey, Dorman) (discussing configuration of infotainment systems and
Dorman’s interest in repairing infotainment modules).
   See also 2015 Recommendation at 235 (noting that “[a]ccess controls on entertainment system
1237

ECUs not only preserve the integrity of the ECU itself, but also protect the content that is played
through the entertainment system”).
1238   See EFF, ORI & ASCDI Class 7 Initial at 10; EFF, ORI & ASCDI Class 7 Reply at 2.
   17 U.S.C. § 117(a)(1). While section 117(c) is directed at purposes of maintenance and repair, it
1239

authorizes making copies only upon “activation” of a machine, which may be why proponents
generally relied upon 117(a)(1), which permits a broader range of activities.
1240See Krause v. Titleserv, Inc., 402 F.3d 119 (2d Cir. 2005); Vernor v. Autodesk, Inc., 621 F.3d 1102
(9th Cir. 2010). In Krause, the Second Circuit directed courts to look at whether there were
sufficient incidents of ownership by considering: (1) whether substantial consideration was paid
for the copy; (2) whether the copy was created for the sole benefit of the purchaser; (3) whether
the copy was customized to serve the purchaser’s use; (4) whether the copy was stored on
property owned by the purchaser; (5) whether the creator reserved the right to repossess the

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vehicle telematics or entertainment software is likely owned, eBay argues that
recalibrating vehicle software would be covered under section 117, if the Acting Register
in fact concludes that the purchaser of the vehicle is also the owner of the vehicle
software. 1241 MEMA, with a tailored focus on third-party service providers, asserts that
the diagnosis, repair, or modification of software on vehicles by such providers “and
similar services are expressly authorized under [s]ection 117.” 1242

In opposition, Auto Alliance argues that proponents have not demonstrated that an
owner of a vehicle is also the owner of copies of telematics and entertainment software
under section 117(a). 1243 It asserts: “Many telematics and entertainment systems are
subject to license agreements that clearly show the user does not own the copyrighted
software. Based on these license agreements, the Copyright Office in 2015 concluded
that users may not own the computer programs that operate vehicle entertainment or
telematics systems.” 1244 Even if the existence of such license agreements is not
dispositive, Auto Alliance concludes, “proponents have not submitted any evidence to
rebut this conclusion.” 1245

Auto Alliance is correct that the 2015 record included license agreements for telematics
and entertainment system software in motor vehicles. 1246 Proponents have not
supplemented the record to support the proposition that the owner of a vehicle also
owns copies of that vehicle’s telematics or entertainment software. Instead, opponents
again attest that this software is likely to be licensed, including via subscriptions. 1247
Therefore, the evidence overall again suggests that vehicle owners may more properly
be considered lessees of at least some telematics and entertainment system software.
The Acting Register concludes that, on the current record, section 117(a)(1) does not
cover these proposed uses.


copy; (6) whether the creator agreed that the purchaser had the right to possess and use the
programs forever regardless of whether the relationship between the parties terminated; and (7)
whether the purchaser was free to discard or destroy the copy anytime it wished. 402 F.3d at 124.
In Vernor, the Ninth Circuit held that “a software user is a licensee rather than an owner of a copy
where the copyright owner (1) specifies that the user is granted a license; (2) significantly restricts
the user’s ability to transfer the software; and (3) imposes notable use restrictions. 621 F.3d at
1111.
1241   eBay Class 7 Reply at 3.
1242   MEMA Class 7 Reply at 2–3; see also MEMA Class 7 Initial at 3.
1243   Auto Alliance Class 7 Opp’n at 11.
1244   Id. (citing 2015 Recommendation at 238).
1245   Id.
1246   2015 Recommendation at 238.
1247   See, e.g., Auto Alliance Class 7 Opp’n at 11–12.

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                     ii.    Other Devices

Commenters seeking an expansion to allow diagnosis, repair, and modification of
devices outside the context of motorized land vehicles suggest that these activities are
noninfringing under the fair use doctrine and section 117. As explained above, the
following analysis considers these arguments in the context of those types of devices
cognizably reflected in the record to varying degrees, namely home appliances,
smartphones, video game consoles, computers and ancillary or peripheral computing
devices, and consumables, plus a few examples of specific modified devices.

                            1) Fair Use

Following the path of the recent Section 1201 Report, this recommendation considers
first repair and diagnostic activities, and then modification. Based on the factual
allegations surfaced in the comments, the Acting Register further isolates specific issues
with respect to video game consoles and consumables. Finally, when considering this
expansion, the written comments and testimony focused on a desire to repair or modify
the firmware embedded in these devices or to repair a functional component controlled
by the firmware 1248—as opposed to, for example, an app loaded on a device—and the
following analysis reflects this limitation as well.

Diagnosis, repair, and maintenance, generally. Under the first fair use factor, proponents
contend generally that these activities are favored because they are transformative and
promote research to “understand the functional aspects of a copyrighted work.” 1249 In
opposition, Joint Creators II state that “[r]epair typically involves copying or adapting a
work to cause the work to perform the same purpose it was originally intended to
perform. That is not a transformative use.” 1250 They further claim that “exposing
expressive works to unauthorized access causes the first factor to weigh against fair
use.” 1251 Finally, Joint Creators II urge the Acting Register, if she recommends an




   See, e.g., Consumers Union Class 7 Initial at 2 (addressing “software that enables and
1248

governs—and restricts—the functioning of everyday consumer products in which it is
embedded”); EFF, ORI & ASCDI Class 7 Initial at 3–10 (asserting fair uses of firmware on various
devices); Tr. at 37:26–38:17 (Apr. 25, 2018) (Walsh, EFF; Wiens, iFixit) (asserting that there is no
market for firmware tied to a particular device); Tr. at 96:07–15 (Apr. 10, 2018) (Shore, ASCDI)
(describing issues of accessing firmware to repair devices).
1249   EFF, ORI & ASCDI Class 7 Initial at 8.
   Joint Creators II Class 7 Opp’n at 8 (citing Wall Data Inc. v. L.A. Cty. Sheriff’s Dep’t, 447 F.3d
1250

769, 778 (9th Cir. 2006)).
1251   Id.

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expansion related to repair, to incorporate the definition of repair as provided by section
117(d)(2). 1252

In analyzing the first fair use factor, the Acting Register notes that the Copyright Office’s
Software Study observed that, because the fundamental purpose of repair is to restore
the functionality of a device so that it may be used, “repair supports—rather than
displaces—the purpose of the embedded programs.” 1253 Applying similar logic, the 2015
rulemaking concluded that the first factor favored an exemption for vehicle repair
because the activities were personal, noncommercial, and would “enhance the intended
use” of the vehicle programs. 1254 Moreover, the Office’s Section 1201 Report observed an
emerging “general understanding that bona fide repair and maintenance activities are
typically noninfringing.” 1255 Because proponents express the same desire to engage in
these bona fide repair activities with respect to other devices, the Acting Register
concludes that this factor favors proponents.

Regarding the second factor, proponents assert that the nature of the work favors fair
use because device firmware is primarily functional in nature. 1256 Proponents state that
software code used as a “lockout” to restrict access to a device “bears only a thin
copyright interest that is overcome by the need to use that code for interoperability.” 1257
But ESA contends that “even if some elements of the console firmware are considered
functional, the games, motion pictures and other works that are protected by the
firmware are highly expressive.” 1258

As noted above, courts have found that this factor favors fair use where the relevant
work is functional software. 1259 Here, it appears that the participants may agree that the
works at issue are device firmware, and that this firmware is primarily functional.
While specific concerns with respect to access to video game consoles and other conduits
to highly expressive works are addressed below, the proposed uses are not to access
these other expressive works, but rather to diagnose or repair the computer programs

   Joint Creators Class 7 Opp’n at 5; see 17 U.S.C. 117(d)(2) (“the ‘repair’ of a machine is the
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restoring of the machine to the state of working in accordance with its original specifications and
any changes to those specifications authorized for that machine”).
1253   Software Study at 38-41.
1254   2015 Recommendation at 234–37.
1255   Section 1201 Report at 90.
1256   EFF, ORI & ASCDI Class 7 Initial at 9; Tr. at 37:05–10 (Apr. 25, 2018) (Walsh, EFF).
1257EFF, ORI & ASCDI Class 7 Initial at 8–9 (citing Static Control Components, Inc. v. Lexmark Int’l,
Inc., Nos. Civ.A. 02-571, Civ.A. 04-84, 2007 WL 1485770, at *5 (E.D. Ky. Apr. 18, 2007)).
1258   ESA Class 7 Opp’n at 8.
   See Oracle, 886 F.3d at 1204–05; Connectix, 203 F.3d at 603–05; see also 2015 Recommendation at
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235; 2012 Recommendation at 73.

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that control the functioning of devices in which they are embedded. Accordingly, the
Acting Register finds that this factor favors fair use.

Regarding the third factor, commenters do not squarely address the amount and
substantiality of the work used in relation to the fair use analysis. 1260 As noted, the fact
that the entirety of the work is used is not dispositive, as courts have permitted such
uses where necessary to achieve a transformative purpose. 1261 Indeed, in 2015, the
Register noted that although most of the proposed activity would involve reproducing
copyrighted programs in their entirety, this factor should be given little weight because
the copying was necessary to accomplish a transformative purpose. 1262 The Acting
Register finds the same conclusion sound here.

Considering the fourth factor, proponents comment that because firmware is tied to a
particular device, it has no independent commercial value. 1263 But opponents submit
that “the fourth factor analysis for repair with respect to many devices will weigh
against fair use.” 1264 Opponents’ comments are specifically directed to devices,
including video game consoles, where the “software . . . is intended to prevent
piracy.” 1265 Opponents suggest that once the firmware on these devices is accessed, even
for repair, it is compromised such that it can no longer prevent piracy and consequently,
these uses diminish the value of and market for the devices and other creative works. 1266

In 2015, the Register concluded that computer programs in vehicles are valuable only in
connection with the vehicle and that no independent market for vehicle software
exists. 1267 Similarly, in the Software Study, the Office focused on whether “these types of
computer programs” were “distributed as standalone works,” concluding that where


   ESA does state that “virtually all of the hacks for video game consoles use nearly all of the
1260

code contained within the copyrighted computer programs,” but it was not clear if the word
“hacks” refers to diagnosis and repair activities. ESA Class 7 Opp’n at 8. Either way, this does
not change the Acting Register’s conclusion.
1261   See HathiTrust, 755 F.3d at 98–99; Arriba Soft, 336 F.3d at 820–21; Connectix, 203 F.3d at 603–06.
1262   See 2015 Recommendation at 235–36.
1263See EFF Class 7 Initial at 10 (“In the case of device firmware, the copyrighted work is sold to
end-users along with an entire device.”); Tr. at 37:26-38:17 (Apr. 25, 2018) (Walsh, EFF; Wiens,
iFixit) (“[I]t’s very unlikely that there’s going to be market substitution as a result of these works
where the work’s utility and market value is connected to a physical device”).
1264   Joint Creators II Class 7 Opp’n at 9.
1265   Id.
   ESA Class 7 Opp’n at 8; Joint Creators Class 7 Opp’n at 9; see also DVD CCA & AACS LA
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Class 7 Opp’n at 4; DVD CCA & AACS LA Class 7 Post-Hearing Resp. at 2 (June 11, 2018); Joint
Creators II Class 7 Class 7 Post-Hearing Resp. at 2 (June 11, 2018).
1267   See 2015 Recommendation at 236.

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programs have no separable value, “repairing these programs is not likely to interfere
with any market likely exploited by the copyright owner.” 1268 Now, the Acting Register
must consider the fourth factor in relation to the current record, for the enumerated
categories of specific devices raised above. Apart from gaming consoles (discussed
further below), the record seems to indicate that the TPMs at issue are generally
restricting access to the device firmware, and not to other expressive works. 1269 Further,
in the case of smartphones specifically, although these devices can no doubt be used to
consume expressive works, previous rulemakings have concluded that the firmware on
smartphones is unlikely to have a significant independent market that can be harmed. 1270
Thus, the Acting Register follows the conclusions of the 2015 rulemaking and the
Software Study, and does not find that this factor disfavors the expanded exemption.

Repair of video game consoles, specifically. Proponents contend that the same analysis
should hold with respect to video game consoles. 1271 Opponents, however, express
concern that circumvention of TPMs on video game consoles creates risk of
unauthorized access to content and piracy, because the TPMs also protect access to the
games themselves. 1272 Opponents claim that, even if circumvention were for legitimate
repair, once TPMs are circumvented, it is questionable that they could be restored. 1273
Further, ESA states that circumvention could result in a console being “unable to run
properly licensed content.” 1274 They contend that these unique concerns militate against
a fair use finding with respect to the first and fourth factors.

Opponents also claim the second and third factors disfavor fair use. They argue that
video game console firmware “contains elements protected by copyright and, even if
some elements of the console firmware are considered functional, the games, motion
pictures and other works that are protected by the firmware are highly expressive.” 1275

1268   Software Study at 41.
   See, e.g., EFF, ORI & ASCDI Class 7 Initial at 3–10; Tr. at 37:26–38:17 (Apr. 25, 2018) (Walsh,
1269

EFF; Wiens, iFixit); Tr. at 96:07–15 (Apr. 10, 2018) (Shore, ASCDI).
1270See 2015 Recommendation at 163–64; 2012 Recommendation at 73–74; 2010 Recommendation
at 97–100.
1271   See EFF, ORI & ASCDI Class 7 Initial at 10, 13.
   ESA Class 7 Opp’n at 2–5, 7–8 (noting that in both the 2012 and 2015 Recommendations, the
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Register “concluded that there is a strong link between console jailbreaking and piracy”); Tr.
15:04–25 (Apr. 25, 2018) (Williams, Joint Creators II); Tr. at 65:15–22 (Apr. 10, 2018) (Williams,
Joint Creators II) (commenting that TPMs effectively ensure legitimate copies are played, whether
a physical copy or in the cloud).
1273ESA Class 7 Opp’n at 5 (noting that “TPMs cease to serve their protective function once
circumvented”); Tr. at 20:16-23:10 (Apr. 25, 2018) (Williams, Joint Creators II).
1274   ESA Class 7 Opp’n at 5.
1275   Id. at 8.

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They also contend that the “amount and substantiality of the portion used is not
reasonable, because virtually all of the hacks used for video game consoles use nearly all
of the code contained within the copyrighted computer programs.” 1276

In multiple past rulemakings, the Office has rejected proposed jailbreaking exemptions
for video game consoles—including passing suggestions of the need to repair these
consoles—because of the potential harm to the market. 1277 For example, in 2012, the
Register stated that:

             [O]pponents have provided compelling, uncontradicted evidence that
             circumvention of access controls to permit interoperability of video game
             consoles—regardless of purpose—has the effect of diminishing the value
             of, and impairing the market for, the affected code, because the
             compromised code can no longer serve as a secure platform for the
             development and distribution of legitimate content. 1278

This rulemaking reflects similar console-specific concerns about potential market harm.
Proponents have not provided a persuasive legal or factual analysis why the Acting
Register should reach a different conclusion than in 2012 or 2015, and so she does not.

Modification, generally. EFF, which focuses most of its arguments on the importance of
modification, argues that “[m]odifying device software in order to enable new uses is
the essence of a transformative use under the fair use doctrine.” 1279 ORI states that in
many cases the modification of a device’s functionality is the intended use (compared to
an intention to modify the copyrighted work), though modification of the software may
be necessary for that purpose. 1280 EFF provides a handful of examples, including
modifying a two-way radio to serve as a scanner to listen in on private talk groups and
calls, jailbreaking the PlayStation 3 to run “software of [users’] choice,” and modifying
the Sony Aibo robotic dog to teach it “to dance, speak, obey wireless commands, and
even share the video used for Aibo’s vision.” 1281 From a legal basis, EFF relies upon two




1276   Id.
1277   2015 Recommendation at 199–201; 2012 Recommendation at 42–44, 47.
1278   2012 Recommendation at 44.
1279   EFF Class 7 Reply at 5; see also Tr. at 37:11–19 (Apr. 25, 2018) (Walsh, EFF).
1280See Tr. at 100:03–17 (Apr. 10, 2018) (Band, ORI) (stating that “a lot of times what we’re really
trying to do is modify the device. But . . . to modify the device, you might need to modify the
software”).
1281   EFF, ORI & ASCDI Class 7 Initial at 3–6.

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Ninth Circuit cases, Sega v. Accolade 1282 and Sony v. Connectix, 1283 for the proposition that
“enabling interoperability and increasing the utility of hardware are fair uses.” 1284

In response, opponents cite to the Copyright Office’s Section 1201 Report concerning the
challenges of defining “modification” and “tinkering” in such a way that would permit
these activities without implicating the exclusive right to prepare derivative works. 1285
Opponents warn that user modifications may affect the market for future modifications
to device software made and sold by the manufacturer. 1286 They also argue that the term
“tinkering” could include accessing highly expressive content and unlawfully modifying
that content. 1287 Opponents suggest that the Federal Circuit’s recent decision in Oracle
America, Inc. v. Google, Inc. 1288 diminishes the weight of the cases cited by proponents
concerning transformative use, noting that the Oracle court held that verbatim copying
for purposes of interoperability was only “moderately transformative activity.” 1289

In analyzing whether “modification” is likely to be noninfringing, the first hurdle is
definitional. As the Section 1201 Report concluded, proponents “have suggested no
reliable way to define with any precision a category of lawful adaptations, generally, for
purposes of section 1201.” 1290 While the existing exemption allows “lawful modification
of a vehicle function,” 1291 the proposal for other devices is broader, seemingly
encompassing any modification in connection with a device. 1292 In some cases, where a
user seeks to modify only a functional element of a device for a personal,
noncommercial use, that activity may well qualify as a fair use. In other cases, however,
a modification under the proposed exemption may result in an infringing derivative
work. Indeed, the statutory definition of “derivative work” requires an underlying
work to “be recast, transformed, or adapted,” 1293 and at the hearings proponents
appeared to acknowledge that at least some of the modifications they describe in their


1282   977 F.2d at 1522–23.
1283   203 F.3d at 608.
1284   EFF, ORI & ASCDI Class 7 Initial at 8.
1285   See Joint Creators II Opp’n at 9–10 (citing Section 1201 Report at 96–97).
1286   See Tr. at 38:22–40:25 (Apr. 25, 2018) (Williams, Joint Creators II).
1287   See Joint Creators II Opp’n at 9–10.
1288   886 F.3d at 1199–202.
1289   Tr. at 40:08–25 (Apr. 25, 2018) (Williams, Joint Creators II).
1290   Section 1201 Report at 96–97.
1291   37 C.F.R. § 201.40(b)(6) (2016) (emphasis added).
1292EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 10 (June
11, 2018).
1293   17 U.S.C. § 101.

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comments could implicate that right. 1294 And the proposed class includes
commercializing these modifications insofar as the same proponents also stress the need
for third-party assistance. Moreover, it is not clear that the two cases cited by
proponents go so far as to support the broader range of activities envisioned by the
proposal. 1295

Thus, the Acting Register does not conclude that modification of a function of a device
as a general category is likely to be noninfringing. As the Office has repeatedly stated,
“there is no ‘rule of doubt’ favoring an exemption when it is unclear whether a
particular use is a fair use.” 1296 Because “modification” has not been defined with
sufficient precision here, the Acting Register declines to find that this aspect of the
proposed expansion is likely to be a fair use.

Modification of consumables, specifically. In contrast, the several examples regarding the
desire to modify consumable devices described by proponents seem to share a more
definable set of commonalities. Proponents’ concern here is that device owners are
locked into using a manufacturer’s replacement cartridges and are unable to use
competitive consumable cartridges without modifying their devices. 1297 In this case, the
purpose of the modification is to make the device accept non-manufacturer-approved
component parts. Opponents did not specifically oppose the inclusion of devices
involving consumables, other than in their broad opposition to exempting any device
that would provide access to expressive works, and in their concern that the evidence for
an expanded exemption was generally insufficient.

The Acting Register notes there are some parallels between this proposal and the
existing exemption for 3D printers to enable the use of non-manufacturer-approved
feedstock. 1298 Moreover, the proposed modifications are limited to developing
interoperability between products, a use the Office has acknowledged in prior


   See Tr. at 41:01–17 (Apr. 25, 2018) (Walsh, EFF) (suggesting opponents’ specific objections to
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robotic dogs and video game consoles should not undermine proponents’ broader fair use
analysis); Tr. at 76:01–04 (Apr. 10, 2018) (Band, ORI) (noting that modification of robotic dog
“could be creating a derivative work, and that would be non-infringing and that would not be
permitted”); see also 2015 Recommendation at 200; 2012 Recommendation at 39–44 (declining to
recommend exemption for jailbreaking gaming consoles).
1295EFF, ORI & ASCDI Class 7 Initial at 8 (citing Sega, 977 F.2d at 1514–17, and Connectix, 203 F.3d
at 598–601 both of which analyzed reverse engineering, specifically).
1296   2015 Recommendation at 15; 2012 Recommendation at 7; 2010 Recommendation at 11–12.
   See EFF, ORI & ASCDI Class 7 Initial at 5–6; Tr. at 18:01–07 (Apr. 25, 2018) (Walsh, EFF).
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Proponents identified a similar concern with respect to replacing smart light bulbs. EFF, ORI &
ASCDI Class 7 Initial at 3.
1298   See 2015 Recommendation at 356–77.

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rulemakings is likely fair. 1299 As the Section 1201 Report noted, Congress did not intend
that “section 1201 would serve as a sword to inhibit market entrants from offering
competing consumer products.” 1300 Therefore, while the record remains sparse
concerning whether there are TPMs protecting copyrighted works that effectively
prevent the desired uses of these products, to the extent those elements are present, the
Acting Register concludes that the uses, on balance, are likely to be noninfringing. As
noted above, however, this does not end the inquiry. Proponents still must establish
that the prohibition on circumvention is likely to cause an adverse effect on users’ ability
to engage in these uses. The Acting Register addresses that issue below.

Further, in some cases, a regulatory exemption may not be necessary, as the Copyright
Office has noted that section 1201(f) should be available to insulate circumvention
activities undertaken for the purpose of achieving interoperability of a computer
program with other programs. 1301 As the Section 1201 Report explains, section 1201(f)
largely codified the holding of Sega that proponents primarily rely on in seeking an
exemption for interoperability uses.

                             2) Section 117

Proponents also assert that the proposed uses of computer programs on software-
enabled devices are noninfringing under section 117. To start, they state that the owners
of these devices typically own the copy of the software embedded within them. 1302 They
suggest section 1201 should not be interpreted in a way that divests consumers of these
traditional expectations of ownership. In contrast to the discussion regarding telematics
and entertainment ECUs, and with the exception of video game consoles, opponents do
not dispute that owners of the devices at issue here generally own the copy of the
firmware on those devices.

In its Software Study, the Copyright Office noted that the question of ownership “can be
complex” with regard to embedded software, in part depending upon the nature of
consideration paid for the software as part of the transaction. The Office noted that the
acquisition of specialized software like programs controlling the function of windshield
wipers may be “essentially invisible to the consumer” of a purchased automobile,

  See, e.g., id. at 162 (discussing smartphone unlocking and noting “interoperability is favored
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under the law”).
1300   Section 1201 Report at 48.
1301   See id. at 67–71 (discussing Sega and 17 U.S.C. § 1201(f)). See generally 17 U.S.C. § 1201(f).
1302See Tr. at 54:04–07 (Apr. 25, 2018) (Wiens, iFixit) (suggesting that the “overwhelming majority
of products have no license—that have software in them, have no license agreement associated
with them”); Tr. at 51:23–52:08 (Apr. 25, 2018) (Walsh, EFF) (arguing that “even if there is [an end-
user license agreement] in place, the person who owns the device is typically also the owner of
that copy of the software”).

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whereas “operating system software in a personal computer” will play a more
significant element in the transaction, and may well be licensed. 1303 Previously the
Register found it likely that “some subset” of owners of wireless devices, including
smartphones, likely own the copy of the device software. 1304 Based on the limited
record, the same logic might extend to devices like home appliances, as well as some
subset of the other categories such as consumables. For video game consoles,
commenters dispute whether owners of the console also own the copy of device
firmware, and the record lacks sufficient evidence to resolve that issue either way. 1305
Thus it appears that some, but not all, devices may involve ownership of copies of the
software within the meaning of section 117(a).

The next requirement under 117(a)(1) is that reproduction or adaptation of the computer
program be an “essential step in the utilization of the program in conjunction with a
machine,” and the copy is used in no other manner. 1306 Opponents argue that section
117 does not cover various activities proposed by proponents, with Joint Creators II
stating that proponents “fail[] to establish that the copying and adaptation involved in
repairing devices used to access expressive works is a noninfringing use. Section 117 is
limited in scope and would not apply to all repair activities.” 1307

The Copyright Office has previously noted that “[i]f the embedded software copy is
owned, section 117(a) provides broad protections” for a range of activities. 1308 While it is
true this range has limits, many of the examples provided by proponents may qualify
under section 117(a)(1) as they are directed at copying or adapting the computer
program to enable the continued operation of the machine. For example, Mr. Wiens
testified that it is necessary to circumvent a TPM to replace an iPhone home button. 1309
Similarly, he described the growing utilization of TPMs in devices by manufacturers of

1303   Software Study at 36.
   2015 Recommendation at 161–62 (internal quotation marks omitted) (relying also on the
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Unlocking Act § 2(c), 128 Stat. at 1751–52, as demonstrating congressional intent that “device
owners be entitled to engage in circumvention independent of the question of legal ownership of
device software”); 2012 Recommendation at 93.
   Compare Tr. 22:08–17; 52:20–06 (Apr. 25, 2018) (Williams, Joint Creators II) (suggesting console
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owners do not own the copy of the firmware), with Tr. at 53:07–12 (Apr. 25, 2018) (Walsh, EFF)
(suggesting console owners are free to resell and dispose of consoles, including installed
software, and no obligation to return to manufacturer).
1306   17 U.S.C. § 117(a)(1).
1307   Joint Creators Class 7 Opp’n at 8.
   Software Study at 36 (further noting that “section 117(a) has been interpreted to permit a
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broad range of activities, including fixing bugs, transferring programs to a new operating system,
and adding new features to make the software more useful to its owner”).
1309   Tr. at 33:11–16 (Apr. 25, 2018) (Wiens, iFixit).

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home appliances and the corresponding rise in need for users to circumvent TPMs to
repair those devices. 1310 The Acting Register concludes that these types of functional
corrections or improvements likely qualify as noninfringing under section 117(a)(1). 1311
In addition, if the ownership criteria were met, section 117(a)(1) would seem to permit
some (but not all) of the modification examples given, including modifying lighting
system firmware to pair with third-party lightbulbs or debugging. 1312 But again,
following two policy studies where the Copyright Office concluded respectively that
section 117 is fact-dependent and that there was no consensus regarding the meaning of
lawful modification, 1313 the Acting Register declines to extrapolate from briefly sketched
statements to conclude more definitively as to whether the class of modifications sought
in this exemption are likely noninfringing.

In sum, the Acting Register concludes that some of the proposed uses—including some
involving owned smartphones and home appliances—are likely to be noninfringing
under section 117. As stated above, however, there is no “rule of doubt” favoring an
exemption when it is unclear that a particular use is noninfringing. 1314 Because the
record lacks sufficient evidence regarding ownership of other devices, or a working
understanding of the types of modification sought, the Acting Register does not have
adequate information to determine whether the full range of requested activities may
fall within the scope of permissible uses under section 117(a)(1).

                    d. Causation

The Acting Register finds that the record shows that the current qualifying language
“except for computer programs primarily designed for the control of telematics or
entertainment systems for such vehicle” limits the ability of owners to engage in the
diagnosis, repair, or lawful modification of a vehicle function as described above.
Additionally, the Acting Register finds that the record shows that the statutory
prohibition on circumvention of access controls limits participants’ ability to engage in
diagnosis and repair of home appliances and smartphones. But for the prohibition,
users likely could gain lawful access to the copyrighted firmware for those purposes.

With respect to consumables, however, it is not clear from the record whether the
prohibition on circumvention is causing any adverse effect on consumers’ ability to


1310   Tr. at 30:05–31:01 (Apr. 25, 2018) (Wiens, iFixit).
   Software Study at 36 & n.191 (citing Krause, 402 F.3d at 125); see also Tr. at 92:21–93:20 (Apr. 25,
1311

2018) (Walsh, EFF).
1312   EFF, ORI & ASCDI Class 7 Initial at 3–5.
   Section 1201 Report at 90; Software Study at 33, 36 (noting it would be difficult for Congress to
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“identify the precise situations where ‘tinkering’ and ‘repair’ should be permitted”).
1314   See 2015 Recommendation at 15; 2012 Recommendation at 7.

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engage in the proposed activity. Similarly, in the case of computing peripheral devices,
the record does not establish that TPMs are consistently controlling access to a
copyrighted work within the meaning of the statute. The evidentiary deficiencies
regarding these categories of devices are discussed below.

                     e. Asserted Adverse Effects

                       i.    Vehicle Telematics and Entertainment Systems

Turning to the analysis of adverse effects and consideration of the statutory factors
under 1201(a)(1)(C), the first and fourth factors—the availability for use of copyrighted
works and the effect of circumvention of TPMs on the market for copyrighted works—
are the most germane to the proposed uses of vehicle telematics and entertainment
systems. The second and third factors—the availability for use of works for nonprofit
archival, preservation, and educational purposes; and the impact on criticism, comment,
news reporting, teaching, scholarship, or research—are not especially relevant.

With respect to the first factor, proponents argue that absent an exemption, access to the
works will be unavailable due to TPMs. Regarding telematics systems, proponents
contend that these systems are becoming the nexus for diagnostic information necessary
to evaluate and repair vehicles. 1315 In some cases, they note, manufacturers have
migrated some or all data relating to vehicle function from physical OBD ports to
telematics systems. 1316 Furthermore, proponents indicate that some manufacturers—
including BMW and Tesla—are considering removing or have already removed the OBD
port entirely. 1317 There is also some indication that entertainment systems may be
integrated with systems controlling vehicle functions, though it is unclear whether this
is a common design. 1318 Consequently, proponents argue, vehicle owners in these
situations are unable to diagnose or repair their vehicles without accessing these
systems. 1319 In addition, they note that where owners are unable to repair their vehicles
due to the additional cost or time, the software is no longer available for use, as the




   See Auto Care & CTA Class 7 Pet. at 3; Auto Care Class 7 Initial at 5; CTA Class 7 Initial at 3;
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Farmers Class 7 Initial at 9 n.48; iFixit Class 7 Pet. at 2.
   See Tr. at 59:22–60:09, 65:07–66:17 (Apr. 25, 2018) (Wiens, iFixit) (referencing John Deere and
1316

Tesla); Tr. at 46:16–47:03; 48:05–14 (Apr. 10, 2018) (Lowe, Auto Care).
  See Tr. at 46:14–48:14 (Apr. 10, 2018) (Lowe, Auto Care); Tr. at 59:22–60:09 (Apr. 25, 2018)
1317

(Wiens, iFixit).
   See EFF, Auto Care, Dorman, iFixit SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 5–10
1318

(June 11, 2018); Tr. at 56:04–57:17 (Apr. 25, 2018) (Wiens, iFixit); Tr. at 50:23–51:09 (Apr. 10, 2018)
(Lowe, Auto Care); Tr. at 69:17–70:22 (Apr. 10, 2018) (Lowe, Auto Care).
1319   See Tr. at 70:22–71:18 (Apr. 25, 2018) (Wiens, iFixit).

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vehicles sit idle or are disposed of, sometimes in favor of older machines without
embedded software. 1320

Opponents counter that use of telematics for diagnosis, repair, and modification is not
necessary because diagnostic data is still available through the onboard diagnostics
port. 1321 Alternatively, opponents say that circumvention is not needed because in 2014,
organizations representing automobile OEMs and independent repair services entered
into a nationwide memorandum of understanding (“MOU”) and Right to Repair
(“R2R”) Agreement that obligate manufacturers to make available diagnostic and repair
information to vehicle owners and independent repair services. 1322 On this issue,
proponents counter that the MOU is inadequate because it leaves out many vehicles,
requires vehicle owners to pay to reinstall vehicle software on replacement parts, and
excludes telematics systems. 1323 Finally, opponents contend that proponents have not
met their burden of demonstrating the adverse effects of TPMs on noninfringing uses. 1324

The Acting Register concludes that this factor favors an exemption. The record
demonstrates that the OBD-II port may provide only limited information, and there can
be a need to access the telematics ECU, and incidentally an infotainment or
entertainment system, 1325 to engage in activities otherwise permitted under the current
exemption. And although some repair and diagnostic activities can be conducted

1320Farmers Class 7 Initial at 2, 6 (commenting that farmers experience significant downtime
waiting for repair of equipment, and that some farmers are opting to purchase older equipment
at increased prices because it does not contain software).
1321   See Tr. at 60:19–61:23 (Apr. 25, 2018) (Mooney, Harman).
   See Auto Alliance Class 7 Opp’n at 7, 15 (Ex. A, MOU and R2R Agreement); see also 2015
1322

Recommendation at 225–26.
   See Auto Care Class 7 Reply at 3–6; CTA Class 7 Reply at 4; see also 2015 Recommendation at
1323

225–26 (noting that MOU did not cover all models of vehicles).
  See Auto Alliance Class 7 Post-Hearing Resp. at 1 (June 6, 2018); Joint Creators II Class 7 Post-
1324

Hearing Resp. at 1 (June 11, 2018); Tr. at 57:12–24 (Apr. 10, 2018) (Williams, Joint Creators II).
1325Dorman also suggested that it has a need to repair or replace infotainment/entertainment
modules, and has turned down requests to supply refurbished modules because there is no way
for the end-user to complete the installation by syncing its controls with the vehicles, which
requires circumvention. See Tr. at 44:18–45:02 (Apr. 10, 2018) (Kealey, Dorman). In a subsequent
ex parte meeting with the Office, Dorman indicated that repairs to functional vehicle systems,
such as the air conditioning, may be implicated where controls are integrated into the
infotainment system. See Auto Care & Dorman Class 7 Ex Parte Meeting Summary at 2–3 (Sept. 6,
2018). But opponents suggest that both the infringement and 1201 statutory factor analyses differ
significantly with respect to repair or modification of these systems. On the whole, without a
more fully developed record on the need to circumvent for purposes unrelated to vehicle
functions, the Acting Register does not recommend further adjustments to the existing
exemption.

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through the use of manufacturer-licensed services, proponents provide evidence
demonstrating that those alternatives may be less accessible (including for time-sensitive
agricultural activities) and/or substantially more costly. 1326

Regarding the fourth statutory factor, the record is mixed. Proponents state that because
telematics and entertainment software serves no purpose outside of vehicles, there is no
independent market for the software separate from vehicle sales. 1327 Opponents warn
that “permitting an exemption for telematics or entertainment systems would enable
rampant piracy of copyrighted works like music and films,” as well as “broad theft of
valuable intellectual property, including valuable source code.” 1328 And, as noted above,
opponents contend that access to the telematics system implicates other expressive
works such as maps, databases of geographic data, and data compilations. 1329 Further,
they argue, circumvention of the entertainment system could provide “access to
everything in the system, including audiovisual works and sound recordings that reside
in streaming services that the user has not paid for.” 1330 Consequently, the market for in-
vehicle licensed content, which is predicated on adequate protections, could be
significantly diminished. 1331 Opponents further contend that to the extent proponents
focus on the use of entertainment systems for “storage capacity,” allowing users to
upload their own content also has the potential to impact the licensing market for in-
vehicle entertainment software and content. 1332



1326See Adams Class 7 Reply at 2; Auto Care Class 7 Initial at 5; CTA Class 7 Reply at 3; DeVolve
Class 7 Reply at 2; Farmers Class 7 Initial at 2–6; MEMA Class 7 Reply at 5; White Class 7 Reply at
2; Zuckerman Class 7 Reply at 2; Tr. at 29:19-30:05 (Apr. 10, 2018) (Band, ORI).
1327   See Tr. at 25:11–22 (Apr. 10, 2018) (Kealey, Dorman).
1328Harman Class 7 Opp’n at 3, 6, 8–9; see also Tr. at 59:05–14 (Apr. 10, 2018) (Williams, Joint
Creators II) (commenting that once a vehicle entertainment system is accessed via circumvention,
it facilitates unauthorized access to subscription streaming services and copies of copyrighted
content can be downloaded).
1329   Auto Alliance Class 7 Opp’n at 10.
1330Harman Class 7 Post-Hearing Resp. at 2–3; see also Joint Creators II Class 7 Opp’n at 8, 11, Ex.
1 (Bell Statement at 2–3) (describing how root access could lead to unauthorized copying and
access).
1331See, e.g., Auto Alliance Class 7 Opp’n at 11 (“[T]he circumvention of access controls could
severely diminish the value of this copyrighted content by enabling vehicle owners to cancel their
subscriptions altogether and rely upon unauthorized access facilitated by circumvention.”); Tr. at
61:03–62:11 (Apr. 10, 2018) (Williams, Joint Creators II) (commenting that content providers that
license to vehicle manufacturers seek certain protections that, if absent or inadequate, would
affect licensors’ decisions to enter the market).
   See Auto Alliance Class 7 Opp’n at 11; Tr. at 57:25–58:17 (Apr. 10, 2018) (Williams, Joint
1332

Creators II).

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Opponents raise legitimate concerns about the impact of the proposed uses on the
market for expressive works. In 2015, the Office distinguished telematics and
entertainment systems on the ground that there was “evidence to suggest that
circumvention of access controls on entertainment and telematics ECUs could result in a
diminution in the value of copyrighted works if those systems could no longer reliably
protect the content made available through them.” 1333 But it is also true that there is little
to suggest that there is a market for most vehicle firmware apart from the market for the
vehicles themselves. 1334 Most of opponents’ concerns, while significant, primarily relate
to accessing entertainment works through vehicle entertainment systems and related
subscription services, not to repairing more functional software installed to facilitate
vehicle operation, which may require bypassing TPMs that incidentally protect
entertainment systems. 1335 Further, the existing exemption is limited to diagnosis, repair,
and lawful modification of a vehicle function. In light of these concerns, the Acting
Register concludes that this factor favors removing the limitation to telematics and
entertainment ECUs, but only as needed to repair or lawfully modify a vehicle function.

Finally, the statute also allows consideration of “such other factors as the Librarian
considers appropriate.” 1336 Opponents raise concerns regarding vehicle safety,
environmental impact, unauthorized access to private data, and compliance with
regulations promulgated by other federal agencies. 1337 Proponents respond that these
considerations do not relate to the copyright concerns that are the primary focus of this
rulemaking. 1338 Moreover, proponents suggest that the exemption will promote
competition in the aftermarket and facilitate environmental responsibility. 1339 Overall,
this factor does not significantly affect the Acting Register’s calculus.

Reviewing the totality of the evidence, the Acting Register concludes that proponents
have established that the current prohibition against accessing telematics and
entertainment ECUs is or is likely to adversely impact noninfringing repair,


1333   2015 Recommendation at 241.
1334   See id. at 236.
   Cf. EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 5–10
1335

(June 11, 2018) (comparing examples of schematics for older vehicles where telematics and
infotainment systems were physically separate to modern, integrated systems).
1336   17 U.S.C. § 1201(a)(1)(C)(v).
   See Auto Alliance Class 7 Opp’n at 13–14; Harman Class 7 Opp’n at 3–4 (citing incident where
1337

Jeep was hacked to remotely control vehicle functions); Tr. at 74:20–75:23 (Apr. 25, 2018)
(Mooney, Harman).
  See Auto Care Class 7 Reply at 6; Consumers Union Class 7 Initial at 3 (acknowledging
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importance of product safety, data privacy and security); CTA Class 7 Reply at 4.
1339   See, e.g., eBay Class 7 Reply at 2.

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maintenance, and lawful modification of vehicle functions. But this conclusion does not
extend to circumvention undertaken to access works provided via a separate
subscription service, such as SiriusXM, or via a drive directed at entertainment
consumption, such as a DVD or Blu-ray player. 1340

                      ii.    Other Devices

While the rulemaking generally considers whether adverse effects have been
demonstrated in reference to the statutory factors, as with the rest of this class, the
spotty record and sprawling nature poses a challenge. The Acting Register first analyzes
whether, for each category of devices, the record reflects that the prohibition on
circumvention is inhibiting the identified likely noninfringing uses. Next, if there does
seem to be an adverse effect, she considers those categories specifically in connection to
the statutory factors.

                             1) Device Categories

Smartphones. There was considerable testimony from repair services and concerned
individuals suggesting that TPMs inhibit the restoration of smartphones to full
functionality. 1341 For example, when services repaired the iPhone home button on a
device with touch ID, the phone would often receive an error message and become
disabled. 1342 Further, existing manufacturer repair channels may be inadequate. 1343
Opponents did not contest the specifics with respect to smartphones. Further, as past
rulemakings have recognized a need to engage in circumvention for purposes of
unlocking and jailbreaking smartphones, and the testimony is that the circumstances
that gave rise to those records have not materially changed, the Acting Register can look
to those records regarding the applicability of TPMs. The Acting Register will consider
whether the prohibition is adversely affecting the repair of smartphones with reference
to the statutory factors.



  Further, the record also suggests such services or devices are typically protected by separate
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TPMs, such as passwords or the AACS or CSS access controls. See DVD CCA & AACS LA Class 7
Opp’n at 4; Joint Creators Class 7 Opp’n at Ex. 1 (Bell Statement at 2).
   See EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 2
1341

(June 11, 2018); iFixit Class 7 Pet. at 2; Tr. at 13:19–14:24 (Apr. 25, 2018) (Zieminski, Puls); Tr. at
32:12–35:12 (Apr. 25, 2018) (Wiens, iFixit; Zieminski, Puls).
1342   See Tr. at 34:09–19 (Apr. 25, 2018) (Zieminski, Puls).
   See Tr. at 98:07–21 (Apr. 25, 2018) (Zieminski, Puls) (commenting that “it would effectively
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take Apple 2.7 years just to catch up with the backlog in the United States to be able to [make all
necessary repairs] if you relied strictly on Apple Geniuses”); Tr. at 33:19–35:12 (Apr. 25, 2018)
(Zieminski, Puls) (stating that issue with iPhone home button took 2–3 years of complaints, blog
posts, and class action).

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Home appliances and home systems. Proponents also testified that it is becoming difficult
to repair many home appliances and systems, such as refrigerators or environmental
controls systems, due to the prohibition on circumvention, and they anticipate that
consumer requests to repair these appliances will increase as warranties on devices
expire. 1344 For example, proponents note that where a software-enabled appliance is
synced to a Wi-Fi network, TPMs on security software may impede the owner’s ability
to make repairs without circumvention. 1345 In other cases, consumers may seek to
circumvent TPMs on home appliances to turn off Wi-Fi functionality for security
purposes. 1346 Moreover, the Office has recognized that the increased integration of TPM-
protected software into “everyday products,” and home appliances in particular, could
undermine traditional expectations of ownership unless owners can freely repair those
products. 1347 The Acting Register will consider whether the prohibition is adversely
affecting the repair of home appliances and home systems with reference to the
statutory factors.

Computers and computing peripherals. In contrast, while it is self-evident that computing
equipment can break and need to be repaired, it was not clear from the record that
section 1201 is inhibiting such repairs. Much of the record consisted only of equipment
lists without explanation of whether TPMs are typically applied and, if so, how they
might inhibit repair activities. Without more information, it would not seem reasonable
to infer that section 1201 is actually inhibiting the repair of everyday devices such as
display monitors, faxes, keyboards, handsets, or other office equipment that have long
been repaired without needing an exemption under copyright law. 1348 Other examples
related more to modification, a broad concept that, as noted, the Acting Register is not


1344See EFF Class 7 Pet at 2; iFixit Class 7 Pet. at 2 (suggesting everyday products “from lightbulbs
to toothbrushes” and “smart refrigerators” contain software, and an exemption is necessary to
preserve ownership rights); Tr. at 31:07–13 (Apr. 25, 2018) (Wiens, iFixit) (noting that the “typical
warranty is 12 months” whereas “[t]he anticipated life span of an appliance would be in the ten-
year range”); Tr. at 13:21–22 (Apr. 25, 2018) (Zieminski, Puls) (commenting that Puls is beginning
to expand its repair services to include smart home appliances).
1345   See Tr. at 30:15–31:01 (Apr. 25, 2018) (Wiens, iFixit).
1346See Tr. at 73:21–74:01 (Apr. 25, 2018) (Wiens, iFixit); Tr. at 30:05–14 (Apr. 25, 2018) (Wiens,
iFixit).
   See Software Study at i–ii, 2, 8 (offering examples of software embedded in home appliances
1347

including microwaves, toasters, thermostats, and refrigerators and noting “the marketplace is
changing; some would say radically”); see also Section 1201 Report at 88–90.
   At the hearing, ORI and ASCDI testified that some repair servicers may be inhibited from
1348

identifying themselves. Tr. at 85:23–86:05 (Apr. 10, 2018) (Band, ORI); Tr. at 96:07–97:16 (Apr. 10,
2018) (Shore, ASCDI). So long as the testimony is otherwise credible, the rulemaking has long
considered anonymous statements. See, e.g., Farmers Class 7 Initial at 21 (decl. of John Doe,
Large-Scale Farmer).

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able to conclude is likely to be noninfringing. 1349 Finally, proponents raise an example of
the WD Passport external hard drive series, asserting that “encryption . . . interferes with
the owner’s ability to repair the hard drive if the controller malfunctions.” 1350 But in the
explanation, they also allege that there is “a TPM that fails to protect access to the
firmware on the hard drive or the user’s files.” 1351 It is thus unclear that the TPM is
effectively controlling access to a work within the meaning of section 1201(a)(1). 1352
Further, in none of these examples do proponents address whether the asserted adverse
effects are common to the broader category of devices or instead represent “individual
cases” outside the scope of the rulemaking. 1353 The Acting Register accordingly finds
that the evidence relating to computers and ancillary devices is insufficient at this time
to conclude that there are demonstrable adverse effects on noninfringing uses.

Consumables. In two brief sentences in EFF/ORI/ASCDI’s initial comments, with a
smattering of follow-up, they also mention a handful of devices that use “consumable
cartridges.” 1354 These examples generally consist of a reference to the relevant product
category, together with a single news article for each category suggesting a possible
manufacturer “lock-in” effect. 1355 This information is insufficient for a determination of
whether TPMs are effectively controlling access to copyrighted software in those
products. In a case involving similar interoperability uses, the Sixth Circuit held that an
authentication sequence preventing the use of third-party printer toner cartridges did
not effectively control access to the printer software where the code could be read
directly from the printer memory. 1356 Moreover, for most of the examples briefly raised,
including printer ink, 1357 coffee 1358, and juice, 1359 it appears that the manufacturers have


   See EFF, ORI & ASCDI Class 7 Initial at 6 (Lenovo laptops and ST-Link
1349

debugger/programmer).
1350   Id.
1351   Id.
   See 17 U.S.C. § 1201; Lexmark Int’l v. Static Control Components, Inc., 387 F.3d 522, 547 (6th Cir.
1352

2004) (“[J]ust as one would not say that a lock on any door of a house ‘controls access’ to the
house after its purchaser receives the key to the lock, it does not make sense to say that this
provision of the DMCA applies to otherwise-readily-accessible copyrighted works.”).
1353   House Manager’s Report at 6.
1354   EFF, ORI & ASCDI Class 7 Initial at 5–6.
  Id. While light bulb interoperability is addressed separately in the submission, it may
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implicate similar issues. See id. at 3.
   Lexmark, 387 F.3d at 546–47; see also Tr. at 44:23–45:02 (Apr. 25, 2018) (Wiens, iFixit) (discussing
1356

example of cat litter cleaning fluid cartridge and stating that the device “was very similar to what
you see on the ink cartridge”); Tr. at 45:17–46:04 (Apr. 25, 2018) (Walsh, EFF).
  See EFF, ORI & ASCDI Class 7 Initial at 6 & n.24 (referencing HP printer ink policies); Karl
1357

Bode, HP Issues Flimsy Mea Culpa For Recent Printer Cartridge DRM Idiocy, But It’s Not Enough,

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removed or discontinued the use of TPMs or offered alternatives for consumers seeking
to use interoperable components. Meanwhile, section 1201(f) may cover many of these
uses to the extent they seek to facilitate interoperability with a computer program. 1360
While the Copyright Office stands by its statement that “section 1201 was not intended
to facilitate manufacturers’ use of TPMs to facilitate product tying,” to recommend an
exemption, there must be a record that shows distinct, verifiable, and measureable
adverse effects, or that such effects are likely to occur. 1361 Accordingly, on the current
record, the Acting Register does not recommend expanding the exemption to specifically
include consumables.

Video game consoles. Proponents suggest there is a need to circumvent access controls to
engage in console repair and “not to expand the functionality of the device.” 1362
Specifically, they suggest that there is a need to repair the optical drive for the Xbox 360
and PlayStation 4, which implicates section 1201 because “the drive is cryptographically
paired to the main board.” 1363 But the 2015 rulemaking considered this exact issue,
concluding that “there are other methods of replacing a malfunctioning optical drive
that do not require circumvention.” 1364 Opponents suggest that “[t]he current record




TECHDIRT (Oct. 4, 2016), https://www.techdirt.com/articles/20161003/11423135692/hp-issues-
flimsy-mea-culpa-recent-printer-cartridge-drm-idiocy-not-enough.shtml; Karl Bode, HP Brings
Back Obnoxious DRM That Cripples Competing Printer Cartridges, TECHDIRT (Sept. 19, 2017)
(https://www.techdirt.com/articles/20170914/11491238210/hp-brings-back-obnoxious-drm-that-
cripples-competing-printer-cartridges.shtml (HP offering alternate firmware without TPMs).
1358EFF, ORI & ASCDI Class 7 Initial at 6 & n.25 (citing Julia Bluff, Repairman Takes Keurig to Task
over Unfixable Machines, IFIXIT BLOG (Dec. 21, 2015) https://ifixit.org/blog/7668/unfixable-keurig/
(stating that Keurig is developing a recyclable pod)); Brian Barrett, Keurig’s My K-Cup Retreat
Shows We Can Beat DRM, WIRED (May 8, 2015) https://www.wired.com/2015/05/keurig-k-cup-
drm/ (Keurig reinstated re-usable coffee pod that accepts alternate inputs following customer
complaints).
   See EFF, ORI & ASCDI Class 7 Initial at 6 & n.26 (referencing Juicero product); Ashley
1359

Carman, Juicero, Maker of the Doomed $400 Internet-Connected Juicer, Is Shutting Down, THE VERGE
(Sept. 1, 2017) https://www.theverge.com/2017/9/1/16243356/juicero-shut-down-lay-off-refund.
1360   For a discussion of the scope of section 1201(f), see Section 1201 Report at 15–16, 63–71.
1361   Section 1201 Report at 92, 120.
1362   Tr. at 17:02–16 (Apr. 25, 2018) (Wiens, iFixit).
1363EFF, Auto Care, Dorman, iFixit, SmarTeks & Repair.org Class 7 Post-Hearing Resp. at 4 (June
11, 2018).
1364   2015 Recommendation at 196–97; 200–01.

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included even less evidence and fewer arguments attempting to support the inclusion of
consoles in any repair exemption.” 1365

Indeed, the record again suggests that in many cases, manufacturer repair services will
be widely available and adequate. 1366 Proponents suggest that manufacturer warranties
and repair services are inadequate because of high costs, repair wait times, and the
possibility of losing user-saved game data when a manufacturer replaces, rather than
repairs, a console. 1367 Opponents, on the other hand, state that the major manufacturers
continue to offer warranties and low-cost options for out-of-warranty repairs, which
they characterize as fast, reliable, and well-rated by customers. 1368 Opponents also
caution that once TPMs are circumvented by an independent service, it is questionable
whether they could be restored. 1369 Because of this, opponents argue that it would be
difficult for a user to “repair” or perform “maintenance” on a console in a manner
consistent with how those terms are defined in section 117(d). 1370

At bottom, the record reflects similar facts to the 2015 rulemaking, which concluded that
proponents had failed to demonstrate a showing of adverse effects, and so the Acting
Register reaches the same conclusion here.

Other devices. Proponents offer specific examples of modification of a few other devices,
including a robotic dog, a camera gimbal, and handheld two-way radios. 1371 But as
discussed above, as an overall matter, the Acting Register cannot conclude that
“modification” is likely to be noninfringing. Moreover, proponents fail to address
whether the asserted adverse effects concerning these devices apply to the broader
category of devices of which they are a part, or instead represent “individual cases,” in
which case they are outside the scope of the rulemaking. 1372 Thus, the Acting Register
finds that the evidence relating to these devices is insufficient at this time to adequately
identify and evaluate any asserted adverse effects on noninfringing uses.




1365   Joint Creators II Class 7 Post-Hearing Resp. at 2 n.3 (June 11, 2018).
1366   Cf. 2015 Recommendation at 200–01.
   See EFF Class 7 Reply at 4–5; Tr. at 10:01–11:08 (Apr. 25, 2018) (Miranda, SmarTeks); Tr. at
1367

19:02–20:13 (Apr. 25, 2018) (Wiens, iFixit).
1368   Joint Creators II Post-Hearing Resp. at 2 n.3.
   See ESA Class 7 Opp’n at 5 (circumvention could result in a console being “unable to run
1369

properly licensed content.”); Tr. at 20:16–23:10 (Apr. 25, 2018) (Williams, Joint Creators II).
1370   Tr. at 21:26–23:10 (Apr. 25, 2018) (Williams, Joint Creators II).
1371   See EFF, ORI & ASCDI Class 7 Initial at 3–5; EFF Class 7 Reply at 5.
1372   House Manager’s Report at 6.

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                              2) Statutory Factors

Having isolated potential adverse effects to the categories of repair of home appliances
and smartphones, the following analysis considers these categories in reference to the
statutory factors. The first statutory factor favors an exemption, as the proposed uses
extend the useful life of the devices by facilitating repair and restoration of device
functionality. The record demonstrates there are times where manufacturer-authorized
repair channels are insufficient to address widespread consumer problems in a timely
manner or to address the issue at all, and also suggests that circumvention is necessary
to engage in activities of self-repair. 1373

Regarding the second and third factors, proponents suggest that the exemption would
allow for some of the additional uses outlined in the statute, such as enabling “hands-on
learning.” 1374 Opponents respond that the proposed uses are unrelated to archival,
preservation, or educational purposes, or to criticism and commentary. 1375 To some
extent, the record shows that consumers and independent repair services rely on shared
observations about device malfunctions. 1376 The Acting Register finds these factors
weigh slightly in favor of a determination that TPMs have an adverse effect on the
proposed uses.

For the fourth factor, the effect on the value for copyrighted works, proponents reiterate
their position that because device firmware does not have value independent from a
device, there is no cognizable impact on the market. 1377 Opponents largely do not object
to expanding the exemption to allow circumvention to repair home appliances, though
they do express concern about modification of any devices where expressive works are
implicated. 1378 Opponents also stress the potential harm from “depriving copyright
owners of the exclusive right to modify their software.” 1379 But as noted above when
discussing infringement, the purpose of diagnosis and repair is to restore the intended
functionality of the device, and not to modify expressive works. There is little in the
record to suggest that engaging in these activities will negatively affect the value of




   See Tr. at 73:21–74:01 (Apr. 25, 2018) (Wiens, iFixit); Tr. at 98:07–21 (Apr. 25, 2018) (Zieminski,
1373

Puls).
1374   EFF, ORI & ASCDI Class 7 Initial at 12.
1375   See Joint Creators II Class 7 Opp’n at 11.
   See Tr. at 97:23–98:21 (Apr. 25, 2018) (Zieminski, Puls) (noting the need to widely disseminate
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repair information to effectuate timely repairs by independent servicers).
1377   See EFF, ORI & ASCDI Class 7 Initial at 10, 13.
1378   See Tr. at 90:06–18 (Apr. 10, 2018) (Williams, Joint Creators II).
1379   Joint Creators II Class 7 Initial at 10.

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copyrighted works. For these reasons, the fourth factor favors exemption with regard to
diagnosis and repair of home appliances and smartphones.

The Acting Register does not find any additional factors material to the determination of
adverse effects.

After weighing the statutory factors, the Acting Register concludes that the prohibition
on circumvention of TPMs is causing, or is likely to cause, an adverse impact on the
noninfringing diagnosis, maintenance, and repair of home appliances and smartphones.
The Acting Register cannot conclude that, based on the record, proponents have
demonstrated an actual or likely adverse effect on any other activities with respect to
expansion to other devices. Simply put, the available record is too thin.

                     f. Third-Party Assistance

As noted, several proponents requested that the exemption specifically permit third
parties, such as repair services, to assist owners in carrying out the authorized activities.
The anti-trafficking provisions in sections 1201(a)(2) and (b) make it unlawful to “offer to
the public, provide, or otherwise traffic in any . . . service . . . or part thereof” that is
primarily designed for the purpose of circumvention, has only limited commercially
significant purpose other than circumvention, or is marketed for use in
circumvention. 1380 As the Office has previously noted, these provisions provide
important benefits to the copyright system, including “prevent[ing] the development of
mainstream business models based around the production and sale of circumvention
tools.” 1381 The Librarian is not authorized to adopt exemptions to the anti-trafficking
provisions. In the 2015 rulemaking, the Office declined to recommend an exemption
expressly permitting vehicle repair or modification “on behalf of” the vehicle owner,
concluding that such a provision could implicate the prohibition on circumvention
“service[s].” 1382

In the Section 1201 Report, the Office considered the issue of third-party assistance in
light of persisting concerns that “ordinary consumers often lack the skills or technical
knowledge to circumvent independently.” 1383 The Office concluded that there is
“substantial uncertainty as to whether there are types of third-party assistance that
would fall outside the reach of the ‘service’ bar.” 1384 To address the frustration of users
who are eligible to benefit from an exemption, but who may not have the tools or skills


1380   17 U.S.C. § 1201(a)(2), (b)(1).
1381   Section 1201 Report at 56.
1382   2015 Recommendation at 246–47.
1383   Section 1201 Report at 56.
1384   Id. at 59.

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to circumvent TPMs, the Office said that in future rulemakings it would “seek to avoid
recommending unduly narrow definitions of exemption beneficiaries.” 1385 The Office
observed that this approach would appear to be consistent with section 1201(a)(1)(C)’s
reference to permitting “users of a copyrighted work” to engage in circumvention, as
opposed to “owners” of a work. 1386 The Office cautioned, however, that it “cannot
affirmatively recommend exemption language that is likely to be read to authorize
unlawful trafficking activity.” 1387 In addition, the Office noted that the question of
whether certain forms of third-party assistance may fall outside the trafficking
prohibition was both “untested [in the courts] and outside the scope of the
rulemaking.” 1388

In this context, proponents urge the Office to refine the language of the exemption to
permit third-party assistance. Farmers petition the Office to expressly include language
permitting third-party assistance for agricultural equipment. 1389 Others argue that the
reference to “users” in section 1201(a)(1) already contemplates third-party assistance
and should be interpreted broadly. 1390 In proponents’ view, the increased integration of
software has added a layer of complexity to functional repairs such that many vehicle
and device owners would not be able to take advantage of the exemption without third-
party assistance. 1391

In its opposition to exempting third-party assistance for vehicle repair, the Auto Alliance
states that the Office is not authorized by statute to enable “services” because it would
impermissibly expand the exemption to activity that would constitute unlawful
trafficking. 1392 Others offer similar objections. 1393 Specifically, Joint Creators II argue that
to the extent the services provided by a repair business always require circumvention, its
activities are likely to constitute unlawful trafficking. 1394




1385   Id. at 62.
1386   Id. at 61 n.335.
1387   Id. at 61–62.
1388   Id. at 62.
1389   Farmers Class 7 Initial at 6.
1390See, e.g., Auto Care Class 7 Initial at 2–3; Consumers Union Class 7 Initial at 3; CTA Class 7
Initial at 2; EFF Class 7 Pet. at 3; iFixit Class 7 Pet. at 2; MEMA Class 7 Initial at 6.
1391   See, e.g., eBay Class 7 Reply at 2, 4; Farmers Class 7 Initial at 7–8; MEMA Class 7 Reply at 4.
1392   Auto Alliance Class 7 Opp’n at 7–9.
1393See, e.g., Harman Class 7 Opp’n at 4; Joint Creators II Class 7 Opp’n at 12; Tr. at 19:02–07 (Apr.
10, 2018) (Williams, Joint Creators II).
1394   Tr. at 100:05–103:01 (Apr. 25, 2018) (Williams, Joint Creators II).

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Proponents respond that third-party repair services are not primarily designed or
marketed for the purpose of circumvention; rather circumvention of TPMs is merely
ancillary to those services. 1395 Proponents distinguish third-party assistance specifically
in service of noninfringing activity from trafficking, which facilitates infringement. 1396
They further argue that third-party assistance is implicit in the statute, and that no
negative inference should be taken from Congress’s adoption of the Unlocking Act,
which expressly authorizes circumvention at the direction of the device owner in the
context of cellphones. 1397

The parties also disagree as to whether section 117 provides a basis for allowing third-
party assistance. Proponents point out that section 117 allows the owner of a copy of a
program to “authorize” the making of a copy or adaption of the program for purposes of
maintenance or repair. 1398 Opponents, however, respond that “a defense to copyright
infringement is not a defense to a section 1201 violation,” and thus section 117 cannot
justify an exemption “likely to encourage trafficking under [section] 1201(a)(2).” 1399

In light of these competing statutory interpretations, and for the reasons discussed in the
Section 1201 Report, the Acting Register recommends removing the current exemption
language requiring that circumvention be “undertaken by the authorized owner.”
While the statutory language is far from clear, and the courts have yet to address this
issue, there is at least a plausible argument that some forms of third-party assistance
involving circumvention will not rise to the level of a prohibited “service” in all
instances. 1400 Indeed, as Joint Creators II appear to acknowledge, 1401 a contrary reading
would seem to render superfluous the criteria in section 1201(a)(2)(A) through (C),
which bar only those services that are “primarily designed” for the purpose of
circumventing, that have “only a limited commercially significant purpose or use”
beyond circumvention, or that are marketed for use in circumventing. 1402 Moreover, as
noted in the Section 1201 Report, the statutory directive to consider possible adverse
effects on “users of a copyrighted work” arguably suggests that, in at least some cases, a




1395   See Tr. at 91:23–92:04 (Apr. 25, 2018) (Walsh, EFF); Tr. at 13:17–18 (Apr. 10, 2018) (Band, ORI).
1396   See Tr. at 90:20–25 (Apr. 25, 2018) (Walsh, EFF); Tr. at 26:24–29:01 (Apr. 10, 2018) (Band, ORI).
1397Tr. at 106:08–20 (Apr. 25, 2018) (Walsh, EFF); see Unlocking Act § 2(c), 128 Stat. at 1751–52; see
also 2015 Recommendation at 247; Section 1201 Report at 59–62 (both discussing provision).
1398   17 U.S.C. § 117(c); see MEMA Class 7 Reply at 2–3; Tr. at 39:11–24 (Apr. 10, 2018) (Band, ORI).
1399   Tr. at 40:06–14 (Apr. 10, 2018) (Williams, Joint Creators II).
1400   See 1201 Report at 59 (concluding that there is “substantial uncertainty” on this issue).
1401   Tr. at 19:15–20:12 (Apr. 10, 2018) (Williams, Joint Creators II).
1402   17 U.S.C. § 1201(a)(2)(A)–(C).

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party other than the owner of a copy of a work may be within the class of persons
covered by an exemption. 1403

To be clear, removal of the “authorized owner” language should in no way be
understood to suggest that the exemption extends to conduct prohibited by the anti-
trafficking provisions; such an exemption is beyond the Librarian’s authority to adopt.
Nor is the Acting Register expressing a view as to whether particular examples of
assistance do or do not constitute unlawful circumvention services. Specifically, the
Acting Register expresses no opinion on whether vehicle or other repair services may
run afoul of the anti-trafficking provisions when engaging in circumvention on behalf of
customers. The recommended revision simply accounts for the possibility that certain
third parties may qualify as “user[s]” eligible for an exemption from liability under
section 1201(a)(1). Such parties still will be required to consider whether their activities
could separately give rise to liability under section 1201(a)(2) or (b). Given the legal
uncertainty in this area, services electing to proceed with circumvention activity
pursuant to the exemption do so at their peril.

                    g. Circumvention Tools

In the Section 1201 Report, the Office concluded that “beneficiaries should be able to
make necessary tools solely for their own use in carrying out exempted circumventions,”
and indeed are entitled to do so for “purposes of self-help” under the current statutory
language. 1404 However, the Office noted that current law does not permit the
distribution of such tools and did not recommend that Congress allow this activity
because “it would be impossible to control downstream uses” for unauthorized or
unlawful circumvention. 1405

A number of petitioners in this rulemaking ask the Office to adopt a more expansive
view that would allow exemption beneficiaries, including third parties, to not only make
tools, but also to distribute them. 1406 Other proposals focused on the acquisition and use




1403   Id. § 1201(a)(1)(C) (emphasis added); see 37 C.F.R. § 201.40(b)(2) (2016).
1404   Section 1201 Report at 53–54.
1405   Id. at 56.
   See, e,g., Auto Care & CTA Class 7 Pet. at 3 (petitioning to allow “companies with expertise in
1406

software to develop and make circumvention and repair solutions available to servicers and
consumers”); FSF Class 7 Initial at 2 (“exemption should extend . . . further to the sharing of tools
that enable users to repair their devices”).

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of circumvention tools. 1407 Opponents object that these proposals are unjustified by the
record and would violate the anti-trafficking provisions. 1408

As discussed in the Section 1201 Report, the Acting Register recognizes that the
acquisition and use of tools often is necessary for beneficiaries to circumvent TPMs, and
the 2015 regulatory exemption language would seem to already encompass that
activity. 1409 The distribution of such tools, however, is prohibited by the trafficking
provisions, and, as noted, the Librarian is not authorized to grant exemptions to those
provisions. Moreover, there are sound policy reasons why such exemptions are not
permitted. In the Section 1201 Report, the Office recommended against a legislative
change that would permit the distribution of such tools to exemption beneficiaries,
concluding that “it would be impossible to control the downstream uses of any
circumvention tools once distributed, even if they were produced with the intent that
they be used only to assist authorized circumvention.” 1410 Accordingly, the Acting
Register does not recommend additional language exempting the dissemination or
distribution of tools.

                    3. NTIA Comments

NTIA, like the Acting Register, grouped the various expansion proposals into four
categories: software-enabled devices; telematics and entertainment systems; third
parties; and distribution and sale of circumvention tools.

Software-Enabled Devices. NTIA supports expanding the exemption to a “new definable
sub-class” of home appliances and mobile handsets (such as cell phones) “when
circumvention is a necessary step to allow the diagnosis, repair or lawful modification of
a device function.” 1411 NTIA concludes that these are noninfringing fair uses, in part
because “diagnosis is a critical component of repairing a device” and subsequent
modification of devices is transformative. 1412 In winnowing the scope of proposed
devices to home appliances and handsets, NTIA relies on the “strength of the record for
these devices.” 1413 For home appliances, NTIA cites evidence that “appliance companies
are installing various security measures that prevent repair” and that circumvention is

1407   See, e.g., Farmers Class 7 Initial at 6.
   See Auto Alliance Class 7 Opp’n at 4–7; Joint Creators II Class 7 Opp’n at 5, 12; Tr. at 18:16–
1408

19:07 (Apr. 10, 2018) (Williams, Joint Creators II).
1409See Section 1201 Report at 52–56; see also CTA Class 7 Initial at 2–3; Farmers Class 7 Initial at
10; Tr. at 32:02–15 (Apr. 10, 2018) (Lowe, Auto Care).
1410   Section 1201 Report at 56.
1411   NTIA Letter at 50, 52.
1412   Id. at 51.
1413   Id.

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necessary to “update and secure the device” when the manufacturer has ceased
providing security updates. 1414 For handsets, NTIA points to record support for
replacing cell phone batteries and modifying two-way radio functionality. 1415 NTIA
further observes that any infringement concerns are “ameliorated as [home appliances
and handsets] . . . do not include media playback of copyrighted works as their primary
function.” 1416

The Acting Register largely concurs with NTIA’s support for expanding the exemption
to allow users to diagnose and repair smartphones and home appliances. But, as noted
above, the Acting Register finds that “modification” has not been defined with sufficient
precision in this rulemaking to conclude as a general matter that it is likely to be
noninfringing. Accordingly, the Acting Register declines to recommend an exemption
that would allow modification of devices, including two-way radio functionality.
Further, as noted below, the Acting Register recommends additional regulatory
language defining “repair” in accordance with section 117.

Telematics and Entertainment Systems. NTIA supports expanding the existing exemption
to allow “use of telematics data for diagnostic purposes.” 1417 NTIA found persuasive the
more developed record in this rulemaking, including testimony that “critical diagnostic
information is increasingly inaccessible through the ‘on-board diagnostics’ (OBD) port”
and that there is now “a trend toward diagnostic information being located in the
telematics module.” 1418 NTIA recommends, however, “limiting use to obtaining the
diagnostic data from the telematics module for purposes of repair and modification of the
vehicle, and not repair or modification to the module itself.” 1419 As to vehicle
entertainment systems, NTIA “continues to have reservations about the strength of [the]
record and the potential for infringement” and does not recommend an expansion to
permit access for the proposed uses, including “storage capacity.” 1420

Like NTIA, the Acting Register is unpersuaded by the proposed use of entertainment
systems’ storage capacity for noninfringing purposes. As outlined above, however, the
record demonstrates that incidental access to vehicle entertainment systems may be
necessary to diagnose, repair, or lawfully modify vehicle functions. The Acting Register
therefore concludes that a narrow expansion permitting such incidental access is


1414   Id.
1415   Id.
1416   Id. at 52.
1417   Id. at 53.
1418   Id.
1419   Id. at 53–54.
1420   Id. at 54.

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appropriate, provided that the exemption includes adequate safeguards—in particular, a
requirement that circumvention not be accomplished for the purpose of gaining
unauthorized access to other copyrighted works.

Third Parties. NTIA recommends removing the current exemption’s reference to “the
authorized owner of the vehicle”—a change that it characterizes as “extending the
current exemption to allow circumvention by third-party service providers to diagnose,
repair and modify software-enabled vehicles on behalf of owners.” 1421 Acknowledging
the challenges posed by “increasingly complex” vehicle systems, NTIA comments that
vehicle owners “risk losing the freedom to diagnos[e], repair, and modify their vehicles
without this expansion.” 1422 NTIA “does not believe that the proposed exemption will
violate the anti-trafficking provisions [of the DMCA],” concluding instead that it “will
allow vehicle owners to receive the necessary assistance to exercise ownership rights
that [the] DMCA intended to leave intact.” 1423 Although the Acting Register concurs
with NTIA’s recommendation to eliminate regulatory language requiring that
circumvention be undertaken by the authorized owner, as noted above, she expresses no
view on whether particular activities may or may not implicate the anti-trafficking
provisions. To reiterate, those provisions are unaffected by the exemption.

Distribution and Sale of Circumvention Tools. NTIA agrees with the Acting Register’s
recommendation to deny the proposals to “permit third-party commercialization of
software repair tools for vehicles in this class,” concluding that such activity is “likely to
constitute trafficking.” 1424 NTIA comments that although activities that constitute
“personal use” of circumvention tools may be permitted, “distribution of the same
tools,” including “marketing and sale of tools,” “may violate the DMCA’s anti-
trafficking provisions.” 1425

                    4. Conclusion and Recommendation

After thorough consideration, the Acting Register recommends expanding the current
exemption in areas where there is sufficient record support for such a change, while
retaining language to ensure that both the class of works and the permitted uses are
appropriately defined. As a result, the Acting Register is recommending two separate
exemptions, one related to motorized land vehicles, and one related to the repair and
maintenance of additional categories of devices.



1421   Id. at 60.
1422   Id. at 55.
1423   Id. at 58 & n.298 (citing Section 1201 Study at 54).
1424   Id. at 60–61.
1425   Id. at 61.

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Regarding motor vehicles, first, the recommended exemption removes the requirement
that circumvention be “undertaken by the authorized owner” of the vehicle or device,
instead recommending that it apply where such items are “lawfully acquired.” This
change responds to proponents’ concerns that the language of the existing exemption
improperly excludes other users with a legitimate interest in engaging in noninfringing
diagnosis, repair, or modification activities. As discussed above, in recommending this
change, the Acting Register expresses no view on whether particular activities might
constitute prohibited “service[s]” under section 1201(a)(2) and (b).

Second, the Acting Register recommends removing the language excluding access to
computer programs designed for the control of telematics or entertainment systems.
The Acting Register is persuaded that, due to increasing integration of vehicle computer
systems since the 2015 rulemaking, retaining this limitation may impede noninfringing
uses that can only be accomplished by accessing these systems. Nonetheless, the Acting
Register takes seriously opponents’ concerns about unauthorized access to expressive
works through subscription services unrelated to vehicle functioning, and accordingly
the recommended exemption specifically excludes access to “programs accessed
through a separate subscription service.” Further, while the broadened exemption
permits incidental access to a vehicle infotainment system, it provides that such access is
allowed only to the extent it is “a necessary step to allow the diagnosis, repair, or lawful
modification of a vehicle function.” Because the Acting Register finds that the record is
insufficiently developed to support expanding the exemption to permit diagnosis,
repair, or lawful modification of the telematics and infotainment systems themselves,
the regulatory language does not extend to those activities. To further underscore that
the exemption does not authorize circumvention for purposes going beyond those
specified, it includes the additional requirement that circumvention may not be
“accomplished for the purpose of gaining unauthorized access to other copyrighted
works.” This language ensures that the exemption cannot be used as a shield for piracy
in the guise of vehicle repair.

Next, the Acting Register recommends a new exemption allowing for the circumvention
of TPMs restricting access to firmware that controls smartphones, and firmware that
controls home appliances and home systems, for the purposes of diagnosis,
maintenance, or repair. In doing so, the Acting Register adopts section 117’s definitions
of “maintenance” and “repair.” 1426 Here again, the recommended text includes the
condition that circumvention not be “accomplished for the purpose of gaining
unauthorized access to other copyrighted works.”




   17 U.S.C. § 117(d); see Joint Creators Class 7 Opp’n at 5 (suggesting that the statutory
1426

definition of “repair” be incorporated into any exemption).

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Accordingly, the Acting Register recommends that the Librarian designate the following
classes:

           (1) Computer programs that are contained in and control the functioning of a
           lawfully acquired motorized land vehicle such as a personal automobile,
           commercial vehicle, or mechanized agricultural vehicle, except for programs
           accessed through a separate subscription service, when circumvention is a
           necessary step to allow the diagnosis, repair, or lawful modification of a
           vehicle function, where such circumvention does not constitute a violation of
           applicable law, including without limitation regulations promulgated by the
           Department of Transportation or the Environmental Protection Agency, and is
           not accomplished for the purpose of gaining unauthorized access to other
           copyrighted works.

           (2) Computer programs that are contained in and control the functioning of a
           lawfully acquired smartphone or home appliance or home system, such as a
           refrigerator, thermostat, HVAC, or electrical system, when circumvention is a
           necessary step to allow the diagnosis, maintenance, or repair of such a device
           or system, and is not accomplished for the purpose of gaining access to other
           copyrighted works. For purposes of this paragraph (b)(10):

                   (i) The “maintenance” of a device or system is the servicing of
                   the device or system in order to make it work in accordance with
                   its original specifications and any changes to those
                   specifications authorized for that device or system; and

                   (ii) The “repair” of a device or system is the restoring of the
                   device or system to the state of working in accordance with its
                   original specifications and any changes to those specifications
                   authorized for that device or system.

           H. Proposed Class 9: Computer Programs—Software Preservation

               1. Background

                   a. Summary of Proposed Exemption

Proposed Class 9 seeks to address concerns that TPMs applied to computer programs
can interfere with legitimate preservation activities. The Software Preservation Network
(“SPN”) and the LCA filed a petition that would allow “libraries, archives, museums,
and other cultural heritage institutions” to circumvent TPMs on “lawfully acquired
software for the purposes of preserving software and software-dependent materials.” 1427

1427   SPN & LCA Class 9 Pet. at 2.

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Because the issues in this class are relevant to the analysis in Proposed Class 8, which
pertains specifically to video games, the Acting Register addresses this class first.

SPN and LCA explained that their proposed exemption is intended to enable cultural
heritage institutions to preserve both TPM-protected computer programs as well as
“dependent” materials—“writings, calculations, software programs, etc.” stored in
digital formats that are inaccessible without running the underlying program. 1428 SPN
and LCA proposed that the exemption define “computer program” as “any device
program or application that: (1) allows a user to interact with a device, (2) allows other
programs or applications to complete instructed tasks, and/or (3) otherwise allows the
device to function.” 1429 They proposed defining “computer program-dependent
materials” to include “all digital file formats where accessibility depends on a software
program.” 1430

In response to concerns raised by opponents that the initial proposal was overbroad,
SPN and LCA in their reply comments proposed narrower regulatory language. This
updated proposal defines “computer program” in accordance with section 101 and
limits the proposed class of works to computer programs no longer reasonably available
in the commercial marketplace. Thus, SPN and LCA’s current proposed language is as
follows:

             1) Computer programs that have been lawfully acquired and which are
                no longer reasonably available in the commercial marketplace, for the
                purpose of preserving a computer program and/or a computer
                program-dependent material when a technological protection
                measure of a computer program renders either the computer program
                or computer program-dependent material inaccessible;

                    a) Provided that such activity is undertaken by an eligible library,
                    archive, museum, or other cultural heritage institution, where
                    such activities are carried out without any purpose of direct or
                    indirect commercial advantage and the computer program is not
                    distributed or made available to the public outside of the premises
                    of eligible institutions.

             2) For the purposes of the exemption in paragraph (1), the following
             definitions shall apply:




1428   SPN & LCA Class 9 Initial at 4.
1429   Id.
1430   Id.

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                    a) A “computer program” is a set of statements or instructions to
                    be used directly or indirectly in a computer in order to bring
                    about a certain result.

                    b) “Computer program-dependent material” refers to a digital file
                    where accessibility requires a computer program.

                    c) A library, archive, museum, or other cultural heritage
                    institution is considered “eligible” when it meets criteria laid out
                    in 17 U.S.C. § 108(a)(2): that the institution is (i) open to the
                    public, or (ii) available not only to researchers affiliated with the
                    library or archives or with the institution of which it is a part, but
                    also to other persons doing research in a specialized field. 1431

Additional comments in support of the petition were filed by FSF, Andrew Berger, Nick
Montfort, and Edward Salas. Comments in opposition were filed by ACT, Joint Creators
II, ESA, the Software and Information Industry Association (“SIIA”), DVD CCA and
AACS LA, and BSA. After SPN and LCA submitted their narrowed proposal, however,
ACT participated in the hearing as a supporter of the exemption, though its
representative expressed some disagreement regarding the proposed language. 1432

                    b. Overview of Issues

Proponents assert that the requested exemption is necessary because many cultural
heritage institutions have collections of historically or culturally significant computer
programs that they are unable to properly preserve due to various TPMs preventing
access. 1433 This in turn thwarts the preservation of numerous digital files that were
created using the TPM-protected program and that require that program for access.
Proponents contend that this lack of access not only prevents valuable research in a
variety of fields, but also could lead to the permanent loss of important portions of the
recent historical record, as many of these materials are stored in obsolete, fragile, or
deteriorating formats. 1434

According to proponents, institutions typically encounter these TPMs in attempting to
create or access preservation copies of computer programs stored in older media
formats. They note that current best practices for digital preservation “are universally
predicated on data migration, which means the transfer of data from fragile, historical
media to the robust technical systems that have been designed for digital

1431   SPN & LCA Class 9 Reply at 18.
1432   See Tr. at 190:24–193:12 (Apr. 12, 2018) (Zuck, ACT).
1433   See SPN & LCA Class 9 Initial at 6–9.
1434   See id.

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preservation.” 1435 In some cases, a TPM prevents the copying of the program from its
original media to the institution’s computer system. 1436 In other cases, preservationists
are able to migrate the program data to their system, but access controls on the program
prevent them from running the new copy. 1437 As a result, they can neither verify the
validity of that copy nor make it available for research purposes. 1438 This renders
preservation effectively “a meaningless activity.” 1439

Proponents identify several types of TPMs that they believe inhibit their efforts. These
include (1) product keys, which are “‘unique, alpha-numeric code[s]’ that are required to
be entered upon installation of computer software”; (2) passwords; (3) online
authentication; (4) bad sector copy protection, which “protects against copying by
rendering some portions of the storage media unreadable when copied”; (5) time
restrictions preventing software from running after expiration of a subscription; (6) CD-
checks preventing software from installing or running unless the disc is in the computer;
and (7) dongles, “a form of hardware, such as a USB stick, that must be inserted into the
computer to run software.” 1440




1435   Id. at 29 (statement of Henry Lowood, Stanford Univ.).
   See id. at 26 (statement of Heath Reinhard, Living Computs. Museum + Labs.) (“[M]any of the
1436

software titles we would like to preserve and exhibit have some form or another of copy
protection that does not allow us to legally make copies.”); Berger Class 9 Reply at 6 (stating that
TPMs prevent “[t]he act of copying data from physical media, when the TPM is designed to
prevent making copies”); Tr. at 173:07–11 (Apr. 12, 2018) (Lowood, Stanford Univ.).
1437   See Berger Class 9 Reply at 6.
1438   See id. at 2; Tr. at 173:12–17 (Apr. 12, 2018) (Lowood, Stanford Univ.).
  SPN & LCA Class 9 Initial at 29 (statement of Henry Lowood, Stanford Univ.); see also SPN &
1439

LCA Class 9 Initial at 3.
   SPN & LCA Class 9 Initial at 5–6 (citation omitted). The Register has previously concluded
1440

that obsolete operating systems and obsolete hardware are not TPMs within the meaning of
section 1201. See 2006 Recommendation at 30–33. In other words, where a computer program is
inaccessible simply because the operating system or hardware on which it was designed to run is
no longer available, and the program is incompatible with newer systems or hardware, the
obsolete system or hardware does not constitute a “technological measure that effectively
controls access to” the program. 17 U.S.C. § 1201(a)(1). Therefore, gaining access to such a
program would not require an exemption. By contrast, the current proposed class involves
programs that are inaccessible because of TPMs that were affirmatively put in place, typically at
the time the programs were made. Further, while opponents suggest that proponents are
encountering not access controls but copy controls, the circumvention of which is not barred by
section 1201(a)(1), see SIIA Class 9 Opp’n at 4 & n.8; Tr. at 246:16–25 (Apr. 12, 2018) (Williams,
Joint Creators II), the record establishes that at least some of the TPMs referred to by proponents
do qualify as access controls.

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Although proposed Class 9 would constitute a new exemption, proponents note that the
Register recommended, and the Librarian granted, exemptions for software preservation
in 2003 and 2006. 1441 Those exemptions allowed circumvention of access controls on
“[c]omputer programs and video games distributed in formats that have become
obsolete” and that “require the original media or hardware as a condition of access.” 1442
“Obsolete” formats were defined largely in accordance with 17 U.S.C. § 108(c); a format
was considered obsolete “if the machine or system necessary to render perceptible a
work stored in that format is no longer manufactured or is no longer reasonably
available in the commercial marketplace.” 1443 The 2006 exemption included the
additional condition that the circumvention be “accomplished for the purpose of
preservation or archival reproduction of published digital works by a library or
archive.” 1444 Proponents describe their proposal as “a continuation of the digital
preservation effort that the Copyright Office and the Librarian had recognized” in
adopting those exemptions. 1445

Opponents contend that the proposal is overbroad in several respects. First, they argue
that the exemption would improperly allow circumvention for activities beyond those
provided for in the section 108 exceptions for libraries and archives. They note that the
2003 and 2006 exemptions were limited to programs stored in obsolete formats—works
that section 108(c) specifically allows libraries and archives to copy for replacement
purposes. 1446 Second, opponents object that the term “computer program-dependent
materials” might be read to sweep in any category of copyrightable work. 1447 Third,
Joint Creators II and SIIA object to including “other cultural heritage institutions” within
the class of beneficiaries—a term that they note is undefined. 1448 Finally, ESA and DVD
CCA/AACS LA request that any exemption exclude particular types of programs (video


1441   SPN & LCA Class 9 Initial at 3.
1442   37 C.F.R. § 201.40(b)(2) (2007); id. § 201.40(b)(3) (2004).
1443   Id. § 201.40(b)(2) (2007); id. § 201.40(b)(3) (2004).
   Id. § 201.40(b)(2) (2007). The proponents of these exemptions did not seek their readoption in
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subsequent rulemakings.
1445   SPN & LCA Class 9 Initial at 3.
   ACT Class 9 Opp’n at 3 (“The Copyright Office should again follow the guidance of section
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108 and limit the proposed exemption to obsolete software.”); BSA Opp’n at 3 (“[O]nly Section
108 provides a solid basis for such non-infringing uses, and it provides such a basis only with
respect to works distributed in obsolete formats, including computer programs not reasonably
available in the commercial marketplace.”); Joint Creators II Class 9 Opp’n at 4–5 (“As the
Register has done in prior cycles, she should use the current § 108 as a guideline to assess
whether the uses at issue are noninfringing.”).
1447   ESA Class 9 Opp’n at 2–3; Joint Creators Class 9 Opp’n at 3–4; SIIA Class 9 Opp’n at 3.
1448   Joint Creators Class 9 Opp’n at 3 n.2; SIIA Class 9 Opp’n at 3.

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games and CSS and AACS technologies, respectively). 1449 Notwithstanding these
concerns, a number of opponents indicate that they would not object to a more narrowly
tailored exemption for software preservation. 1450

With respect to video games specifically, ESA contends that this proposed class would
overlap with the existing video game exemption, which enables eligible libraries,
archives, and museums to preserve games for which external server support has been
discontinued. 1451 It argues that SPN and LCA’s proposal would effectively expand that
exemption. 1452 In ESA’s view, it would be “needlessly confusing” for video game
preservation to be “governed by two separate exemptions targeting the same uses with
two different sets of rules.” 1453

SPN and LCA filed reply comments stating that they are “willing to narrow their initial
proposal to assuage some of the concerns of opponents,” specifically, by limiting the
exemption to programs that are no longer reasonably available in the commercial
marketplace. 1454 As to the other objections, however, SPN and LCA respond that “the
proposed limitations suggested by opponents are far too narrow to accommodate
pressing needs for software preservation.” 1455 Regarding video games, they note that the
current preservation exemption is limited to games that require an external server for
access, while this proposal addresses a separate need for preservation of non-server-
based games.

                   2. Discussion

                     a. Works Protected by Copyright

The proposed exemption would apply to TPMs controlling access to computer
programs, which are protectable under the Copyright Act. 1456 Therefore, the Acting


1449   See DVD CCA & AACS LA Class 9 Opp’n at 4; ESA Class 9 Opp’n at 6–7.
   See ACT Class 9 Opp’n at 2 (“The App Association does not oppose granting the proposed
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exemption . . . if [it] includes the obsolescence limitation used in previous rulemakings.”); BSA
Class 9 Opp’n at 1 (“BSA supports a proposed exemption to enable preservation of software and
software-dependent materials . . . provided the class of works to which the exemption applies is
limited to works stored on ‘obsolete’ formats, including computer programs no longer reasonably
available in the commercial marketplace.”); see also SIIA Class 9 Opp’n at 5 (similar).
1451   ESA Class 9 Opp’n at 3–4.
1452   Id. at 5.
1453   Id. at 6.
1454   SPN & LCA Class 9 Reply at 3, 9.
1455   Id. at 3.
1456   See 17 U.S.C. § 101 (definition of “computer program”).

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Register finds that the proposed class includes at least some works protected by
copyright.

                      b. Asserted Noninfringing Uses

Proponents advance three bases for finding their proposed activities to be noninfringing:
(1) the fair use doctrine, (2) the section 108(c) exception for library and archival
replacement copies, and (3) the section 117(a) exception for archival copies of computer
programs. 1457 Because the limitations of section 108(c) are relevant to the parties’ fair use
arguments, the Acting Register will address that provision first.

                          i.   Section 108(c)

Section 108(c) authorizes an eligible library or archives to make three copies of a
published work solely for purposes of replacing a copy that is damaged, deteriorating,
lost, or stolen, “or if the existing format in which the work is stored has become
obsolete.” 1458 A format is considered obsolete “if the machine or device necessary to
render perceptible a work stored in that format is no longer manufactured or is no
longer reasonably available in the commercial marketplace.” 1459 To qualify for the
exception, the institution must have first determined, after a reasonable effort, that an
unused replacement cannot be obtained at a fair price. 1460 If a replacement copy is made
in digital format, it may not be made available to the public in that format outside the
institution’s premises. 1461

Proponents contend that a portion of the activities for which they seek an exemption are
within the scope of section 108(c), and at least two of the opponents appear to agree. 1462
Proponents indicate that their preservation work includes migrating programs from
older formats such as 8- or 5.25-inch floppy disks to modern systems to “preserve the



1457Proponents also address section 108(h), which authorizes libraries and archives to make
certain uses of published works during the twenty years of their copyright term, but they note
that this provision “is usually inapplicable to digital preservation efforts.” SPN & LCA Class 9
Initial at 14.
1458   17 U.S.C. § 108(c).
1459   Id.
1460   Id. § 108(c)(1).
1461   Id. § 108(c)(2).
1462See ACT Class 9 Opp’n at 3 (“The Copyright Office should again follow the guidance of
section 108 and limit the proposed exemption to obsolete software.”); BSA Class 9 Opp’n at 6–7
(stating that the petition “appears to satisfy [the statutory] burden with respect to works
distributed on obsolete formats, including computer programs no longer reasonably available in
the commercial marketplace”).

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content on these disks for future access.” 1463 Such storage formats clearly meet the
statutory definition of “obsolete,” and given that proponents’ request is limited to non-
commercially available programs, no unused replacements are likely to be available.
Moreover, proponents note that “[i]n some instances, libraries and archives are able to
limit the number of copies of digital material that they possess to the three stipulated by
17 U.S.C. § 108(c).” 1464 In addition, consistent with section 108(c), the proposed
exemption would require that the institution not make copies available to the public
outside its premises. 1465 The Acting Register thus agrees that insofar as proponents’
request includes these particular types of preservation activities by libraries and
archives, the uses likely are noninfringing under section 108(c).

Proponents hasten to note, however, that section 108(c) “covers only a slim subsection”
of the activities in which they seek to engage. 1466 They point out that digital preservation
often necessitates the creation of “multiple temporary copies—which, while limited in
duration, may nevertheless constitute ‘copies’ that violate the three-copy rule” under the
statute. 1467 This concern is consistent with the Copyright Office’s longstanding view that
the three-copy limit does not adequately accommodate the requirements of modern
digital preservation practices. 1468 Proponents additionally note that section 108(c) does
not allow modification of a work, which they indicate is usually required when
migrating a program to new storage media. 1469 Further, they note that section 108
applies only to libraries and archives—a limitation that excludes other institutions, such
as museums, involved in software preservation. 1470

In addition, proponents argue that section 108(c) does not capture the full range of
software for which there is a legitimate preservation need. The statute’s definition of an
obsolete format, they note, is based on whether the machine or device necessary to make
the work perceptible is still commercially available. 1471 As a result, they contend, if the


1463   SPN & LCA Class 9 Initial at 15.
1464   Id. at 15–16.
1465   See SPN & LCA Class 9 Reply at 18.
1466   SPN & LCA Class 9 Initial at 14–15.
1467   Id. at 16.
   Section 108 Discussion Document at 25 (“Making a single end-use digital copy . . . may
1468

require making more than three copies in the process.”).
1469SPN & LCA Class 9 Initial at 16, 29 (statement of Henry Lowood, Stanford Univ.) (“Use of
historical software requires installation on contemporary hardware platforms or development of
an emulation solution. Usually some modification of the original software will be necessary, in
either case.”).
1470   Id. at 16.
1471   SPN & LCA Class 9 Reply at 10.

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exemption were to incorporate that limitation, TPM-protected programs that are
commercially unavailable but that are stored in non-obsolete formats may be
unavailable for preservation for many years. For example, “a work of software no
longer reasonably commercially available and stored only on CDs . . . could not be
preserved until CD drives were no longer sold,” during which time the software may
significantly deteriorate. 1472 Proponents further argue that the concept of format
obsolescence is a poor fit for the growing number of programs distributed via download
rather than in physical media. 1473 They accordingly urge that the class of works be
defined more broadly to include any computer program that is no longer reasonably
available in the commercial marketplace, regardless of the format in which it is
stored. 1474

Because not all of the proposed uses are protected by section 108(c), proponents must
demonstrate that their additional proposed activities are likely noninfringing on
separate legal grounds.

                      ii.    Fair Use

                             1) Applicability of Fair Use

Before considering the merits of proponents’ fair use arguments, the Acting Register first
addresses a threshold contention by opponents that she should not look to fair use as a
basis for expanding the exemption beyond the limitations of section 108. Opponents
note that the 2003 and 2006 software preservation exemptions were limited to programs
in obsolete formats and that the Register expressly declined to recommend broadening
them based on fair use. 1475 In their view, there is no basis for the Acting Register to
revisit those determinations. 1476 Joint Creators II further contend that it would be
premature to recommend an exemption going beyond section 108 until Congress acts on
formal recommendations from the Office regarding legislative updates to that
provision. 1477



1472   Id.
   Id. at 11 (“A literal reading of the obsolescence language from § 108 . . . might mean that
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preservationists would have to wait until computers are no longer commercially available” before
preserving a video game distributed only via download.).
1474   Id. at 11.
   Joint Creators II Class 9 Opp’n at 6–7 (citing 2003 Recommendation at 54–55 and 2006
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Recommendation at 29); BSA Class 9 Opp’n at 5 (same).
1476   BSA Class 9 Opp’n at 5; Tr. at 206:05–14 (Apr. 12, 2018) (Williams, Joint Creators II).
   Joint Creators II Class 9 Opp’n at 12–13; Tr. at 206:20–207:07 (Apr. 12, 2018) (Williams, Joint
1477

Creators II).

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In her analysis of the 2003 and 2006 exemptions, the Register recognized that “some
preservation activity beyond the scope of §108 may well constitute a fair use.” 1478 She
concluded, however, that the record was inadequate to demonstrate a need for a broader
exemption on that basis. As explained in the 2003 Recommendation, “[u]nless
particular facts about the use of particular works are presented to reveal that the
§108(c) exemption is insufficient, and unless these particular facts could be analyzed
under §107 to establish a likelihood that fair use is applicable, it would be improper
in this rulemaking to go beyond the express congressional parameters contained in
the DMCA amendments to §108.” 1479 Absent such evidence, the Register was
reluctant to make “sweeping generalizations” about the possible application of fair
use, noting that “disparate works may be involved in the preservation activity and
the effect on the potential market for the work may vary.” 1480

The current proceeding does not present these same concerns. In contrast to the prior
rulemakings, and as detailed above, proponents have put forward substantial evidence
establishing that section 108(c) does not fully cover the activities for which they believe
there is a legitimate need for an exemption. Moreover, notwithstanding the concerns
expressed in 2003 and 2006, the Office more recently has considered exemptions on the
basis of fair use even where a specific statutory exception also addresses the subject
matter. 1481 Indeed, in the closely related context of video game preservation, the Register
in 2015 analyzed the proposed exemption under fair use, while noting that section 108
“provides useful and important guidance as to Congress’s intent regarding the nature
and scope of legitimate preservation activities.” 1482 That approach is consistent with the
statute, which includes a savings clause expressly providing that nothing in section 108
“in any way affects the right of fair use as provided by section 107.” 1483 It is also



   2003 Recommendation at 54–55; accord 2006 Recommendation at 29–30. In fact, the Register
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noted in 2006 that “[i]n such cases, the exemption for this class of works should also be
available.” 2006 Recommendation at 30.
1479   2003 Recommendation at 55.
1480   Id.
   See 2015 Recommendation at 169 (unlocking exemption) (“[U]nlike past rulemakings where
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the finding of noninfringing use rested solely on section 117, the Register here also concludes that
the exemption is likely to facilitate fair use of the computer programs on the covered devices.”),
234–37 (same regarding vehicle repair exemption), 300–03 (same regarding vehicle software
security research), 368–71 (same regarding exemption for 3D printing).
1482   Id. at 342.
   17 U.S.C. § 108(f)(4); see also HathiTrust, 755 F.3d at 94 n.4 (relying on savings clause to reject
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argument that section 108 foreclosed analysis under fair use); H.R. REP. NO. 94-1476, at 74,
reprinted in 1976 U.S.C.C.A.N. 5687–88 (“No provision of section 108 is intended to take away any
rights existing under the fair use doctrine.”); Section 108 Discussion Document at 14 (“[T]he

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consistent with the Copyright Office’s view on the importance of ensuring that “fair use
remains an important safety valve [that] is available to libraries and archives in
situations not addressed by the text of section 108.” 1484

The Acting Register accordingly will consider proponents’ argument that their activities
are likely fair uses. Opponents do not directly contest that argument.

                                2) Discussion

Proponents seek to enable eligible libraries, archives, museums, and other cultural
heritage institutions to reproduce and, where necessary, modify lawfully acquired
copies of TPM-protected computer programs no longer reasonably available in the
commercial marketplace to preserve such programs and/or program-dependent
materials. They also seek to make the programs available for research exclusively on the
premises of the institution. Under the proposed exemption, these activities could not be
carried out with any purpose of direct or indirect commercial advantage, and the class of
beneficiaries would be limited to institutions meeting the criteria in section 108(a)(2)—
those that are open to the public, or available not only to researchers affiliated with the
institution, but also to other persons doing research in a specialized field. 1485 In addition,
both proponents and opponents stated that they would not object to incorporating the
further eligibility conditions proposed in the Office’s recent Section 108 Discussion
Document: (1) that the institution have a public service mission; (2) that the institution’s
trained staff or volunteers provide professional services normally associated with
libraries, archives, or museums; (3) that the institution’s collections are composed of
lawfully acquired and/or licensed materials; and (4) that the institution implement
reasonable digital security measures as appropriate for the activities permitted. 1486

With respect to proponents’ desire to make programs available for on-premises access,
this request is aimed primarily at enabling access by researchers for purposes of
scholarship. A few statements, however, suggest a desire to make programs available
more broadly. For example, proponents note that “[t]he Living Computers: Museum +
Labs cannot put some of their software collection on display because the original floppy




savings clause . . . was designed as an appropriate backstop to fill in potential legal gaps not
addressed by the existing specific exception.”).
1484   Section 108 Discussion Document at 16.
1485   17 U.S.C. § 108(a)(2).
   Section 108 Discussion Document at 51; see Tr. at 250:11–251:07 (Albert, SPN); Tr. at 256:07–20
1486

(Apr. 12, 2018) (Meyerson, SPN; Troncoso, BSA; Mohr, SIIA).

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disks are easy to break. And without circumvention, they cannot make copies.” 1487
Proponents do not, however, elaborate on the nature of these displays or provide legal
analysis of how they might affect the fair use inquiry. Therefore, the Acting Register
will limit her fair use analysis to the reproduction and modification of programs for
purposes of preservation and research, and will not consider whether exhibitions such
as those referenced by proponents may also qualify as fair uses. The Register followed
the same approach in considering the proposed exemption for video game preservation
in 2015. There, the Register declined to define that exemption to include exhibiting
games to the public in playable form because that activity implicated the public
performance and display rights, and the proponents failed to address legal issues
pertaining to those rights. 1488 As the Register explained, “[t]he performance and display
of a video game for visitors in a public space is a markedly different activity than efforts
to preserve or study the game in a dedicated archival or research setting.” 1489 In
adopting this limitation, the Acting Register again “expresses no opinion on whether the
exhibition activities proposed by proponents, insofar as they constitute public
performances, would or could constitute fair or otherwise noninfringing uses. . . . [She]
merely concludes that the lack of any legal or evidentiary record on this issue precludes
such a finding.” 1490

Addressing the first fair use factor, the purpose and character of the use, proponents
note that their activities are non-commercial and argue that “[p]reserving public access
to information constitutes a public benefit and is strongly favored in the fair use
analysis.” 1491 They point to the legislative history of the Copyright Act, which states that
“the making of duplicate copies for purposes of archival preservation certainly falls
within the scope of ‘fair use.’” 1492 They also cite case law holding that copying for
preservation purposes can provide a significant public benefit. 1493 Proponents further
contend that many of their contemplated uses are transformative in that “[p]reservation
. . . serves a different purpose from the original commercial purpose of software—it


   SPN & LCA Class 9 Initial at 8; see also id. at 26 (statement of Heath Reinhard, Living
1487

Computs. Museum + Labs) (“[M]any of the software titles we would like to preserve and exhibit
have some form or another of copy protection that does not allow us to legally make copies.”).
   2015 Recommendation at 342 (“For example, would visitors’ interactions with the games be
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limited in some way, or would visitors be permitted to play games for extended periods of
time?”).
1489   Id.
1490   Id. at 343.
1491   SPN & LCA Class 9 Initial at 10.
1492   Id. (quoting H.R. REP. NO. 94-1476, at 73, reprinted in 1976 U.S.C.C.A.N. at 5687).
   Id. (citing Authors Guild, Inc. v. Google Inc., 954 F. Supp. 2d 282, 293 (S.D.N.Y. 2013), and
1493

Sudeman v. Seajay Soc’y, Inc., 142 F.3d 194, 203 (4th Cir. 1998)).

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ensures that the preserved work will be available for research in the future.” 1494 They
argue that software migration is analogous to the activity in Connectix, in which the
Ninth Circuit held that the copying of video game console firmware to enable
consumers to play games on a personal computer was transformative because it
“afford[ed] opportunities for game play in new environments.” 1495 Proponents also rely
on White v. West Publishing Corp., where the court found the inclusion of copyrighted
legal briefs in an online database to be transformative because it served the different
purpose of “creating an interactive legal research tool.” 1496

The Acting Register agrees that the first factor weighs in favor of fair use. As an initial
matter, it is arguable that the proposed activity would not be considered transformative
because it is aimed at allowing software to perform its original function and does not
“add[] something new, with a further purpose or different character.” 1497 The Acting
Register finds it unnecessary to resolve that issue, however, because, as proponents note,
the legislative history and case law make clear that library and archival preservation is a
favored purpose under the fair use analysis. Moreover, as the Register previously
recognized, section 108 “highlight[s] Congress’s recognition of preservation as an
important social activity” and generally indicates “the types of uses that are most likely
to qualify as fair in this area.” 1498 Here, the proposed exemption incorporates most of the
key conditions in that provision, namely that the preservation activity must be
undertaken by an institution meeting specified public access requirements, that no
copies may be made available to the public outside the institution’s premises, and that
the use may not be for purposes of commercial advantage. The Acting Register
accordingly concludes that, even if the proposed uses would not be found
transformative, their purpose and character are of a type that favors fair use.

Regarding the second factor, proponents contend that the nature of the copyrighted
works favors fair use because many of the programs they seek to access are functional
works such as “word-processing, spreadsheet, and database software,” which, in their
view, derive value “from their functional ability to represent information that is owned
or created by those seeking access.” 1499 They also rely on Connectix for the proposition
that “copying to gain access to . . . functional elements [of a computer program] [is] more



1494   Id. at 11.
1495   Connectix, 203 F.3d at 606; see SPN & LCA Class 9 Initial at 11.
1496   29 F. Supp. 3d 396, 399 (S.D.N.Y. 2014); see SPN & LCA Initial at 11.
1497   Campbell, 510 U.S.at 579.
1498   2015 Recommendation at 341–42.
   SPN & LCA Class 9 Initial at 11 (citing Sega, 977 F.2d at 1526, Am. Geophysical Union, 60 F.3d at
1499

925, and Television Digest, Inc. v. U.S. Tel. Ass’n, 841 F. Supp. 5, 10 (D.D.C. 1993)).

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likely to be fair use.” 1500 Finally, they note that many of the programs are orphan works,
the owners of which “may be bankrupt, dissolved, or dead.” 1501

The Acting Register does not agree that the presence of so-called functional programs in
the proposed class tips this factor in favor of fair use. Indeed, all computer programs are
by definition functional, 1502 as they are designed to accomplish a specific task, and for
the Acting Register to conclude that as a general matter, uses of software are uniformly
favored under the second factor would overlook cases which have found this factor to
weigh against the fair use of computer programs. 1503 Moreover, as proponents have
emphasized, the proposed class also includes video games, which are often highly
expressive in nature. 1504 Nevertheless, the Register previously concluded that the second
factor did “not necessarily negate a finding of fair use” where the copying and
modification of video games were “necessary to allow continued legitimate use of the
work.” 1505 The same conclusion applies here. Overall, the Acting Register concludes
that while this factor is not necessarily favorable to fair use, it is of limited significance in
the analysis.

As to the third factor, the amount and substantiality of the portion used, proponents
acknowledge that their activities may involve copying programs in their entirety, but
assert that “[p]roviding access to vintage software may, in some cases, be impossible
without copying the whole work.” 1506 Relying on cases holding that it is sometimes
necessary to copy an entire work to make a fair use, proponents contend that the
amount they seek to copy is “reasonable in relation to the purpose of the copying.” 1507
The Acting Register agrees. The record indicates that “current digital preservation



1500   Id. (citing Connectix, 203 F.3d at 604–05).
1501   Id. at 12.
   See 17 U.S.C. § 101 (defining a “computer program” as “a set of statements or instructions to
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be used directly or indirectly in a computer in order to bring about a certain result”); see also
Oracle Am., Inc. v. Google, Inc., 750 F.3d 1339, 1367 (Fed. Cir. 2014).
   See, e.g., Wall Data, 447 F.3d at 780 (although the software products were “not purely creative,”
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the second factor weighed against fair use since they were developed over many years with
substantial investment); Cable/Home Commc’n Corp. v. Network Prods., Inc., 902 F.2d 829, 844 (11th
Cir. 1990) (protective nature of embedded software that descrambled satellite-transmitted
programming for subscribers weighed against a “decoding pirate chip” being a fair use).
   See 2015 Recommendation at 338 (“[V]ideo games are highly expressive and thus at the core of
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copyright’s protective purposes.”).
1505   Id. at 338.
1506   SPN & LCA Class 9 Initial at 12.
  Id. (citing Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 613 (2d Cir. 2006), and
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Núñez v. Caribbean Int’l News Corp., 235 F.3d 18, 24 (1st Cir. 2000)).

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practices are universally predicated on data migration,” 1508 a process that frequently
requires making complete copies. 1509 The evidence further indicates that proponents
seek to modify programs only to the extent necessary to allow them to perform their
original functions on modern computer systems. 1510 The Acting Register accordingly
concludes that this factor does not weigh against a fair use finding. 1511

Finally, regarding the fourth factor, proponents argue that “[c]reating and maintaining
copies for the purpose of archiving and scholarship do not interfere [with] the market
for the work, making the impact on the copyright holders’ interest minimal.” 1512 They
note that “[s]cholars require access to vintage word processing programs, design
software, and the like in order to study them and the materials that depend on them, not
for their original commercial purpose (creating text files, 3D designs, and so on).” 1513
Proponents further argue that their proposed limitations on eligible users and uses, as
well as the exclusion of commercially available works, eliminate any risk of market
harm.

Although opponents did not directly address the fourth factor in written comments,
Joint Creators II argued at the hearing that the inclusion of video games would harm the
market for those works. ESA contends generally that many of the activities labelled
“preservation” are infringing or would promote infringement, although the bulk of its
concerns appear to relate to online game services. 1514 ESA also advances substantially
the same argument in reference to the fourth statutory factor under section
1201(a)(1)(C). 1515 According to these opponents, the existing market for the rerelease of
classic video games could be harmed if institutions are free to make such games
available for members of the public to play on their premises. 1516


1508   Id. at 29 (statement of Henry Lowood, Stanford Univ.).
1509   See Berger Class 9 Reply at 2.
1510   See SPN & LCA Class 9 Initial at 29 (statement of Henry Lowood, Stanford Univ.).
   Cf. HathiTrust, 755 F.3d at 98–99 (holding that third factor favored fair use where libraries’
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creation of digital copies of entire books was reasonably necessary to enable full-text search of
digital repository).
1512   SPN & LCA Class 9 Initial at 12.
1513   Id.
1514   ESA Class 9 Opp’n at 7–8 (citing ESA Class 8 Opp’n at 24–38).
1515   See id. at 8.
   See Tr. at 207:13–16 (Apr. 12, 2018) (Williams, Joint Creators II) (“[W]ith video games
1516

especially, there’s an incentive to preserve them because they are often rereleased, and so there
can be market harm . . . .”); Tr. at 245:20–22 (Apr. 12, 2018) (Williams, Joint Creators II) (“[T]here’s
a higher level demand for classic video games than there is for most pieces of classic functional
software.”).

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The Acting Register agrees with proponents that there is little risk of market harm in
light of the proposal’s significant limitations on qualifying users, uses, and works. As
the Register concluded in recommending the current exemption for video game
preservation, “allowing circumvention by appropriate entities solely for noncommercial
preservation and research purposes—without distribution to or offsite access by
members of the public, consistent with section 108—would not appear to carry a
significant risk to the market.” 1517 That conclusion is particularly sound in this class,
which is limited to programs no longer reasonably available in the commercial
marketplace. With respect to video games, proponents agree that preservation of server-
based games should continue to be governed by the existing exemption; 1518 therefore, the
uses proposed here would not extend to those works. As to non-server-based games,
the Acting Register appreciates opponents’ legitimate interest in preserving the market
for reissued games, but nothing in the record suggests that the narrow preservation and
research activities contemplated by this proposal would materially interfere with that
market. In particular, opponents provided no evidence that the existing video game
preservation exemption—which includes substantially the same safeguards as those in
SPN and LCA’s amended proposal—has had any such effect. 1519 The Acting Register
accordingly concludes that this factor favors fair use.

Based on the foregoing analysis, the Acting Register finds that proponents have met
their burden of showing that the proposed uses are likely to be fair.

                     iii.   Section 117

Proponents contend that their proposed exemption “also includes uses that may be non-
infringing under 17 U.S.C. § 117.” 1520 They refer specifically to section 117(a)(2), which
authorizes the owner of a copy of a computer program to make or authorize the making



1517   2015 Recommendation at 344.
1518Tr. at 241:16–18 (Apr. 12, 2018) (Albert, SPN); see also SPN & LCA Class 9 Reply at 7 n.33 (“To
the extent that there is direct overlap between the Class 8 exemption (existing or proposed) and
this exemption, the more specific restrictions in Class 8 should apply.”).
1519In contrast to the existing video game preservation exemption, proponents here do not seek
specific exemption language authorizing the jailbreaking of video game consoles. Cf. 37 C.F.R.
§ 201.40(b)(8)(ii). To the extent, however, that jailbreaking is necessary to preserve commercially
unavailable, non-server based console software and/or video games dependent on that software,
the proposed exemption likely would permit such activity, provided the other requirements are
met. But as the Register concluded regarding the existing exemption, given the narrow class of
eligible users and the limitations on permitted uses, the piracy risk normally associated with
jailbreaking consoles would appear to be greatly diminished in this context. See 2015
Recommendation at 344.
1520   SPN & LCA Class 9 Initial at 17.

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of a copy or adaptation “for archival purposes only.” 1521 According to proponents,
“[t]here are many uses of TPM-protected software that qualify as non-infringing because
they are for archival purposes under § 117(a)(2), and copies are necessary to eliminate
the risk that the software will be damaged or destroyed.” 1522

Opponents respond that section 117(a)(2) does not protect proponents’ activities.
Because section 117 applies only to the owner of a copy, not a licensee, SIIA suggests
that this limitation excludes proponents because “most software that is not cloud-based
is licensed and not sold.” 1523 BSA contends that the copies proponents describe are not
the “back-up” copies covered by section 117, but instead are “use” copies to which the
statute “is simply inapplicable.” 1524 BSA further notes that in 2003 and 2006 the Register
declined to recommend expanding the software preservation exemption on the basis of
section 117 because she concluded that the relevant activity “fit[] far more comfortably
within the scope of §108 than that of §117.” 1525

In response to SIIA’s argument, proponents assert that ownership under section 117 “is
a complex, fact-specific matter” and that “[i]t would be inappropriate to assume” that
every transaction formally designated a license would fall outside the statute’s scope. 1526
They note that they “never suggested that § 117 will apply to all, or even most, software,
but that it provides an alternate potential source of noninfringing uses applicable in
some preservation cases.” 1527 In response to BSA, proponents argue that “[i]f copies
made for purposes of archiving and preservation count as ‘use’ copies . . . § 117 would
lose any applicability whatsoever.” 1528

The Acting Register finds the record insufficient to permit a determination of whether
beneficiaries of the proposed exemption are likely to qualify as “owners” of the software
copies within the meaning of section 117. As proponents correctly note, that inquiry is
highly fact-specific and turns upon several factors. In the Second Circuit, these include
(1) whether substantial consideration was paid for the copy; (2) whether the copy was
created for the sole benefit of the purchaser; (3) whether the copy was customized to
serve the purchaser’s use; (4) whether the copy was stored on property owned by the


1521   17 U.S.C. § 117(a)(2).
1522   SPN & LCA Class 9 Initial at 18.
1523   SIIA Class 9 Opp’n at 4 (emphasis omitted).
1524   BSA Class 9 Opp’n at 6.
1525   Id. at 6 & n.27 (citing 2006 Recommendation at 29, and 2003 Recommendation at 58–59).
   SPN & LCA Class 9 Reply at 15 (citing Vernor, 621 F.3d at 1111, Krause, 402 F.3d at 124, and
1526

2015 Recommendation at 336).
1527   Id. at 15–16.
1528   Id. at 16.

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purchaser; (5) whether the creator reserved the right to repossess the copy; (6) whether
the creator agreed that the purchaser had the right to possess and use the programs
forever regardless of whether the relationship between the parties terminated; and (7)
whether the purchaser was free to discard or destroy the copy anytime it wished. 1529 In
the Ninth Circuit, “a software user is a licensee rather than an owner of a copy where the
copyright owner (1) specifies that the user is granted a license; (2) significantly restricts
the user’s ability to transfer the software; and (3) imposes notable use restrictions.” 1530

Proponents have introduced no evidence that would allow these factors to be resolved
either in favor of or against a finding of ownership. While one might assume that the
proposed class includes at least some copies of programs that qualify as “owned,”
nothing in the record enables the Acting Register to reach that conclusion definitively, or
to determine what proportion of the class such copies might represent. Proponents’
acknowledgement that section 117 may not cover “even most” of the proposed class
only underscores this lack of evidence. 1531 Thus, the Acting Register cannot conclude, on
a class-wide basis, that the proposed uses would more likely than not be protected
under section 117. 1532 Proponents accordingly have failed to meet their burden of
showing that their activities are likely noninfringing on this additional ground. 1533

                    c. Causation

The Acting Register finds that proponents have met their burden of showing that the
prohibition on circumvention of access controls limits their ability to make the
noninfringing uses described above. But for the prohibition on circumvention, eligible
institutions likely could gain lawful access to the computer programs in the proposed
class in order to engage in those activities.




1529   Krause, 402 F.3d at 124.
1530   Vernor, 621 F.3d at 1111.
1531   SPN & LCA Class 9 Reply at 15.
   See 17 U.S.C. § 1201(a)(1)(C) (Register must determine “whether . . . users of a copyrighted
1532

work . . . are likely to be . . . adversely affected in their ability to make noninfringing uses . . . of a
particular class of copyrighted works”) (emphasis added).
1533In 2003, the Register found section 117(a)(2) inapplicable to the proposed software
preservation activities on the ground that it applies only to software at risk of damage or
destruction by mechanical or electrical failure, though acknowledging that the case law on that
issue was not uniform. See 2003 Recommendation at 56–57 & nn.101–03 (collecting cases and
treatises). The Register also concluded that section 117(a)(2) is limited to the creation of backup
copies and does not cover copies that will be used. See id. at 58. While the Acting Register need
not revisit those conclusions in light of proponents’ failure to establish ownership, reliance on
section 117(a)(2) also would require these issues to be resolved in proponents’ favor.

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                     d. Asserted Adverse Effects

Because this proposed exemption is limited to circumvention for nonprofit preservation
and research purposes, and the parties’ arguments under the first three statutory factors
address substantially overlapping issues, the Acting Register considers these factors
together.

Proponents argue that circumvention is necessary “to allow preservationists to preserve,
keep running, and thus increase the availability of TPM-protected software,” and
thereby “ensure[] that software and software-dependent material remain available for
archival, preservation, research, and educational purposes.” 1534 Without an exemption,
they contend, much of this material could be lost permanently, either because future
systems will be unable to run it or because it is stored in deteriorating media. 1535
Proponents further argue that an exemption will advance the burgeoning study of
computer programs “as cultural and scientific artifacts.” 1536 In addition, they believe the
proposed exemption would aid the development of new software by facilitating
research into the functioning of older programs. 1537

With respect to potential alternatives to circumvention, proponents contend that the use
of modern software purportedly compatible with older programs is not always reliable:

            Digital work loaded by backwards-compatible software, if it exists, can
            distort the original material. Backwards compatibility sometimes relies
            on converting the original data into a contemporary file format; this can
            cause data loss or be impossible without access to the original software.
            Architectural designs may be rendered without objects no longer
            supported by current versions. Music and visual art may be missing key
            components that were supported by community-created plugins that are
            not compatible with current software. 1538

Proponents further assert that the use of a more recent version of a program is not an
adequate alternative “where a particular version of the software is itself the subject” of
research. 1539




1534   SPN & LCA Class 9 Initial at 19.
1535   Id. at 6, 19; SPN & LCA Class 9 Reply at 10.
1536   SPN & LCA Class 9 Initial at 19.
1537   Id. at 20.
1538   Id. at 7–8.
1539   Berger Class 9 Reply at 7.

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Among opponents, only ESA directly addresses these statutory factors, and only with
respect to video games. ESA disputes that an exemption is necessary to facilitate game
preservation. First, it contends that “video game publishers have strong economic
incentives to preserve their own games, which are often issued and re-issued in patterns
common to other forms of creative content, such as film and music.” 1540 Second, it notes
that there already exist “extensive video game preservation programs” and that ESA
and its members are engaged in cooperative preservation efforts with public
institutions. 1541 Third, it argues that the current exemption for video game preservation
“is sufficient to facilitate preservation by eligible institutions, and to facilitate subsequent
research and study.” 1542

Proponents respond that the current video game preservation exemption is limited to
games dependent on an external server for access. By contrast, they state, their proposal
“covers a different set of TPMs and preservation activities—namely, software, including
video games, that may not be preserved without circumvention of a TPM but are not
necessarily reliant on a server.” 1543 They cite two examples of historic games, playable
on the Commodore 64 system, sought to be preserved by the Living Computers:
Museum + Labs that “did not rely upon a server as a TPM.” 1544 As noted, proponents
agree that the current video game preservation exemption should continue to apply in
the context of server-based games.

The Acting Register finds that these factors favor the requested exemption. Proponents
have provided substantial evidence that granting the exemption would benefit
preservation, education, and scholarship by facilitating the study of software and
dependent materials that might otherwise be lost to history. The ability of researchers to
operate and study historic software as it originally functioned is likely to promote
commentary and teaching in a variety of disciplines. Furthermore, the preservation
initiatives and reissues referenced by ESA may not provide adequate alternatives to
circumvention with respect to the full range of preservationists’ activities involving
video games. Those industry efforts, while laudable, may not include all of the titles

1540   ESA Class 9 Opp’n at 7.
1541   Id.
1542   Id.
1543SPN & LCA Class 9 Reply at 7; see also Tr. at 241:04–09 (Apr. 12, 2018) (Albert, SPN) (“[W]e’re
literally talking about . . . video games that were distributed on floppy discs for . . . the Iomega or
the Commodore 64 . . . .”).
1544SPN & LCA Class 9 Reply at 8 (discussing Battle Droidz and Dark Side). In providing these
examples, proponents again indicate that Living Computers seeks to exhibit video games. See id.
As noted above, the Acting Register is not recommending an exemption that would allow
circumvention for purposes of exhibiting programs publicly. The Acting Register expresses no
view as to whether such exhibits might implicate copyright owners’ exclusive rights.

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that proponents have a legitimate interest in preserving, and rereleases may not always
be identical to the games as originally issued. In addition, the existing video game
preservation exemption does not obviate the need for this proposal because it does not
provide a means of preserving non-server-based games.

As to the fourth statutory factor, for the same reasons discussed above in reference to the
fourth fair use factor, the Acting Register finds that granting the proposed exemption is
unlikely to adversely affect the market for or value of the computer programs in the
proposed class.

Opponents suggest that the proposed exemption could harm the value of copyrighted
works outside the class because of its reference to computer program-dependent
materials. As noted, the proposed exemption would allow circumvention for the
purpose of preserving both computer programs and program-dependent materials,
defined as “digital file[s] where accessibility requires a computer program.” 1545
Opponents contend that this provision renders the proposal substantially overbroad.
For example, Joint Creators II argue that “because . . . almost every type of work can
now be accessed using software, it could be read to cover circumvention of technological
protection measures to access all categories of copyrightable works for the purpose of
preservation.” 1546 They urge that the language be omitted from any exemption, arguing
that referring to dependent materials is unnecessary given that the proposed class of
works is limited to computer programs. 1547

In response, proponents explain that the exemption is targeted towards circumvention
of access controls placed on computer programs, which are a subcategory of literary
works. 1548 Regarding the reference to computer-program dependent materials, “[t]he
purpose of this language is to indicate that, under the proposed exemption, preservation
of computer program-dependent material would be a permissible purpose for
circumventing a TPM on a computer program.” 1549 In proponents’ view, this language is
necessary for the exemption to apply in situations where an institution’s purpose in



1545   Id. at 18.
   Joint Creators II Class 9 Opp’n at 3–4; see also ESA Class 9 Opp’n at 3 (“The concept of
1546

‘dependent materials’ appears to be an effort to back-door every type of copyrighted work into
an exemption that is ostensibly about software.”); SIIA Class 9 Opp’n at 3 (similar).
1547See Tr. at 188:03–08 (Apr. 12, 2018) (Williams, Joint Creators II) (“I don’t think that there’s any
reason to actually refer to dependent materials at all in any exemption if what you’re trying to
circumvent to gain access to is only a piece of software that then gives you lawful access to
another type of work without circumvention of any additional TPM.”).
1548   SPN & LCA Class 9 Reply at 3–4.
1549   Id. at 4.

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circumventing a TPM controlling access to a computer program goes beyond the
preservation of that underlying program. 1550

Based on proponents’ clarification, it is apparent that their proposed class is limited to
computer programs, meaning that the proposed exemption would allow circumvention
only of TPMs on that type of work. The class thus qualifies as a “narrow and focused
subset of the broad categories of works . . . identified in section 102.” 1551 While in most
cases exemption language will not refer to works outside the class, here proponents
have demonstrated a legitimate interest in preserving not only TPM-protected programs
but also other digital materials dependent upon such programs for access, and that it
would be helpful to stipulate that circumvention for that purpose is permissible in order
for the intended beneficiaries to make use of the exemption. But it is unnecessary for the
regulatory text to attempt to articulate the precise circumstances under which the
preservation of program-dependent materials is noninfringing. Such an effort to define
the lawful uses of works outside the class would seemingly exceed the proper scope of
this rulemaking. Rather, it is sufficient for the exemption to provide that such
preservation activity, to the extent lawful, is a permissible purpose for which an eligible
user may engage in the circumvention covered by the exemption.

This approach is consistent with precedent from prior rulemakings. As noted above,
this current class echoes the 2006 rulemaking, which resulted in the adoption of an
exemption for circumvention of obsolete computer programs and video games for
purposes of preservation. 1552 That exemption permitted “circumvention . . .
accomplished for the purpose of preservation or archival reproduction of published digital
works by a library or archive,” suggesting that it contemplated preservation of works
other than computer programs. 1553 Moreover, the 2000 rulemaking produced a
substantially broader exemption addressing issues of obsolescence. In that proceeding,
the Register recommended, and the Librarian adopted, an exemption for the
circumvention of “[l]iterary works, including computer programs and databases,
protected by access control mechanisms that fail to permit access because of


   See Tr. at 219:23–220:06 (Apr. 12, 2018) (Albert, SPN) (“[T]here [are] . . . really significant
1550

chilling effects from 1201, but also sort of a conservative bent to many practitioners of software
preservation, especially in large institutions. And our goal here was to make very clear that if
you are circumventing the TPM for the purposes of preserving the computer-dependent material,
not just the computer program, that’s still a thing covered by the exemption.”); Tr. at 227:18–23
(Apr. 12, 2018) (Band, LCA) (“[U]nless . . . it’s worded in such a way to make it clear that . . .
you’re not trying to just preserve the software [but] you’re able to get to the Adobe file itself . . .
there will be confusion.”).
1551   Commerce Comm. Report at 38.
1552   2006 Recommendation at 1.
1553   37 C.F.R. § 201.40(b)(2) (2007) (emphasis added).

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malfunction, damage or obsoleteness.” 1554 These precedents underscore that a general
accommodation for preservation of program-dependent materials does not render the
class overbroad.

The Acting Register concludes that an exemption defined in this manner is unlikely to
adversely affect the market for or value of program-dependent materials. The
exemption does not purport to expand the permissible uses of such materials beyond
what is already allowed under existing law; it simply would facilitate such lawful uses
where they depend on access to a separate program protected by a TPM. Furthermore,
the fact that the class is limited to computer programs that are no longer commercially
available would seem to minimize risk that the exemption could be used to access
commercially available dependent materials. At the hearing, a university curator
testified that he is unaware of any collection of obsolete software that would enable
access to such materials, describing that concern as “a complete non-issue from a library
perspective.” 1555 Opponents offer no evidence to the contrary. To the extent such a
program could be used to access commercially available dependent materials, the
existence of a market for those works would be an important factor in determining
whether copying them for preservation purposes would be lawful. Where such activity
is infringing, circumvention for that purpose would not be permitted under the
exemption.

The Acting Register does not find any additional factors relevant to the asserted adverse
effects in this proposed class. Based on the foregoing, the Acting Register finds that
users are adversely affected by the prohibition on circumvention in their ability to
engage in noninfringing preservation activities, or are likely to be so adversely affected
during the next three years.

                    3. NTIA Comments

NTIA supports adopting the proposed exemption. In its view, the class is appropriately
defined because it is limited to “computer programs, to preservation uses, and to
preservation-oriented institutional users.” 1556 It agrees with proponents that the
exemption should expressly refer to preservation of “computer program-dependent
materials,” concluding that “a user would not be able to access those materials without
preserving the software protected by a TPM.” 1557 It also agrees that the exemption
should include video games, noting that proponents provided specific examples of



1554   Id. § 201.40(b)(2) (2001).
1555   Tr. at 234:13–235:05 (Apr. 12, 2018) (Lowood, Stanford Univ.).
1556   NTIA Letter at 66.
1557   Id. at 68.

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games that may not be covered by the current preservation exemption. 1558 In addition, it
finds that there are no reasonable alternatives to circumvention, as the use of software
with backwards compatibility “is inadequate and can distort the original work.” 1559

NTIA also would grant proponents’ request to include “other cultural heritage
institutions” within the class of eligible users. 1560 To define such institutions, it proposes
adopting the eligibility conditions set out in the Section 108 Discussion Document. 1561
NTIA would not, however, require libraries, archives, and museums to satisfy those
criteria because, in its view, “the meaning and activities of those institutions are well-
understood.” 1562 But under the Section 108 Discussion Document’s proposal, those
conditions would apply to libraries, archives, and museums, and in fact would apply
only to those institutions. 1563 The Office did not recommend extending the section 108
exceptions to other entities meeting those criteria. As discussed below, the Acting
Register concludes that this exemption likewise should be limited to libraries, archives,
and museums.

                    4. Conclusion and Recommendation

In light of the foregoing, the Acting Register recommends granting an exemption that
incorporates most of the substance of proponents’ request, with certain changes to
address the concerns discussed above. First, the recommended language limits the
eligible users to libraries, archives, and museums, as defined according to the criteria
proposed in the Section 108 Discussion Document. The Acting Register declines to
recommend including “other cultural heritage institutions” within the class of
beneficiaries. While the Register in 2015 recommended including museums in the
current video game preservation exemption, finding that they engage in preservation
efforts similar to those of libraries and archives, 1564 the Acting Register cannot, on this
record, reach the same conclusion with respect to “other cultural heritage institutions,”
which is an undefined and potentially far-reaching term. The Acting Register believes,
however, that the eligibility criteria are sufficiently flexible to encompass a broad
spectrum of institutions. 1565


1558   Id. at 66.
1559   Id. at 69–70.
1560   Id. at 67.
1561   Id. at 67 & n.334.
1562   Id. at 67 n.334.
1563   See Section 108 Discussion Document at 18–21.
1564   See 2015 Recommendation at 342.
   Proponents do provide examples of institutions engaged in software preservation that “may
1565

not classify themselves as libraries, museums, or archives,” SPN & LCA Class 9 Reply at 6, but

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Second, the recommended exemption incorporates proponents’ suggestion that the class
be defined as computer programs “that have been lawfully acquired and that are no
longer reasonably available in the commercial marketplace.” For purposes of this
exemption, the Acting Register does not understand a program to be reasonably
available in the commercial marketplace if it can be purchased only in second-hand
stores. The availability of a second-hand copy of a program that is no longer being
produced would not obviate the need for preservation, as the same concerns over
deterioration and obsolescence would apply to that copy. Further, circumvention
presumably still would be necessary to access such copies in most cases, as they are
likely to have the same TPM protections as those in the user institution’s collections.
Moreover, this understanding is consistent with both the Register’s 2003
Recommendation and the legislative history of section 108(c). 1566

Third, in lieu of including the phrase “computer program-dependent materials” as a
defined term, the recommended exemption simply provides that circumvention is
permitted for the purpose of “lawful preservation . . . of digital materials dependent
upon a computer program as a condition of access.” For the reasons discussed above,
the Acting Register believes this language adequately addresses proponents’ desire for
clarity, making it unnecessary to define the class of dependent materials eligible for
preservation—an issue best left for case-by-case determination under existing copyright
law.

Finally, in response to ESA’s concern over having video game preservation governed by
two separate exemptions, the Acting Register recommends that the portion of this class
pertaining to video games be codified in the existing preservation exemption. Thus, the
new exemption discussed here would cover computer programs other than video
games, while an addition to the prior exemption would provide for preservation of the
games addressed by this class—those that do not require an external server for
gameplay. The Acting Register’s recommended regulatory language for such games is
provided at the conclusion of the discussion of proposed Class 8 below. Preservation of
server-based games would continue to be governed by that existing exemption.




the record does not always indicate that they would fail to qualify as such under the Office’s
proposed definition. In at least some instances, it seems they would. For example, proponents
reference Rhizome, a digital institution that operates multiple archives and is affiliated with the
New Museum. See id. (citing RHIZOME, http://rhizome.org/about/ (last visited, Sept. 26, 2018).
Lyndsey Moulds, a software curator at Rhizome, testified at the hearing that museums have a
particular need for this exemption. Tr. at 176:01–17 (Apr. 12, 2018) (Moulds, Rhizome).
1566   See 2003 Recommendation at 51; S. REP. NO. 105-190, at 62 (1998).

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Accordingly, the Acting Register recommends that the Librarian designate the following
class:

            (i) Computer programs, except video games, that have been lawfully acquired
            and that are no longer reasonably available in the commercial marketplace,
            solely for the purpose of lawful preservation of a computer program, or of
            digital materials dependent upon a computer program as a condition of access,
            by an eligible library, archives, or museum, where such activities are carried
            out without any purpose of direct or indirect commercial advantage and the
            program is not distributed or made available outside of the physical premises
            of the eligible library, archives, or museum.

            (ii) For purposes of the exemption in paragraph (b)(13)(i) of this section, a
            library, archives, or museum is considered “eligible” if—

                    (A) The collections of the library, archives, or museum are open to the
                    public and/or are routinely made available to researchers who are not
                    affiliated with the library, archives, or museum;

                    (B) The library, archives, or museum has a public service mission;

                    (C) The library, archives, or museum’s trained staff or volunteers
                    provide professional services normally associated with libraries,
                    archives, or museums;

                    (D) The collections of the library, archives, or museum are composed of
                    lawfully acquired and/or licensed materials; and

                    (E) The library, archives, or museum implements reasonable digital
                    security measures as appropriate for the activities permitted by this
                    paragraph (b)(13).

            I. Proposed Class 8: Computer Programs – Video Game Preservation

                1. Background

                    a. Summary of Proposed Exemption

Class 8 proponents seek to expand the current exemption that allows eligible institutions
to circumvent access controls to preserve video games for which external server support
has been discontinued. 1567 As explained in the 2015 Recommendation, some video
games “require a network connection to a remote server operated by the game’s



1567   37 C.F.R. § 201.40(b)(8) (2016).

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developer” before the video game can be accessed and played. 1568 When the developer
takes such a server offline, a game can be rendered unplayable or limited to certain
functions, such as single-player play or multiplayer play on a local network. 1569 The
current exemption allows an eligible library, archives, or museum to circumvent this
type of authentication mechanism to preserve lawfully acquired games. As relevant
here, the exemption is limited to games acquired in “complete” form—those that can be
played without accessing or reproducing copyrightable content stored or previously
stored on an external computer server—and requires that the video game not be
distributed or made available outside of the physical premises of the eligible institution.

The Museum of Art and Digital Entertainment (“MADE”) filed a petition seeking to
expand the exemption to allow for circumvention of video games that need to access
creative content stored on a remote server, which MADE refers to as “online games.” 1570
It also seeks to broaden the class of users of the exemption, currently limited to eligible
libraries, archives, or museums, to include volunteer “affiliate archivists” under the
supervision of those entities. While nothing in the existing exemption prohibits library,
archive, or museum volunteers from engaging in circumvention of TPMs to preserve
video games, this request appears directed at loosening the current restriction on
distributing or making the game available outside the institution’s physical premises. 1571
Specifically, MADE proposes amending the existing exemption language by adding the
language in bold below:

             (i) Video games in the form of computer programs embodied in physical or
             downloaded formats that have been lawfully acquired as complete games, when
             the copyright owner or its authorized representative has ceased to provide access
             to an external computer server necessary to either facilitate an authentication
             process to enable local gameplay or to conduct online gameplay, solely for the
             purpose of:

                     (A) Permitting access to the video game to allow copying and
                     modification of the computer program to restore access to the game for
                     personal, local gameplay on a personal computer or video game console;
                     or

                     (B) Permitting access to the video game to allow copying and
                     modification of the computer program to restore access to the game on a
                     personal computer or video game console when necessary to allow


1568   2015 Recommendation at 321.
1569   Id.
1570   MADE Class 8 Pet. at 2; MADE Class 8 Initial at 2.
1571   37 C.F.R. § 201.40(b)(8)(i)(B) (2016).

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             preservation of the game in a playable form by an eligible library,
             archives or museum, or an eligible library, archives or museum’s
             eligible affiliate, where such activities are carried out without any
             purpose of direct or indirect commercial advantage and the video game is
             not distributed or made available to the public outside of the physical
             premises of the eligible library, archives or museum.

      (ii) Computer programs used to operate video game consoles solely to the extent
      necessary for an eligible library, archives or museum, or an eligible library,
      archives or museum’s eligible affiliate, to engage in the preservation activities
      described in paragraph (i)(B).

      (iii) For purposes of the exemptions in paragraphs (i) and (ii), the following
      definitions shall apply:

             (A) “Complete games” means video games that can be played by users
             without accessing or reproducing copyrightable content stored or
             previously stored on an external computer server, or video games that
             can be played by users through lawful access of game content stored or
             previously stored on an external computer server.

             (B) “Ceased to provide access” means that the copyright owner or its
             authorized representative has either issued an affirmative statement
             indicating that external server support for the video game has ended and
             such support is in fact no longer available or, alternatively, server support
             has been discontinued for a period of at least six months; provided,
             however, that server support has not since been restored.

             (C) “Local gameplay” means gameplay conducted on a personal
             computer or video game console, or locally connected personal
             computers or consoles, and not through an online service or facility.

             (D) “Online gameplay” means gameplay conducted on a personal
             computer or video game console using an external computer server.

             (D) (E) A library, archives or museum is considered “eligible” when the
             collections of the library, archives or museum are open to the public
             and/or are routinely made available to researchers who are not affiliated
             with the library, archives or museum.




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                        (F) An affiliate of a library, archives, or museum is considered “eligible”
                        when engaged in the lawful preservation of video games under the
                        supervision of an eligible library, archives, or museum. 1572

Comments supporting the proposed expansion were filed by Consumers Union, FSF,
MADE, Public Knowledge, and forty-seven individuals. 1573 ESA and Joint Creators II
oppose expanding the class.

                        b. Overview of Issues

In recommending an exemption for video game preservation in 2015, the Register noted
“the enormous value of video games to our culture and economy.” 1574 While finding
that “[t]he record clearly establishes that libraries and archives, along with museums,
engage in valuable preservation activities with respect to video games,” she also found it
necessary to refine the class definition to reflect the specific evidentiary findings in that
proceeding. 1575

The existing exemption does not include games that require access to copyrightable
content previously stored on an external server for two reasons. First, the 2015
proponents excluded from their request both games that reside entirely on a remote
server and games that constitute “persistent worlds.” 1576 For many games, remote
servers are used to host creative content such as characters, maps, or items, as well as
copyrightable software architecture, and to allow for multiplayer play over the
internet. 1577 Persistent worlds include games, such as massively-multiplayer online
games (“MMOs”), that “require robust servers designed to host hundreds, if not
thousands of simultaneous players, and cannot generally be re-created after a shutdown

1572   MADE Class 8 Initial at 6–8.
   The individual commenters are Joshua Adams, Willis Adkins, Imran Aktar, Nathan Benedetti,
1573

Chris Boehm, Andrew Borman, Kristian Brucaj, Edward Burke, Stephen Burkett, Aaron Bush,
Brandon Costner, Christian David, Michael Dobbs, John Dolph, Frank Randall “Randy” Farmer,
Brendan Giddens, Mike Grafius, Edward Griffith, Jeff Hanson, Jerrod Howland, Sheryl Knowles,
Joseph Kwiatkowski, Judah Lindsey, Drew Littrell, Jodee Luke, Nate Miller, David N, Taylor
Nodell, Austin Olin, Craig Patterson, Michael Patukonis, Joe Public, Sean Raines, Devon
Reynolds, Patrick Rorie, Brian Sears, Clifford Sheridan, Catherine Silverberg, Elijah Smith, Brian
Spicer, Arthur Stubblefield, Matthew Temple, Johnny van Heteren, Travis Vandenbrul, John
Williams, John Young, and one anonymous commenter.
1574   2015 Recommendation at 335.
1575   Id. at 350–51.
1576   Id. at 323.
   See Tr. at 48:05–10 (Apr. 23, 2018) (Clarendon) (describing how a server engages in collision
1577

detection); Tr. at 40:18–21, 58:26–59:16 (Apr. 23, 2018) (Englund, ESA) (noting that maps and
game logic are stored remotely).

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without the cooperation of the game’s developer.” 1578 Because these types of games
were not at issue in 2015, the current exemption excludes them through language
limiting its reach to “complete games”—a requirement that the Register found to be “an
important limitation.” 1579 The proposed expansion would extend the class to include
multiplayer games, persistent worlds, and other video games where creative works are
“stored or [were] previously stored on an external computer server.” 1580

Second, the Register also concluded that engaging in multiplayer play over the internet,
generally, would likely implicate section 1201(a)(2)’s anti-trafficking provisions, as
“[r]einstating multiplayer play may require not only replicating or creating new
protocols that communicate with games, but also launching a new centralized server
and distributing the new protocols to [remotely-located] gamers.” 1581 Instead, the
Register suggested that the two categories of users contemplated in the exemption—
gamers who engage in continued recreational play and preservationists—could still
engage in local multiplayer play at the same physical premises using, for example,
multiple controllers on a single device or a local area network without the need to
implement a new matchmaking service. 1582

MADE contends that the current exemption, while helpful, does not allow it to preserve
the growing number of online video games for future generations to study. 1583
Proponents explain that libraries, archives, and museums (collectively “preservation
institutions”) cannot engage in certain preservation activities involving online games
without either copying the game’s server code or reconstructing that server’s
functionality, which would also require an exemption to circumvent TPMs on these
works. 1584

MADE asserts that there are multiple scenarios that could enable it to legally acquire a
copy of the server code, including when the game’s copyright owners donate a copy to a
preservation institution or potentially in circumstances where the work was taken home
by an employee or salvaged. 1585 Copyright owners are also preserving server code

1578   EFF 2015 Class 23 Initial at 2 (internal quotations and citations omitted).
1579   2015 Recommendation at 350.
1580   MADE Class 8 Initial at 7; MADE Class 8 Pet. at 2.
1581   2015 Recommendation at 346.
1582   Id. at 345.
1583   MADE Class 8 Initial at 2–3.
   MADE Class 8 Reply at 5 (preservation would be accomplished “through replication and
1584

modification of a game’s original online client-protocol-server architecture”); Tr. at 71:19–72:21
(Apr. 13, 2018) (Fries) (describing possessing and recreating server code).
   Tr. at 23:04–12 (Apr. 23, 2018) (Handy, MADE) (noting that source code may be saved in
1585

people’s garages); Tr. at 69:05–09 (Apr. 13, 2018) (Fries) (noting that copies of games could be

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themselves, even if the code is held privately. 1586 In rare instances, a publisher may sell a
server to a private collector. 1587 But proponents explain that even where an institution
possesses both a server and a local copy of the game, an exemption may be necessary to
circumvent, for example, third-party billing software acting as a TPM. 1588 As an
example, proponents describe MADE’s efforts to preserve the game Habitat, for which
they acquired a server copy via “two original authors of the game.” 1589

If the preservation institution cannot lawfully acquire the server copy of the work,
proponents seek to reconstruct the necessary server code. Proponents explain that they
sometimes anticipatorily use an application program interface (or “API”) on a local client
to send instructions to a remote server and monitor the responses while the server is still
up and running. 1590 Preservationists would save any content that has been pushed down
from a server to local clients during gameplay, which could then be copied and used to
recreate the game. 1591 Finally, proponents plan to write new code that attempts to
replicate the missing server code, which could include core expressive aspects of the
game. 1592 MADE explains that the amount of creative content that was stored on the
server and would need to be reconstructed “varies from game to game.” 1593

Proponents believe that the need for an exemption is immediate. They note that modern
games increasingly require a remote server to run, 1594 citing data indicating that 90% of


taken home by employees or saved from dumpsters); see also Nathan Grayson, Guy Finds
StarCraft Source Code And Returns It To Blizzard, Gets Free Trip To BlizzCon, KOTAKU (May 3, 2017),
https://kotaku.com/guy-finds-starcraft-source-code-and-returns-it-to-blizz-1794897125
(describing finding Blizzard’s StarCraft source code in a box of items purchased on eBay).
1586   Tr. at 56:11–19 (Apr. 23, 2018) (Englund, ESA).
1587See Luke Winkie, These Players Loved Their WoW Servers So Much, They Bought the Old Hardware,
PCGAMER (Sept. 7, 2017), https://www.pcgamer.com/these-players-loved-their-wow-servers-so-
much-they-bought-the-old-hardware/ (noting that video game publisher Blizzard has auctioned
off retired World of Warcraft blade servers).
1588   Tr. at 69:17–25 (Apr. 23, 2018) (Walker, Samuelson Law, Tech. & Pub. Policy Clinic).
1589   MADE Class 8 Initial at App. A-1; see also Tr. at 10:23–24 (Apr. 23, 2018) (Handy, MADE).
1590Tr. at 72:11–19 (Apr. 13, 2018) (Fries) (describing using an application program interface on a
local copy of a game to recreate a server that acts like the original); see also Tr. at 34:24–35:10 (Apr.
23. 2018) (Walker, Samuelson Law, Tech. & Pub. Policy Clinic); Tr. at 31:12–16 (Apr. 23, 2018)
(Clarendon).
1591   See Tr. at 32:04–09 (Apr. 23, 2018) (Clarendon).
   See Tr. at 86:05–08 (Apr. 23, 2018) (Handy, MADE) (describing recreating game maps on a new
1592

server); Tr. at 72:06–21 (Apr. 13, 2018) (Fries) (describing recreating server software).
1593   Tr. at 27:26 (Apr. 23, 2018) (Handy, MADE).
1594   MADE Class 8 Initial at 3–4; Public Knowledge Class 8 Initial at 3.

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the top-grossing PC and mobile games in 2017 were online-only multiplayer games. 1595
Proponents further observe that companies have been moving more non-multiplayer
content to remote servers to prevent cheating or to prevent players from having access to
creative content they have not paid for or have not earned in-game. 1596 Finally, they note
that for games released decades ago, the resources needed for restoration, including
software engineers who know a game’s architecture, are becoming harder to find. 1597

Public Knowledge suggests that Class 8 should also include video games which may be
currently available in the marketplace that have received software updates and are thus
unsupported in their original form. Using the example of World of Warcraft, a game
that has had several different updates to its code, Public Knowledge notes that it is
difficult to determine whether a copyright owner or authorized representative ceased to
provide access to an external computer in circumstances where an earlier version of a
game is no longer available, but a later version of that same game remains supported. 1598
These later versions may include functional updates, security patches, or new creative,
aesthetic features—all of which may be mandatory for users to continue to play the
game. 1599 Public Knowledge suggests that fan-managed efforts to preserve the initial
versions of these games have been met with resistance and cease-and-desist notices. 1600

Finally, Public Knowledge claims that it is increasingly unworkable to draw a distinction
between single-player and multiplayer video games. 1601 For example, games can include
“light social networking elements,” progress saving and inventory synchronization, and
limited interactions with third parties, which may demonstrate a spectrum between
connected single-player and dedicated multiplayer games. 1602 On this point specifically,
the Acting Register notes that the current exemption does not draw a line between
single-player and multiplayer games, but rather between complete and incomplete


   Public Knowledge Class 8 Initial at 3 (citing Worldwide Digital Games Market: October 2017,
1595

SUPERDATA (Nov. 30, 2017), https://www.superdataresearch.com/us-digital-games-market/).
1596   See Tr. at 73:24–74:15 (Apr. 13, 2018) (Fries).
1597   See Tr. at 16:19–17:01 (Apr. 23, 2018) (Handy, MADE).
   Public Knowledge Class 8 Initial at 5; Tr. at 90:13–94:03 (Apr. 13, 2018) (Rose, Public
1598

Knowledge); see also 37 C.F.R. § 201.40(b)(8)(iii)(B) (2016) (definition of “ceased to provide
access”).
1599See Tr. at 93:10–15 (Apr. 13, 2018) (Rose, Public Knowledge). But see Patukonis Class 8 Reply
at 2 (stating that downloadable content or expansion packs “are most often not required to
continue to access the original content of the initial purchase”).
1600   Public Knowledge Class 8 Initial at 5–6.
  Id. at 8–9; Tr. at 82:16–90:01 (Apr. 13, 2018) (Rose, Public Knowledge) (presenting examples of
1601

games that blur the distinction between single player and multiplayer games).
1602   Public Knowledge Class 8 Initial at 8–9.

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games, defining complete games as “video games that can be played by users without
accessing or reproducing copyrightable content stored or previously stored on an
external computer server.” 1603 The current petition and subsequent discussion are
directed at expanding the definition of “complete games.” To the extent that Public
Knowledge’s concerns are directed at expanding the “continued play” arm of the
exemption, these concerns were not raised at the petition stage and thus are not before
the Office in this proceeding. The Acting Register notes, however, that the current
exemption does not foreclose all multiplayer functionality. 1604

As in the last rulemaking, all participants praise video games as an important form of
cultural expression. But ESA and Joint Creators II believe that no expansion is needed
because existing preservation efforts by video game companies and preservation
institutions, coupled with the current video game preservation exemption, are sufficient
to address any legitimate preservation needs. 1605 ESA explains that “its member
companies are committed to, and actively support, serious professional efforts to
preserve video games and recognize the industry’s creative contributions under
circumstances that do not jeopardize game companies’ rights under copyright law.” 1606
As detailed below, ESA contests that proponents’ activities would be noninfringing, or
that they have otherwise met the statutory requirements for an exemption. Opponents
further suggest that the record indicates that the purpose of the expanded exemption is
not truly for preservation uses, but rather to enable recreational play of these games, and
that therefore no expansion is warranted. 1607

                2. Discussion

The Acting Register notes that the proponents again make impassioned arguments
related to the cultural, historical, and educational significance of video games. Several
commenters detailed how video games have been personally significant to their lives. 1608
The Acting Register and all participants agree that video games are culturally significant


1603   37 C.F.R. § 201.40(b)(8)(iii)(A) (2016).
1604   See 2015 Recommendation at 345.
1605   ESA Class 8 Opp’n at 7, 21; Joint Creators II Class 8 Opp’n at 6–9.
1606   ESA Class 8 Opp’n at 2.
1607   Id. at 22; Joint Creators II Class 8 Opp’n at 4.
1608See, e.g., Anonymous Class 8 Initial at 2 (describing playing an online character until it was
nearly “old enough to vote”); Borman Class 8 Initial at 2; Dobbs Class 8 Initial at 2 (“I would love
to one day take my children on a digital tour of the games of my childhood.”); Giddens Class 8
Initial at 2 (“[Gamers] can and do develop a strong attachment to the characters and items that
they’ve collected over the years as well as the communities that form.”); Kwiatkowski Class 8
Reply at 2; Reynolds Class 8 Reply at 2 (noting that gamers have met spouses on shutdown
games and that shutdowns can feel “like losing a family member”).

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and worth preserving. It is heartening that some preservation work is already being
performed at the Video Game History Foundation, the Museum of Modern Art, the
International Center for the History of Electronic Games at the Strong Museum of Play,
Stanford University, and the Universities of Texas and Michigan, as well as by both
opponents and proponents in this class. 1609 While these preservation efforts may be
aided by the existing exemption, it does not cover all games, leaving gaps in
preservation efforts. 1610 For example, as an Xbox co-creator noted, some MMOs have
unique cultural importance because “they’re the first virtual worlds. They’re the first
times that human beings got together and met in a virtual space.” 1611 At the same time,
proponents must satisfy the statutory elements for an exemption, and any exemption
must adhere to the statutory limits delineated by Congress.

Proponents rely on fair use as the basis for the proposed exemption. While proponents
also suggest that the preservation activities are noninfringing under section 108, in
context it is clear that proponents are arguing that section 108 serves as a useful
supplement to a section 107 analysis.

                     a. Works Protected by Copyright

There is no dispute that video games, as computer programs or audiovisual works, are
works protected by copyright. 1612 While this class encompasses functional aspects of the
game software, the proposed expansion also concerns preservation of highly expressive
and creative game elements previously stored on external servers. 1613

                     b. Asserted Noninfringing Uses

Proponents describe two methods of preserving video games stored, in part, on remote
servers:

            There’s really two choices. One is that you have access to the original
            source code. So, in the case of MADE, they’re trying to bring back an


   MADE Class 8 Initial at 4 & App. A-6–9; ESA Class 8 Opp’n at 7; Tr. at 09:20–10:05 (Apr. 23,
1609

2018) (Handy, MADE).
   In addition, as noted in Class 9, the Acting Register is also recommending an expanded
1610

exemption for games that do not require a server connection, such as Commodore 64 games.
1611   Tr. at 65:05–12 (Apr. 13, 2018) (Fries); see id. at 63:18–64:20.
   See U.S. COPYRIGHT OFFICE, COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES § 618.8(A)(2)
1612

(3d ed. 2018).
   Cf. 2015 Recommendation at 326 (suggestion by prior proponents EFF/Albert that previous
1613

exemption request, excluding the need to access copyrightable content on external servers, would
involve “changing only functional aspects of the software, not expressive elements such as
graphics or audio.”) (citation omitted).

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            MMO and an early online game, and fortunately, they had access to both
            the source code and to the hardware itself, the custom hardware that it
            ran on. . . . The second option is to recreate the server software. That has
            been done illegally by people around some very popular games, for
            example, people have built [an] illegal version of the server-side code for
            World of Warcraft. 1614

These activities would implicate the reproduction right, the right to prepare derivative
works, or both. MADE asserts these preservation activities conform to the contours of
section 108 and are fair uses.

In many respects, the current class represents a sequel to the 2015 video game discussion,
where the Register noted that participants agreed “that preservation, research and study
sometimes are permitted as fair uses,” but noted that “[t]he consensus evaporates . . .
when considering the types of activities and actors properly considered as engaging in
‘preservation.’” 1615 The two methods for obtaining the copyrightable content stored on
remote servers pose related but distinct questions with respect to infringement;
participants’ comments are discussed in full before the Acting Register sets out her
analysis.

Under the first fair use factor, the purpose and character of the use, MADE argues that
“the preservation of abandoned online video games serves critical, educational, and
scholarly purposes consistent with the examples provided in [the preamble of] § 107,”
including criticism, comment, news reporting, teaching, scholarship, and research. 1616 It
argues that uses that provide substantial public benefits, including preservation of video
games, are favored under this factor. 1617 Other commenters concur, with Public
Knowledge stating that online multiplayer games have been used by a wide variety of
academic researchers, including economists, epidemiologists, terrorism researchers,
neurobiologists, social scientists, psychologists, and others. 1618 Randy Farmer notes that
the MMO Habitat, a game he co-created, is historically significant and worthy of study
because its code was a predecessor to the JavaScript Object Notation messaging
standard. 1619

MADE also argues that preserving abandoned games is a highly transformative use,
because preservation “imbues preserved games with new meaning and message (by

1614   Tr. at 71:17–72:10 (Apr. 13, 2018) (Fries).
1615   2015 Recommendation at 340 (citation omitted).
1616   MADE Class 8 Initial at 17.
1617   Id. at 19 (citing Sega, 977 F.2d at 1523).
1618   Public Knowledge Class 8 Initial at 6–7; see also Burkett Class 8 Initial at 2.
1619   Farmer Class 8 Initial at 2.

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turning games into objects for scholarly attention) and . . . adds new expression (in the
form of new software code).” 1620 MADE cites Perfect 10, Inc. v. Amazon.com, Inc., and
Authors Guild, Inc. v. HathiTrust for the proposition that “even complete recreations of a
copyrighted work for a different purpose can be transformative.” 1621

With regard to the second fair use factor, the nature of the copyrighted work, MADE
acknowledges that video games contain both expressive and functional elements, but
argues that when it is necessary to copy expressive elements to perform the functional
elements, this factor favors fair use. 1622 For the third fair use factor, MADE
acknowledges that the copying at issue is “substantial” and may require copying and
modifying “all [] of a game’s architecture as well as some expressive elements,” but
contends such copying is not “‘excessive’ because it is necessary to the transformative
and socially beneficial purpose of preserving the work.” 1623

On the fourth factor, MADE contends that because the works at issue are no longer sold
through normal channels, there is “little-to-no market” for the video games it seeks to
preserve. 1624 MADE also notes that the contours of the proposed exemption provide that
the preservation activities cannot be for “direct or indirect commercial advantage” and
that such games cannot be distributed outside of the eligible preservation institution. 1625

Underlying many of opponents’ objections to proponents’ fair use arguments is a belief
that proponents’ intended use of the video games is not a true preservation use. Instead,
opponents contend that proponents wish to engage in recreational play that could
function as a market substitute. 1626 ESA believes that because the uses at issue are non-
transformative and commercial, the first fair use factor weighs against fair use. 1627

ESA maintains that MADE essentially is a commercial actor rather than a nonprofit
museum, because it charges an admission fee, promotes the fact that visitors can play
video games at its museum, and engages in the public performance and display of



1620   MADE Class 8 Reply at 20.
   MADE Class 8 Reply at 20 (citing Perfect 10, 508 F.3d at 1165–66, and HathiTrust, 755 F.3d at
1621

97).
1622   MADE Class 8 Initial at 20.
   Id. at 21 (citing 2015 Recommendation at 341); Tr. at 27:26 (Apr. 23, 2018) (Handy, MADE)
1623

(noting that the amount of a video game that stored on remote servers “varies from game to
game”).
1624   MADE Class 8 Initial at 22.
1625   Id. at 23 (referencing 37 C.F.R. § 201.40(b)(8)(i)(B) (2016)).
1626   Joint Creators II Class 8 Opp’n at 12.
1627   ESA Class 8 Opp’n at 32.

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games rather than only reproduction and modification for preservation purposes. 1628
ESA observes that nonprofit organizations are not immune from making commercial
uses of works, especially when they engage in “repeated and exploitative copying of
copyrighted works.” 1629 Further, ESA points out that direct economic benefit is not
required to demonstrate commercial use. 1630

ESA also argues that the uses at issue are non-transformative, as proponents’ goal is “to
emerge with a copy that faithfully reproduces expressive elements of the original game
experience.” 1631 According to ESA, such an act “introduces no new expression, meaning
or message,” but “simply reproduces a work to enable the use for which it was
originally created.” 1632 In addition, Joint Creators II suggest that to recreate a server,
preservationists would require “unauthorized hacking into computer servers” before
they are decommissioned, which would “likely not only violate the Copyright Act—it
would also likely violate the Computer Fraud and Abuse Act.” 1633

Regarding the second factor specifically, ESA asserts that a finding that the works at
issue are highly creative might not “counsel against fair use if proponents proposed
copying only functional elements of video game software.” 1634 But ESA believes that
proponents wish to copy or recreate “game server software that controls expressive
aspects of video games, as well as server-based game elements” to engage in public
performance and display, not strictly preservation, of those works. 1635 In addition, ESA
asserts that the server copies at issue here are unpublished, which it argues weighs
strongly against a finding of fair use. 1636 As to the third factor, ESA contends that the
intended use here is both significant and substantial. In its view, the anticipated uses
involve “durable copying and persistent public performance and display of large and
important parts of video games,” which ESA argues is significantly different than the
small, but necessary, modifications to the copies of local games considered in the 2015
rulemaking. 1637




1628   Id. at 26–27, 33; see also Tr. at 52:07–53:04 (Apr. 23, 2018) (Williams, Joint Creators II).
1629   ESA Class 8 Opp’n at 32 (quoting Wall Data, 447 F.3d at 779).
1630   Id. (citing Napster, 239 F.3d at 1015).
1631   Id. at 32–33.
1632   Id. at 33.
1633   Joint Creators II Class 8 Opp’n at 10 (citing 18 U.S.C. § 1030).
1634   ESA Class 8 Opp’n at 34.
1635   Id.
1636   Id. at 36 (citing Harper & Row, 471 U.S. at 549–55).
1637   Id. at 35.

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Finally, as to the fourth factor, ESA argues that the video game software now at issue is
distinguishable from that in the 2015 rulemaking, which should result in a different
analysis of market effect. First, ESA notes again that the server copy proponents wish to
acquire is an unpublished work that has never been distributed to the public. 1638
Opponents also explain that the games covered under the existing and proposed
exemption are not truly “abandoned” as proponents suggest. ESA asserts that
abandonment is a term of art, requiring a demonstrated intent “to surrender rights in the
work”; here, by contrast, the periodic discontinuation of certain games is often a
strategic choice to drive interest in a sequel or other derivative work. 1639 It notes that
video game publishers frequently “revive” their older works for new platforms or due
to the increased interest in “retro gaming.” 1640

As noted, the activities described by proponents involve two distinct uses: (1) those that
would require complete, or at least significant, recreation of a game’s original server
software, and (2) the preservation of a game where a copy of the decommissioned server
software has been lawfully acquired into the collections of an eligible institution. 1641
Because these activities require different fair use analyses, the Acting Register addresses
them separately below. The Acting Register also separately addresses the question of
“affiliate archivists” in any exemption.

                       i.    Recreation of Server Software

The Acting Register concludes that the record is insufficient to support a finding that the
recreation of video game server software as described by proponents is likely to be a fair
use. To start, the 2015 rulemaking recognized that preservation for scholarship and
research is a favored use under the law. 1642 But in doing so, the Register concluded that
“section 108 provides useful and important guidance as to Congress’s intent regarding
the nature and scope of legitimate preservation activities, and hence the types of uses
that are most likely to qualify as fair in this area.” 1643 Indeed, proponents argue that the
expanded exemption would be “within the scope of legitimate preservation activities



1638   Id. at 36 (citing Harper & Row, 471 U.S. at 549–55).
1639   Id.
1640   Id.; Joint Creators II Class 8 Opp’n at 12.
   See Tr. at 81:11–16 (Apr. 23, 2018) (Handy, MADE) (“if [original artists] don’t have the actual
1641

source codes or we don’t have access to the source codes, we will work with them to re-create the
original server”); see also MADE Class 8 Initial at App. A-1 (Preservationists of video games ask
themselves “do we rewrite [the game server] from scratch, or try to get the old server running?”).
1642   See, e.g., 2015 Recommendation at 343 (citing 17 U.S.C. § 107).
   Id. at 342; see also id. at 341 (rejecting proposition that “anyone who seeks to continue playing a
1643

video game should be treated as a de facto preservationist”).

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contemplated by § 108.” 1644 Yet the exception for library preservation under section 108
is limited to works “currently in the collections” of a preservation institution and would
not extend to works that are reconstructed from different sources. 1645 A user’s status as a
library, archives, or museum alone does not compel the conclusion that its activities
necessarily qualify as fair use, for “we must consider not only the nature of the user, but
the use itself.” 1646

Here, a number of scenarios described by proponents do not involve preserving server
software that is already in an institution’s collections. 1647 Instead, proponents indicate
that some uses would involve substantially rewriting the server software to approximate
how the original would have functioned. 1648 Proponents thus describe something more
akin to reconstructing the remote server, rather than preserving that work. 1649

The departure of this aspect of the proposal from congressionally-established contours
of preservation has implications for the fair use analysis. 1650 In this scenario, the lack of a



1644   MADE Class 8 Initial at 13–14.
1645   17 U.S.C. § 108(b)(1).
1646Cambridge Univ. Press, 769 F.3d at 1264–65; accord Am. Geophysical Union, 60 F.3d at 921–22 (“[A]
court’s focus should be on the use of the copyrighted material and not simply on the user”); see
also Campbell, 510 U.S.at 584 (“[T]he mere fact that a use is educational and not for profit does not
insulate it from a finding of infringement, any more than the commercial character of a use bars a
finding of fairness.”).
1647   See Tr. at 71:17–72:10 (Apr. 13, 2018) (Fries).
1648   See Tr. at 81:11–16 (Apr. 23, 2018) (Handy, MADE); Tr. at 72:06–72:21 (Apr. 13, 2018) (Fries).
1649See, e.g., Karen Kroslowitz, Preservation, Conservation, Restoration: What’s the Difference?,
COMPUT. HISTORY MUSEUM (Oct. 26, 2012), http://www.computerhistory.org/atchm/preservation-
conservation-restoration-whats-the-difference/ (“Preservation—or more accurately preventive
conservation—is the practice of maintaining artifacts by providing a stable storage or display
environment in order to minimize further damage or deterioration. . . . Restoration equals
permanent change. Cleaning and replacing significant parts, whether original to the object’s
manufacturer or not, alter the historical integrity of an artifact. Once changed an object’s
provenance has also been altered and it is no longer a true document of its place in history.
That’s a big deal in museums, which are considered by the majority of Americans to be the most
trustworthy source of information about the past.”); MADE Class 8 Initial at App. A-6 (statement
of Henry Lowood, Curator, Stanford Univ.) (“Access to the original software and to the digital
assets (maps, audio files, character animations, etc.) that make up a game or virtual environment
is fundamentally important. If a game server is shut down without provisions being made for
access to the original software, preservation is impossible.”).
1650By analogy, in the related context of patent law, users may replace an unprotected element,
but not engage in activity significant enough to constitute “reconstruction” of the patented
article. See Aro Mfg. Co. v. Convertible Top Replacement Co., 365 U.S. 336, 346 (1961) (replacement of

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copy of the work distinguishes proponents’ situation from much of the cases and
reasoning they rely upon in claiming that their activities serve a favored purpose. For
example, in HathiTrust, the preserved books at issue were not reconstructed, but were
reproduced in digital copies containing “the full text of the work, in a machine readable
format, as well as the images of each page in the work as they appear in the print
version.” 1651 Similarly, much of proponents’ analysis of the section 107 factors appears
to assume that the preservation activities will require the access to and copying of
server-side software, 1652 instances that the Acting Register analyzes separately below.

Moreover, the reconstruction of a work implicates copyright owners’ exclusive right to
prepare derivative works—which is generally not covered by section 108’s exceptions
for preservation activities. 1653 While such activities may advance preservation interests
or be a fair use in particular instances, that determination will vary based on case-
specific factors such as the amount and substantiality of the changes made to the
original. While proponents presumably seek to faithfully replicate the experience of the
original game to the extent possible, the evidence indicates that in at least some
circumstances the resulting work is considerably different than the original. MADE
states that to preserve video games that rely on remote servers, “an online game’s
architecture must be modified to work with new operating systems and hardware,
making the preserved game substantially different from the original: same game,
different code.” 1654

These uncertainties preclude broad generalizations as to the nature of the activities
described by proponents, in the instances where they lack a copy of the source code
previously hosted on the decommissioned external server. 1655 Accordingly, and without


spent fabric in convertible car top was noninfringing repair because it was not a “true
reconstruction of the entity as to in fact make a new article”) (internal citations omitted).
1651   HathiTrust, 755 F.3d at 92 (emphasis omitted).
   See MADE Class 8 Initial at 19–22; see also id. at App. A-6–8 (statement of Henry Lowood)
1652

(“[P]reservation without access to the software, both as data and as an executable program,
becomes a meaningless activity.”).
   See 17 U.S.C. § 108(a)–(g) (except for the limited circumstances under subsections (h)–(i),
1653

section 108 only contemplates the reproduction and distribution rights).
1654   MADE Class 8 Reply at 21–22.
1655The record in this class generally discusses that content stored on some remote servers can
range from small amounts of mostly functional code to larger amounts of code, including highly
creative content. See MADE Class 8 Initial at 20; Tr. at 27:26 (Apr. 23, 2018) (Handy, MADE); Tr.
at 28:17–22 (Apr. 23, 2018) (Clarendon). In instances where the missing server code is largely
functional and of a lesser amount, the proposed uses more likely would be fair, but without a
record that includes specific examples of these games, the Acting Register cannot evaluate
further.

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prejudging the analysis as to any specific online video game, the Acting Register cannot
conclude that these activities are likely to qualify as fair uses.

Finally, Public Knowledge’s interest in allowing preservation institutions to recreate
server copies of works after the game’s software is updated, and where the updated
version remains available, would involve preservation via recreation of copies of the
game while it is still available in the market. Proponents’ comments do not adequately
address how this difference may alter the infringement analysis, and it is a potentially
significant departure from the current exemption, which focuses on discontinued server
support for the game, generally. 1656 Further, it is unclear that practicing preservationists
are currently interested in addressing this category of software. 1657 The Acting Register
therefore does not find it appropriate to consider amending the current regulatory
definition of “ceased to provide access.”

                      ii.       Preservation of Lawfully Acquired Server Software

A different analysis is warranted in cases where an institution is able to legally obtain a
complete copy of remote server video game software and seeks to reproduce and modify
that copy to preserve it. The Acting Register again finds that section 108 provides
“useful and important guidance” as to whether these activities are likely to be fair. 1658
The current exemption allows for circumvention of self-contained copies of video games,
that is, games that do not require creation of a new server to continue to play the game.
Here, preservationists suggest they could lawfully acquire both a server and a local copy
of a video game, which would then be “currently in the collections” of eligible
institutions under section 108. 1659 Although the server and local copies of games may
contain core expressive elements of the work, any necessary modifications to the
lawfully acquired games would be for largely functional purposes, such as modifying
software architecture or protocols to ensure that game servers and clients can
communicate with each other in a modern environment. 1660 In this instance, the
reproduction and modification of functional aspects of video game software to enable


   See 37 C.F.R. § 201.40(b)(8)(iii)(B) (2016). As noted in the 2015 Recommendation, this
1656

definition was originally proposed by proponents on behalf of preservationist institutions. See
2015 Recommendation at 350.
   See, e.g., Tr. at 36:05–10 (Apr. 23, 2018) (Handy, MADE) (“So this exemption is not for World of
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Warcraft. And I’m going to use World of Warcraft as an example. World of Warcraft has
expansions. . . . They distributed [versions of the game] on a disk on a client. So that data is out
there already.”).
1658   See 2015 Recommendation at 342.
1659   17 U.S.C. § 108(b)(1).
   See MADE Class 8 Initial at 20; Tr. at 71:22–72:07 (Apr. 23, 2018) (Walker, Samuelson Law,
1660

Tech. & Pub. Policy Clinic); Tr. at 35:24–36:03 (Apr. 23, 2018) (Handy, MADE).

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noncommercial preservation and research would seem likely to be a fair use, following a
similar analysis as that which established the 2015 exemption. 1661

Indeed, ESA itself implies that in a circumstance where the server was handed over by
the copyright owner, an exemption would not even be necessary. 1662 But an exemption
may be helpful in just the circumstance that was presented by MADE—where the
preservation institution is in legal possession of both the server and local copy of the
game, but is still prevented from preserving the game because of an access code. For
example, in the Habitat instance, an additional piece of code (obsolete billing code) acted
as a TPM. 1663 Although the evidence here demonstrates that obtaining a server copy is
difficult, it appears games’ server copies can be acquired through donation, salvage, or
sale. 1664 In light of this, and recognizing the valuable and important goals of
preservation institutions, the Acting Register concludes that proponents have
sufficiently demonstrated a set of proposed uses that are likely noninfringing when they
have lawfully acquired the essential component works that comprise the game. 1665

                     iii.   Use of Affiliate Archivists

Next, the Acting Register considers “affiliate archivists,” a proposed class of users
engaged in lawful game preservation under the supervision of libraries, archives, or
museums. 1666 MADE believes that preservation institutions would benefit from an
exemption to cover these users, so that they can contribute expertise to preservation

   See 2015 Recommendation at 341–44 (applying section 108 as guidance to limit class and
1661

analyzing fair use factors).
1662   See Tr. at 41:25–42:10 (Apr. 23, 2018) (Englund, ESA).
1663   See Tr. at 69:16–25 (Apr. 23, 2018) (Walker, Samuelson Law, Tech. & Pub. Policy Clinic).
1664See MADE Class 8 Initial at App. A-1 (donation); Tr. at 69:05–09 (Apr. 13, 2018) (Fries)
(salvage); Tr. at 23:04–12 (Apr. 23, 2018) (Handy, MADE) (source code donated from garages).
While ESA alleges game server software to be an unpublished work, ESA Class 8 Opp’n at 36, the
proposed exemption would apply only in situations where the server software is lawfully
acquired by an eligible institution. Section 108 authorizes preservation of unpublished works in
an eligible institution’s collections, see 17 U.S.C. § 108(b), suggesting that such activity is likely to
fall within the parameters of fair use. Moreover, the Copyright Act expressly provides that “[t]he
fact that a work is unpublished shall not itself bar a finding of fair use if such finding is made
upon consideration of all the . . . factors.” 17 U.S.C. § 107.
1665See Tr. at 69:05–09 (Apr. 13, 2018) (Fries) (“Most of what exists today either is something that
employees were working on and took home to their house or stuff that people rescued out of
dumpsters when the companies went out of business.”). The Acting Register notes that the
current exemption applies to circumvention by qualifying users, including gamers or
preservationists, who lawfully acquire copies of video games, and does not apply to
circumvention performed by third parties.
1666   MADE Class 8 Initial at 4.

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efforts from remote locations without facing any potential liability risk. 1667 MADE notes
that, based on its experience in preserving Habitat, preservation of a single work in this
class could include “thousands of person-hours,” encompassing both non-expert
volunteers working on low-level preservation tasks, as well as software engineers with
“extremely specialized knowledge.” 1668 While the proposed language is arguably
ambiguous concerning whether the affiliates themselves would be required to engage in
circumvention, proponents subsequently confirmed that this was intended by their
language. 1669

Opponents vehemently object to the use of affiliate archivists, contending that there is a
heightened risk of market harm if access to video games in the collection of the eligible
organization is no longer limited to the premises of the organization. 1670 ESA contends
that proponents have not explained how preservation institutions “could effectively
supervise a legion of affiliates,” suggesting that “[i]t is not hard to imagine an
organization opening up ‘affiliation’ to anyone who volunteers through completion of
an online form, without any meaningful verification of the affiliates’ identities or
intentions.” 1671 As ESA puts it, “[i]n effect, the request would dissolve any meaningful
distinction between preservationists and recreational gamers, and invite substantial
mischief.” 1672 They further note that an expanded user class would allow affiliates to
engage in console jailbreaking in their homes. 1673 In Joint Creators II’s view, such
console jailbreaking “would put at risk other content accessible via the consoles, such as
motion pictures and recorded music.” 1674

MADE replies that affiliate archivists would be “limited by the policies of their
institutional sponsors,” as well as the restrictions found in the exemption. 1675 When
pressed to describe how affiliate archivists would be supervised, MADE suggested it
could use Github to limit access to and downloading of the server’s code. 1676 MADE also


1667   Tr. at 84:04–07 (Apr. 23, 2018) (Handy, MADE).
   MADE Class 8 Initial at App. A-1; Tr. at 96:14–23, 127:01–15 (Apr. 23, 2018) (Handy, MADE)
1668

(discussing restoration of Habitat).
1669   Tr. at 85:18–22 (Apr. 23, 2018) (Handy, MADE).
1670   ESA Class 8 Opp’n at 36–37.
1671   Id. at 9, 29.
1672   Id. at 4.
1673   Id. Opp’n at 36–37.
1674   Joint Creators II Class 8 Opp’n at 14.
1675   MADE Class 8 Reply at 7, 16.
   Tr. at 89:12–21 (Apr. 23, 2018) (Handy, MADE). Github is a platform for hosting software
1676

code designed around Git, a system to “track software written by a large, disparate group, rather
than by a managed team at a software company. It allows multiple developers to work on the

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suggested it could ask how other museums handle volunteer supervision, but added
that software preservation is “a very messy field.” 1677 Further, MADE acknowledges that
different affiliate archivists would need to share circumvention technology among
themselves to restore access to the game. 1678

As addressed in prior rulemakings, “circumvention of console restrictions—even when
initially undertaken for salutary purposes—is inextricably linked to and tends to foster
piracy,” and prior Registers have concluded that modification of console code by
individual consumers is unlikely to be a fair use. 1679 The logic seems to apply equally to
this request, inasmuch as it allows individuals to circumvent consoles in their own
homes. As a representative from MADE pointed out, “all the [preservation] work that
[currently] is being done in this space is being done by fan groups in [a] completely
illegal space.” 1680

Further, the proposed class’s loose contemplation of affiliate archivists is not consistent
with principles surrounding “trained volunteers” in the Copyright Office’s Section 108
Discussion Document. This report contemplates volunteers “who provide professional
services normally associated with a library, archives, or museum,” including “awareness
of issues and knowledge regarding institutional practices” to guide in the reproduction
and distribution of copyrighted material. 1681 Further, while the Section 108 Study Group
proposed letting outside contractors perform certain section 108 activities on behalf of a
qualifying institution, that proposal contained important conditions, including allowing
only reproduction activities, prohibiting retention of any materials outside of the
premises of the preservation institution unless essential to an outsourced service, and
requiring a written agreement between the preservation institution and contractor to



same code in different places, and to integrate their changes later.” The Economist Explains: What
is Github?, THE ECONOMIST (June 18, 2018), https://www.economist.com/the-economist-explains/
2018/06/18/what-is-github.
1677   Tr. at 123:13–18 (Apr. 23, 2018) (Handy, MADE).
   Tr. at 115: 08–11 (Apr. 23, 2018) (Handy, MADE); see also Tr. at 127:07–09 (Apr. 23, 2018)
1678

(Handy, MADE) (noting that only approximately a dozen people have the particular knowledge
to work on any single video game preservation project). But see Tr. at 115:12–19 (Apr. 23, 2018)
(Deamer, Samuelson Law, Tech. & Pub. Policy Clinic) (suggesting that the trafficking prohibitions
may not apply to volunteers working for the same organization).
1679   2012 Recommendation at 43–44; see also 2015 Recommendation at 339–40.
1680Tr. at 10:11–13 (Apr. 23, 2018) (Handy, MADE); see also Tr. at 105:04–26, 105:07–11 (Apr. 23,
2018) (Williams, Joint Creators II); Kyle Orland, Blizzard Shuts Down “Legacy” WoW Fan Server
Hours After it Goes Up, ARS TECHNICA (July 24, 2017), https://arstechnica.com/gaming/2017/07/
blizzard-shuts-down-legacy-wow-fan-server-hours-after-it-goes-up/.
1681   Section 108 Discussion Document at 19–20.

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preserve infringement lawsuits for contractors acting outside of section 108. 1682
Similarly, the Copyright Act’s exceptions for educational institutions engaged in
distance learning activities require such institutions to “institute[] policies regarding
copyright” and “provide[] informational materials to faculty, students, and relevant staff
members that accurately describe, and promote compliance with, the laws of the United
States relating to copyright.” 1683 Here, by contrast, both the proposed language and the
proponent institutions’ practices seem to lack any such protective guidelines. 1684

Considering all of the above, the Acting Register cannot agree that the use of affiliate
archivists, as contemplated by MADE, is likely to constitute a fair use.

To be clear, the existing exemption does not restrict volunteers from engaging in lawful
preservation efforts that do not involve circumvention of access controls, including
potentially remote activity to the extent it is sufficiently supervised to constitute
“preservation . . . by an eligible” sponsoring institution. On the contrary, the 2015
Recommendation noted that “interested individuals may be able to contribute to
valuable preservation efforts by lending their talents and expertise to qualified
institutions.” 1685 Participants agree that video game preservation is time consuming—in
the case of Habitat, requiring “countless hours provided by volunteers.” 1686 But taking
Habitat as an example, it also appears that volunteers can be meaningfully engaged in
preservation activities without engaging in circumvention off-premises. Because the
record indicates a patchiness regarding institutional policies for supervising
preservation activities by volunteers or other third parties, the Acting Register

   SECTION 108 STUDY GROUP, THE SECTION 108 STUDY GROUP REPORT 41(Mar. 2008),
1682

http://www.section108.gov/docs/Sec108StudyGroupReport.pdf; see also Section 108 Discussion
Document at 49–50.
   17 U.S.C. § 110(2)(D). This provision also requires such institutions to “provide[] notice to
1683

students that materials used in connection with the course may be subject to copyright
protection.” Id.
1684See MADE Class 8 Reply at 17 (“[W]e disagree with Opponents[’] mischaracterization of [the
Section 108 Study Group] report as establishing strict guidelines for third-parties instead of
providing general recommendations. Extensive, ex ante regulation is not recommended by the
§ 108 Study Group and is unnecessary here.”). Currently, the MADE’s publicly available
volunteer sign-up process appears to consist of soliciting contact information, a statement of
skills, and the question “have you ever been convicted of a felony?” See MADE, Get Involved,
https://www.themade.org/get-involved/ (last visited Sept. 27, 2018), (click on “Fill out our
volunteer sign[-]up sheet here.”). Indeed, many of the individual commenters appear to
understand this class as one directed at furthering remote continued play of the game, rather
than typical preservation efforts. See, e.g., Consumers Union Class 8 Initial at 2–3; Patukonis
Class 8 Reply at 2–3.
1685   2015 Recommendation at 351.
1686   MADE Class 8 Initial at 27 & App. A-1.

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encourages eligible institutions interested in growing individual participation to
establish more robust training and guidelines to facilitate these efforts. The Section 108
Discussion Document and Study Group report may provide helpful insight in this
regard.

                    c. Causation

ESA asserts that the cause of any adverse effect suffered by proponents is not due to “a
problem caused by TPMs, as opposed to the discontinuation of a video game
service.” 1687 It argues that the server software and other remote content are “not merely
a TPM controlling access to the local game software,” but are a part of an online service
where there is “no permanent right of access.” 1688 ESA analogizes the remote servers to a
streaming service that has ceased existing—the content would still be missing even if the
ability to receive it were restored. 1689 ESA also argues that an exemption would add little
to preservation efforts, because “as illustrated by the proponents’ restoration of the
video game Habitat, what they would like to accomplish is impracticable (or at least
would be extraordinarily difficult) without the cooperation of video game
companies.” 1690

In response, MADE states that “game servers and protocols are often protected by
TPMs, or may themselves function as TPMs.” 1691 It contends without circumvention, the
video games in this class simply could not be preserved and that this is enough to show
causation. 1692

Setting aside MADE’s contention that the very existence of an external server necessarily
serves as a TPM, it seems evident that preservation of an online video game would, at
the very least, require circumventing similar authentication checks, specific server
protocols, or cryptographic verifications on the local client as considered in the existing
exemption for preserving offline games. 1693 With respect to accessing missing server
content, however, where this server-side software is unavailable, ESA raises a valid
question whether the adverse impact on an eligible institution’s ability to use a
copyrightable work is more properly flowing from the game publishers’ decision to
withdraw access to the work, rather than the remainder of TPMs on the local software


1687   ESA Class 8 Opp’n at 13–14; see also Tr. at 90:02–07 (Apr. 13, 2018) (Rose, Public Knowledge).
1688   Id. at 14.
1689   Id.
1690   Id. at 7.
1691   MADE Class 8 Reply at 14–15.
1692   Id.
1693   See 2015 Recommendation at 324.

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formerly protecting that work. 1694 Regardless, as noted above, the Acting Register is
unable to conclude that the proposed uses in that scenario are likely to be noninfringing.

                    d. Asserted Adverse Effects

Proponents contend that preservation efforts aimed at online video games are currently
hampered. They assert that there are no alternatives to circumvention, because it is
difficult to get permission or a license from copyright owners, as it is challenging to
determine who holds the rights to video games, and older copyright owners may no
longer exist. 1695 Regarding the first statutory factor specifically, MADE notes that, in the
2015 rulemaking, the Register found that an exemption would enhance the availability
of copyrighted works via preservation and suggested that a broader exemption would
allow for preservation of more works. 1696 MADE also suggests that preservation of these
works “will likely stimulate new copyrighted works offering commentary and analysis
of video games, thus increasing the number of copyrighted works that are available.” 1697

ESA suggests that the current preservation efforts are sufficient to prevent games from
being lost. 1698 ESA also argues that any expanded exemption could “reduce the
incentives to invest in the creation of new games and make game consoles a less
attractive platform for content delivery.” 1699

This factor favors the requested exemption. As the Register found in 2015, “a relatively
narrow exemption, drawing upon some of the principles of section 108, would allow
libraries, archives and museums to restore and maintain access to video games that
might otherwise be lost, thus enhancing the availability of copyrighted works.” 1700
Similarly, in light of the laudable partnerships in video game preservation demonstrated
between game publishers, preservation institutions, and others, the suggestion that a
properly crafted exemption would reduce the incentive to create new games is
speculative.

Under the second and third statutory factors—the availability for use of works for
nonprofit archival, preservation and educational purposes, and the impact on criticism,
comment, news reporting, teaching, scholarship, or research—MADE notes that “[a]t


   See Commerce Comm. Report at 37 (“[a]dverse impacts that flow from other sources . . . are
1694

outside the scope of the rulemaking”); House Manager’s Report at 6; Section 1201 Report at 117.
1695   MADE Class 8 Initial at 28–29; Tr. at 68:04–19 (Apr. 13, 2018) (Fries).
1696   MADE Class 8 Initial at 30 (citing 2015 Recommendation at 348).
1697   Id. (citation and internal quotation marks omitted).
1698   ESA Class 8 Opp’n at 39.
1699   Id.
1700   2015 Recommendation at 348.

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present, scholars and educators do not have access to most abandoned online video
games.” 1701 In turn, it argues, preservation will enable future study, including allowing
researchers to “’get inside’ the software,” and “understand the development of the
technology.” 1702

ESA suggests that the existing exemption sufficiently “enable[s] preservation and
subsequent criticism, comment, teaching, scholarship, or research.” 1703 ESA adds that
“online multiplayer gameplay is not necessary for preservation or for subsequent
scholarly purposes,” and claims that proponents make no showing that the proposed
expansion would increase scholarship on video games. 1704

As the Register concluded in 2015, these factors heavily favor proponents’ desire to
engage in preservation activities. 1705 It is critical that video games be preserved to
promote future scholarship of these games. While this request is limited to preservation
activities, as opposed to recreational gameplay, scholars may need to access a game and
experience how it was originally played to understand its design or construction. 1706
While ESA contends that preservation efforts have not yet stimulated new copyrighted
works in the form of commentary and analysis of video games, it likely is too early for
such scholarly work—or even preservation activities—to be completed.

For the fourth section 1201 factor, MADE reiterates much of its arguments under the
fourth fair use factor, including that the market will not be negatively impacted because
the proposed exemption “must be explicitly non-commercial.” 1707 Further, it states that
there is little to no market for abandoned video games and that preservation in fact may
help the market for these works by promoting greater public interest in them. 1708

Perhaps focusing on the “affiliate archivist” aspect of the class, ESA contends that the
proposed exemption would significantly increase the number of individuals eligible to
jailbreak consoles, in contravention of the current constraint that such conduct occur in a
controlled setting. 1709 ESA also repeates an argument presented in the 2015 rulemaking,
namely, that an exemption would harm the market for sequels or reissued older


1701   MADE Class 8 Initial at 30.
1702   Id. at 31, App. at A-8 (statement of Henry Lowood, Curator, Stanford Univ.).
1703   ESA Class 8 Opp’n at 40.
1704   Id. at 39–40.
1705   See 2015 Recommendation at 348.
1706   See id.
1707   MADE Class 8 Initial at 31; MADE Class 8 Reply at 29.
1708   Id. at 31–32.
1709   ESA Class 8 Opp’n at 40.

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games. 1710 Like MADE, ESA suggests that its concerns under the fourth fair use factor
equally apply here. 1711

There is no evidence that the current exemption has harmed the market for video games,
including reissued games or sequels, and there is no reason to believe that expanding
the exemption to include a subset of online video games for which external server
support has been discontinued and where a copy of that server-side software has been
lawfully obtained, would change that analysis. In 2015, when drawing a distinction
between preservationist uses and recreational play, the Register recognized not only the
critical need to preserve video games, but also that the piracy risks were tempered
within the confined limits of the preservationist class. 1712 But ESA raises legitimate
concerns regarding an exemption that would allow affiliate archivists to circumvent
access controls in an uncontrolled environment, including by jailbreaking consoles.
While volunteers may add great value to preservation efforts, as noted above,
proponents have not demonstrated that this aspect of the proposal is likely
noninfringing, and the Acting Register similarly concludes that it could adversely affect
the market for copyrighted works. 1713 Otherwise, while publisher-supported
preservation efforts are laudable, the evidence in record does not convince the Acting
Register that additional video game preservation efforts conducted by qualifying
preservation institutions would harm the video game market.

Opponents suggest three additional factors to consider. First, ESA voices a business
reputation-related concern that unauthorized third-party game servers run by
volunteers would not protect against cheating, abusive conduct, or the privacy of
users. 1714 Second, Joint Creators II argue that copying computer programs on remote
servers may involve unauthorized “hacking” in violation of the Computer Fraud and
Abuse Act (“CFAA”). 1715 Finally, ESA states that the proposed expansion “contemplates
violation of Section 1201(a)(2)’s anti-trafficking provisions.” 1716

MADE replies that ESA’s trafficking argument “is predicated on numerous factual
mischaracterizations, such as the allegation that the Proposed Exemption will be used




1710   Id. at 36; see 2015 Recommendation at 332.
1711   ESA Class 8 Opp’n at 40–41.
1712   2015 Recommendation at 344.
1713   See also id. at 346–47.
1714   ESA Class 8 Opp’n at 9, 37.
1715   Joint Creators II Class 8 Opp’n at 10–11; see 18 U.S.C. § 1030.
1716   ESA Class 8 Opp’n at 9.

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for ‘re-establishing online gameplay.’” 1717 MADE also asserts that the exemption will
not lead to any reputation-related harms. 1718

In the 2015 rulemaking, the Register stated that “[r]einstating multiplayer play may
require not only replicating or creating new protocols that communicate with games, but
also launching a new centralized server and distributing the new protocols to
gamers.” 1719 The Register concluded that such activity may implicate the anti-trafficking
provisions of section 1201(a)(2). 1720 Here, though, aside from the proposed expansion
related to affiliate archivists, proponents agree that “preserved game architecture
(including protocols) will not be distributed or made available to the public ‘outside the
premises’ of an eligible library, archives, or museum.” 1721 As such, this request, setting
aside the affiliate archivist aspect, does not raise the same distribution concerns.
Similarly, Joint Creators II’s concern that the CFAA could be violated is accommodated
by the requirement that the works at issue be lawfully acquired. 1722 In any event, the
CFAA continues to apply to the extent users’ activities implicate its requirements.
Finally, limiting the exemption to on-premises preservation and scholarship would
appear to eliminate the bulk of ESA’s business reputation concerns, which again seem
based on an assumption that the affiliate archivist concept would in practice act as a fig
leaf to enable widespread, unsupervised internet play by its consumers.

In sum, the Acting Register finds that consideration of adverse effects in reference to the
statutory factors supports a narrowly crafted amendment to the definition of “complete
game” to accommodate instances where a preservation institution has obtained a
complete copy of both the client- and server-side software.

                    3. NTIA Comments

NTIA supports the adoption of an expanded exemption, but one narrower than
requested by proponents. NTIA believes that the record supports an expanded
exemption for some preservation uses, but agrees with the Office that there should be no
exemption involving reproduction of expressive content stored on a remote server.

NTIA notes both the importance of preservation as well as the legal and logistical
challenges in preserving server-dependent video games. It believes that “in light of


1717   MADE Class 8 Reply at 30 (quoting ESA Class 8 Opp’n at 41).
1718   Id. at 26.
1719   2015 Recommendation at 346.
1720   Id.
1721   MADE Class 8 Initial at 33.
   See 18 U.S.C. § 1030(a)(2) (prohibiting intentionally accessing a computer without
1722

authorization or exceeding authorized access).

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these difficult issues,” any expansion must be tailored to “enable preservation of more
video games without suggesting applicability in situations where the activity is more
likely to constitute copyright infringement—such as if the game can only be reproduced
using expressive content stored on a server.” 1723 NTIA proposes an expansion to allow
preservation “where the user uses the server component—while still not providing any
substantial expressive content—for administrative tasks beyond authentication,
including command and control functions such as tracking player progress, facilitating
communications between players, or storing high scores.” 1724 To accommodate these
uses, it proposes regulatory language that would apply in situations where “all or nearly
all of the audiovisual content and gameplay mechanics reside on the player or
institution’s lawfully acquired local copy of the game.” 1725 The Acting Register has not
followed this approach, however, as NTIA does not define “gameplay mechanics” or
provide a means to determine what constitutes “nearly all” of a game’s audiovisual
content.

Like the Acting Register, NTIA does not support adding an “affiliate archivist” user
class, believing that volunteers may be able to engage in preservation-related
circumvention activities under the current exemption. 1726 NTIA concludes that adding
such a provision risks “introducing confusing language or suggesting that any such
preservationists may not need to be answerable to the institutions for which they are
volunteering.” 1727

                    4. Conclusion and Recommendation

For the reasons described above, the Acting Register recommends a narrow expansion of
the existing exemption for video games where server support has ended. Based on the
record presented, the Acting Register concludes that where a preservation institution has
lawfully acquired both a local and a server copy of a video game, the preservation
activities proposed by proponents are likely to be noninfringing and the adverse effect is
necessarily caused by the prohibition on circumvention. As discussed above, based on
the descriptions in this rulemaking, the Acting Register is not recommending an
exemption to allow for instances where the preservation institution lacks access to the
server software, or to allow affiliate archivists to engage in circumvention off-premises.
On this record, the Acting Register cannot conclude that those activities are likely to be
noninfringing.


1723   NTIA Letter at 64.
1724   Id. at 63.
1725   Id. at 64.
1726   Id.
1727   Id.

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The Acting Register is recommending an exemption for “server-dependent games,”
defined as video games that can be played by users who lawfully possess both a copy of
a game intended for a personal computer or video game console and a corresponding
copy of the game’s code that is stored or was previously stored on an external computer
server. The Acting Register continues to recommend an exemption for “complete
games,” but will revise the exemption language to reflect that the exemption for
“complete games” applies to both gamers and preservation uses, but the exemption for
“server dependent games” applies only to preservation uses.

In addition, for the reasons explained above in the discussion of Proposed Class 9, the
Acting Register recommends adding a paragraph to the exemption in this class to
accommodate preservation of non-server-based video games that are no longer
commercially available. 1728 These are the games encompassed by the exemption in
proposed Class 9 for preservation of computer programs more generally. The Acting
Register recommends including this new language here so that all provisions pertaining
to video games are included in a single exemption. The recommended exemption
includes this new provision as a new paragraph (iii) and redesignates the current
paragraph (iii) as paragraph (iv).

Accordingly, the Acting Register recommends that the Librarian designate the following
class:

        (i) Video games in the form of computer programs embodied in physical or
        downloaded formats that have been lawfully acquired as complete games,
        when the copyright owner or its authorized representative has ceased to
        provide access to an external computer server necessary to facilitate an
        authentication process to enable gameplay, solely for the purpose of:

                (A) Permitting access to the video game to allow copying and
                modification of the computer program to restore access to the game for
                personal, local gameplay on a personal computer or video game console;
                or




   The Acting Register notes that the Class 8 video game preservation exemption does not
1728

include the additional eligibility criteria contained in the Class 9 exemption. Class 9 parties
agreed to include these criteria which were partially drawn from the Section 108 Discussion
Document, published after the last proceeding. Although preservation institutions may meet
these criteria, because the streamlined renewal procedure did not surface this issue for public
comment with respect to video game preservation, the Acting Register is not presently
recommending amending the video game preservation exemption to incorporate those criteria.
Parties are encouraged to consider whether these eligibility criteria are appropriate for the video
game preservation exemption in the next section 1201 rulemaking proceeding.

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             (B) Permitting access to the video game to allow copying and
             modification of the computer program to restore access to the game on a
             personal computer or video game console when necessary to allow
             preservation of the game in a playable form by an eligible library,
             archives, or museum, where such activities are carried out without any
             purpose of direct or indirect commercial advantage and the video game
             is not distributed or made available outside of the physical premises of
             the eligible library, archives, or museum.

      (ii) Video games in the form of computer programs embodied in physical or
      downloaded formats that have been lawfully acquired as complete games, that
      do not require access to an external computer server for gameplay, and that are
      no longer reasonably available in the commercial marketplace, solely for the
      purpose of preservation of the game in a playable form by an eligible library,
      archives, or museum, where such activities are carried out without any
      purpose of direct or indirect commercial advantage and the video game is not
      distributed or made available outside of the physical premises of the eligible
      library, archives, or museum.

      (iii) Computer programs used to operate video game consoles solely to the
      extent necessary for an eligible library, archives, or museum to engage in the
      preservation activities described in paragraph (b)(12)(i)(B) or (b)(12)(ii) of this
      section.

      (iv) For purposes of this paragraph (b)(12), the following definitions shall
      apply:

             (A) For purposes of paragraph (b)(12)(i)(A) and (b)(12)(ii) of this section,
             “complete games” means video games that can be played by users
             without accessing or reproducing copyrightable content stored or
             previously stored on an external computer server.

             (B) For purposes of paragraph (b)(12)(i)(B) of this section, “complete
             games” means video games that meet the definition in paragraph
             (b)(12)(iv)(A) of this section, or that consist of both a copy of a game
             intended for a personal computer or video game console and a copy of
             the game’s code that was stored or previously stored on an external
             computer server.

             (C) “Ceased to provide access” means that the copyright owner or its
             authorized representative has either issued an affirmative statement
             indicating that external server support for the video game has ended
             and such support is in fact no longer available or, alternatively, server


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                    support has been discontinued for a period of at least six months;
                    provided, however, that server support has not since been restored.

                    (D) “Local gameplay” means gameplay conducted on a personal
                    computer or video game console, or locally connected personal
                    computers or consoles, and not through an online service or facility.

                    (E) A library, archives, or museum is considered “eligible” when the
                    collections of the library, archives, or museum are open to the public
                    and/or are routinely made available to researchers who are not
                    affiliated with the library, archives, or museum.

            J. Proposed Class 10: Computer Programs—Security Research

                1. Background

                    a. Summary of Proposed Exemption

Proposed Class 10 seeks to expand the existing exemption allowing circumvention for
the purpose of conducting good-faith security research on certain types of software-
enabled devices and machines. In the 2015 rulemaking, the Office received multiple
petitions from researchers seeking to access TPM-protected computer programs in
various devices to test those programs for potential security flaws and vulnerabilities.
The Register ultimately recommended, and the Librarian granted, an exemption
permitting circumvention for that purpose, subject to a number of limitations. 1729
Perhaps most notably, rather than authorizing circumvention on software-enabled
devices generally, the exemption is limited to the specific categories of devices that were
the focus of the record in that proceeding: (1) devices or machines primarily designed
for use by individual consumers (including voting machines); (2) motorized land
vehicles; and (3) medical devices designed for whole or partial implantation in patients,
as well as corresponding personal monitoring systems.

The exemption also prescribes several eligibility requirements for users. First, the
machine or device on which the circumvention is undertaken must be “lawfully
acquired.” Second, the circumvention must be “solely for the purpose of good-faith
security research,” which is defined in part to mean “accessing a computer program
solely for purposes of good-faith testing, investigation and/or correction of a security
flaw or vulnerability.” Third, the research activity must be “carried out in a controlled
environment designed to avoid any harm to individuals or the public.” Fourth, “the
information derived from” the research activity must be “used primarily to promote the
security or safety of the class of devices or machines on which the computer program


1729   See 37 C.F.R. § 201.40(b)(7) (2016).

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operates, or those who use such devices or machines,” and may not be “used or
maintained in a manner that facilitates copyright infringement.” Finally, the
circumvention may not “violate any applicable law, including without limitation the
Computer Fraud and Abuse Act of 1986.”

Petitions to expand the current exemption were filed by CDT; Professors Felten and
Halderman (collectively, “Felten/Halderman”); and Professor Green. The CDT and
Felten/Halderman petitions sought substantially the same changes. Each requested the
removal of the language limiting the exemption to particular device categories, as well
as full or partial removal of all of the above eligibility conditions. 1730 They did not
provide proposed exemption language, but the combination of their requests would
result in the following changes:

           (i) Computer programs, where the circumvention is undertaken on a
           lawfully acquired device or machine on which the computer program
           operates solely for the purpose of good-faith security research and does
           not violate any applicable law, including without limitation the
           Computer Fraud and Abuse Act of 1986, as amended and codified in title
           18, United States Code; and provided, however, that, except as to voting
           machines, such circumvention is initiated no earlier than 12 months after
           the effective date of this regulation, and the device or machine is one of
           the following:

                    (A) A device or machine primarily designed for use by individual
                    consumers (including voting machines);

                    (B) A motorized land vehicle; or

                    (C) A medical device designed for whole or partial implantation
                    in patients or a corresponding personal monitoring system, that is
                    not and will not be used by patients or for patient care.

           (ii) For purposes of this exemption, “good-faith security research” means
           accessing a computer program solely for purposes of good-faith testing,
           investigation and/or correction of a security flaw or vulnerability, where
           such activity is carried out in a controlled environment designed to avoid
           any harm to individuals or the public, and where the information derived
           from the activity is used primarily to promote the security or safety of the
           class of devices or machines on which the computer program operates, or
           those who use such devices or machines, and is not used or maintained in
           a manner that facilitates copyright infringement.


1730   CDT Class 10 Pet. at 3; Felten & Halderman Class 10 Pet. at 2–3.

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Professor Green’s petition proposed, as a “helpful starting point” for an amended
exemption, the language recommended by NTIA in 2015:

           Computer programs, in the form of firmware or software, regardless of
           the device on which they are run, when circumvention is initiated by the
           owner of the copy of the computer program or with the permission of the
           owner of the copy of the computer program, in order to conduct good
           faith security research. This exemption does not obviate the need to
           comply with other applicable laws and regulations. 1731

In addition to the petitioners, parties submitting comments in support of an expanded
exemption included Consumers Union; FSF; Rapid7, Bugcrowd, Duo Security,
HackerOne, and Luta Security (collectively, “Rapid7 et al.”); and the U.S. Public Policy
Council of the Association for Computing Machinery (“USACM”). Comments in
opposition were filed by ACT; Auto Alliance; BSA; DVD CCA and AACS LA; Dominion
Election Systems, Election Systems & Software, and Hart InterCivic (collectively,
“Election System Providers”); Joint Creators II; the National Association of Secretaries of
State; North Dakota Secretary of State Al Jaeger; and SIIA. A comment taking no
position on the request was filed by Professors Bellovin, Blaze, and Heninger.

                    b. Overview of Issues

Proponents argue that while the existing exemption is “a positive step toward enabling
security research,” the current language contains limitations that unnecessarily restrict
its scope, as well as ambiguities that chill legitimate research. 1732 These provisions, they
assert, have caused researchers to avoid publicly beneficial research activities at a time
when cybersecurity threats are becoming increasingly prevalent in numerous facets of
life. 1733 Specifically, they raise the following concerns:

       •   They argue that the list of covered device categories (the “Device Limitation”) is
           ambiguous because it does not provide a standard for determining whether a
           device is “primarily designed for use by individual consumers.” 1734 In addition,
           proponents contend that this provision is unduly restrictive because it excludes a
           variety of other devices and systems that researchers have a legitimate interest in




1731   Green Class 10 Pet. at 2 (quoting NTIA 2015 Letter at 89).
1732   Felten & Halderman Class 10 Initial at 2.
   CDT Class 10 Initial at 2–3; Felten & Halderman Class 10 Initial at 3–4; id. at 36 (statement of
1733

Professors Felten and Halderman).
1734   Felten & Halderman Class 10 Initial at 5, 18.

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            studying—for example, building automation systems, commercial networking
            equipment, and traffic control systems. 1735

       •    They argue that the requirement that a device be “lawfully acquired” (the
            “Lawfully Acquired Limitation”) should be removed because issues surrounding
            the acquisition of physical property are outside the proper scope of copyright
            law. 1736

       •    They object to the two references to “solely”—the requirement that
            circumvention be “solely” for the purpose of good-faith security research, and
            the definition of such research as accessing a program “solely” for purposes of
            good-faith testing, investigation, and/or correction (the “Access Limitation”). In
            proponents’ view, this provision threatens to chill First Amendment-protected
            speech because it arguably prohibits circumvention in furtherance of “broader
            aims” such as “scientific dialogue, academic peer review, and classroom
            teaching.” 1737

       •    They argue that the requirement that the research be “carried out in a controlled
            environment designed to avoid any harm to individuals or the public” (the
            “Controlled Environment Limitation”) is ambiguous because it does not define
            when an environment is “controlled.” 1738 Felten/Halderman further contend that
            this provision prevents field research, “where the environment is purposefully
            uncontrolled” so that researchers can observe “how a system interacts with a live
            and unpredictable environment.” 1739

       •    They argue that the “Use Limitation” (“the information derived from the activity
            is used primarily to promote the security or safety of the class of devices or
            machines . . . or those who use such devices or machines, and is not used or
            maintained in a manner that facilitates copyright infringement”) inhibits
            discussion and publication of research findings by not defining when such




1735Id. at 5, 19–20; see CDT Class 10 Initial at 3–4; FSF Class 10 Initial at 2; Green Class 10 Initial at
2; USACM Class 10 Initial at 2; see also Consumers Union Class 10 Initial at 2 (supporting
expansion “to cover a broader range of products”).
1736   Felten & Halderman Class 10 Initial at 23–24; see CDT Class 10 Initial at 5.
   Felten & Halderman Class 10 Initial at 24–25; see also CDT Class 10 Initial at 4; Green Class 10
1737

Reply at 3.
1738   CDT Class 10 Initial at 4; Felten & Halderman Class 10 Initial at 5.
1739   Felten & Halderman Class 10 Initial at 38 (statement of Professors Felten and Halderman).

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             activity is “primarily” for the permitted purposes. 1740 They also contend that this
             provision subjects researchers to liability based on the actions of third parties. 1741

       •     They argue that the requirement that the circumvention “not violate any
             applicable law” (the “Other Laws Limitation”) should be removed because it
             “potentially exports the DMCA’s harsh criminal and civil liability into other non-
             copyright legal regimes, exposing researchers to double liability.” 1742

Opponents object to removal of each of these provisions, arguing that the current
language appropriately balances the interests of security researchers, copyright owners,
and the general public. In their view, the adverse effects asserted by proponents are
unsupported by the record and are based on unreasonable readings of the relevant text.
Opponents also variously argue that removing the limitations would render the class
impermissibly broad, give rise to infringing uses, and jeopardize public safety and
national security.

Following the close of the public comment period and the completion of the public
hearings, the Office received a letter concerning this class from CCIPS. The CCIPS letter
stated that “[m]any of the changes sought in the petition appear likely to promote
productive cybersecurity research, and CCIPS supports them,” subject to certain
limitations. 1743 With respect to the Device Limitation, CCIPS advised that it would
support eliminating the language confining the exemption to devices “primarily
designed for use by individual consumers.” 1744 It recommended clarification of the
Controlled Environment Limitation and said that it “would not object to its removal.” 1745
As to the Lawfully Acquired Limitation, CCIPS stated that while “the term ‘lawfully
acquired’ is not itself ambiguous,” it agreed that the exemption should not turn on
contractual terms purporting to limit the use of the device. 1746 It concluded, however,
that the current language is preferable to conditioning the exemption on ownership of a
particular copy of software. 1747 CCIPS also addressed the Other Laws Limitation, stating



1740   Id. at 25; see CDT Class 10 Initial at 5.
1741Felten & Halderman Class 10 Initial at 26; see CDT Class 10 Initial at 5; Rapid7 et al. Class 10
Initial at 2–3.
1742Felten & Halderman Class 10 Initial at 5; see also CDT Class 10 Initial at 4; Rapid7 et al. Class
10 Initial at 2.
1743   CCIPS Letter at 2.
1744   Id. at 4.
1745   Id.
1746   Id. at 5.
1747   Id.

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that it would not object to removal of the phrase “any applicable law” were it standing
alone, but that it recommends retaining the express reference to the CFAA. 1748

                    2. Discussion

                       a. Scope of the Proposed Class

The Acting Register first addresses a contention advanced by several opponents that
removing the Device Limitation would render the class overbroad. 1749 They argue that
an exemption covering all software, regardless of device in which it is located, would fail
to satisfy the legislative history’s directive that a class should be “a narrow and focused
subset of the broad categories of works . . . identified in section 102 of the Copyright
Act.” 1750 BSA and Election System Providers note that in 2015 the Register cited that
language in declining to recommend extending the current exemption to “all computer
programs on all systems and devices, including highly sensitive systems such as nuclear
power plants and air traffic control systems.” 1751 In addition, Joint Creators II assert that
a class defined in this manner could be read to encompass databases, which was
expressly excluded from the 2015 exemption. 1752

Proponents respond that the Register included the Device Limitation not because of
overbreadth concerns, but “only because she concluded that the record did not support
granting a more broadly-defined exemption.” 1753 Here, they argue, the record does
provide such support, as there is evidence that researchers are adversely affected in their
ability to make noninfringing uses of non-consumer devices and systems. 1754
Proponents further contend that the proposed class is sufficiently narrow because
computer programs are a subset of literary works—one of the broad categories
identified in section 102—and because “the prohibition on circumvention similarly
affects security research on all types of software-enabled devices and systems.” 1755



1748   Id. at 5–6.
  See ACT Class 10 Opp’n at 3; BSA Class 10 Opp’n at 5; Election System Providers Class 10
1749

Opp’n at 17; Joint Creators II Class 10 Opp’n at 4–5; SIIA Class 10 Opp’n at 3.
   Commerce Comm. Report at 38; see ACT Class 10 Opp’n at 3; BSA Class 10 Opp’n at 5;
1750

Election System Providers Class 10 Opp’n at 17; Joint Creators II Class 10 Opp’n at 5.
  2015 Recommendation at 317; see BSA Class 10 Opp’n at 5; Election System Providers Class 10
1751

Opp’n at 17.
1752   Joint Creators II Class 10 Opp’n at 7 (citing 2015 Recommendation at 253–54).
   Felten, Halderman & CDT Class 10 Reply at 11–12 (citing 2015 Recommendation at 253–54,
1753

317).
1754   Id. at 12.
1755   Id. at 12–13.

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The Acting Register agrees that the requested expansion appropriately describes “a
particular class” within the meaning of the statute. 1756 As proponents correctly note,
computer programs are a subcategory of literary works. 1757 And importantly, the
proposed class here is further refined by reference to a specific set of permitted
activities. 1758 Further, while the 2015 Recommendation did quote the legislative history’s
“narrow and focused subset” language in recommending adoption of the Device
Limitation, it did so in the context of concluding that “[t]he record [did] not support the
open-ended exemption urged by . . . proponents.” 1759 The Register emphasized that the
proponents’ arguments “focused largely on consumer-oriented software and products”
and that “[n]o showing was made to justify access to other types of software or explain
how such an exemption would work.” 1760 It was for that reason—and not because of any
conclusion that software is an inherently overbroad category—that she recommended
limiting the exemption to the particular types of devices listed in the current rule. 1761
Nothing in the 2015 Recommendation counsels against defining a class to include
computer programs generally where the record establishes that users of such works are
similarly affected by the prohibition on circumvention, and where, as here, the class is
further narrowed by reference to particular types of uses. 1762

As to Joint Creators II’s concern regarding databases, the Acting Register again finds no
record evidence of a need by proponents to access such works for purposes of security
research. 1763 Databases, moreover, are not a subset of computer programs; rather, they
are considered compilations under the copyright law. 1764 Accordingly, the Acting
Register does not consider databases to be within the proposed class.



1756   17 U.S.C. § 1201(a)(1)(C).
1757   See id. § 101 (definitions of “computer program” and “[l]iterary works”).
   See 2006 Recommendation at 10 (“[I]n appropriate circumstances a ‘class of works’ that is
1758

defined initially by reference to a section 102 category of works or a subcategory thereof, may
additionally be refined . . . by reference to the particular type of use and/or user to which the
exemption shall be applicable.”).
1759   2015 Recommendation at 317.
1760   Id.
1761   Id. (“Accordingly, the exemption is limited in that respect.”).
   See House Manager’s Report at 7 (suggesting that Register should look to whether the
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prohibition on circumvention affects the availability of works in different categories in the same
way).
1763   See 2015 Recommendation at 253–54.
   See U.S. COPYRIGHT OFFICE, COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES § 727.1 (3d ed.
1764

2017) (“For purposes of copyright registration, a ‘database’ is defined as a compilation of digital
information comprised of data, information, abstracts, images, maps, music, sound recordings,

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                     b. Works Protected by Copyright

As under the current exemption, the proposed class is defined to include computer
programs, which are copyrightable works. Therefore, the Acting Register finds that at
least some works included in the proposed class are protected by copyright.

                     c. Asserted Noninfringing Uses

In arguing that their proposed uses are noninfringing, proponents focus primarily on
the activities prohibited by the Device Limitation—that is, security research conducted
on devices and systems beyond those listed in the current exemption. While specific
examples of these proposed areas of research are discussed below in connection with
adverse effects, proponents contend that they share common noninfringing bases.
Proponents argue that most security research is noninfringing because it involves
elements of programs that “are largely functional in nature” and therefore “are not
likely to be protected by copyright.” 1765 Additionally, they assert that such research
typically does not implicate the exclusive rights of copyright owners because “nothing is
reproduced, distributed, or adapted” except in an incidental manner. 1766 Proponents
note, however, that in some cases a security researcher “may copy the code (typically
onto a general-purpose computer for analysis), modify the code (for example, to detect
or patch a security vulnerability or safety issue), and distribute the code as part of
scholarly discourse.” 1767 In those circumstances, they argue, the activity is noninfringing
on one or both grounds relied upon by the Register in 2015—section 117 and fair use.

                       i.    Section 117

Section 117(a) allows the owner of a copy of a computer program to make or authorize
the making of a copy or adaptation of the program, provided (1) the copy or adaptation
“is created as an essential step in the utilization of the computer program with a
machine,” or (2) the copy or adaptation is “for archival purposes only.” 1768 In 2015, the
Register found that vehicle owners may qualify as owners of vehicle ECU programs,
with the possible exception of entertainment and telematics systems subject to written
licenses. 1769 She further found that many of the reproductions and adaptations involved



video, other digitized material, or references to a particular subject or subjects.”) (bolding
omitted); 2015 Recommendation at 253–54.
1765   Felten & Halderman Class 10 Initial at 11.
1766   Id.
1767   Green Class 10 Initial at 3.
1768   17 U.S.C. § 117(a).
1769   2015 Recommendation at 300–04.

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in vehicle security research are likely to meet the statutory requirements, either because
they are an “essential step” in identifying potential flaws, or because they constitute
back-up copies that would satisfy the “archival purposes” provision. 1770 Because the
2015 proponents did not address section 117’s possible relationship to research on other
devices, the Register expressed no view on its applicability in those contexts.

The current proponents briefly argue that section 117 may protect research involving a
broader range of devices. Felten/Halderman assert that “[t]o the extent that security
research performed on software outside the context of vehicles meets the ownership
requirement and meets the essential step requirement, it is a noninfringing use under
Section 117.” 1771 Green urges the Acting Register to recognize the general proposition
that “the owner of a physical device is typically also the owner of the copy of the
software needed to operate that device and make it useful.” 1772 He argues that
researchers who lawfully acquire a device satisfy the tests for ownership under Krause
and Vernor because they ordinarily pay substantial consideration, the software operates
for their benefit or at their direction, they may dispose of the device whenever they
wish, and the manufacturer generally does not retain the right to repossess the
software. 1773

Among the opponents, only Election System Providers offer a detailed response. They
contend that election software is licensed, rather than sold, to state and local
governments, and that licensing agreements restrict the governments’ ability to transfer
their copies. 1774 Therefore, they argue, “even if a state or local government purported to
sell its copy of election software to a researcher,” the researcher would not be the owner
of that copy, and thus could not rely on section 117. 1775

The Acting Register finds that proponents have failed to demonstrate that security
research involving devices, generally, is likely noninfringing under section 117. As prior
rulemakings have made clear, the question of ownership under section 117 is a fact-
specific inquiry that turns on the particular features of the relationship between the
owner of the copyright in the software and device owners. 1776 While the ownership
analysis provided by Green may well be accurate as to some categories of software-
enabled devices, he offered no evidence that would enable the Acting Register to reach


1770   2015 Recommendation at 304–05.
1771   Felten & Halderman Class 10 Initial at 12.
1772   Green Class 10 Reply at 2.
1773   Id.; see also Krause, 402 F.3d at 124; Vernor, 621 F.3d at 1111.
1774   Election System Providers Class 10 Opp’n at 18.
1775   Id. (emphasis omitted).
1776   See, e.g., 2015 Recommendation at 222–23, 238, 263–64, 304; 2012 Recommendation at 91–93.

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that conclusion with respect to such devices generally. Indeed, Green does not contest
Election System Providers’ showing that such an assumption would not be correct in the
context of voting software. The same conclusion appears likely with respect to much of
the software used to operate the large-scale infrastructure proponents seek to research
under an expanded exemption. Proponents’ evidence thus is insufficient to support a
finding that their proposed uses are likely noninfringing on this ground.

                       ii.   Fair Use

Proponents contend that the additional research activities encompassed by their
proposed expansion are fair uses. In their view, the fair use analysis relied upon by the
Register in recommending the current exemption is equally applicable to their
proposal. 1777 With the exception of Auto Alliance and Election System Providers,
opponents generally do not respond to these arguments.

Regarding the first factor, Felten/Halderman note that in 2015 the Register found that
many of the proposed uses were likely to be transformative and that “good-faith
security research ‘encompasses several of the favored activities listed in the preamble of
section 107.’” 1778 They contend that their additional proposed activities “are of the same
purpose and character” as these uses and involve all of the “paradigmatic fair uses in
Section 107’s preamble: criticism, comment, news reporting, teaching, scholarship, [and]
research.” 1779 Green cites Sega and Connectix for the proposition that research into
functional aspects of software is a legitimate purpose under the first factor. 1780 He also
emphasizes that security research serves a socially beneficial purpose, noting that “[i]t is
well-recognized in the security community that security can only be reliably obtained
when a system is subject to widespread testing.” 1781

In response, Auto Alliance and Election System Providers suggest that the analysis
under the first factor must take into account all of the proposed changes to the current
exemption, not just the removal of the Device Limitation. These changes are relevant,
they argue, because they could allow users to engage in conduct beyond the narrow
research activities described by proponents. For example, Auto Alliance posits that
removal of the Access and Use Limitations “would weigh against the first fair use factor
because the expanded exemption would then apply to a broader range of uses,



1777   See Felten & Halderman Class 10 Initial at 12–13; Green Class 10 Initial at 2.
1778   Felten & Halderman Class 10 Initial at 13 (quoting 2015 Recommendation at 300).
1779   Id. at 14.
1780   Green Class 10 Initial at 3.
1781Id. at 4 (citing Bruce Schneier, The Insecurity of Secret IT Systems, SCHNEIER ON SECURITY (Feb.
14, 2014), https://www.schneier.com/blog/archives/2014/02/the_insecurity_2.html).

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including commercial activities, that may not be transformative.” 1782 It further asserts
that “removal of the Controlled Environment Limitation and the Lawfully Acquired
Limitation would raise safety concerns, because such a broadened exemption would
permit researchers to interfere with automobiles on public roads, even cars that
researchers do not lawfully own.” 1783 Similarly, Election System Providers contend that
without these limitations, “the additional activity proposed here is much less connected
to . . . salutary [research] ends.” 1784 They argue that “[i]t is difficult to see how copying
to advance the interests of a foreign adversary or interfere in a U.S. election could
possibly be favored uses under U.S. copyright law, even if the results were publicly
disclosed.” 1785

Proponents maintain that that the research activities in which they seek to engage “are
the same as those uses proposed in 2015” and that their proposal “does not seek to
insulate activities that go beyond security research.” 1786 More specifically,
Felten/Halderman disclaim any intention to work on unlawfully obtained devices. 1787 At
the hearing, moreover, proponents testified that in the case of research on large-scale
structures such as building HVAC systems, their practice is to obtain advance
permission of the owner or operator of the system. 1788 Proponents also stress that their

1782   Auto Alliance Class 10 Opp’n at 4.
1783   Id. at 5.
1784   Election System Providers Class 10 Opp’n at 19.
1785   Id.
   See Felten & Halderman Class 10 Initial at 13. In 2015, the proponents defined “good-faith
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security research” to include:
             [G]ood-faith testing for, investigation of, and discovery of software flaws and
             vulnerabilities that implicate privacy, security, and safety concerns; alerting
             consumers and companies to the existence of such flaws and vulnerabilities;
             teaching students and providing them with hands-on experience investigating
             real systems and devices; publicizing scientific findings related to the
             investigation of software flaws and vulnerabilities through academic
             publications, conference presentations, and other discussions of software and
             device security; and applying research discoveries to correct vulnerabilities and
             create better functioning and more secure software.
2015 Recommendation at 255–56.
1787Felten & Halderman Class 10 Initial at 17 (“There is no record indicating that researchers ever
intend to work on unlawfully obtained devices.”).
1788See Tr. at 112:19–113:13 (Apr. 10, 2018) (Walsh, EFF) (stating that Professor Green would not
seek to do research on a toll collection system without the authorization of the system owner); Tr.
at 122:04–08 (Apr. 10, 2018) (Reid, Felten/Halderman) (“[W]e might talk about doing a security
research experiment on the HVAC system in a building. Now, in a case like that, we’re obviously
going to do coordination with the owner or the operator of the building.”); Tr. at 133:07–13 (Apr.

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proposed research “does not risk human injury or harm,” is limited by “[s]trict norms
and customs,” and “would not be conducted on voting systems during a live election or
on a vehicle on a public road.” 1789 The Acting Register accordingly understands the
proposed uses in this class to be limited in accordance with proponents’ statements, and
will conduct her fair use analysis on that basis. 1790 Given proponents’ representations,
opponents’ concerns regarding the removal of specific limitations relate more squarely
to the asserted adverse effects on noninfringing uses, and therefore the Acting Register
will consider those issues below.

With the proposed uses defined in this manner, the Acting Register concludes that the
first factor weighs in favor of fair use. As the Register found in recommending the
current exemption, many of the activities involved in security research are likely to be
transformative, as the copying and alteration of the programs are for the purpose of
providing information about those works—their susceptibility to security breaches—and
do not “merely ‘supersede[] the objects’ of the original creation.” 1791 In addition, as the
Register also found in 2015, good-faith security research promotes several of the
activities identified in section 107 as examples of favored purposes, including criticism,
comment, teaching, scholarship, and research. 1792 These conclusions are just as
applicable to good-faith research involving non-consumer devices and systems as they
are to the research covered by the existing exemption.

In addition, the Acting Register credits the view expressed by CCIPS that the public
benefits provided by security research are not limited to research involving consumer
devices. CCIPS observes that “[b]oth consumer-operated, network-enabled home


10, 2018) (Halderman, Univ. of Mich.) (“[I]f security researchers are doing research that has the
possibility of causing harm to the operator of the device, they’re going to make sure that that
device is one that they have, that they own or have the permission of the device owner to test
with, and they’re going to take steps to mitigate that harm.”).
1789Felten, Halderman & CDT Class 10 Reply at 17, 19; see also Felten & Halderman Class 10 Initial
at 38 (statement of Professors Felten and Halderman) (“Importantly, this type of research does
not include research that would risk human injury or harm.”).
   Put another way, while the Acting Register agrees that removal of the Access and Use
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Limitations in a vacuum might suggest a use less connected to the purposes of scholarship and
research relevant to the fair use analysis, proponents’ representations preclude those uses.
1791Campbell, 510 U.S. at 579 (citation omitted); see also Google Books, 804 F.3d at 215–16
(“[C]opying from an original for the purpose of criticism or commentary on the original or
provision of information about it, tends most clearly to satisfy Campbell’s notion of the
‘transformative’ purpose involved in the analysis of Factor One.”).
   2015 Recommendation at 300; see 17 U.S.C. § 107 (listing purposes of “criticism, comment,
1792

news reporting, teaching (including multiple copies for classroom use), scholarship, or
research”).

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appliances (often associated with the ‘internet of things’) and industrial-grade network
routing and switching equipment can contain security vulnerabilities that can pose
threats to data security, critical infrastructure, and public safety.” 1793 It further notes that
“[i]n some cases, vulnerabilities contained in industrial grade servers or networking
equipment may present even greater risks to the public than security flaws in consumer
goods, highlighting the importance of legitimate security research on such devices.” 1794
These considerations further tip the first factor in favor of fair use.

As to the second factor, Felten/Halderman contend that the nature of the works favors
fair use for the same reason cited by the Register in 2015—that a program used to
operate a device is likely to be “largely functional in nature.” 1795 Green relies on Sega
and Connectix to argue that this factor is favorable because device software “contains
‘unprotected aspects that cannot be examined without copying.’” 1796 Election System
Providers respond that the Register’s 2015 analysis was limited to software in consumer
products, and therefore it should not apply to the “much broader and more varied” class
proposed here. 1797 In their view, the second factor weighs against fair use with respect to
election software other than that in voting machines. These other programs, they argue,
are “user-oriented applications with significant functionality, user interfaces and
business workflows, and hence much higher expressive content” than the device-
enabling software at issue in the last rulemaking. 1798

The Acting Register concludes that this factor favors fair use. While the proposed class
includes computer programs generally, the record indicates that proponents’ intended
activities are focused on programs used to operate machines, devices, or systems. The
examples cited by proponents include software in building automation systems,


1793   CCIPS Letter at 4.
1794Id. At the same time, CCIPS also emphasized the importance of the phrase “good-faith” in
this context:
             Security research conducted in bad faith—for example, for the purpose of
             discovering security holes in software in order to exploit them for illicit financial
             gain rather than to improve security generally, or to extort the owners of such
             devices or the data within them—might be called “research,” but is not in good
             faith. Merely labeling conduct “security research” should not be a basis for
             avoiding criminal or civil liability for circumvention of technological protection
             measures for purposes of infringement or similar bad faith conduct.
Id. at 3. The Acting Register agrees with these views.
1795   Felten & Halderman Class 10 Initial at 15 (quoting 2015 Recommendation at 301).
1796   Green Class 10 Initial at 5 (quoting Connectix, 203 F.3d at 603).
1797   Election System Providers Class 10 Opp’n at 19.
1798   Id.

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commercial networking equipment, traffic control systems, avionics systems, and
drones. 1799 Like the programs encompassed by the current exemption, these programs
“are likely to fall on the functional rather than creative end of the spectrum.” 1800
Moreover, there is no basis to conclude as a general matter, as Election Service Providers
suggest, that computer programs stored on non-consumer devices are more likely to
contain highly expressive content than those on the consumer devices covered by the
current exemption. In any event, as Green correctly notes, to the extent good-faith
security research requires the reproduction of copyrightable elements of a program to
examine its unprotected aspects, the second factor does not weigh against a finding of
fair use. 1801

With respect to the third factor, proponents acknowledge that security research may
involve copying all or substantial portions of a program, but they assert that doing so “is
merely incidental to the goal of the research, and is necessary to adequately investigate
security concerns.” 1802 For substantially the same reasons as those stated in the 2015
Recommendation, the Acting Register finds this factor to be of little significance. There,
the Register noted that “[c]ourts have been willing to permit complete copying of the
original work . . . where it is necessary to accomplish a transformative purpose.” 1803 She
also noted the Sega court’s determination that the third factor is not accorded significant
weight where functional elements of a program cannot be investigated without some
intermediate reproduction. 1804 Here, the record indicates that the use of substantial
portions of programs is often necessary to achieve the transformative purposes
promoted by good-faith security research. 1805 The Acting Register therefore again
concludes that “while the third factor arguably disfavors a fair use finding, the weight to
be given to it under the circumstances is slight.” 1806




1799   Felten & Halderman Class 10 Initial at 19–20; see also CDT Class 10 Initial at 2–3 (similar).
1800   2015 Recommendation at 301.
1801   See Connectix, 203 F.3d at 603–05; Sega, 977 F.2d at 1526.
1802   Felten & Halderman Class 10 Initial at 16.
   2015 Recommendation at 301 (citing HathiTrust, 755 F.3d at 98, and Arriba Soft, 336 F.3d at
1803

820–21).
1804   Id. (citing Sega, 977 F.2d at 1526–27).
1805The Acting Register nevertheless notes that proponents make somewhat inconsistent
statements regarding how often such uses are necessary. Compare Felten & Halderman Class 10
Initial at 11 (“[I]n most security research, nothing is reproduced, distributed, or adapted.”), with
Green Class 10 Initial at 5 (“Security research necessarily requires the use of the entire work, since
vulnerabilities may be found anywhere in the code.”).
1806   2015 Recommendation at 301.

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For the fourth factor, proponents point to the Register’s 2015 finding that the proposed
security research would not usurp the market for any of the subject computer programs,
given that researchers would be lawfully obtaining copies of those works. 1807 In
addition, they note the Register’s finding that potential reputational harms resulting
from negative publicity about the opponents’ software were “not the ‘concern’ of
copyright,” and therefore did not tip the second factor against fair use. 1808 Proponents
argue that the same conclusions are applicable here. In their view, the additional
research authorized by their proposal would not provide a market substitute for any
software, and any risk of reputational injury to copyright owners as a result of the
disclosure of security flaws is irrelevant under the fourth factor. 1809 Felten/Halderman
further state that, in any event, “[m]uch of that harm will likely be avoided through
coordinated disclosure with the company.” 1810

Felten/Halderman additionally contend that the foregoing analysis should not depend
on retaining the Lawfully Acquired Limitation, which limits the current exemption to
circumvention undertaken on a “lawfully acquired device or machine.” They
acknowledge that the Register’s analysis in 2015 was premised on the understanding
that the relevant copies would be lawfully obtained, and they note that “[t]here is no
record indicating that researchers ever intend to work on unlawfully obtained
devices.” 1811 Nevertheless, they urge that this understanding “does not need to be
codified by including the ‘lawfully acquired’ wording that exists in the current
exemption,” which they believe is ambiguous regarding situations where the ownership
of a device is in dispute. 1812

Election System Providers counter that, absent regulatory safeguards to ensure that the
research will be used for socially beneficial purposes, “it must be assumed that such
research could be used in ways that would threaten the integrity of elections as well as
the market for election software.” 1813 As examples, they suggest that the use of research
to sell information to a foreign adversary or to disrupt an election “could well scare local
election officials away from particular products or providers, or even back to hand count
systems, to the detriment of the market for election software.” 1814 They also object to

1807   Felten & Halderman Class 10 Initial at 16–17 (citing 2015 Recommendation at 301–02).
1808   Id. at 16 (quoting 2015 Recommendation at 302); see also Green Class 10 Initial at 6.
1809   Id. at 17; accord Green Class 10 Initial at 6.
1810   Felten & Halderman Class 10 Initial at 17.
1811   Id.
   Id. (stating “there is a significant risk that researchers will obtain devices through legal means
1812

and later be threatened by liability due to an unknown third-party no-resale contract”).
1813   Election System Providers Class 10 Opp’n at 20.
1814   Id.

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proponents’ request to remove the Lawfully Acquired Limitation, arguing that obtaining
software without paying the customary price constitutes “classic market harm.” 1815

The parties are correct to recognize that the Register’s prior finding under the fourth
factor was rooted in her determination that the proposed research would take place only
on lawfully obtained copies of software. As Election Service Providers correctly note,
acquiring a device in violation of law would weigh heavily against a fair use finding, as
it plainly is conduct that, were it to become widespread, would adversely affect the
software copyright owner’s potential market. 1816 The Acting Register accordingly
believes that the exemption should continue to expressly prohibit circumvention under
those circumstances. The Acting Register will consider proponents’ specific concerns
regarding the current formulation of the Lawfully Acquired Limitation when discussing
adverse effects below.

Subject to this limitation, the Acting Register concludes that the fourth factor favors fair
use. As was true of the software at issue in 2015, there is no indication in the record that
good-faith security research will usurp the market for software in non-consumer devices
and systems. The Acting Register finds the speculative market concerns raised by
Election System Providers to be unavailing. The actions of bad actors seeking to access
election software for criminal purposes would not qualify as “good-faith security
research,” and thus they are outside the scope of the proposal. Moreover, the harms
referred to by Election System Providers describe customers being “scare[d] . . . away
from” software providers after their products are found to have security
vulnerabilities. 1817 That is precisely the type of reputational harm that the courts have
held non-cognizable under the fourth factor. 1818

Based on the foregoing analysis, the Acting Register finds that proponents have
demonstrated that the proposed uses are likely to be fair.

                    d. Causation

The Acting Register finds that proponents have met their burden of showing that the
prohibition on circumvention of access controls limits their ability to make the
noninfringing uses described above. But for the prohibition on circumvention, users
likely could gain lawful access to the computer programs in the proposed class in order
to engage in those activities.




1815   Id.
1816   See Campbell, 510 U.S. at 590.
1817   Election System Providers Class 10 Opp’n at 20.
1818   See 2015 Recommendation at 302 (citing Campbell, 510 U.S. at 592).

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                     e. Asserted Adverse Effects

Proponents argue that their ability to conduct noninfringing security research is
adversely affected by the limitations in the current exemption. The Acting Register will
consider these challenged provisions individually, and then address the statutory factors
in relation to the proposed exemption as a whole.

                        i.    Current Limitations

Device Limitation. Proponents contend that this provision chills legitimate security
research involving devices and systems that are not clearly “designed for use by
individual consumers.” 1819 As discussed above, proponents believe that the current
exemption fails to accommodate a growing need for investigation of security features in
“a wide range of other critical systems, including infrastructure and industrial
equipment.” 1820 Specifically, they suggest that the Device Limitation is currently
inhibiting research into building automation systems, cryptographic banking, avionics,
traffic control infrastructure, and cloud computing systems; 1821 -industrial-grade firewall
and private network modules, hardware encryption devices, toll collection systems, non-
implantable medical devices; 1822 and other critical systems, including industrial
equipment and infrastructure that communicates with computerized vehicles. 1823
Proponents identify a variety of TPMs likely to be employed on these systems, noting
that they are the same as the measures considered in 2015. 1824 These include “challenge-
response mechanisms such as access codes, passwords, keys, or digital signatures;
encryption; and software features designed to prevent tampering with or changing the
software, such as code obfuscation and runtime checks.” 1825

Opponents’ principal arguments against removal of the Device Limitation are those
discussed above relating to the scope of the class and the asserted noninfringing uses.
Two opponents, however, raise objections bearing on proponents’ asserted adverse
effects. First, BSA notes that in 2015 the Register found it relevant that the proponents
failed to explain “why research into critical systems is not being or could not be

1819   Felten & Halderman Class 10 Initial at 18.
1820CDT Class 10 Initial at 3; accord Felten & Halderman Class 10 Initial at 19–21; Green Class 10
Initial at 2.
1821   Felten & Halderman Class 10 Initial at 4.
1822   Green Class 10 Initial at 2; see also Green Class 10 Pet. at 3.
1823   CDT Class 10 Initial at 3–4.
1824   Felten & Halderman Class 10 Initial at 7; Green Class 10 Initial at 1.
   CDT Class 10 Initial at 2; see also Felton & Halderman Class 10 Initial at 7 (referring to
1825

“measures controlling installation, execution or use, measures controlling reading or inspection,
and measures controlling modification”) (quoting 2015 Green Class 25 Initial at 5).

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conducted with the authorization of the relevant copyright owner.” 1826 According to
BSA, the same concern is applicable here. It also contends that “[p]roponents have
presented no evidence to address the unique public safety risks and regulatory
compliance considerations that would arise if the Device Limitation were
eliminated.” 1827

The Acting Register does not find that these concerns weigh against the proposed
expansion on the current record. As noted, the focus of the 2015 record was on
consumer-facing devices, and there was little evidence speaking to the need for
circumvention outside that context. Here, by contrast, proponents have offered
substantial evidence of a legitimate need to access TPM-protected software on a broad
range of additional devices and systems. They also have demonstrated that obtaining
authorization of the copyright owner of the software may be infeasible for the same
reason that applies to TPM-protected consumer devices—the owner may be unwilling to
subject the program to independent testing. 1828

Nor does the Acting Register believe that public safety concerns provide an appropriate
basis for denying this aspect of the proposal. As explained above, while such matters of
course are of vital importance, they are within the competence of other agencies and
generally are not among the factors considered as part of this rulemaking absent
unusual circumstances. As CCIPS observes:

             As critically important as the integrity of voting machines or the safety of
             motorized land vehicles are [to] the American public, the DMCA was not
             created to protect either interest, and is ill-suited to do so. To the extent
             such devices now contain copyrighted works protected by technological
             protection measures, the DMCA serves to protect those embedded works.
             However, the DMCA is not the sole nor even the primary legal protection
             preventing malicious tampering with such devices, or otherwise defining
             the contours of appropriate research. 1829

Following serious and novel concerns by DOT, FDA, and EPA in 2015, the current
security research exemption was implemented with a twelve-month delay “to allow

1826   BSA Class 10 Opp’n at 5–6 (quoting 2015 Recommendation at 306).
1827   Id.
1828See Tr. at 131:22–132:01 (Apr. 10, 2018) (Reid, Felten/Halderman) (“The mere act of asking for
permission might well be answered positively, but it might well be answered negatively.”); Tr. at
147:05–10 (Apr. 10, 2018) (Halderman, Univ. of Mich.) (“[I]f I sought permission to do such
testing [on election software], I’m not sure it would be granted. In fact, my strong suspicion is
that if a local government wanted to bring me in to do a security test of the voting machines from
the makers represented here today, that those companies would object.”).
1829   CCIPS Letter at 3.

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other agencies with expertise in vehicle safety, environmental issues, and other relevant
areas an opportunity to consider and react to the new rule.” 1830 The Copyright Office
subsequently issued its Section 1201 Report, reiterating that “other agencies should not
rely on section 1201 to help enforce or cover gaps in their own . . . regulations.” 1831
Accordingly, the public safety risks or regulatory compliance considerations that BSA
raises, while significant, are more properly addressed through other legal regimes, and
thus do not provide grounds for denying the requested expansion.

Second, Election System Providers argue that proponents have failed to demonstrate an
adverse effect on legitimate security research involving election software beyond that on
voting machines. They note that such software “is distributed only to state and local
governments” and that accessing a government’s computer systems without
authorization may violate state and federal computer crime laws. 1832 Any adverse effects
on security research, they contend, are primarily caused by those physical and legal
barriers, not by section 1201. Additionally, they argue that the security of election
systems already is amply tested under current law and that comments supporting the
proposal suggest a “[w]aning academic interest” in such research. 1833

The Acting Register likewise does not find these to be persuasive grounds for retaining
the Device Limitation. The record indicates that local governments may have interest in
retaining independent researchers to test the security of their voting systems. 1834 This
suggests that researchers may well be able to access such systems without running afoul
of computer crime laws. As to the academic value of additional work in this area, the
Acting Register credits the views of the security researchers participating in this
proceeding, who attest to its ongoing—indeed, increasing—significance. 1835 Moreover, it



  2015 Recommendation at 247 (with the exception of voting machines, for which the regulation
1830

was implemented immediately); see 37 C.F.R. § 201.40(b)(7) (2016).
1831Section 1201 Report at 124–26 (also noting that it “does not anticipate . . . recommending
additional delays for implementation of exemptions unless necessitated by a grave or unusual
situation”).
1832   Election System Providers Class 10 Opp’n at 10.
1833   Id. at 11–12.
   Indeed, the Joint Security Researchers’ comment vividly describes the need for, and
1834

subsequent use of, the 2015 exemption for security research in voting systems particularly. See
Joint Security Researchers Class 10 Reply; see also Tr. at 145:05–10 (Apr. 10, 2018) (Halderman,
Univ. of Mich.) (“[T]here absolutely have been cases where local governments have wanted to
conduct independent security testing on voting systems and have either been denied permission
or have refrained from seeking permission because they were convinced it would be denied if
sought.”).
1835   For example, Professor Halderman testified:

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is worth noting that observers have remarked on the 2015 exemption’s value in enabling
important research into the security of voting machines. 1836 As noted above, the Office
received no opposition to renewal of the 2015 exemption for security research with
respect to voting machines.

Based on the foregoing, the Acting Register agrees with proponents that the Device
Limitation is likely to have an adverse effect on users’ ability to engage in noninfringing
security research.

Lawfully Acquired Limitation. Felten/Halderman contend that this requirement “brings
into the ambit of Section 1201 enforcement disputes about the propriety of acquiring
certain types of equipment.” 1837 They offer an example of a vendor who sells a piece of
equipment through a contract that purports to prohibit resale. If the original purchaser
later sells the equipment to a security researcher, they assert, “the vendor might argue
that the machine was unlawfully acquired, even though the security researcher had no
knowledge or reason to know of the agreement between the vendor and the original
purchaser.” 1838 Similarly, Green suggests that the exemption should be “clarified by
explaining that the existence of an ‘End User License Agreement’ or similar terms does
not defeat a person’s status as the owner of a copy of a computer program for purposes




             [It] is getting all the more urgent to perform independent testing of voting
             systems. The Senate Intelligence Committee, which has been investigating
             interference in and hacking of election infrastructure, recommended just last
             month that states and local governments pursue security testing from the
             Department of Homeland Security for their election infrastructure.
             And furthermore, because the Department of Homeland Security doesn’t have
             the resources to test every local and state system in a timely way, the Senate
             Intelligence Committee . . . recommended the use of private security testing firms
             as well to perform that same kind of test.
Tr. at 145:14–146:02 (Halderman, Univ. of Mich.); see also Felten, Halderman & CDT Class 10
Reply at 15 (“[V]ulnerabilities in software, including election software, are still present and are
under-researched because of the chilling effects of Section 1201.”).
   See, e.g., Kevin Roose, A Solution to Hackers? More Hackers, N.Y. TIMES (Aug. 2, 2017),
1836

https://www.nytimes.com/2017/08/02/technology/a-solution-to-hackers-more-hackers.html (“The
reason Def Con was able to test them at all is a 2015 exemption to the Digital Millennium
Copyright Act that gave researchers a temporary pass to experiment on voting machines. Now
that white-hat hackers have found flaws in these machines, they can pass that knowledge on to
the manufacturers and election officials, who can secure the machines ahead of the next election
cycle.”) (parentheses omitted).
1837   Felten & Halderman Class 10 Initial at 23.
1838   Id.

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of the exemption when the person owns the physical medium that embodies the
computer program.” 1839

The Acting Register is not convinced that this provision risks chilling good-faith
research. There is no indication in the record that any disputes of the type described by
proponents have arisen, and speculation alone is insufficient to demonstrate a likely
adverse effect. 1840 Furthermore, the Acting Register does not believe the language to be
ambiguous: it does not require that the circumventing party be the lawful owner of the
device—or the software embedded within the device—only that the device be lawfully
acquired. In any event, to avoid uncertainty, the Acting Register now makes clear her
understanding that the phrase “lawfully acquired” requires only that the acquisition not
be in violation of law. The Acting Register thus agrees with CCIPS that eligibility for the
exemption “should not turn on restrictive contractual terms purporting to limit use of
the hardware on which the copyrighted software is running.” 1841 The Acting Register
believes this guidance obviates any need for amending the regulatory text.

A related issue involves situations in which a researcher seeks to investigate large-scale
infrastructure such as a building automation system—activity that would be permitted if
the Device Limitation is removed. The “lawfully acquired” concept is ill-suited to
research involving these larger systems. 1842 A question, then, is whether an expanded
exemption should require authorization of the owner or operator of the system (as
distinguished from the owner of the copyright in the software).

As discussed, proponents testified that their practice is to obtain advance permission of
the building or system owner in such circumstances. 1843 The one example they provide
of an actual project in which authorization is impracticable is “internet-wide scanning,”
which they describe as “making small numbers of harmless connection attempts to
publicly accessible computers. . . . Internet-wide scanning may also consist of standard
connection attempts followed by RFC-compliant protocol handshakes with responsive
hosts.” 1844 It is not clear, however, that an exemption from section 1201 is necessary to
accommodate this type of research. The record does not establish whether these
connection attempts or protocol handshakes involve circumvention of TPMs or
accessing copyrightable works. Professor Halderman’s testimony was speculative on
those issues, suggesting only that such a handshake “might be construed as violating an

1839   Green Class 10 Pet. at 2.
1840   See Section 1201 Report at 28; 2012 Recommendation at 8.
1841   CCIPS Letter at 5.
1842   See Felten, Halderman & CDT Class 10 Reply at 21.
   See Tr. at 112:19–113:13 (Apr. 10, 2018) (Walsh, Green); Tr. at 122:04–08 (Apr. 10, 2018) (Reid,
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Felten/Halderman); Tr. at 133:07–13 (Apr. 10, 2018) (Halderman, Univ. of Mich.).
1844   Felten & Halderman Class 10 Initial at 38 (statement of Professors Felten and Halderman).

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access control mechanism.” 1845 This evidence is insufficient to demonstrate that
researchers would be unduly burdened by a requirement that they obtain permission
from the relevant system owner or operator in situations where their research involves
structures that cannot be “acquired.” 1846

Given this record, the Acting Register believes that any exemption authorizing this
activity should require such authorization. Such a requirement is consistent with
congressional intent as reflected in the permanent exemption for security testing under
section 1201(j), which is conditioned upon the user obtaining “the authorization of the
owner or operator of [the] computer, computer system, or computer network” that will
be accessed. 1847 It also accords with the legislative history, which explains:

            [T]he scope of permissible security testing under the Act should be the
            same as permissible testing of a simple door lock: a prospective buyer
            may test the lock at the store with the store’s consent, or may purchase
            the lock and test it at home in any manner that her or she sees fit . . . .
            What the person may not do, however, is test the lock once it has been
            installed on someone else’s door, without the consent of the person
            whose property is protected by the lock. 1848

In accordance with these statements, the Acting Register finds it appropriate to include
language similar to that of section 1201(j) in any exemption involving research on
systems of this type.

Access Limitation. Proponents argue that the two references to “solely” in the current
text—the requirement that circumvention be “solely” for the purpose of good-faith
security research, and the definition of such research as accessing a program “solely” for
purposes of good-faith testing, investigation, and/or correction—potentially limit “post-
circumvention First-Amendment-protected speech.” 1849 Specifically, they argue that
“[t]he word ‘solely’ does not clarify whether activities that use the results of the
noninfringing testing and investigation—for example, publishing papers—are


1845   Tr. at 130:15–22 (Apr. 10, 2018) (Halderman, Univ. of Mich.).
1846At the hearing, Professor Halderman also described measurements involving “the cellphones
in this room or the wi-fi devices in a neighborhood.” Tr. at 133:20–24 (Apr. 10, 2018) (Halderman,
Univ. of Mich.). It was unclear, however, whether those examples refer to actual projects security
researchers wish to undertake or are simply hypotheticals. Nor does the testimony establish
whether such activity would require circumvention of TPMs controlling access to copyrighted
works.
1847   17 U.S.C. § 1201(j)(1).
1848   Conference Report at 67.
1849   Felten & Halderman Class 10 Initial at 24.

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covered.” 1850 They cite “scientific dialogue, academic peer review, and classroom
teaching” as additional examples of speech that could be implicated. 1851

Opponents disagree that removal of these provisions is necessary or advisable. BSA and
Election System Providers contest proponents’ reading of the regulatory language,
arguing that it does not limit discussion of good-faith research results. As BSA sees it,
“[p]rovided an initial act of circumvention is performed ‘solely for purposes of good-
faith testing, investigation, and/or correction of a security flaw or vulnerability,’ a
beneficiary is free to use insights gleaned from the research for ‘scientific dialogue,
academic peer review, and classroom teaching.’” 1852 Other opponents object on the
ground that removal of “solely” would leave the exemption ill-defined and could “open
the door . . . to a host of other purposes” going beyond teaching and scholarship. 1853

The Acting Register agrees with opponents that the Access Limitation is not properly
read to prohibit teaching, academic dialogue, or scholarship involving information
derived from good-faith security research. In the 2015 Recommendation, the Register
expressly found that the exemption was “likely to increase the use of works in
educational settings” and that “teaching and scholarship would be enhanced” by it. 1854
She also noted that “[t]he desired research activities may result in criticism or comment
about [a] work and the devices in which it is incorporated, including potential flaws and
vulnerabilities.” 1855 As those findings recognize, the focus of the Access Limitation is the
researcher’s purpose at the time of circumvention. While post-circumvention activities


   Id. at 25; see also CDT Class 10 Initial at 4 (“Under these requirements, it is unclear whether
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academic research and open public discussion of vulnerabilities fall within the exemption,
placing legal constraints on the study and prevention of critical flaws.”); Green Class 10 Reply at
3.
1851   Felten & Halderman Class 10 Initial at 25.
1852BSA Class 10 Opp’n at 3; accord Election System Providers Class 10 Opp’n at 15 (“Nothing in
the current regulation seems to prohibit teaching based on the results of what was in the first
instance good-faith security research, scientific dialogue concerning such research or its results,
or academic peer review of such results.”).
1853Auto Alliance Class 10 Opp’n at 11–12; see also Election System Providers Class 10 Opp’n at 15
(“[T]he proponents propose expanding the exemption to allow circumvention almost without
regard to its purpose. For example, in the case of election systems, it would not be in the interests
of the United States to open this exemption to a researcher motivated to some extent by a
‘research’ interest but also motivated by a desire to help a foreign adversary interfere in U.S.
elections.”); Joint Creators II at 10–11 (“[T]here is nothing wrong with the Register attempting to
ensure that security research cannot become a back door to enable unauthorized access to works
and other harmful acts.”).
1854   2015 Recommendation at 310–11.
1855   Id. at 300.

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might be relevant to the extent they provide evidence on that issue, a researcher who at
the time of circumvention intends to publish the results of good-faith research or use
them in the course of teaching would not exceed the bounds of the Access Limitation.
Such activities ordinarily are expected to follow from research, and therefore they easily
fit within the meaning of the regulatory language when read in its proper context. The
Acting Register accordingly concludes that this requirement is unlikely to have an
adverse effect on good-faith research, and therefore she does not recommend its
removal.

Controlled Environment Limitation. Proponents contend that this provision impedes
legitimate research “because it is ambiguous and it is limiting.” 1856 It is ambiguous, they
argue, because it does not indicate whether, or to what extent, it permits research
conducted outside a laboratory. 1857 It is limiting, in their view, because it prevents
research in the field, where “the environment is purposefully uncontrolled” so that
researchers can “measure variations caused by undetected sources, clarify causation
from correlation, improve reliability, and perform verification.” 1858 They cite building
automation systems and voting machines as examples of systems that must be tested in
“real-world environments.” 1859 As noted, proponents emphasize that this activity would
be designed so as not to expose the public to harm and would not occur in “live”
settings such as an actual election. 1860

Opponents raise several points in opposition to removal of this limitation. First, they
note that in 2015 the Register recommended the “controlled environment” language
based on her finding that “there appeared to be universal agreement among proponents
that testing in ‘live’ conditions—such as cars being driven on public roads—is wholly
inappropriate.” 1861 In their view, proponents’ request “is directly at odds with the
position all participants took in the last proceeding, including some of the same
individuals providing comments in this proceeding.” 1862 Second, they contend that




1856   Felten & Halderman Class 10 Initial at 38 (statement of Professors Felten and Halderman).
1857   Id.
1858   Id.
1859   Id. at 39 (statement of Professors Felten and Halderman).
   See id. at 38–39 (statement of Professors Felten and Halderman); Felten, Halderman & CDT
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Class 10 Reply at 17 (distinguishing “live” testing from “testing in real-life environments
carefully designed to avoid harm”).
1861   2015 Recommendation at 318.
   Election System Providers Class 10 Opp’n at 13; accord Auto Alliance Class 10 Opp’n at 13;
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Joint Creators II Class 10 Opp’n at 8.

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eliminating this requirement would pose risks to public safety and security. 1863 They
point out that one of the parties supporting other aspects of the proposed expansion,
Consumers Union, opines in its comments that the Controlled Environment Limitation
“may be particularly important for ensuring safety and security” and that “[a]ny
adjustments to this condition should be made only after thorough consideration, and
should be carefully and specifically circumscribed.” 1864 Finally, BSA and Joint Creators
II argue that proponents’ concerns are unwarranted because the current language does
not prohibit research outside a lab but requires only that researchers exercise reasonable
care in performing their work. 1865

The Acting Register continues to believe it is appropriate for the exemption to include
“common-sense limitations” to reflect the parties’ understanding that good-faith
research does not include activities that threaten safety and security. 1866 At the same
time, proponents have stated a plausible concern that the phrase “controlled
environment” potentially could be read to require that the research take place in a lab-
like setting. The existing rule was not intended to impose such a requirement, and the
Acting Register does not understand proponents’ suggested reading to be correct,
particularly given that the 2015 Recommendation makes no reference to any such
limitation. Nevertheless, proponents have introduced evidence that uncertainty over the
meaning of the language has caused researchers to avoid particular projects. 1867
Moreover, the Acting Register again credits the views of CCIPS, which advises that “in
some cases, minimizing the risk of harm may require ‘real world’ testing outside of a
lab-like controlled environment.” 1868 CCIPS therefore suggests that “it would beneficial

1863See Auto Alliance Class 10 Opp’n at 14 (“The Controlled Environment Limitation very sensibly
precludes real-time research on cars that are on public roads, where innocent third parties may be
exposed to serious risks of damage, injury or death.”); Election System Providers Class 10 Opp’n
at 13–14 (“[T]ampering with election systems during an election would undermine the
democratic principles the proponents profess to uphold and violate the law in many states.”);
Joint Creators II Class 10 Opp’n at 8 (“[O]pening up the exemption to include ‘real-life
environments’ would potentially harm the very individuals the researchers claim they seek to
protect.”).
1864   Consumers Union Class 10 Initial at 3.
   BSA Class 10 Opp’n at 5 (“For purposes of the 2015 Exemption, ‘controlled environment’
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should be understood as encompassing testing environments where ‘harm to individuals or the
public’ can be mitigated.”); Joint Creators II Class 10 Opp’n at 8 (“The ‘controlled environment’
language simply requires responsible research practices.”).
1866   2015 Recommendation at 318.
1867See Felten & Halderman Class 10 Initial at 38 (statement of Professors Felten and Halderman)
(“Because the controlled environment limitation is unclear as to what a controlled environment
is, we often avoid necessary research that may implicate unknown aspects.”).
1868   CCIPS Letter at 5.

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to clarify that, although exempted security research need not always be conducted in a
laboratory setting, it must be conducted with reasonable consideration for risks of harm,
or under conditions reasonably calculated to minimize risks to the public.” 1869 The
Acting Register believes that this can be accomplished by deleting the word
“controlled,” so that the exemption simply would require the activity to be “carried out
in an environment designed to avoid any harm to individuals or the public.” This
alteration would resolve the ambiguity cited by proponents, while continuing to provide
appropriate accommodation for public safety. The Acting Register understands this to
be a technical clarification, rather than a substantive change.

Use Limitation. The definition of “good-faith security research” requires that “the
information derived from the activity is used primarily to promote the security or safety
of the class of devices or machines on which the computer program operates, or those
who use such devices or machines, and is not used or maintained in a manner that
facilitates copyright infringement.” 1870 Proponents argue that this provision is
ambiguous in three ways. First, they assert that the term “primarily” could be read to
mean “‘only’—such that if a researcher is found to have used the information for
anything that is beyond the given uses, they have violated this term.” 1871 Second, they
contend that the phrase “promote the security or safety of the class of devices . . . or
those who use such devices” could be read to exclude using the information to
“dissuade consumers from using a vulnerable device that cannot be made safe or
secure,” since the goal of such disclosure is to “ensur[e] that no one uses a device.” 1872
Third, they argue that the limitation “makes the circumventor liable if someone else uses
the information they derived to commit copyright infringement.” 1873

Opponents’ responses are similar to those they advance regarding the other challenged
limitations. They contend that proponents’ concerns are premised on a misreading of
the exemption language. 1874 And they argue that weakening these provisions could
result in disclosures that would harm the public. 1875



1869   Id.
1870   37 C.F.R. § 201.40(b)(7)(ii) (2016).
1871   Felten & Halderman Class 10 Initial at 25; see also CDT Class 10 Initial at 5.
1872   Felten & Halderman Class 10 Initial at 25.
1873   Id. at 26; accord CDT Class 10 Initial at 5.
1874See Auto Alliance Class 10 Opp’n at 15–16 (“As long as the beneficiary of the exemption uses
the research information derived from circumvention in accordance with the Use Limitation (i.e.,
to promote safety and security), then liability will not attach.”); BSA Class 10 Opp’n at 4 (“We
disagree with the fundamental premise of Petitioners’ argument, namely, that ‘primarily’ might
be interpreted to mean ‘only.’”); Joint Creators II Class 10 Opp’n at 11 (“The researchers are not
responsible for what others do. The exemption simply holds researchers responsible for handing

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The Acting Register finds no realistic likelihood of adverse effects based on proponents’
first two arguments. First, it is not plausible to conclude that the term “primarily” could
be interpreted to mean “only.” Those two terms clearly are not synonymous, and
nothing in the record suggests that any copyright holder has advanced such a reading.
Likewise, proponents’ concern that the exemption might not extend to situations in
which a researcher advises against the use of a device seems farfetched. It would be
absurd to construe the exemption to mean that research is protected only if it results in
users being able to use the class of devices whose security or safety is being examined.

Proponents’ concern about liability turning on the acts of third parties is somewhat more
understandable given the exemption’s requirement that the information “is not used or
maintained in a manner that facilitates copyright infringement.” 1876 The Acting Register
nevertheless does not believe removal of this provision to be advisable. In 2015 the
Register recommended adoption of this language—which tracks the statutory factors
governing eligibility for the security testing exemption under section 1201(j) 1877—because
she determined that it reflected congressional intent regarding appropriate disclosure
requirements in this context. 1878 The Acting Register adheres to that view. Nevertheless,
to address proponents’ concern, the Acting Register now clarifies her understanding that
this language refers to the researcher’s own use and maintenance of the information
derived from the research. Whether a researcher’s use or maintenance of information
has facilitated copyright infringement by a third party should be determined according
to the standards governing secondary copyright liability. 1879 Thus, evidence of third-
party infringement is relevant to a researcher’s eligibility for the exemption only insofar




their own results with care to prevent others from misusing them to the extent feasible.”); SIIA
Class 10 Opp’n at 5 (“We are aware of no case that would prevent petitioners from being able to
‘inform consumers that the system is insecure so they can protect themselves.’”) (quoting Felten
& Halderman Class 10 Initial at 40 (statement of Professors Felten and Halderman)).
1875See Auto Alliance Class 10 Opp’n at 15 (“When researchers choose to publish detailed analyses
of vulnerabilities before communicating their findings to system operators or developers . . . they
are informing bad actors as well as the general public.”); Election System Providers Class 10
Opp’n at 15 (“With respect to election systems, disclosure that is primarily for purposes other
than promoting security cannot be justified. The negative consequences of an uncoordinated
disclosure of an election-related security vulnerability could be great.”).
1876   37 C.F.R. § 201.40(b)(7)(ii) (2016) (emphasis added).
1877   See 17 U.S.C. § 1201(j)(3).
1878   See 2015 Recommendation at 318–19.
1879   See MGM Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005).

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as it supports a finding that the researcher’s use or maintenance of information
constitutes contributory or vicarious infringement, or inducement of infringement. 1880

In light of this clarification, the Acting Register does not believe that the Use Limitation
is likely to cause an adverse effect on noninfringing security research.

Other Laws Limitation. Proponents contend that the requirement that the circumvention
“not violate any applicable law” adversely affects their activities because “[s]ecurity
research can implicate numerous federal and state regulations, with legal uncertainty
and uneven application in different jurisdictions.” 1881 In their view, “those complexities
should be sorted out in other contexts without importing the DMCA’s significant
penalties.” 1882 Proponents specifically note that the CFAA has not been construed
uniformly by courts, and they argue that that uncertainty should not be incorporated
into the exemption. 1883 They further stress that removal of this condition would not
eliminate researchers’ obligation to comply with other applicable laws. 1884

Opponents respond that proponents’ concern is misplaced because any uncertainty as to
their compliance with other legal requirements is the product of ambiguities in those
laws, not the exemption language. 1885 In particular, Auto Alliance and SIIA argue that, to
the extent researchers’ conduct is barred by other laws, they cannot meet their statutory
burden to show that section 1201 is the cause of any adverse effect. 1886 Opponents also

   Proponents Rapid7 et al. offered a proposal that would (1) add a second “primarily” before
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the clause regarding facilitation of infringement and (2) change “in a manner that facilitates” to
“for the purpose of facilitating.” The amended language would read “where the information
derived from the activity . . . is not primarily used or maintained for the purpose of facilitating
copyright infringement.” See Rapid7 et al. Class 10 Initial at 3 (bolding added). The Acting
Register does not recommend this change. The proposal appears to assume that “used or
maintained” refers to the way in which third parties—as opposed to the researcher—uses or
maintains the information. As discussed, that is not the Acting Register’s understanding.
Moreover, the change would seem to allow circumvention where the researcher uses or
maintains the information for the purpose of facilitating infringement, so long as that is not his or
her primary purpose.
1881Rapid7 et al. Class 10 Initial at 2; see also CDT Class 10 Initial at 4; Felten & Halderman Class
10 Initial at 5.
1882   Felten & Halderman Class 10 Initial at 24.
1883   Felten, Halderman & CDT Class 10 Reply at 23; Rapid7 et al. Class 10 Initial at 2.
1884   Felten & Halderman Class 10 Initial at 24; Rapid7 et al. Class 10 Initial at 2.
1885   Auto Alliance Class 10 Opp’n at 12.
   Id. at 13 (“Since this proceeding is solely concerned with adverse impacts arising ‘by virtue of
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[the] prohibition’ contained in 17 [U.S.C.] § 1201(a)(1)(A), any impacts attributable to other laws
are completely irrelevant.”); SIIA Class 10 Opp’n at 4 (“[I]f the CFAA (or a similar statute)
prevents certain activity, then 1201 does not cause the adverse effect as a matter of law.”).

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note that removing this provision would be inconsistent with congressional intent given
that Congress included the same requirement in section 1201(j). 1887

In its letter, CCIPS notes that it “does not view the anti-circumvention provisions as the
most appropriate or efficient means of imposing limits on security research” beyond the
scope of copyright concerns, and therefore “would not object to the removal of [the
Other Laws Limitation] from the exemption, were it standing alone.” 1888 It concluded,
however, that

             [g]iven the interplay and occasionally overlapping application of the
             DMCA and the CFAA, CCIPS cannot support removal of the reference to
             the CFAA in the Class 10 exemption. To do so might mislead researchers
             into believing that operating within the DMCA exemption would also
             provide an exemption from CFAA liability, which it does not. To avoid
             confusion that could place security researchers in legal jeopardy, we
             support retaining the express reference to the CFAA within the
             exemption. 1889

Taking all of these considerations into account, the Acting Register concludes that
proponents have failed to establish an adverse effect resulting from this provision. As
the Office recently noted in the context of section 1201(j), “it [is] not clear . . . that the
requirement to comply with other laws impedes legitimate security research; other laws
still apply even if the activity is permitted under section 1201.” 1890 Nor did proponents
offer a persuasive response to opponents’ contention that section 1201 is not the cause of
any adverse effect when circumvention is prohibited by other laws. In addition, the
Acting Register finds it significant that Congress included an obligation to comply with
other laws in the statutory provision speaking most directly to the activity at issue
here. 1891 While the proposed exemption does differ from the statute in various respects,
the Acting Register believes it appropriate to track the statutory language to the extent
possible, “in the interest of adhering to Congress’s basic purpose in section 1201(j).” 1892
Finally, the Acting Register takes seriously CCIPS’s concerns regarding the relationship
between section 1201 and the CFAA. The Acting Register accordingly does not
recommend removal of the Other Laws Limitation.




1887   See BSA Class 10 Opp’n at 6; Joint Creators II Class 10 Opp’n at 10.
1888   CCIPS Letter at 5.
1889   Id.
1890   Section 1201 Report at 80.
1891   See 17 U.S.C. § 1201(j)(2); see also id. § 1201(g)(2)(D) (same for encryption research exemption).
1892   2015 Recommendation at 319.

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                       ii.   Statutory Factors

The application of the first four statutory factors to the proposed expansion is
substantially the same as the analysis in 2015. 1893 For the first factor, the record again
supports the conclusion that granting the exemption would increase the availability of
copyrighted works in the form of articles, presentations, and computer programs aimed
at rectifying security flaws. By enabling research on a wider range of devices, the
removal of the Device Limitation would broaden the universe of programs upon which
such works may be based. 1894 The second and third factors likewise support the
exemption, as the record indicates that it would increase the availability of computer
programs in educational settings and for criticism, comment, news reporting, teaching,
scholarship, and research. Proponents have established that the Device and Controlled
Environment Limitations have prevented researchers from undertaking research
projects outside the scope of the current exemption, and that they have deterred
researchers from involving students in projects that could expose them to legal risk. 1895
As to the fourth factor, the Acting Register finds that granting the expansion, while
retaining the other limitations discussed, is unlikely to adversely affect the market for or
value of copyrighted computer programs, for the same reasons stated above in reference
to the fourth fair use factor.

With respect to the fifth factor, the Acting Register does not find that the concerns
underlying the decision to delay implementation of the 2015 exemption are present on
the current record. As discussed, that decision was intended to provide other federal
agencies that had expressed concern over the proposal the opportunity to consider any
potential impacts on matters within their regulatory jurisdictions. 1896 The Office
subsequently made clear that, with those agencies now having had time to respond, it
“will generally decline to consider health, safety, and environmental concerns” as part of
the rulemaking. 1897 Here, only one other agency, CCIPS, has provided views on the
proposed exemption, and it recommends changes consistent with the Acting Register’s
conclusions. The Acting Register accordingly does not find that any additional factors
weigh against granting the exemption.

Based on the foregoing, the Acting Register concludes that proponents have satisfied
their burden to show that the Device Limitation and the term “controlled” in the
Controlled Environment Limitation are causing an adverse effect on users’ ability to
engage in noninfringing security research, or are likely to cause such an adverse effect

1893   See id. at 310–11.
1894   See Felten & Halderman Class 10 Initial at 27.
1895   Id. at 37–39 (statement of Professors Felten and Halderman).
1896   See 2015 Recommendation at 317–18.
1897   Section 1201 Report at 125–26.

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during the next three years. The Acting Register does not find any actual or likely
adverse effect resulting from the other limitations challenged by proponents.

                    3. NTIA Comments

NTIA recommends granting the proposed expansion and proposes the same regulatory
text it offered in 2015. 1898 That language would allow circumvention “in order to
conduct good faith security research” on computer programs, “regardless of the device
on which they are run.” 1899 NTIA concludes that “proponents have provided enough
evidence regarding a range of devices to warrant removal of the device limitation,” and
it agrees with CCIPS regarding the value of legitimate security research on large-scale
computer systems. 1900 NTIA further recommends that the Other Laws Limitation be
replaced with a statement that the exemption “does not obviate the need to comply with
[all] other applicable laws and regulations.” 1901 It acknowledges that CCIPS supports
retaining the exemption’s express reference to the CFAA, but concludes that its
proposed amendment “would be less of an obstacle to good-faith security researchers
(while maintaining a reasonable note of caution).” 1902 For the reasons discussed above,
however, the Acting Register recommends retaining the Other Laws Limitation.

In addition, NTIA recommends removal of the Controlled Environment, Access, and
Use Limitations, largely agreeing with proponents that those provisions may chill
legitimate research. 1903 The Acting Register recognizes the importance of providing clear
legal direction to researchers in this area. As discussed, however, she concludes that the
interpretive guidance offered above and the technical correction to the Controlled
Environment Limitation are sufficient to address proponents’ concerns.

                    4. Conclusion and Recommendation

The Acting Register accordingly recommends expanding the current security research
exemption in accordance with the above discussion. First, the recommended exemption
removes the Device Limitation. Second, it includes a provision allowing circumvention
to be undertaken on a “computer, computer system, or computer network on which the
computer program operates.” This language is based on the text of section 1201(j)(1)
and is intended to address situations in which a researcher seeks access to a structure,
such as a building automation system, that cannot be “acquired” in the sense of


1898   See NTIA Letter at 83–84; NTIA 2015 Letter at 89.
1899   NTIA Letter at 84.
1900   Id. at 77.
1901   Id. at 79 & n.401.
1902   Id. at 79 & n.402.
1903   Id. at 77–81.

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obtaining physical possession of it, in contrast to instances where the researcher can
lawfully acquire a device or machine. The exemption requires that circumvention in
these circumstances be undertaken “with the authorization of the owner or operator of
such computer, computer system, or computer network.” This language likewise is
drawn from section 1201(j)(1). Finally, the recommendation removes the term
“controlled” from the language addressing public safety considerations. Accordingly,
the Acting Register recommends that the Librarian designate the following class:

        (i) Computer programs, where the circumvention is undertaken on a
        lawfully acquired device or machine on which the computer program
        operates, or is undertaken on a computer, computer system, or
        computer network on which the computer program operates with the
        authorization of the owner or operator of such computer, computer
        system, or computer network, solely for the purpose of good-faith
        security research and does not violate any applicable law, including
        without limitation the Computer Fraud and Abuse Act of 1986.

        (ii) For purposes of this paragraph (b)(11), “good-faith security
        research” means accessing a computer program solely for purposes of
        good-faith testing, investigation, and/or correction of a security flaw or
        vulnerability, where such activity is carried out in an environment
        designed to avoid any harm to individuals or the public, and where the
        information derived from the activity is used primarily to promote the
        security or safety of the class of devices or machines on which the
        computer program operates, or those who use such devices or
        machines, and is not used or maintained in a manner that facilitates
        copyright infringement.

        K. Proposed Class 11: Computer Programs—Avionics

            1. Background

                a. Summary of Proposed Exemption

Petitioner Air Informatics LLC requests an exemption to permit circumvention of access
controls on electronic systems used in aircraft, i.e., avionics, to enable access to “aircraft
flight, operations, maintenance and security” bulk data collected by third parties “upon
authorization of the aircraft owner or operator” in the course of complying with FAA
standards, rules, and regulations. 1904 Air Informatics stipulates that its request to access
“bulk data, in the form of files and logs” does not encompass modification of the


   Air Informatics LLC (“AI”) Class 11 Pet. at 2. Air Informatics did not propose specific
1904

regulatory language for this exemption.

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“software embedded in the avionics components,” which is “under the strict control and
certification by the FAA and not allowed.” 1905 Air Informatics further explains that the
circumvention and subsequent analysis would be “conducted in a controlled setting
such as in an office or data management environment” and that “[t]he data would not be
exposed in any real time flight operations setting.” 1906 In addition to Air Informatics, FSF
and Public Knowledge filed comments supporting the proposed exemption, which was
unopposed.

                     b. Overview of Issues

This exemption request comes as aircraft are increasingly equipped with technology to
monitor all aspects of plane operations. As Air Informatics explains, “[c]ore to these
aircraft is an integrated centralized computerized flight system[] interconnecting the
control and information avionics subsystems of the aircraft.” 1907 The data collected by
these systems include information regarding “flight operations, fuel economy, digital
flight data recorder, maintenance, fault and information security.” 1908

Due to reliance upon these electronic systems, aircraft “operators have faced a . . . rise in
the complexity and scope of work needed to keep their fleet secure and operating
efficiently.” 1909 In response, the FAA “has mandated the review of the data, information,
logs[,] and other information [by aircraft owners or operators] as a means to ensure
safety, security[,] and regulatory compliance.” 1910

According to proponents, however, access to this information is controlled by
manufacturers of the digital systems, such as General Electric and Honeywell. 1911
Specifically, the data are first collected in a folder, compressed, and encrypted, then
transferred to the aircraft owner, maintainer, or operator utilizing a public key
infrastructure process. 1912 The data “transfer is completed by an 802.11 secure



1905   AI Class 11 Initial at 3.
1906   Id.
1907   Id. at 1–2.
1908   Id. at 2.
1909   Public Knowledge 11 Initial at 1.
1910AI Class 11 Initial at 3; see also Public Knowledge Class 11 Initial at 1–2; Tr. at 131:01–05 (Apr.
25, 2018) (Jackson, AI).
1911Public Knowledge Class 11 Initial at 5; see also AI Class 11 Pet. at 2 (“The DMCA has been used
in the Aviation Industry to prevent access to aircraft flight, operations, maintenance and cyber
security data to all by the manufacturers of the avionics equipment collecting the data from an
aircraft, or prevent access to third parties without payment of a licensing or analysis fee.”).
1912   AI Class 11 Initial at 2.

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connection, typically using [Wi-Fi Protected Access II] security protocol.” 1913 Proponents
argue that systems manufacturers “use TPMs and threats of legal action under § 1201 to
prevent operators from [otherwise] accessing the data and reports.” 1914 Aircraft owners
or operators, therefore, must pay manufacturers for access to the aircraft data to ensure
compliance with FAA rules and regulations. 1915

                2. Discussion

                    a. Works Protected by Copyright

Section 1201’s prohibition against circumventing TPMs applies only to “work[s]
protected under [title 17],” meaning works protected by copyright. 1916 Thus,
uncopyrightable materials fall outside the ambit of this rulemaking. 1917 In such cases,
“the prohibition on circumvention will not be applicable” as “any protection measures
on such a work do not implicate section 1201(a)(1),” and an exemption is
unnecessary. 1918

Here, the record suggests that the data collected by aircrafts at issue consist of facts.
According to Air Informatics, the information represents objective details about aircraft,
including “flight operations, fuel economy, digital flight data recorder, maintenance,
fault and information security.” 1919 Public Knowledge states more bluntly that “Air
Informatics seeks access to data inputs and outputs which are not classifiable as a ‘work’
protected under Title 17” and alleges that such “access does not implicate any colorable
copyright concerns.” 1920 As such, the factual data are not copyrightable. 1921

Thus, to be protected by copyright, that information must involve a “collection and
assembling of . . . data that are selected, coordinated, or arranged in such a way that the


1913   Id.
1914   Public Knowledge Class 11 Initial at 2; see also AI Class 11 Pet. at 2.
1915   Public Knowledge Class 11 Initial at 2.
1916   17 U.S.C. § 1201(a)(1).
   See 2003 Recommendation at 99–102 (declining to recommend exemption to circumvent TPMs
1917

on works that are entirely in the public domain).
1918   2003 Recommendation at 99.
1919AI Class 11 Initial at 2; see also Tr. 146:01–02 (Apr. 25, 2018) (Jackson, AI) (describing the data
as including “altitude, pressure, temperature, speed, how the airplane is flown, [and] control
services inputs”).
1920   Public Knowledge Class 11 Initial at 2.
   See 17 U.S.C. § 102(b); Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 344 (1991) (“That
1921

there can be no valid copyright in facts is universally understood.”); Harper & Row, 471 U.S. 539 at
556 (“No author may copyright his ideas or the facts he narrates.”).

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resulting work as a whole constitutes an original work of authorship.” 1922 But Public
Knowledge asserts that the outputs “are formatted and compiled in accordance with an
industry-wide standard, and thus such compilations do not involve any meaningful
form of creativity that would qualify them for copyright protection.” 1923 Mr. Jackson of
Air Informatics confirms, stating that “how that data might be formatted is by an
industry-based standard.” 1924 Specifically, he testified that the relevant standard was
developed by Aeronautical Radio, Inc. (or “ARINC”) via a committee composed of
operators and is now maintained by a unit of the Society of Automotive Engineers
through “committees that define standards for . . . the format of data in this particular
case.” 1925

Based on the record, the collected information would not qualify as a compilation,
because it is organized in a way typical to the avionics industry. 1926 The Acting Register
concludes that proponents have not alleged that the data or data compilations they are
seeking to access are copyrightable. Mr. Jackson raises some notable concerns regarding
attempts by airplane manufacturers to control the aftermarket for the data in security
research and analytics, but it is not clear that section 1201 is facilitating those actions. 1927
Accordingly, it is not necessary to proceed to consider whether proponents have
demonstrated an adverse effect on a noninfringing use of a particular class of
copyrighted works. 1928



   17 U.S.C. § 101 (defining “compilation”); see also Feist, 499 U.S. at 348 (stating that a
1922

compilation of facts may be copyrightable where “it features an original selection or
arrangement”).
1923   Public Knowledge Class 11 Initial at 3.
1924   Tr. at 132:09–10 (Apr. 25, 2018) (Jackson, AI).
1925   Tr. at 146:11–22 (Apr. 25, 2018) (Jackson, AI).
1926See Feist, 499 U.S. at 363 (“[T]here is nothing remotely creative about arranging names
alphabetically in a white pages directory. It is an age-old practice, firmly rooted in tradition and
so commonplace that it has come to be expected as a matter of course.”); Matthew Bender & Co.,
Inc. v. West Publ’g Co., 158 F.3d 674, 682 (2d Cir. 1998) (“The creative spark [necessary to render a
compilation copyrightable] is missing where . . . industry conventions or other external factors so
dictate selection that any person composing a compilation of the type at issue would necessarily
select the same categories of information . . . .”).
1927See Section 1201 Report at 92 (“[V]irtually all agree that section 1201 was not intended to
facilitate manufacturers’ use of TPMs to facilitate product tying or to achieve a lock-in
effect . . . .”).
1928Mr. Jackson indicated that, in part, his purpose in seeking this exemption is to conduct
security research. See AI Class 11 Ex Parte Meeting Summary at 1–2 (Aug. 30, 2018). To the extent
applicable, the security research exemption may potentially be utilized to cover such activities.
See supra Class 10.

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                    3. NTIA Comments

NTIA agrees with the Acting Register that the proposed exemption is not warranted. 1929
In its view, “[p]roponents failed to demonstrate that the proposed class includes
copyrighted works protected by TPMs.” 1930 NTIA further explains that “the mere
existence of encryption cannot trigger a Section 1201 exemption; a copyrighted work
must exist to trigger a Section 1201 exemption.” 1931 Moreover, NTIA continues, “[e]ven
if the Register were to assume that avionics data were copyrighted works, Air
Informatics failed to identify clearly the proposed users of the exemption” beyond the
company itself, suggesting that “the prohibition on circumvention does not adversely
affect and is not likely to adversely affect users.” 1932 Lastly, NTIA maintains that
“[r]easonable alternatives to circumvention seem to exist,” noting that “the two relevant
parties can come to an agreement for access to and use of the data.” 1933

                    4. Conclusion and Recommendation

Proponents’ submissions raise potentially valid concerns regarding the use of
technological measures to restrict access to bulk avionics data by third parties. But
proponents have provided no examples suggesting that the data or data compilations
qualify as works protected by copyright, and indeed, affirmatively suggest they are not.
In light of the lack of a record alleging that the relevant access controls are protecting
any works protected by copyright, the Acting Register cannot recommend adoption of
Proposed Class 11.

             L. Proposed Class 12: Computer Programs—3D Printing

                    1. Background

                       a. Summary of Proposed Exemption

Proponents seek to expand a current exemption that permits the circumvention of access
controls on computer programs in 3D printers to enable the use of non-manufacturer-
approved feedstock. The current exemption language encompasses:

             Computer programs that operate 3D printers that employ microchip-
             reliant technological measures to limit the use of feedstock, when
             circumvention is accomplished solely for the purpose of using alternative


1929   NTIA Letter at 84.
1930   Id. at 85.
1931   Id.
1932   Id. at 85–86.
1933   Id. at 86.

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            feedstock and not for the purpose of accessing design software, design
            files or proprietary data; provided, however, that the exemption shall not
            extend to any computer program on a 3D printer that produces goods or
            materials for use in commerce the physical production of which is subject
            to legal or regulatory oversight or a related certification process, or where
            the circumvention is otherwise unlawful. 1934

Michael Weinberg filed a petition to eliminate the “qualifying language” at the end of
the exemption, that is: “provided, however, that the exemption shall not extend to any
computer program on a 3D printer that produces goods or materials for use in
commerce the physical production of which is subject to legal or regulatory oversight or
a related certification process, or where the circumvention is otherwise unlawful.” 1935
Comments supporting the proposed expansion were also filed by FSF and four other
individuals—George Ellenburg, David Hatch, Abraham Mara, and Tim Postma.

The comments for this class generally addressed the above qualifying language as a
whole, which is consistent with the discussion in the 2015 Recommendation of
restricting the exemption to prevent the use of non-manufacturer-approved feedstock
where, broadly, 3D-printed objects might “fail legal requirements or regulatory
mandates.” 1936 The Acting Register, therefore, considers the qualifying language as a
single unit in evaluating the proposed expansion of this exemption.

                     b. Overview of Issues

As described in depth during the 2015 rulemaking, 3D printing involves “various
technologies that translate digital files into physical objects by adding successive layers
of material.” 1937 These materials or “feedstock” are typically ABS or PLA plastics, but
can also be metals, waste plastics, woods, or bio-tissue. 1938 Manufacturers of 3D printers
also sell feedstock as a way to ensure some quality control and likely to also secure
recurring revenue. 1939




1934   37 C.F.R. § 201.40(b)(9) (2016).
   Weinberg Class 12 Pet. at 2; see also Weinberg Class 12 Initial at 2 (clarifying the scope of the
1935

proposed exemption as “focus[ing] on the harms created by the qualifying language in the
current exemption”); Tr. at 10:15–18 (Apr. 13, 2018) (Weinberg).
1936   2015 Recommendation at 376.
1937   Id. at 356.
1938   Id. at 357.
   See Stratasys Class 12 Opp’n at 7–8 (discussing quality control as a feature of restricting a 3D
1939

printer to specific feedstock); 2015 Recommendation at 365–66.

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To ensure that the manufacturer-approved feedstock is used in a 3D printer, some
manufacturers add a verification microchip attached to the feedstock cartridge that
ensures that the feedstock is manufacturer-approved before the printer’s software allows
it to print 3D objects. 1940 Without circumventing these verification protocols, owners of
TPM-protected 3D printers cannot use competitors’ feedstock or tinker with their
printers to use alternative feedstock.

In the 2015 rulemaking, the Register found that “proponents have established that TPMs
constrain the types of feedstock that can be used in 3D printers and that this is likely to
adversely affect noninfringing uses of the software that controls that functionality.” 1941
But opponents raised concerns that granting an exemption would cause regulatory and
safety issues, particularly regarding medical implants, aerospace parts, and consumer
goods. 1942 The FDA reinforced this understanding, stating, for instance, “if a 3D printed
medical device is intended for insertion into the body, then the manufacturer under
FDA regulations would have to demonstrate that the products are safe and effective for
that intended use.” 1943 At the same time, the Register concluded that proponents were
mainly interested in manipulating their 3D printers for consumer and experimental uses
outside of the stream of commerce. 1944 Further, proponents were not seeking to access
design software, design files, or proprietary data. 1945

Based on these needs and concerns, the Register considered, and rejected, limiting the
exemption to noncommercial printers, as parties agreed that “it may be difficult to
demarcate the line between commercial and noncommercial uses.” 1946 To address the
concerns of opponents and the FDA, however, the Register limited the exemption
according to “the standards that govern the resulting products,” excluding any 3D
printer program “that produces goods or materials for use in commerce the physical
production of which is subject to legal or regulatory oversight or a related certification
process.” 1947




1940   2015 Recommendation at 357.
1941   Id. at 376.
1942   See, e.g., id. at 366.
  Id. at 375 (citing Letter from Bakul Patel, Assoc. Dir. For Digital Health, Ctr. for Devices and
1943

Radiological Health, FDA, to Jacqueline C. Charlesworth, Gen. Counsel & Assoc. Register for
Copyrights, U.S. Copyright Office, at 4 (Aug. 18, 2015).
1944   Id. at 377.
1945   Id. at 373.
1946   Id. at 377; see also Class 26 Post-Hearing Letter (June 3, 2015).
1947   2015 Recommendation at 377.

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The 2015 exemption thus addressed only the actual or proposed uses of non-
manufacturer-approved filament reflected in the record in that proceeding. It did not
extend to either “accessing design software, design files or proprietary data” or
“circumstances where the use of third-party feedstock could cause the resulting 3D-
printed object to fail legal requirements or regulatory mandates, including safety
certification criteria or other similar standards.” 1948 In formulating her recommendation,
the Register commented that “analysis of this class generally was hampered by a limited
factual record—especially as presented by proponents,” 1949 which made addressing
proponents’ needs unnecessarily difficult. While proponents do not presently appear to
have concerns over design software, design files, or proprietary data, there is now a
better developed record regarding the qualifying language.

Currently, proponents put forth two arguments as to why the Acting Register should
broaden the exemption by dropping this language. First, proponents argue that this
clause creates ambiguity such that the exemption itself cannot be applied or used in the
majority of circumstances. Due to the far reach of legal and regulatory oversight, they
contend that the application of the qualifying language to “3D printer[s] that produce[]
goods or materials for use in commerce the physical production of which is subject to
legal or regulatory oversight or a related certification process” could be read to preclude
the use of the exemption in a large percentage of instances. 1950 For instance, Mr.
Weinberg contends that the qualifying language produced a “vague and unworkable
standard for applying the existing exemption that effectively eliminates it applicability
in the vast majority of situations.” 1951 Similarly, Mr. Ellenburg states: “Any 3D printer
can produce aircraft parts (subject to FAA approval) and medical devices (subject to
FDA approval).” 1952 Thus, proponents argue, the exemption has not had its intended
effect of allowing users to circumvent TPMs in most instances.

Second, proponents argue that the concerns that the qualifying language seeks to
address are more suitably addressed by other agencies. 1953 Essentially, proponents
assert that non-copyrighted concerns should be left to other agencies.




1948   Id. at 376–77.
1949   Id. at 370 n.2489.
1950   37 C.F.R. § 201.40(b)(9) (2016).
1951   Weinberg Class 12 Initial at 1.
1952   Ellenburg Class 12 Reply at 2; see also Hatch Class 12 Reply at 2.
1953   See Ellenburg Class 12 Reply at 2; Mara Class 12 Reply at 2; Weinberg Class 12 Initial at 1, 8.

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                2. Discussion

                    a. Works Protected by Copyright

This class again involves microchip-reliant TPMs attached to 3D printer feedstock that
limit the use of alternative feedstock by preventing the 3D printer operating systems
from executing and printing new objects. The operating systems constitute computer
programs within the meaning of section 101. Therefore, like the 2015 rulemaking, the
Acting Register finds that at least some works included in the proposed expanded class
are protected by copyright. 1954

                    b. Asserted Noninfringing Uses

The 2015 rulemaking identified fair use as the noninfringing basis for this exemption,
and the proposed expansion is evaluated on the same grounds. 1955 Proponents do not
offer new fair use arguments in this rulemaking, 1956 but the Office understands
proponents to be relying on the fair use record from the 2015 rulemaking. In response,
Stratasys briefly argues that “any activity excluded by the ‘qualifying language’ in the
Current Exemption would not be entitled to the fair use defense.” 1957 Ultimately, given
that the record indicates that the state of the 3D printing market appears to be
substantially the same as in 2015, 1958 and case law has not significantly altered the


19542015 Recommendation at 367. In the 2015 rulemaking, the Register noted that “in some cases
forcing a 3D printer to accept third-party feedstock may not run afoul of section 1201(a)(1),”
either because the alteration may not involve a copyrighted work or because circumvention may
not be necessary to read the printer software. Id. (citing Lexmark, 387 F.3d at 547). The Register
found, however, that “there are other cases where a consumer wishing to use third-party
feedstock in a 3D printer would need to engage in circumvention of a TPM protecting a
copyrightable work, for example, when more complex code must be modified so the printer can
handle alternative feedstock.” Id.
1955In the 2015 rulemaking, section 117 was considered as a potential basis in some cases for
“proponents’ claim that modifying software to permit use of non-manufacturer-approved
feedstock may also be a noninfringing use,” but that conclusion was not central to the Register’s
determination. Id. at 369–70. During the current rulemaking proceeding, proponents do not
advance section 117 as a noninfringing basis for this exemption. See generally Weinberg Class 12
Initial; Weinberg Class 12 Reply. Stratasys argues that section 117 is inapplicable. See Stratasys
Class 12 Opp’n at 5. The Office, therefore, does not consider section 117 as a noninfringing basis
for this exemption at this time.
1956   See Weinberg Class 12 Initial; Weinberg Class 12 Reply.
1957   Stratasys Class 12 Opp’n at 4.
   Tr. at 34:11–15 (Apr. 13, 2018) (Chapman, Stratasys) (“I don’t think there’s been any trend to
1958

have more TPMs, I think it’s similar to the marketplace in 2015, that there are printers that are not
locked with TPMs and there are printers that are.”).

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relevant fair use issues, the Acting Register considers fair use in much the same way as
in the 2015 Recommendation. The Acting Register thus again concludes that the
copying or modifying of printer software to accept non-manufacturer-approved
feedstock is likely to be a fair use.

Regarding the first factor, the purpose and character of the use, the Register previously
“note[d] that interoperability is recognized as a favored purpose under the law. The
record shows that in many cases, third-party feedstock cannot be used without altering
the printer operating system software.” 1959 This conclusion applies equally to the
proposed expansion.

Here, Stratasys argues that the difference between the current and proposed exemption
is that the proposed exemption “enables circumvention in all commercial settings,” and
“every commercial use of copyrighted material is presumptively an unfair exploitation
of the monopoly privilege that belongs to the owner of the copyright . . . .’” 1960 It
contends that expanding the current exemption “beyond the zone of non-commercial,
personal uses” weighs against finding a fair use on the first factor. 1961

While it is relevant that the proposed exemption would allow for a greater swath of
commercial uses, Stratasys mischaracterizes the effect that the commercial purpose
element has on a fair use analysis; the Supreme Court has clarified that there is no “hard
evidentiary presumption” against commercial uses and that such uses must be
addressed through a “sensitive balancing of interests.” 1962

More importantly, there is no bright-line distinction between the current and proposed
exemptions on the basis of whether commercial uses are permitted. The current
exemption already permits circumvention of TPMs to allow for alternative feedstock for
some commercial purposes; the qualifying language disallows such circumvention only
where the produced goods are both commercial in nature and the physical production of
the goods is subject to legal or regulatory oversight or a related certification process. 1963

1959   2015 Recommendation at 368 (citations omitted).
1960   Stratasys Class 12 Opp’n at 4 (quoting Sony, 464 U.S. at 451).
1961   Id.
1962Campbell, 510 U.S. at 584 (quoting Sony, 464 U.S. at 455 n.40) (noting that “[t]he language of the
statute makes clear that the commercial or nonprofit educational purpose of a work is only one
element of the first factor enquiry into its purpose and character. . . . If, indeed, commerciality
carried presumptive force against a finding of fairness, the presumption would swallow nearly
all of the illustrative uses listed in the preamble paragraph of § 107, including news reporting,
comment, criticism, teaching, scholarship, and research, since these activities ‘are generally
conducted for profit in this country.’”) (quoting Harper & Row, 471 U.S. at 592 (Brennan, J.,
dissenting)).
1963   37 C.F.R. § 201.40(b)(9) (2016).

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Accordingly, the Acting Register finds Stratasys’s position unpersuasive and concludes
that factor one favors proponents.

The Acting Register concludes that the second factor, the nature of the copyrighted
work, favors finding a fair use. As in the 2015 rulemaking, the record establishes that
computer programs that control the type of feedstock allowed in a 3D printer are largely
functional, rather than expressive, in nature. 1964 Moreover, proponents seek to access
such computer programs for their functionality, i.e., gaining the ability to use a 3D
printer in a different manner, rather than for creative purposes, such as altering or
incorporating the computer program into an original work.

The third factor, the amount and substantiality of the portion used in relation to the
copyrighted work as a whole, remains neutral as to the expanded exemption, as the
analysis remains substantially the same as in the 2015 rulemaking. In that proceeding,
the Register concluded that this factor favored neither party, because “there was very
little record of how much the printer operating system software would need to be
changed to use third-party feedstock—only that it could ‘vary.’” 1965 While Stratasys
contends “the amount that needs to be copied [] would likely be considerable,” 1966 this
statement is based upon the same testimony that the Register earlier concluded
demonstrated variation. 1967

The Acting Register again concludes that the fourth factor, the effect of the use upon the
potential market for or value of the copyrighted work, favors fair use. While Stratasys
generally states that “the market for copyright-protected works would be negatively
impacted if the exemption extended to commercial users,” 1968 it does not offer any
further analysis of the current market. Because there have been no significant
developments in the relevant facts or case law, the Acting Register adopts the approach
of the 2015 Recommendation in focusing on the market for the printer operating system



1964   Weinberg Class 12 Initial at 6–7; Stratasys Class 12 Opp’n at 7.
1965   2015 Recommendation at 369.
1966   Stratasys Class 12 Opp’n at 4.
   Id. (Ms. Charlesworth: “Do you need to copy the software in order to make the modification
1967

required for changing you feedstock?” Mr. Weinberg: “It depends on the software
implementation.” Ms. Charlesworth: “Okay. So it seems there is a lot of variation.” Mr.
Weinberg: “Absolutely.”) (quoting Tr. at 141:15–22 (May 28, 2015)).
1968Id. at 5. Stratasys again mischaracterizes proponents’ request, suggesting that the difference
between the current and proposed exemptions is that the former disallows all commercial uses,
while the latter would permit all commercial uses. As noted above, the current exemption
already allows for circumvention for commercial uses that are not subject to separate legal or
regulatory regimes.

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software rather than the 3D printer as a whole. 1969 In the 2015 Recommendation, the
Register noted that “there does not appear to be a market for printer operating system
programs separate from the 3D printers themselves, or a quantifiable way to apportion
the value of the 3D printer attributable to the software features.” 1970 The new testimony
in this cycle reinforces this conclusion. 1971 Since neither proponents nor Stratasys
pointed to any changes in the 3D printer market that would alter the valuation of printer
operating system programs, the conclusion in the 2015 Recommendation that the fourth
factor favors fair use remains pertinent to the proposed expansion.

In sum, the Acting Register finds that proponents have met their burden in
demonstrating that the proposed expanded language to permit the use of alternative
feedstock for additional commercial uses is likely to be a fair use.

                    c. Causation

The Acting Register finds that proponents have met their burden of showing that the
current qualifying language limits their ability to make the noninfringing uses of 3D
printer operating systems described above. But for the qualifying language, proponents
likely could gain lawful access to the operating systems for purposes of engaging in
those uses.

                    d. Asserted Adverse Effects

The first four statutory factors do not fit neatly onto this situation, where language is
being removed to relieve a regulatory limitation. Therefore, the Office focuses its
analysis on the fifth factor with respect to the safety and related concerns raised by
participants.

With regard to the first factors, the record remains limited. Proponents do not offer new
arguments or evidence on these factors. Stratasys offers only a blanket statement that
relies on the record from the 2015 rulemaking:

             [O]n balance, the statutory factors do not favor any exemption for TPMs
             on 3D printers. . . . [The] reasoning [provided in Stratasys’ opposition
             comment during the 2015 rulemaking] is especially applicable to the areas
             into which Petitioners want to broaden the Current Exemption—3D




1969   2015 Recommendation at 369.
1970   Id.
   See Tr. at 49:14–17 (Apr. 13, 2018) (Weinberg) (stating he does not “believe that there are
1971

concerns being raised that there are standalone markets for the software running these
machines”).

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             printers used to create commercial products, including in regulated
             industries. 1972

Because the record has not relevantly expanded or changed since the last rulemaking,
and the parties did not establish that the inclusion or exclusion of the qualifying
language would have any particular impact on these factors, the Acting Register adopts
the conclusions made in the 2015 Recommendation. Specifically, as for the first factor,
the “record does not demonstrate that an exemption would threaten the availability of
[3D printer operating] software, or, indeed, that a viable market for this type of software
exists separate from the printers themselves.” 1973 And, with respect to factor four, there
is no independent market for 3D printer operating software. 1974 In addition, as with the
last rulemaking, there is insufficient evidence to suggest that the 3D printers operate as
secure distribution platforms for creative works. 1975

The fifth factor, which allows for consideration of such other factors as the Librarian
deems appropriate, merits further analysis. The Office previously considered safety and
health concerns related to allowing non-manufacturer-approved feedstock to print 3D
objects that may enter into the stream of commerce, which was a factor in the adoption
of the qualifying language. The Register concluded that while “[associated] safety and
regulatory concerns are not copyright-related,” they were “sufficiently weighty to merit
consideration in drafting an exemption.” 1976 This was largely based on the fact that the
Food and Drug Administration submitted “a letter to the Office, explaining that an
exemption for this class might create unintended public health and safety risks in
relation to medical devices produced using 3D printers.” 1977 Considering that letter
alongside the thin record for such uses, “the Register f[ound] that it [was] appropriate to
limit the exemption to exclude uses that may be subject to regulation or certification.” 1978

In this rulemaking, proponents argue that such health and safety concerns are so
tangentially related to the topic at hand that they are outside the scope of this
proceeding. 1979 Proponents do not deny that this rulemaking may create consequences

1972   Stratasys Class 12 Opp’n at 6–7 (citation omitted).
1973   2015 Recommendation at 372.
1974   See id. 373–74.
1975   See id. at 374.
1976   Id. at 375.
  Id. (citing Letter from Bakul Patel, Assoc. Dir. for Digital Health, Ctr. for Devices and
1977

Radiological Health, FDA, to Jacqueline C. Charlesworth, Gen. Counsel & Assoc. Register of
Copyrights, U.S. Copyright Office, at 4 (Aug.18, 2015)).
1978   Id.
   Weinberg Class 12 Initial 7–8 (“There is no reason to believe that Congress crafted . . . Section
1979

[1201] in order to grant the Copyright Office broad authority over issues of health or safety

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touching on such health and safety concerns, but they urge the Office to leave concerns
unrelated to copyright to the appropriate government agencies. 1980

Further, the expanded record now shows that there are situations in which an individual
may be complying with relevant law or regulations but still be at risk of violating section
1201 due to the exemption’s qualifying language. For instance, Mr. Weinberg explains
that smaller-scale operations utilizing 3D printers in particular may be producing objects
“subject to legal or regulatory oversight or a related certification process” and
complying with those rules yet still face penalties under section 1201. 1981 Specifically, he
suggests that individual sellers of homemade wares 1982 and small companies creating
medical devices 1983 risk running afoul of section 1201 even if those uses are in
compliance with related laws and regulations in their respective industries. He
contends that given the breadth of regulatory and legal oversight in the United States,
including of all consumer goods by the Consumer Product Safety Commission, there are
few instances in which the exemption as currently worded can be utilized. 1984

In contrast, Stratasys states that “[t]he safety and policy concerns considered under the
‘fifth factor’ are at least as significant today as they were three years ago, and thus the
integrity of TPMs deserves at least as much protection.” 1985 It describes the advantages
of a 3D printer with a closed system, i.e., one that “restrict[s] a particular system to
specific materials,” 1986 explaining that “[s]ome systems are closed because of the need to
mitigate risks involved in the use of a specific material, such as fire hazards or
hazardous fumes.” 1987 Stratasys argues that an expanded exemption “could also leave
such [3D] printers vulnerable to intrusion.” 1988 Relatedly, during the hearing, Stratasys



concerns as long as those concerns had some imaginable nexus with TPMs. . . . If the FDA, or any
other regulatory agency of the United States Government, believes that it has been insufficiently
empowered by Congress to carry out its mission, it should not rely on the Copyright Office to fill
the gaps.”).
1980   See Weinberg Class 12 Reply at 2.
1981   Weinberg Class 12 Initial 6–7.
   Tr. at 24:19–22 (Apr. 13, 2018) (Weinberg) (“If you were to manufacture something that was
1982

defective and sell it on Pinterest, then you would be liable under a legal or regulatory regime.”).
1983   Tr. at 15:12–18 (Apr. 13, 2018) (Weinberg).
   Weinberg Class 12 Initial at 7 (“The legal and regulatory system of the United States is vast
1984

and touches on almost any good that could be created by a 3D printer.”).
1985   Stratasys Class 12 Opp’n at 7.
1986   Id.
1987   Id. at 9.
1988   Id.

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informed the Office that 3D printed materials often go through testing before
commercial use, even outside of regulations provided by other agencies, indicating that
there are quality control measures in place outside of regulatory oversight. 1989

In considering these arguments, the Acting Register notes that the Office’s general
practice is to limit its analysis under the fifth factor to matters bearing on traditional
copyright concerns, absent unusual circumstances. As the Office stated in its Section
1201 Report:

           [W]hile the Office declines to categorically exclude “non-copyright”
           concerns from the fifth statutory factor, the Office also reiterates that the
           rulemaking must be “principally focused on the copyright concerns
           implicated by any proposed exemption,” and that it is not typical for
           safety and environmental concerns to play a significant role in the
           Register’s recommendation. 1990

Such circumstances are not present here. The record establishes that there are
safeguards outside of the current exemption addressing health and safety concerns
associated with 3D printing. For example, Stratasys testified regarding the many types
of inspections and force tests to which the industry voluntarily subjects some 3D-printed
objects. 1991 Stratasys confirmed that 3D-printed objects made with non-manufacturer-
approved feedstock may be tested in the same manner. 1992 In addition, the FDA recently
issued guidance regarding 3D printed medical devices. 1993 Relatedly, the FAA has
announced a strategic roadmap for a regulatory drafting effort regarding 3D printing
that is expected to be ongoing for the next several years. 1994 Stratasys’ safety-related
concerns are more appropriately raised before such entities.

Under the current, broader record, the Acting Register concludes that the qualifying
language in the existing exemption may be inhibiting otherwise beneficial or innovative


   See Tr. at 55:10–60:19 (Apr. 13, 2018) (Chapman, Stratasys) (discussing the various tests and
1989

inspection 3D printed objects go through before use).
1990   Section 1201 Report at 125 (quoting 2015 Recommendation at 248).
1991   See Tr. at 55:10–60:19 (Apr. 13, 2018) (Chapman, Stratasys).
1992   Tr. at 59:08–14 (Apr. 13, 2018) (Chapman, Stratasys).
1993   FDA, TECHNICAL CONSIDERATIONS FOR ADDITIVE MANUFACTURED MEDICAL DEVICES: GUIDANCE
FOR INDUSTRY AND FOOD AND DRUG ADMINISTRATION STAFF (2017), https://www.fda.gov/
downloads/MedicalDevices/DeviceRegulationandGuidance/GuidanceDocuments/
UCM499809.pdf.
1994Debra Werner, FAA Prepares Guidance for Wave of 3D-printed Aerospace Parts, SPACENEWS (Oct.
20, 2017), https://spacenews.com/faa-prepares-guidance-for-wave-of-3d-printed-aerospace-parts/
(including regulations, “certification policies, manufacturing policies and maintenance policies”).

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uses of alternate feedstock, which is contrary to the intention of that exemption.
Moreover, while the record shows an expanded demand to engage in uses prohibited
under the current exemption, it does not demonstrate that this limiting language is
serving to meaningfully alleviate the health and safety concerns raised during the 2015
rulemaking. In any event, as noted, the record makes clear that other regulatory forums
are available to address such issues.

                    3. NTIA Comments

NTIA agrees with the Acting Register’s recommendation to expand the exemption by
removing the current qualifying language. 1995 In NTIA’s view, “[p]roponent’s proposed
use likely constitutes fair use.” 1996 NTIA highlights that, among other things, the current
exemption “suppresses many noncommercial uses of 3D printing, such as scientific
research.” 1997 Regarding health and safety matters, “NTIA recommends that the
Librarian leave the resolution of any public safety related concerns to the agencies with
the requisite expertise and jurisdiction to address them.” 1998

NTIA proposes the same regulatory text it submitted in 2015, which differs from the
current language in certain respects. 1999 For example, NTIA proposes requiring that
“circumvention is undertaken for the purpose of enabling interoperability of feedstock
or filament with the device.” 2000 NTIA does not provide specific rationale for altering the
regulatory text beyond removing the qualifying language.

                    4. Conclusion and Recommendation

After thorough consideration, the Office recommends expanding the exemption by
eliminating the reference to adherence to other regulatory oversight or certification
processes for the reasons discussed above. The Acting Register recommends that the
Librarian designate the following class:

             Computer programs that operate 3D printers that employ microchip-
             reliant technological measures to limit the use of feedstock, when
             circumvention is accomplished solely for the purpose of using
             alternative feedstock and not for the purpose of accessing design
             software, design files, or proprietary data.


1995   NTIA Letter at 87.
1996   Id. at 88.
1997   Id.
1998   Id. at 89 & n.460.
1999   See id. at 90; NTIA 2015 Letter at 92.
2000   NTIA Letter at 90.

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          appendix        recommended regulatory language




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                 Recommended Regulatory Language
(a) General. This section prescribes the classes of copyrighted works for which the
Librarian of Congress has determined, pursuant to 17 U.S.C. 1201(a)(1)(C) and (D), that
noninfringing uses by persons who are users of such works are, or are likely to be,
adversely affected. The prohibition against circumvention of technological measures that
control access to copyrighted works set forth in 17 U.S.C. 1201(a)(1)(A) shall not apply to
such users of the prescribed classes of copyrighted works.

(b) Classes of copyrighted works. Pursuant to the authority set forth in 17 U.S.C.
1201(a)(1)(C) and (D), and upon the recommendation of the Register of Copyrights, the
Librarian has determined that the prohibition against circumvention of technological
measures that effectively control access to copyrighted works set forth in 17 U.S.C.
1201(a)(1)(A) shall not apply to persons who engage in noninfringing uses of the
following classes of copyrighted works:

       (1) Motion pictures (including television shows and videos), as defined in 17
       U.S.C. 101, where the motion picture is lawfully made and acquired on a DVD
       protected by the Content Scramble System, on a Blu-ray disc protected by the
       Advanced Access Content System, or via a digital transmission protected by a
       technological measure, and the person engaging in circumvention under
       paragraph (b)(1)(i) and (b)(1)(ii)(A) and (B) of this section reasonably believes
       that non-circumventing alternatives are unable to produce the required level of
       high-quality content, or the circumvention is undertaken using screen-capture
       technology that appears to be offered to the public as enabling the reproduction
       of motion pictures after content has been lawfully acquired and decrypted,
       where circumvention is undertaken solely in order to make use of short portions
       of the motion pictures in the following instances:

               (i) For the purpose of criticism or comment:

                      (A) For use in documentary filmmaking, or other films where the
                      motion picture clip is used in parody or for its biographical or
                      historically significant nature;

                      (B) For use in noncommercial videos (including videos produced
                      for a paid commission if the commissioning entity’s use is
                      noncommercial); or

                      (C) For use in nonfiction multimedia e-books.




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             (ii) For educational purposes:

                    (A) By college and university faculty and students or kindergarten
                    through twelfth-grade (K-12) educators and students (where the
                    K-12 student is circumventing under the direct supervision of an
                    educator), including of accredited general educational
                    development (GED) programs, for the purpose of criticism,
                    comment, teaching, or scholarship;

                    (B) By faculty of massive open online courses (MOOCs) offered by
                    accredited nonprofit educational institutions to officially enrolled
                    students through online platforms (which platforms themselves
                    may be operated for profit), in film studies or other courses
                    requiring close analysis of film and media excerpts, for the
                    purpose of criticism or comment, where the MOOC provider
                    through the online platform limits transmissions to the extent
                    technologically feasible to such officially enrolled students,
                    institutes copyright policies and provides copyright informational
                    materials to faculty, students, and relevant staff members, and
                    applies technological measures that reasonably prevent
                    unauthorized further dissemination of a work in accessible form
                    to others or retention of the work for longer than the course
                    session by recipients of a transmission through the platform, as
                    contemplated by 17 U.S.C. 110(2); or

                    (C) By educators and participants in nonprofit digital and media
                    literacy programs offered by libraries, museums, and other
                    nonprofit entities with an educational mission, in the course of
                    face-to-face instructional activities, for the purpose of criticism or
                    comment, except that such users may only circumvent using
                    screen-capture technology that appears to be offered to the public
                    as enabling the reproduction of motion pictures after content has
                    been lawfully acquired and decrypted.

      (2)

             (i) Motion pictures (including television shows and videos), as defined in
             17 U.S.C. 101, where the motion picture is lawfully acquired on a DVD
             protected by the Content Scramble System, on a Blu-ray disc protected by
             the Advanced Access Content System, or via a digital transmission
             protected by a technological measure, where:

                    (A) Circumvention is undertaken by a disability services office or
                    other unit of a kindergarten through twelfth-grade educational

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                     institution, college, or university engaged in and/or responsible
                     for the provision of accessibility services to students, for the
                     purpose of adding captions and/or audio description to a motion
                     picture to create an accessible version as a necessary
                     accommodation for a student or students with disabilities under
                     an applicable disability law, such as the Americans With
                     Disabilities Act, the Individuals with Disabilities Education Act, or
                     Section 504 of the Rehabilitation Act;

                     (B) The educational institution unit in paragraph (b)(2)(i)(A) of
                     this section has, after a reasonable effort, determined that an
                     accessible version cannot be obtained at a fair price or in a timely
                     manner; and

                     (C) The accessible versions are provided to students or educators
                     and stored by the educational institution in a manner intended to
                     reasonably prevent unauthorized further dissemination of a work.

             (ii) For purposes of this paragraph(b)(2), “audio description” means an
             oral narration that provides an accurate rendering of the motion picture.

      (3) Literary works, distributed electronically, that are protected by technological
      measures that either prevent the enabling of read-aloud functionality or interfere
      with screen readers or other applications or assistive technologies:

             (i) When a copy of such a work is lawfully obtained by a blind or other
             person with a disability, as such a person is defined in 17 U.S.C. 121;
             provided, however, that the rights owner is remunerated, as appropriate,
             for the price of the mainstream copy of the work as made available to the
             general public through customary channels; or

             (ii) When such work is a nondramatic literary work, lawfully obtained
             and used by an authorized entity pursuant to 17 U.S.C. 121.

      (4) Literary works consisting of compilations of data generated by medical
      devices that are wholly or partially implanted in the body or by their
      corresponding personal monitoring systems, where such circumvention is
      undertaken by a patient for the sole purpose of lawfully accessing the data
      generated by his or her own device or monitoring system and does not constitute
      a violation of applicable law, including without limitation the Health Insurance
      Portability and Accountability Act of 1996, the Computer Fraud and Abuse Act
      of 1986 or regulations of the Food and Drug Administration, and is accomplished
      through the passive monitoring of wireless transmissions that are already being
      produced by such device or monitoring system.

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      (5) Computer programs that enable the following types of lawfully acquired
      wireless devices to connect to a wireless telecommunications network, when
      circumvention is undertaken solely in order to connect to a wireless
      telecommunications network and such connection is authorized by the operator
      of such network:

             (i) Wireless telephone handsets (i.e., cellphones);

             (ii) All-purpose tablet computers;

             (iii) Portable mobile connectivity devices, such as mobile hotspots,
             removable wireless broadband modems, and similar devices; and

             (iv) Wearable wireless devices designed to be worn on the body, such as
             smartwatches or fitness devices.

      (6) Computer programs that enable smartphones and portable all-purpose
      mobile computing devices to execute lawfully obtained software applications,
      where circumvention is accomplished for the sole purpose of enabling
      interoperability of such applications with computer programs on the smartphone
      or device, or to permit removal of software from the smartphone or device. For
      purposes of this paragraph (b)(6), a “portable all-purpose mobile computing
      device” is a device that is primarily designed to run a wide variety of programs
      rather than for consumption of a particular type of media content, is equipped
      with an operating system primarily designed for mobile use, and is intended to
      be carried or worn by an individual.

      (7) Computer programs that enable smart televisions to execute lawfully
      obtained software applications, where circumvention is accomplished for the
      sole purpose of enabling interoperability of such applications with computer
      programs on the smart television.

      (8) Computer programs that enable voice assistant devices to execute lawfully
      obtained software applications, where circumvention is accomplished for the
      sole purpose of enabling interoperability of such applications with computer
      programs on the device, or to permit removal of software from the device, and is
      not accomplished for the purpose of gaining unauthorized access to other
      copyrighted works. For purposes of this paragraph (b)(8), a “voice assistant
      device” is a device that is primarily designed to run a wide variety of programs
      rather than for consumption of a particular type of media content, is designed to
      take user input primarily by voice, and is designed to be installed in a home or
      office.




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      (9) Computer programs that are contained in and control the functioning of a
      lawfully acquired motorized land vehicle such as a personal automobile,
      commercial vehicle, or mechanized agricultural vehicle, except for programs
      accessed through a separate subscription service, when circumvention is a
      necessary step to allow the diagnosis, repair, or lawful modification of a vehicle
      function, where such circumvention does not constitute a violation of applicable
      law, including without limitation regulations promulgated by the Department of
      Transportation or the Environmental Protection Agency, and is not accomplished
      for the purpose of gaining unauthorized access to other copyrighted works.

      (10) Computer programs that are contained in and control the functioning of a
      lawfully acquired smartphone or home appliance or home system, such as a
      refrigerator, thermostat, HVAC, or electrical system, when circumvention is a
      necessary step to allow the diagnosis, maintenance, or repair of such a device or
      system, and is not accomplished for the purpose of gaining access to other
      copyrighted works. For purposes of this paragraph (b)(10):

             (i) The “maintenance” of a device or system is the servicing of the device
             or system in order to make it work in accordance with its original
             specifications and any changes to those specifications authorized for that
             device or system; and

             (ii) The “repair” of a device or system is the restoring of the device or
             system to the state of working in accordance with its original
             specifications and any changes to those specifications authorized for that
             device or system.

      (11)

             (i) Computer programs, where the circumvention is undertaken on a
             lawfully acquired device or machine on which the computer program
             operates, or is undertaken on a computer, computer system, or computer
             network on which the computer program operates with the authorization
             of the owner or operator of such computer, computer system, or
             computer network, solely for the purpose of good-faith security research
             and does not violate any applicable law, including without limitation the
             Computer Fraud and Abuse Act of 1986.

             (ii) For purposes of this paragraph (b)(11), “good-faith security research”
             means accessing a computer program solely for purposes of good-faith
             testing, investigation, and/or correction of a security flaw or vulnerability,
             where such activity is carried out in an environment designed to avoid
             any harm to individuals or the public, and where the information derived
             from the activity is used primarily to promote the security or safety of the

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             class of devices or machines on which the computer program operates, or
             those who use such devices or machines, and is not used or maintained in
             a manner that facilitates copyright infringement.

      (12)

             (i) Video games in the form of computer programs embodied in physical
             or downloaded formats that have been lawfully acquired as complete
             games, when the copyright owner or its authorized representative has
             ceased to provide access to an external computer server necessary to
             facilitate an authentication process to enable gameplay, solely for the
             purpose of:

                    (A) Permitting access to the video game to allow copying and
                    modification of the computer program to restore access to the
                    game for personal, local gameplay on a personal computer or
                    video game console; or

                    (B) Permitting access to the video game to allow copying and
                    modification of the computer program to restore access to the
                    game on a personal computer or video game console when
                    necessary to allow preservation of the game in a playable form by
                    an eligible library, archives, or museum, where such activities are
                    carried out without any purpose of direct or indirect commercial
                    advantage and the video game is not distributed or made
                    available outside of the physical premises of the eligible library,
                    archives, or museum.

             (ii) Video games in the form of computer programs embodied in physical
             or downloaded formats that have been lawfully acquired as complete
             games, that do not require access to an external computer server for
             gameplay, and that are no longer reasonably available in the commercial
             marketplace, solely for the purpose of preservation of the game in a
             playable form by an eligible library, archives, or museum, where such
             activities are carried out without any purpose of direct or indirect
             commercial advantage and the video game is not distributed or made
             available outside of the physical premises of the eligible library, archives,
             or museum.

             (iii) Computer programs used to operate video game consoles solely to
             the extent necessary for an eligible library, archives, or museum to engage
             in the preservation activities described in paragraph (b)(12)(i)(B) or
             (b)(12)(ii) of this section.


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             (iv) For purposes of this paragraph (b)(12), the following definitions shall
             apply:

                    (A) For purposes of paragraph (b)(12)(i)(A) and (b)(12)(ii) of this
                    section, “complete games” means video games that can be played
                    by users without accessing or reproducing copyrightable content
                    stored or previously stored on an external computer server.

                    (B) For purposes of paragraph (b)(12)(i)(B) of this section,
                    “complete games” means video games that meet the definition in
                    paragraph (b)(12)(iv)(A) of this section, or that consist of both a
                    copy of a game intended for a personal computer or video game
                    console and a copy of the game’s code that was stored or
                    previously stored on an external computer server.

                    (C) “Ceased to provide access” means that the copyright owner or
                    its authorized representative has either issued an affirmative
                    statement indicating that external server support for the video
                    game has ended and such support is in fact no longer available or,
                    alternatively, server support has been discontinued for a period of
                    at least six months; provided, however, that server support has
                    not since been restored.

                    (D) “Local gameplay” means gameplay conducted on a personal
                    computer or video game console, or locally connected personal
                    computers or consoles, and not through an online service or
                    facility.

                    (E) A library, archives, or museum is considered “eligible” when
                    the collections of the library, archives, or museum are open to the
                    public and/or are routinely made available to researchers who are
                    not affiliated with the library, archives, or museum.

      (13)

             (i) Computer programs, except video games, that have been lawfully
             acquired and that are no longer reasonably available in the commercial
             marketplace, solely for the purpose of lawful preservation of a computer
             program, or of digital materials dependent upon a computer program as
             a condition of access, by an eligible library, archives, or museum, where
             such activities are carried out without any purpose of direct or indirect
             commercial advantage and the program is not distributed or made
             available outside of the physical premises of the eligible library, archives,
             or museum.

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              (ii) For purposes of the exemption in paragraph (b)(13)(i) of this section, a
              library, archives, or museum is considered “eligible” if—

                      (A) The collections of the library, archives, or museum are open to
                      the public and/or are routinely made available to researchers who
                      are not affiliated with the library, archives, or museum;

                      (B) The library, archives, or museum has a public service mission;

                      (C) The library, archives, or museum’s trained staff or volunteers
                      provide professional services normally associated with libraries,
                      archives, or museums;

                      (D) The collections of the library, archives, or museum are
                      composed of lawfully acquired and/or licensed materials; and

                      (E) The library, archives, or museum implements reasonable
                      digital security measures as appropriate for the activities
                      permitted by this paragraph (b)(13).

       (14) Computer programs that operate 3D printers that employ microchip-
       reliant technological measures to limit the use of feedstock, when
       circumvention is accomplished solely for the purpose of using alternative
       feedstock and not for the purpose of accessing design software, design
       files, or proprietary data.

(c) Persons who may initiate circumvention. To the extent authorized under
paragraph (b) of this section, the circumvention of a technological measure that
restricts wireless telephone handsets or other wireless devices from connecting to
a wireless telecommunications network may be initiated by the owner of any
such handset or other device, by another person at the direction of the owner, or
by a provider of a commercial mobile radio service or a commercial mobile data
service at the direction of such owner or other person, solely in order to enable
such owner or a family member of such owner to connect to a wireless
telecommunications network, when such connection is authorized by the
operator of such network.




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